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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF TEXAS
                         FORT WORTH DIVISION


 Carroll Independent School
 District,
                                                   Case No. 4:24-cv-00491-O
            Plaintiff,

       v.

 United States Department of
 Education, et al.,

             Defendants.


      APPENDIX IN SUPPORT OF PLAINTIFF’S MOTION TO DELAY
       EFFECTIVE DATE AND FOR PRELIMINARY INJUNCTION

 Declaration of Lane Ledbetter                                              App.1–7

 Carroll ISD Policy 3.19                                                      App.8

 Carroll ISD Policy 6.9                                                       App.9

 Carroll High School Floor Plan                                              App.10

 Dawson Middle School Floor Plan                                          App.11–12

 Declaration of Natalie D. Thompson                                       App.13–14

 Public Comment Submitted to U.S. Department of Education,                App.15–47
 Docket ID ED-2021-OCR-01666 (Sept. 11, 2023) (The Rule is
 Legally Unsound and Procedurally Infirm)

 Public Comment Submitted to U.S. Department of Education,                App.48–65
 Docket ID ED-2021-OCR-01666 (Sept. 11, 2023) (The Rule Will
 Harm Parental Rights and Endanger Children)

 Public Comment Submitted to U.S. Department of Education,            App.66–475
 Docket ID ED-2021-OCR-01666 (Sept. 11, 2023) (The Rule Will
 Undermine Fairness in Women’s Sports and Hurt Women and
 Girls’ Privacy and Safety)
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                         CERTIFICATE OF SERVICE

      I certify that on May 30, 2024, this document was served on all counsel of

record via the Court’s CM/ECF system and on Elizabeth Tulis, counsel for

Defendants, via USPS mail with a courtesy copy to Elizabeth.Tulis@usdoj.gov.

                                      /s/ Natalie D. Thompson
                                      Natalie D. Thompson
                                      Counsel for Plaintiff
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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                          FORT WORTH DIVISION

 Carroll Independent School
 District,
                                                     Case No. 4:24-cv-00491-O
             Plaintiff,

        V.


 United States Department of
 Education, et al.,

             Defendants.


                     DECLARATION OF LANE LEDBETTER

      I, Lane Ledbetter, declare as follows:

       1.    I am above the age of 21, and fully competent to make this declaration.
      2.     These facts are within my personal knowledge and are true and correct.
If called to testify, I could and would testify competently to these facts.
      3.     I am the superintendent of Carroll Independent School District (Carroll
ISD). I have served as superintendent since January 2021.
      4.     As superintendent, I am the educational leader and chief executive
officer of Carroll ISD. Tex. Educ. Code§ ll.201(a).
      5.     Carroll ISD has adopted policies and practices and built facilities in
reliance on its understanding that Title IX's prohibition on discrimination based on
sex means biological sex, not an individual's sense of their gender that may differ
from their sex. Complying with the Department of Education's new rule, 89 Fed. Reg.
33,474 (April 29, 2024), would require the district to incur substantial costs.
Additionally, the district relies on federal funding to provide key services. Loss of
these funds would harm the district's students.


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I.     Carroll ISD's policy and practices related to Title IX

       6.    Carroll ISD operates 11 schools for students from pre-K through 12th
grade in and around Southlake, Texas.
       7.    For the 2023-2024 school year, the pre-K through 12th grade student
body numbered approximately 8,400.
      8.     I am aware of at least three current students in grades 5-12 who have
identified a gender identity that differs from their sex.
      9.     Carroll ISD policies treat students consistently with their sex.
       10.   Carroll ISD Policy 3.19 requires its schools to "maintain separate
restrooms, locker rooms, and other similar facilities designated for and used only by
persons based on the person's biological sex." A true, accurate, and complete copy of
Policy 3.19 is attached.
       11.   Policy 3.19 defines "restroom or locker room" as "a location where a
person may reasonably be in a state of undress, including a shower room."
      12.    Policy 3.19 also allows for "reasonable accommodations," such as a
"single user restroom[,]" for "any person seeking privacy."
      13.    Carroll ISD Policy 6.9 provides: "District employees, including
educators and other District staff, shall not require the use of pronouns that are
inconsistent with a student's or other person's biological sex as it appears on the
individual's birth certificate or other government-issued record." A true, accurate,
and complete copy of Policy 6.9 is attached.
      14.    Policy 6.9 further provides that "the District shall not compel District
personnel or other students to address or refer to students in any manner that
would violate the speaker's constitutionally protected rights."
      15.    Carroll   ISD    schools    offer   extracurricular   activities,    including
interscholastic athletics. Many school sports teams are sex-specific. For example,
Carroll ISD high schools field separate boys' and girls' teams for basketball, cross


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country, soccer, swimming and diving, baseball/softball, tennis, water polo, wrestling,
and track and field.
       16.      Carroll ISD complies with Texas law, including the law to protect girls'
sports. See Tex. Educ. Code $ 33.0834. That law generally prohibits Carroll ISD from
allowing a student to compete on a team designated for the opposite biological sex.
Tex. Educ. Code $ 33.0834a). The statute's only exception is to "allow a female
student to compete in an interscholastic competition that is designated for male
students" if there is no "corresponding" competition for female students. Id.
§ 33.0834(b).
       17.      I Carroll ISD disregarded this law, its affected athletic teams could not
compete against other teams in the University Interscholastic League (UIL). The UIL
is Texas's state-wide organization overseeing competitions in 14 sports, including
football, basketball, baseball, girls' softball, tennis, wrestling, track and field, cross
country, swimming, and girls' volleyball. Over 1,300 schools from across Texas are
members ofthe UIL. Not competing in the UIL would reduce opportunities for Carroll
ISD's student-athletes to develop their athletic, teamwork, and leadership skills. It
also would prevent those students from competing for college athletic scholarships
and deprive them of future athletic opportunities.
       18.      Carroll ISD has male and female sports teams because males competing
against females puts females at an inherent disadvantage. It also poses a safety risk
to females because males are consistently bigger, stronger, and faster than
comparably fit females. I am aware of news reports about female athletes in other
states who have been injured playing against males who identified as females and
competed in women's sports on that basis.
       19.      Carroll ISD has built its facilities and structured its programs to respect
the biological differences between males and females.



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       20.   Carroll ISD schools have communal restrooms and locker rooms
designated by sex for students instead of single-occupant facilities. No school campus
has enough single-occupant restrooms or changing spaces for use by the entire
student body.
       21.   Most of Carroll ISD's locker rooms have lockers around the edges with
an open space in the middle for changing. This locker room design allows little privacy
for students changing. For example:
             a.     Carroll High School (grades 9-10) has locker rooms for its girls'
                    sports teams. A true and accurate schematic of those locker rooms
                    is attached. Each locker room consists of an open room with
                    lockers around the edges. A hallway leads from the locker rooms
                    to showers designated for girls only. Carroll ISD does not permit
                    males in the girls' locker room and showers.
             b.     Dawson Middle School (grades 7-8) has two locker rooms for its
                    boys'and girls' teams, respectively. A true and accurate schematic
                    of those locker rooms is attached. Each locker room has three long
                    aisles with lockers on each side. A student on one end of the locker
                    room could see all students from one end of the locker room to the
                    other. Carroll ISD does not permit males in the girls' locker room.
      22.    Carroll ISD maintains shower facilities in many of its locker rooms. Like
the locker rooms, these shower facilities are designated by sex. The boys' showers are
communal with no single-occupant showers available.
      23.    On some campuses, such as Carroll High School, girls' shower facilities
include dividers and shower curtains to create individual shower stalls. The stalls do
not, however, offer much room for changing, so students are often in a state of undress
while walking to and from the showers. At Carroll High School, for example, girls are



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often in a state of undress when walking down the hallway that divides the girls'
locker room and the girls' showers.
II.    Complying with the Rule harms Carroll ISD.
       24.   If Carroll ISD were forced to comply with the Rule by August 1, 2024, it
would incur substantial costs. I estimate that reviewing and revising existing policies
to comply with the Rule's changes would take at least 50 hours of the district's Title
IX coordinator's time. Carroll ISD would also have to obtain legal advice regarding
compliance with the Rule, which would require it to spend money on legal fees. All
policy changes would then have to be considered and voted on by the board of trustees,
which would take up additional time that would otherwise be spent conducting board
business.
      25.    For example, Carroll ISD would have to amend or repeal Policy 3.19. I
understand the Rule requires Carroll ISD to allow students of one sex to access
restrooms, locker rooms, and showers designated for the opposite sex. Policy 3.19
prohibits that behavior. Carroll ISD has determined that opening up restrooms,
locker rooms, and showers to the opposite sex endangers its students, especially
female students when males enter those private spaces. Males would be able to see
females (and vice versa) in a state of undress. This lack of single-sex privacy would
cause students emotional and mental distress and inhibit full participation in the
school district's athletic and physical education programs, particularly for girls.
      26.    As another example, Carroll ISD would have to amend or repeal Policy
6.9. I understand that the Rule broadens the definition of sex-based harassment and
includes "gender identity" in its definition of sex. I also understand that the
Department of Education has previously asserted that Title IX requires students and
employees to use "pronouns and names consistent with a transgender student's
gender identity." 2016 Dear Colleague Letter on Title IX and Transgender Students
2, U.S. Dep'ts of Educ. & Justice (May 13, 2016), perma.cc/2VTQ-RUYP.

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                                                                                      App.5
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         27.   In addition, Carroll ISD would have to train its staff on the Rule and
resulting changes to Carroll ISD policies and practices. Even assuming this new
training could be conducted in one hour, Carroll ISD has over 1,100 employees,
including classroom teachers, paraprofessionals, counselors, administrators, and
support staff. A one-hour training would cost Carroll ISD approximately $58,000 and
over 1,100 hours of employee time.
         28.   Carroll ISD received approximately $1.8 million in federal funding for
the 2023-2024 school year. This is comparable to the amount received in recent school
years, and the district expects to receive a comparable amount again for the 2024
2025 school year.
         29.   Carroll ISD receives federal funding administered by the Department of
Education from numerous statutory sources, including the Individuals with
Disabilities Education Act (IDEA) and the Elementary and Secondary Education Act
(ESA).
         30.   The district uses these funds to provide educational programs and
services. For example:
               a.    IDEA funding pays salary and benefits for over a dozen special-
                     education teachers and other special-education professionals;
               b.    ESA Title II funding is used to provide high-quality professional
                     development programs for teachers and principals; and
               c.    ESA Title IV funding, which is available for improving school
                     safety and student health, funds the school district's behavioral
                     threat assessment program.
      31.      If the district lost federal funding, it would have to either cancel these
programs and services or seek new funding sources. Even if new funding could be
obtained, the district would likely have to pause these programs and services
temporarily wbile obtaining new funding.

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                                                                                    App.6
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      Under 28 U.S.C. section 1746, I declare under penalty of perjury that the
foregoing is true and correct.

      Executed this 30th day of May, 2024, at Southlake, Texas.




                                             Superintendent
                                             Carroll Independent School District




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                                                                              App.7
   Carroll ISD
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   220919

   FACILITY STANDARDS                                                                     CS
                                                                                      (LOCAL)


                                     ADD POLICY
   Use of Restrooms     To the extent permitted by law, schools shall maintain separate re-
   and Locker Rooms     strooms, locker rooms, and other similar facilities designated for
                        and used only by persons based on the person’s biological sex. In-
                        dividuals shall be required to use the facility that corresponds to
                        their biological sex assigned at birth.
                        This policy does not prohibit the District from providing reasonable
                        accommodations upon request. Reasonable accommodations may
                        be made for any person seeking privacy (i.e. single user restroom).
                        Any information related to accommodations shall be handled in
                        such a way as to the protect the individual’s privacy.
                        In accordance with law, a person’s biological sex is identified on
                        the person’s official birth certificate provided the statement was:
                        1.   Entered at or near the time of the person’s birth; or
                        2.   Modified only to the extent necessary to correct any type of
                             scrivener or clerical error in the person’s biological sex.
                        [See Birth Certificate Statement in FM(LEGAL)]
                        For the purposes of this policy, “restroom or locker room” means a
                        location where a person may reasonably be in a state of undress,
                        including a shower room.




   Add policy 7-5-23                                                                     1 of 1

   CS(LOCAL)-X                                                                           App.8
   Carroll ISD
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   220919

   IDENTIFICATION OF STUDENTS                                                                6.9
                                                                                         (LOCAL)


                           District employees, including educators and other District staff,
                           shall not require the use of pronouns that are inconsistent with a
                           student’s or other person’s biological sex as it appears on the indi-
                           vidual’s birth certificate or other government-issued record.
                           In accordance with law, a person’s biological sex is identified on
                           the person’s official birth certificate provided the statement was:
                           1.   Entered at or near the time of the person’s birth; or
                           2.   Modified only to the extent necessary to correct any type of
                                scrivener or clerical error in the person’s biological sex.
                           Notwithstanding the provisions above, the District shall not compel
                           District personnel or other students to address or refer to students
                           in any manner that would violate the speaker’s constitutionally pro-
                           tected rights.
                           [See Birth Certificate Statement in 6.13(LEGAL)]




   DATE ISSUED: 8/2/2023                              Adopted:                              1 of 1
   LDU 2023.03                                       7/24/2023
   6.9(LOCAL)-X                                                                             App.9
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                                                                                    App.10
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                                                                                             App.11




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                                                                                    App.12
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                   IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                           FORT WORTH DIVISION


  Carroll Independent School
  District,
                                                          Case No. 4:24-cv-00491-O
             Plaintiff,

        v.

  United States Department of
  Education, et al.,

              Defendants.


                   DECLARATION OF NATALIE D. THOMPSON

       I, Natalie D. Thompson, declare as follows:

       1.     I am above the age of 21, and competent to make this declaration.

       2.     I am Senior Counsel at Alliance Defending Freedom (ADF) and counsel

 of record for Plaintiff Carroll Independent School District. These facts are within

 my personal knowledge and are true and correct. If called to testify, I could and

 would testify competently to these facts.

       3.     On    May     7,    2024,   I    accessed   the   attached   documents    from

 Regulations.gov, https://www.regulations.gov/comment/ED-2021-OCR-0166-200280.

 Each is a true and accurate copy of a comment submitted by ADF on September 11,

 2022, on the Notice of Proposed Rulemaking on Title IX of the Education

 Amendments         of       1972,            Docket      ID      ED-2021-OCR-0166-0001,

 https://www.regulations.gov/document/ED-2021-OCR-0166-0001.

       Under 28 U.S.C. section 1746, I declare under penalty of perjury that the

 foregoing is true and correct.




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                                                                                       App.13
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       Executed this 28th day of May, 2024, at Austin, Texas.


                                             /s/ Natalie D. Thompson
                                             Natalie D. Thompson
                                             Counsel for Plaintiff
                                             Carroll Independent School District




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                                                                            App.14
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 September 11, 2022

 Miguel A. Cardona
 Secretary of Education
 U.S. Department of Education
 VIA REGULATIONS.GOV

 RE:   Nondiscrimination on the Basis of Sex in Education Programs or
       Activities Receiving Federal Financial Assistance
       Docket ID ED-2021-OCR-01666

       The Rule is Legally Unsound and Procedurally Infirm

 Dear Secretary Cardona,

        Fifty years ago, Congress acted to protect equal opportunity for women by
 passing Title IX. Now, by radically rewriting federal law, the Biden administration
 is threatening the advancements that women have long fought to achieve in
 education and athletics. Along with denying women a fair and level playing field in
 sports, this new rule seeks to impose widespread harms, including threatening the
 health of adults and children, denying free speech on campus, trampling parental
 rights, violating religious liberty, and endangering unborn human life.

        Alliance Defending Freedom (ADF) submits these comments on the Notice of
 Proposed Rulemaking (NPRM) on Title IX of the Education Amendments of 1972,
 Docket ID ED-2021-OCR-0166. ADF is an alliance-building legal organization that
 advocates for the right of all people to freely live out their faith. It pursues its
 mission through litigation, training, strategy, and funding. Since its launch in 1994,
 ADF has handled many legal matters involving Title IX, the First Amendment,
 athletic fairness, student privacy, and other legal principles addressed by the Notice
 of Proposed Rulemaking.

        ADF strongly opposes any effort to redefine sex in federal regulations
 inconsistent with the text of Title IX itself, or otherwise impair the First
 Amendment, due process, or parental rights. This proposed rule seeks to redefine
 sex discrimination and sexual harassment under Title IX to address new matters
 beyond the scope of the statute. ADF thus encourages the Department of Education
 to withdraw and abandon the NPRM.

       These comments focus on the rule’s overarching legal and procedural
 infirmities.




                                                                                App.15
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 I.        Redefining “sex discrimination” will harm students, faculty, and
           schools.

        The Department’s notice proposes to add new sections that impact the
 definition of sex discrimination:

       •   the Department proposes in section 106.10 to define sex discrimination to
           include discrimination based on sex stereotypes, sex characteristics,
           pregnancy or related conditions, sexual orientation, and gender identity; 1
       •   the Department proposes in section 106.31(a)(2) to clarify that even where
           Title IX permits sex separation, a recipient cannot carry out that different
           treatment in a way that discriminates on the basis of sex by subjecting a
           person to more than de minimis harm. A policy or practice that prevents a
           person from participating in an education program or activity consistent with
           their gender identity subjects a person to more than de minimis harm. 2

        Not only does this redefinition of sex deviate from past agency statements 3
 (as the Department admits) and lack any basis in federal law or Supreme Court
 opinion, but this collective redefinition of sex in Title IX will hurt students, faculty,
 and schools alike. For the reasons detailed below, Alliance Defending Freedom
 opposes the addition of sections 106.10 and 106.31(a)(2) to the Title IX regulations.

        The Department thus should consider the alternative of using the biological
 definition of sex, which does not address gender identity or sexual orientation on
 any theory. It must explain why that definition cannot be retained. And it must
 consider the many harms that will follow from this redefinition.

 II.       Redefining “sex discrimination” is not authorized by Title IX’s text
           or Supreme Court precedent.

          The NPRM states that the “Department now believes that its prior position
 (i.e., that Title IX’s prohibition on sex discrimination does not encompass
 discrimination based on sexual orientation and gender identity) is at odds with Title
 IX’s text and purpose and the reasoning of the Bostock Court and other courts to




 1 NPRM at 519.

 2 NPRM at 529.

 3 NPRM at 7-8.




                                                                                    App.16
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 have considered the issue in recent years—both before and after Bostock.” 4 This is
 simply wrong.

         A.       Title IX deals with sex, not gender identity or sexual
                  orientation.

        To interpret a statute, “we begin with the text.” 5 “After all, only the words on
 the page constitute the law.” 6 And neither judges nor bureaucrats can “add to,
 remodel, update, or detract from old statutory terms” according to their “own
 imaginations,” 7 or to ensure statutes “better reflect the current values of society.” 8
 Title IX says no person “shall, on the basis of sex, be excluded from participation in,
 be denied the benefits of, or be subjected to discrimination under any education
 program or activity.” 9

        Title IX doesn’t say anything about sexual orientation or gender identity. It
 prohibits discrimination only “on the basis of sex.” But sexual orientation, gender
 identity, and “transgender status are distinct concepts from sex.” 10 Since the word
 “sex” can’t fully encompass all of these terms at once, the question is which term
 Title IX uses when it prohibits discrimination “on the basis of sex.” 11 Because “sex”
 is not defined in the statute, it should be interpreted according to “the ordinary
 public meaning of [the] term[ ] at the time of its enactment.” 12 In 1972, the ordinary
 meaning of “sex” was “one of the two divisions of organic esp. human beings
 respectively designated male or female.” 13



 4 NPRM at 521.

 5 United States v. Lauderdale Cnty., 914 F.3d 960, 961 (5th Cir. 2019).

 6 Bostock v. Clayton Cnty., 140 S. Ct. 1731, 1738 (2020).

 7 Id.

 8 Id. at 1756 (Alito, J., dissenting).

 9 20 U.S.C. § 1681(a) (emphasis added).

 10 Bostock, 140 S. Ct. at 1746–47; see also Whitaker v. Kenosha Unified Sch. Dist. No. 1 Bd. of Educ.,

 858 F.3d 1034, 1053 (7th Cir. 2017).
 11 20 U.S.C. § 1681(a).

 12 Bostock, 140 S. Ct. at 1738.

 13 Webster’s Third New International Dictionary 2081 (1968); see also Frontiero v. Richardson, 411

 U.S. 677, 686 (1973) (“sex” meant “an immutable characteristic determined solely by the accident of
 birth.”); The American Heritage Dictionary of the English Language 1187 (1st ed. 1969) (defining sex
 as “[t]he property or quality by which organisms are classified according to their reproductive
 functions”); see also Ulane v. E. Airlines, Inc., 742 F.2d 1081, 1085 (7th Cir. 1984) (opining that sex



                                                                                                App.17
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         Though we start with the words themselves, the text should be “interpreted
 in its statutory and historical context and with appreciation for its importance to
 the [statute] as a whole.” 14 “After all, context matters. As the late Justice Thurgood
 Marshall once put it, ‘A sign that says “men only” looks very different on a
 bathroom door than a courthouse door.’” 15

        Throughout Title IX, “sex” is used as a binary concept, encapsulating only
 male and female. For example, Title IX allows schools in some cases to change “from
 being an institution which admits only students of one sex to being an institution
 which admits students of both sexes.” 16 Not only do these provisions speak of “the”
 other sex or “both sexes,” rather than “another” sex or “all sexes,” they also use
 terms like “father-son” and “mother-daughter” which are rooted in biology. At the
 time, mother was defined as “a female parent”; 17 “father” as “a male parent”; 18 “son”
 as a “male offspring”; 19 and “daughter” as “a human female.” 20 This makes no sense
 if “sex” includes the non-binary concept of gender identity. (In stark contrast to the
 statute’s biological binary, the Department attempts to erase references to “both
 sexes” in the regulations and replace them with “all applicants.” 21)

         If sex included concepts like a person’s gender identity, many Title IX
 exemptions would not make sense. Title IX’s regulations would not make sense
 either. They correctly allow for separate locker rooms and showers, so long as
 facilities “for students of one sex” are comparable to “facilities provided for students
 of the other sex.” 22 In sports, the regulation allows schools to “sponsor separate



 did not encompass “a person who has a sexual identity disorder, i.e., a person born with a male body
 who believes himself to be female, or a person born with a female body who believes herself to be
 male”). And until it is changed by Congress, “Title IX’s ordinary public meaning remains intact.”
 Neese v. Becerra, 2:21-CV-163-Z, 2022 WL 1265925, at *12 (N.D. Tex. Apr. 26, 2022) (interpreting
 Title IX to protect biological sex, not gender identity).
 14 Whitman v. Am. Trucking Ass’ns, 531 U.S. 457, 471 (2001).

 15 Adams v. Sch. Bd. of St. Johns Cnty., 3 F.4th 1299, 1321 (11th Cir.) (Pryor, J. dissenting) (citation

 omitted), reh’g en banc granted, 9 F.4th 1369 (11th Cir. 2021).
 16 20 U.S.C. § 1681(a)(2) (emphases added).

 17 Webster’s Third New International Dictionary 1474 (1968).

 18 Id. at 828.

 19 Id. at 2172.

 20 Id. at 577.

 21 See NPRM at 469, 509.

 22 34 C.F.R. § 106.33.




                                                                                                  App.18
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 teams for members of each sex.” 23 And schools must “provide equal athletic
 opportunity for members of both sexes” to “effectively accommodate the interests
 and abilities of members of both sexes.” 24

         The list goes on. Title IX or its regulations exempt institutions “traditionally”
 limited to “only students of one sex”; 25 “youth service organizations” traditionally
 “limited to persons of one sex”; 26 “living facilities for the different sexes”; 27
 “separation of students by sex within physical education classes” for sports chiefly
 involving bodily contact; 28 and human sexuality classes and choirs separated by
 “sex”. 29 Title IX and its regulations only make sense against a binary, biological
 backdrop. For these reasons, courts, jurists, and even this Department have
 repeatedly rejected the effort to redefine sex to mean gender identity, both before
 and after Bostock v. Clayton County. 30

        In contrast, the Department’s proposed regulations would have a
 discriminatory, and even nonsensical, effect. If sex includes sexual orientation,
 these exemptions affirmatively bless heterosexual-only choirs, 31 or living facilities
 for gays only. 32 And if sex means gender identity, schools could not use a biology-
 based classification to separate physical education classes involving sports like



 23 Id. § 106.41(b).

 24 Id. § 106.41(c) (emphases added).

 25 20 U.S.C. § 1681(a)(5).

 26 Id. § 1681(a)(6)(B)

 27 20 U.S.C. § 1686.

 28 34 C.F.R. § 106.34(a)(1).

 29 Id. § 106.34(a)(3)&(4).

 30 See, e.g., Tennessee v. U.S. Dep’t of Educ., No. 3:21-cv-308, 2022 WL 2791450, at *21 (E.D. Tenn.

 July 15, 2022) (noting a plausible conflict between the U.S. Department of Education’s redefinition of
 sex discrimination to include gender identity and Title IX itself and its implementing regulations);
 see also Adams v. Sch. Bd. of St. Johns Cnty., Fla., 3 F.4th 1299, 1336-38 (11th Cir. 2021) (Pryor, J.
 dissenting); G.G. ex rel. Grimm v. Gloucester Cnty. Sch. Bd., 822 F.3d 709, 731 (4th Cir. 2016)
 (Niemeyer, J. concurring in part and dissenting in part); U.S. Dep’t of Educ., Office for Civil Rights,
 Memorandum from Principal Deputy General Counsel Reed D. Rubinstein to Kimberly M. Richey
 Acting Assistant Secretary of the Office for Civil Rights re Bostock v. Clayton Cnty. (Jan. 8, 2021)
 (rescinded 2021) https://www2.ed.gov/about/offices/list/ocr/correspondence/other/ogc-memorandum-
 01082021.pdf.
 31 See 34 C.F.R. § 106.34(a)(4).

 32 See 20 U.S.C. § 1686.




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 boxing and rugby. 33 These exemptions only make sense if they are rooted in biology,
 not identity or orientation.

        There is no basis in the text of Title IX, or its implementing regulations, for
 reinterpreting sex to include gender identity.

          B.     Bostock does not require reinterpreting “sex” under Title IX.

        Bostock v. Clayton County does not compel a different conclusion. Bostock
 held that discrimination based on sexual orientation or gender identity in the
 employment context violates Title VII. 34 In short, the Court observed that an
 employer who discriminates against an employee based on their sexual orientation
 or gender identity bases their decision, in part, on sex, and sex “is not relevant to
 the selection, evaluation, or compensation of employees.” 35

        Bostock does not support the Department’s reinterpretation of “sex” for at
 least three reasons. First, Bostock does not change the “ordinary, contemporary,
 common meaning” of sex under Title IX. 36 Just the opposite: Bostock recognized that
 “sex,” “gender identity,” and “sexual orientation” are “distinct concepts.” 37 Bostock
 merely said that gender-identity discrimination considered sex. 38 But did not
 consider the inverse question: whether considering biological sex always constitutes
 gender-identity discrimination.

       Second, Bostock was a narrow holding, and the Court disclaimed any
 application outside the Title VII employment context.

          The employers worry that our decision will sweep beyond Title VII to other
          federal or state laws that prohibit sex discrimination. And, under Title VII
          itself, they say sex-segregated bathrooms, locker rooms, and dress codes will
          prove unsustainable after our decision today. But none of these other laws




 33 See 34 C.F.R. § 106.34(a)(1).

 34 140 S. Ct. at 1741.

 35 Id.

 36 Sandifer v. U.S. Steel Corp., 571 U.S. 220, 227 (2014) (citation omitted).

 37 140 S. Ct. at 1739.

 38 140 S. Ct. at 1747–48.




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         are before us; we have not had the benefit of adversarial testing about the
         meaning of their terms, and we do not prejudge any such question today. 39

 For this reason, other courts have concluded that “the rule in Bostock extends no
 further than Title VII.” 40

        Third, Bostock’s analysis does not work under Title IX. “Title VII differs from
 Title IX in important respects.” 41 Though sex is irrelevant to hiring or firing
 decisions, “athletics differs from . . . employment in analytically material ways.” 42
 So “it does not follow that principles announced in the Title VII context
 automatically apply in the Title IX context.” 43 “Congress itself recognized that
 addressing discrimination in athletics presented a unique set of problems not raised
 in areas such as employment and academics.” 44

        Sports prove the point. Remember, Bostock simply held that Title VII forbids
 employers from taking sex into consideration (even in part) when they fire an
 employee. Applying the same reasoning here would mean Title IX forbids schools
 from taking sex into consideration (even in part) when they field a soccer team. But
 “athletics programs necessarily allocate opportunities separately for male and
 female students.” 45 And because males would largely displace females in sports if
 they were forced to compete against one another, the Department’s interpretation
 would be the death knell of women’s sports.

        But no one thinks that Title IX forbids all sex-separated sports in every
 situation46—including the Department. 47 And even if the Department attempts to



 39 140 S. Ct. at 1753.

 40 See, e.g., Pelcha v. MW Bancorp, Inc., 988 F.3d 318, 324 (6th Cir. 2021).

 41 Meriwether v. Hartop, 992 F.3d 492, 510 n.4.

 42 Cohen v. Brown Univ., 101 F.3d 155, 177 (1st Cir. 1996).

 43 Meriwether, 992 F.3d at 510 n.4; Neal, 198 F.3d at 772 n.8 (Title VII “precedents are not relevant

 in the context of collegiate athletics. Unlike most employment settings, athletic teams are gender
 segregated”); Cohen, 101 F.3d at 177 (“It is imperative to recognize that athletics presents a
 distinctly different situation from . . . employment and requires a different analysis in order to
 determine the existence vel non of discrimination.”).
 44 Kelley v. Bd. of Trs., 35 F.3d 265, 270 (7th Cir. 1994).

 45 Cohen, 101 F.3d at 17.

 46 See Kelley, 35 F.3d at 271 (rejecting male’s challenge to sex-separated sports under Title IX).

 47 NPRM at 538 (“The Department also recognizes that exclusion from a particular male or female

 athletics team may cause some students more than de minimis harm, and yet that possibility is



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 preserve sex separation in sports except to the extent an athlete wants to play on an
 opposite-sex team that matches his or her gender identity, it would still destroy
 women’s sports by making it impossible to police males’ participation. That’s
 because “the transgender community is not a monolith in which every person wants
 to take steps necessary to live in accord with his or her preferred gender (rather
 than his or her biological sex).” 48 And major governing sports bodies that allow
 males to participate in women’s sports only do so for males who have taken puberty
 blockers or suppressed their testosterone. World Rugby, for example, only allows
 males to participate if they have never experienced male puberty. And
 organizations like the NCAA acknowledge that males’ participation in women’s
 sports based solely on gender identity is untenable. But even these regulations
 would violate the Department’s interpretation of Title IX because they would still
 exclude some males (who identify as female) from participating in the women’s
 category. According to the Department’s proposed rule, every male (who identifies
 as female) gets to participate in women’s sports—regardless of medical
 interventions or athletic ability—because to do otherwise would inflict more than de
 minimis harm.

        Ironically, the Department’s proposed de minimis standard violates its own
 interpretation of Bostock. The Department—without foundation in law, logic, or
 statute—invented a new de minimis standard. The Department’s proposed rule
 would make subjecting a person to more than de minimis harm on the basis of sex a
 violation of Title IX. Subjecting a person to less than de minimis harm is
 permissible—and it appears that only the Department can define that threshold.
 But Bostock did not use such a standard. According to the Department’s own
 interpretation, Bostock is all or nothing. Either the policy or rule considers sex, or it
 does not. Bostock does not consider or measure harm. This means that the
 Department’s own proposed rule, by its interpretation of Bostock, is flawed.

         Finally, sex-separated “bathrooms, locker rooms, [and] anything else of the
 kind”—even overnight facilities at battered-women’s shelters—would be abruptly
 illegal. Mechanically and uncritically importing Bostock’s narrow holding into Title




 allowed under current § 106.41(b). The Department’s authority to permit such different treatment in
 the context of athletics is described in the discussion of § 106.41”).
 48 Doe 2 v. Shanahan, 917 F.3d 694, 722 (D.C. Cir. 2019) (Williams, J., concurring); see also id. at 701

 (Wilkins, J., concurring) (same holding).




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 IX would work precisely a sea change in this country’s education laws, a change to
 Title IX that Bostock itself refused to endorse. 49

         C.       Reinterpreting “sex” is a matter for Congress and exceeds the
                  Department’s authority.

       Our federal government is one “of limited powers.” 50 “The powers not
 delegated to the United States” are reserved to the individual States and the
 people. 51 And though the Supremacy Clause gives the federal government “a
 decided advantage” to “impose its will on the States,” States still “retain substantial
 sovereign authority” owing to our system’s “constitutionally mandated balance of
 power.” 52 This decentralized structure “preserves to the people numerous
 advantages,” and helps to protect “our fundamental liberties.” 53

        That is why “‘it is incumbent upon the federal courts to be certain of
 Congress’ intent before finding that federal law overrides this balance.” 54 A “clear
 and manifest” statement is necessary for a statute to preempt “the historic police
 powers of the States,” 55 to abrogate state sovereign immunity, or to permit an
 agency to regulate a matter in “areas of traditional state responsibility.” 56 Courts
 thus “insist on a clear” statement “before interpreting” any “expansive language in a
 way that intrudes on the police power of the States.” 57

        Courts may also insist that “Congress speak with a clear voice” when it
 imposes conditions on the receipt of federal funds. 58 “ ‘Legislation enacted pursuant
 to the spending power is much in the nature of a contract,’ and therefore, to be




 49 140 S. Ct. at 1753.

 50 Gregory v. Ashcroft, 501 U.S. 452, 457 (1991).

 51 U.S. Const. amend. X.

 52 Gregory, 501 U.S. at 457–460 (citation omitted).

 53 Id. at 458.

 54 Id. at 460 (citation omitted).

 55 Rice v. Santa Fe Elevator Corp., 331 U.S. 218, 230 (1947).

 56 Bond v. United States, 572 U.S. 844, 858 (2014).

 57 Id., 572 U.S. at 860; Rice, 331 U.S. at 230 (requiring “clear and manifest purpose” to override the

 “historic police powers of the States”).
 58 Pennhurst State Sch. & Hosp. v. Halderman, 451 U.S. 1, 17 (1981).




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 bound by ‘federally imposed conditions,’ recipients of federal funds must accept
 them ‘voluntarily and knowingly.’ ” 59

         So the federal government may not “surpris[e] participating States with post
 acceptance or ‘retroactive’ conditions,” 60 or impose “a burden of unspecified
 proportions and weight, to be revealed only through case-by-case adjudication.” 61
 And private recipients of federal funds must have “notice” of their responsibilities
 too. 62 Congress must “enact exceedingly clear language if it wishes to significantly
 alter the balance between federal and state power and the power of the Government
 over private property.” 63 The federal Constitution limits the States’ and the public’s
 obligations to those requirements “unambiguously” set forth on the face of the
 statute, 64 both to make a statute apply to the States and to show that the statute
 applies in the particular manner claimed. 65

        All of these federalism concerns call for the “clear statement” rule here. 66 The
 Department’s reinterpretation of Title IX obviously affects education, which is the
 state’s “high responsibility.” 67 In fact, public education is “the very apex of the
 function of a State.” 68 And “Title IX was enacted as an exercise of Congress’ powers
 under the Spending Clause.” 69

       For these reasons Congress’ “intention” to cover sexual-orientation and
 gender-identity discrimination under Title IX must be “unmistakably clear in the
 language of the statute.” 70 It is not. Congress did not unmistakably address sexual


 59 Arlington Cent. Sch. Dist. Bd. of Educ. v. Murphy, 548 U.S. 291, 296 (2006) (quoting Pennhurst,

 451 U.S. at 17).
 60 Pennhurst, 451 U.S. at 24.

 61 Bd. of Educ. of Hendrick Hudson Cent. Sch. Dist.. v. Rowley, 458 U.S. 176, 190 n.11 (1982).

 62 Gebser v. Lago Vista Indep. Sch. Dist., 524 U.S. 274, 287 (1998) (citation omitted).

 63 Ala. Ass’n of Realtors v. Dep’t of Health & Hum. Servs., 141 S. Ct. 2485, 2489 (citation omitted)

 (striking down eviction ‘moratorium’).
 64 Pennhurst, 451 U.S. at 17.

 65 Gregory, 501 U.S. at 460–70.

 66 Bond, 572 U.S. at 2089.

 67 Wisconsin v. Yoder, 406 U.S. 205, 213 (1972).

 68 Id.

 69 Jackson v. Birmingham Bd. of Educ., 544 U.S. 167, 181 (2005). So was § 1557 of the ACA.

 42 U.S.C. § 18116(a); see Nat’l Fed’n of Indep. Bus. v. Sebelius, 567 U.S. 519, 585 (2012).
 70 Gregory, 501 U.S. at 460 (citations omitted).




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 orientation and gender identity in the 1972 Title IX, let alone unmistakably force
 colleges to abandon their codes of conduct on matters of sex, sexuality, and the
 human person. In fact, in a 1976 letter to the President of Harding College, OCR
 Acting Director Martin H. Gerry specifically denied that Title IX applied to sexual
 orientation: “We should, perhaps, note in this connection that Title IX does not
 address the question of homosexuality—it prohibits discrimination based on sex,
 not actions based upon sexual preference.” 71

        The Department’s reinterpretation goes against the plain text and purpose of
 Title IX. And in doing so, it doesn’t just infringe core state responsibilities or upend
 settled expectations; the Department seeks to redefine notions of privacy, fairness,
 and biological differences that have “been commonplace and universally accepted . .
 . across societies and throughout history.” 72 Congress did not address sexual
 orientation or gender identity when it codified Title IX in 1972. For fifty years,
 everyone has accepted that schools may recognize biological differences between
 males and females. And the Department’s reinterpretation would have momentous
 consequences throughout society. That’s an unfair “surprise[e]” to States and their
 citizens if there ever was one. 73

       The proposed rule thus unlawfully seeks to impose obligations that Congress
 did not clearly impose when it enacted Title IX—reason enough for it to be
 unconstitutional. 74

        Bostock does not help the Department here. In fact, Title IX’s “contractual
 framework distinguishes [it] from Title VII, which is framed in terms not of a
 condition but of an outright prohibition.” 75 So while “Title VII applies to all
 employers without regard to federal funding and aims broadly to ‘eradicate
 discrimination throughout the economy,’ ” “Title IX focuses more on ‘protecting’
 individuals from discriminatory practices carried out by recipients of federal




 71 Letter from Martin H. Gerry, Acting Dir., Office for Civil Rights, Dep’t of Health, Educ., &

 Welfare, to Clifton L. Ganus, Jr., President, Harding Coll. 4-5 (Oct. 14, 1976),
 http://www2.ed.gov/about/offices/list/ocr/docs/t9-rel-exempt/harding-university-response-
 10141976.pdf.
 72 Grimm, 972 F.3d at 634 (Niemeyer, J., dissenting).

 73 Pennhurst, 451 U.S. at 25.

 74 U.S. Const. amend. X.

 75 Gebser, 524 U.S. at 286.




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 funds.” 76 “Title IX’s contractual nature” is one more reason to distinguish this case
 from Bostock, and why Title IX demands a narrow reading. 77

       Moreover, modern agency interpretations cannot change the ordinary
 meaning of a statutory text. Agency interpretations only come into play when the
 underlying statute is “genuinely ambiguous.” 78 And Title IX is not ambiguous.
 When Congress enacted Title IX, “‘sex’ referred to the physiological distinctions
 between males and females.” 79

       This means that by redefining sex discrimination to include sexual
 orientation and gender identity—concepts that cannot coexist with biological sex—
 the Department has exceeded its agency authority in going beyond the clear,
 unambiguous terms of Title IX. The Department’s interpretation also “radically
 readjusts the balance of state and national authority.” 80 The Department’s proposed
 regulations must therefore be rejected.

 III.    The attempt to redefine sex is arbitrary and capricious.

        The proposed rule claims that “[c]ontrary to the assertions made in 2020 and
 January 2021, the Department does not have a ‘long-standing construction’ of the
 term ‘sex’ in Title IX to mean ‘biological sex.’ ” 81

        If this claim is incorrect, then the Department’s mischaracterization of its
 own prior position and consequent failure to appreciate the degree to which it is
 effectuating change in that position is arbitrary and capricious.

        This claim is incorrect. The Department’s own regulations showed a
 biological binary. The Department never announced any notices of a contrary
 definition until 2016, when its attempt to do so was swiftly struck down. 82 When the


 76 Id. at 286–87.

 77 Id. at 287.

 78 Kisor v. Wilkie, 139 S. Ct. 2400, 2415 (2019).

 79 Grimm, 822 F.3d at 736 (Niemeyer, J., concurring and dissenting in part) (collecting sources).

 80 BFP v. Resol. Tr. Corp., 511 U.S. 531, 544 (1994) (quoting Felix Frankfurter, Some Reflections on

 the Reading of Statutes, 47 Colum. L. Rev. 527, 539–540) (1947).
 81 87 Fed. Reg. at 41537.

 82 Educational providers sued when the government sent a “Dear Colleague” letter to impose a

 similar standard on federally funded educational facilities. Texas v. United States, 201 F. Supp. 3d
 810, 819–23 (N.D. Tex. 2016). There, as here, the Department announced new guidelines under
 which colleges must “alter their policies concerning students’ access to single sex toilet, locker room,



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 Department tried to do so last year, through informal guidance, the guidance was
 again enjoined. The Department never had this definition in the past. 83

        And, indeed, the past notices themselves are evidence that a past definition
 was in place. The proposed rule even says that the “Department now believes that
 its prior position (i.e., that Title IX’s prohibition on sex discrimination does not
 encompass discrimination based on sexual orientation and gender identity) is at
 odds with Title IX’s text and purpose and the reasoning of the Bostock Court and
 other courts to have considered the issue in recent years—both before and after
 Bostock.” 84

        The Department is trying to rewrite the past to pretend that its new far-
 reaching interpretation of Title IX was in the statute all along. But this defies
 common sense. The Department would be on better ground simply to admit that it
 seeks to add new protected classes to the statute.

 IV.    IV.  The Department should delay the rule until after the next
        Supreme Court term and then re-open the comment period.

      The Department should delay the start of any comment period until the
 Supreme Court decides 303 Creative in the October 2022 term. 85

        A Colorado law threatens web designer Lorie Smith and her studio, 303
 Creative, to design and publish websites promoting messages that violate her
 religious beliefs. The law at issue also prevents Lorie from even explaining on her




 and shower facilities, forcing them to redefine who may enter apart from traditional biological
 considerations.” Id. A similar coalition sued in 2021 when the Department tried to do so again with
 informal guidance, and it was again enjoined. Tennessee v. U.S. Dep’t of Educ., 2022 WL 2791450, at
 *5–12.
 83 On February 23, 2021, citing the Executive Order, President Biden’s Departments of Education

 and Justice explicitly withdrew the previous administration’s position that Title IX does not allow
 schools to let biological men compete in women’s sports. Dep’t of Educ. Office for Civil Rights, Letter
 to City of Hartford, et al. (Feb. 23, 2021), https://www2.ed.gov/about/offices/list/ocr/docs/
 investigations/more/01194025-a5.pdf; see Dep’t of Educ., Letter to City of Hartford, et al. (Aug. 31,
 2020), https://www2.ed.gov/about/offices/list/ocr/docs/investigations/more/01194025-a2.pdf, at the top
 of which the Biden Administration posted a red-lettered disclaimer stating, “This document
 expresses policy that is inconsistent in many respects with Executive Order 13988 on Preventing and
 Combating Discrimination on the Basis of Gender Identity or Sexual Orientation.”
 84 NPRM at 521.

 85 303 Creative LLC v. Elenis, No. 21-476 (U.S.).




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 own company’s website what websites she can create consistent with her religious
 beliefs.

        The U.S. Court of Appeals for the 10th Circuit ruled that Colorado can force
 Lorie to express messages and celebrate events that violate her faith because of the
 importance of the alleged government interest in prohibiting discrimination on the
 basis of sexual orientation and gender identity.

        No one should be banished from the marketplace simply for living and
 speaking consistently with his or her religious beliefs. That’s why ADF appealed
 this decision to the U.S. Supreme Court on Lorie’s behalf.

        The Supreme Court agreed to hear Lorie’s case and will address the question
 of “whether applying a public-accommodation law to compel an artist to speak or
 stay silent violates the Free Speech Clause of the First Amendment.” ADF looks
 forward to representing Lorie before the high court.

       This could be a landmark case for the freedom of speech, religious liberty,
 and artistic freedom. Because that same nondiscrimination standard is the one the
 Department plans to insert into the proposed rule, the Department and the public
 need to be aware of how the Supreme Court views the significance of that interest
 generally, and how it balances those interests in light of important constitutional
 concerns such as free speech and free exercise of religion.

        Given the direct applicability of this case to the proposed rule’s speech
 restrictions, the Department should hold its consideration of the proposed rule,
 which affects provider speech, until after the Supreme Court decides 303 Creative.

        If the Department publishes the final rule or (as seems likely) closes the
 comment period before the Supreme Court rules in 303 Creative, it should revise its
 proposed rule and open a supplemental comment period after the Supreme Court
 issues its decision.

 V.    The proposed rule suffers from multiple procedural errors.

       A.     The proposed rule fails to give adequate definitions of key
              terms.

        The proposed rule fails, but should, define the terms used in proposed
 § 106.10. The Department proposes to enact a new regulation stating,
 “Discrimination on the basis of sex includes discrimination on the basis of sex
 stereotypes, sex characteristics, pregnancy or related conditions, sexual orientation,




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 and gender identity.” But the rule does not define “sex stereotypes, sex
 characteristics, pregnancy or related conditions, sexual orientation, and gender
 identity.” This rule does not even define what is a man, or what is a woman. Even
 though it uses the terms male and female throughout its proposed rule, it never
 addresses what these terms mean.

       The proper definition is, of course, by biological sex. No theory of
 interpretation, such as a sex-stereotyping theory, should incorporate concepts of
 gender identity or sexual orientation.

        The final rule must address these vagueness issues and define, in a non-
 circular way, what is a man and what is a woman. If the rule fails to do so, the
 Department is ignoring key issues and is failing to act with reasoned decision
 making. It is also susceptible to challenge under the due process clause for
 vagueness because the regulated community would lack clear notice of its
 obligations.

        The final rule should define these terms with precision and moreover do so
 expressly in the text of a new regulation. In particular, key terms like “gender
 identity” and “transgender status” must be defined in ways that show how they
 comport with Title IX, and in ways that are not vague or malleable. It should
 explain frankly whether and how they address persons who identify as a
 detransitioner or as gender non-conforming.

        The final rule must also address the inherent contradiction of reinterpreting
 “sex” (an immutable reality) to include “gender identity” and “transgender status”
 (subjective self-identifiers based on a person’s rejection of his or her own biological
 sex).

      Nor does the final rule define “termination of pregnancy.” It is impossible to
 know what an abortion mandate may require.

        Any final definition section must provide a rationale for any proposal that
 redefines “sex” in terms inherently contradictory to the statutory intent of Title IX
 as a whole and to Title IX’s specific provisions regarding sex-specific clubs,
 activities, facilities, and athletics, as well as to the statutory abortion neutrality
 provision. If the government does not provide definitions, it should explain why it
 will not do so, and explain why its current proposed text will not create problems of
 vagueness, lack of notice, and contradictions. It should also reopen the comment
 period to allow comment on the correct definitions to be proposed.




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         B.      The agency must ascertain important economic impacts.

        The agency should (but fails to) estimate the economic impacts of adding
 gender identity as a nondiscrimination category under Title IX. These impacts
 include estimating the number of women covered by Title IX and impacted by such
 a change, and the macroeconomic impacts on women’s opportunities generally by
 reversing the progress made since Title IX was enacted. All of the costs identified in
 this comment, in particular, must be taken into consideration, and quantified or
 estimated to the maximum extent possible for a sufficient analysis of impact, costs,
 benefits, and transfers. The agency cannot avoid this cost calculation by claiming,
 implausibly, that the rule will not change anything—the rule obviously seeks to
 impose massive changes in practice in this area, even if the Department believes its
 position to have legal authority and even if the Department believes that all of
 these changes should have been carried into effect many years ago.

       In addition to the numerous costs of the proposed rule the Department must
 consider, it must also consider alternatives, including not regulating, or
 maintaining the status quo, and provide that analysis, with analysis of each cost in
 each alternative.

     •   The agency should consider multiple alternative approaches, and it should
         specify why each alternative approach cannot be maintained.
     •   The agency should identify why each alternative is feasible or not, and it
         should give specific reasons for its conclusions.
     •   The agency should perform cost-benefit analyses for each alternative, so that
         HHS can select the most cost-effective option.
     •   If any one of the following alternative regulatory approaches better follows
         the law, better promotes good education or good medicine, or better protects
         conscience and religious freedom, it should be chosen. 86

        The agency should consider the alternative of leaving the current rule in
 place, in whole or in part, or of rescinding the current rule without replacement.

     •   The current rule ensures that the Department does not exceed its authority.
     •   The current rule helps eliminate religious discrimination and intolerance in
         healthcare. In a pluralistic society, we should respect many religious
         perspectives.


 86 Fulton v. City of Philadelphia, 141 S. Ct. 1868 (2021).




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    •   The current rule reduces burdens on schools and healthcare providers and
        improves parental rights, freedom of choice, personal dignity, and personal
        freedom.
    •   Even if part of the rule is rescinded, the Department should consider
        retaining individual portions of the past rule.
    •   For example, the Department should consider retaining the rule’s protections
        for good medicine, single-sex facilities, conscience, and religious freedom,
        especially the Title IX religious exemption.
    •   Likewise, the Department should consider retaining the scope of the current
        Section 1557 rule on the size of the regulated community, rather than
        reaching out to sweep in new regulated entities, such as insurers.
    •   The agency should consider providing for disclosure of the limited scope of
        services, rather than performance mandates, and the Department should
        consider flexible approaches to enforcement, providing for warnings rather
        than penalties for non-compliance.
    •   The agency should consider allowing regional variations to reflect the
        differences in state and local laws, including by respecting state and local
        laws that regulate or prohibit practices that the Department would otherwise
        seek to mandate, including state laws prohibiting gender interventions on
        minors and laws prohibiting abortion. Federal law should be harmonized to
        allow regional variation and flexibility, respecting the primary role of state
        and local governments to set healthcare policy.

       The agency thus should consider each individual portion of the rule, in each
 possible combination, to ensure that it has considered all possible regulatory
 alternatives to full repeal. And its cost-benefit analysis should be altered
 accordingly, on a granular level, in order to accurately consider each alternative.

       This analysis should include the following specific considerations of costs and
 benefits.

              1.     Benefits
       The Department must quantify and show the proposed rule’s benefits with
 evidence and data. But instead the proposal calls into question the benefits side of
 the equation, by opining—without evidence—that the current regulations “may
 have created a risk that Title IX’s prohibition on sex discrimination would be




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 underenforced.” 87 Nowhere does the Department show such underenforcement. And
 a rule is arbitrary and capricious if it seeks to address a problem that is not a
 problem at all. The Department thus should withdraw the rule, provide this
 evidence, reopen the comment period, and allow an orderly process of decision
 making on this point.

        Toward the same end, the proposal admits that its redefinition of sex
 discrimination “could result in increased costs to recipients, especially those
 recipients that limited the application of their Title IX policies to those forms of
 conduct” hitherto covered as sex discrimination—yet it asserts without any analysis
 that “the non-monetary benefits of providing clarity and recognizing the broad scope
 of Title IX’s protections outweighs the costs associated with the implementation of ”
 the revised definition. 88 Because this off-hand analysis fails to 1) articulate the
 extent to which discrimination (as the Department views it) is happening now,
 2) assess the costs of the expansion of the definition, and 3) compare #1 to #2, the
 analysis is arbitrary and capricious. The Department should engage instead in an
 evidence-based cost-benefit analysis.

                    2.   Distributive Impact
        The agency should consider how a rule that allows transgender athletes to
 compete in women’s sports will impact women and girls who already face
 inequitable opportunities. For example, a transgender swimmer at the University of
 Pennsylvania recently set a women’s record at the Ivy League Championship swim
 meet, superseding the previous record set by a female competitor. 89 And in
 Connecticut two transgender athletes recently “won 15 state championships that
 were once held by nine different girls.” 90 One female competitor described it as
 “discouraging and demoralizing.” 91 These anecdotes highlight the distributive



 87 87 Fed. Reg. at 41561.

 88 Id. at 41562.

 89 David Chavkin, Lia Thomas Sets Record at Ivy League Swimming and Diving Championships,

 Sports Illustrated, Feb. 18, 2022, https://www.si.com/college/2022/02/19/lia-thomas-ivy-league-
 championships-record.
 90 The battle over trans athletes in American schools heats up, The Economist, Sep. 5, 2020,

 https://www.economist.com/united-states/2020/09/05/the-battle-over-trans-athletes-in-american-
 schools-heats-up.
 91 Chelsea Mitchell, Chelsea Mitchell on the unfairness of trans women at the Olympics, The

 Economist, July 27, 2021, https://www.economist.com/by-invitation/2021/07/27/chelsea-mitchell-on-
 the-unfairness-of-trans-women-at-the-olympics.




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 impact on women and girls that the Department should consider, including in the
 form of:

    •   Displacement of women winning championships and setting records.
    •   Displacement of women competing at championship events.
    •   Displacement of women on team rosters.
    •   Deterrence on female participation on athletic teams.

                3.      Cost to Female Athletes
        The agency should consider how the rule imposes economic and non-economic
 costs on female athletes by, for example, shifting lost opportunities from males (who
 might not be talented enough to secure a spot on the men’s team) to females (where
 the same males could displace women on the women’s team).

        The agency should calculate these costs, including but not limited to:

    •   Costs of lost college scholarships.
    •   Costs of lost college admissions due to displacement on team rosters, or due
        to a student’s inability to attend because of lost scholarships.
    •   Costs of lost professional athletic opportunities.
    •   Costs of lost athletic sponsorships.
    •   Costs of lost leadership opportunities.
    •   Costs of increased incidence of injuries to female athletes by virtue of
        competing against larger, faster, and stronger male bodies in contact sports. 92
        This includes the costs of medical care, and the lost opportunities to compete,
        win championships, and obtain the other financial benefits described above.

                4.      Costs to Educational Institutions
        The agency should consider how the rule adding gender identity to Title IX’s
 nondiscrimination provisions would impose compliance costs on educational
 institutions or governing sports leagues, including but not limited to:




 92 See, e.g., World Rugby Transgender Women Guidelines, https://www.world.rugby/the-game/player-

 welfare/guidelines/transgender/women (detailing risks to female players’ welfare if forced to compete
 against males).




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    •   Costs of constructing restrooms, showers, and other facilities to protect the
        privacy of male and female athletes in the presence of transgender athletes of
        the opposite sex.
    •   Costs of researching and developing policies to support competitive equity
        and safety of female players. For example, there may be little or no guidelines
        or peer-reviewed studies on how the inclusion of transgender athletes in
        particular women’s sports like wrestling or hockey affects fairness and safety.
    •   Costs of implementing a regime of hormone testing to ensure males who
        compete in women’s sports have testosterone levels at or below respective
        guidelines, 93 or to ensure that females who are transgender and receiving
        hormone treatment do not have an unfair advantage if they continue to
        compete on the women’s team.
    •   Likely administrative and legal costs for school districts, regional athletic
        organizations, and inter-collegiate athletic organizations in managing rules
        changes, record-keeping, and participation criteria, and responding to
        potential legal challenges from displaced female athletes.
    •   Likely costs, apart from athletics, of a “gender identity” criteria that results
        in greater need for retrofitting school and institutional facilities to
        accommodate student needs for privacy (single stall “all-gender” restrooms
        and locker rooms instead of multi-user facilities; measures to ensure privacy
        in dormitories and overnight accommodations; signage changes; and other
        additional privacy measures, e.g., doors, curtains, and other measures).
    •   Potential increased costs in monitoring for and preventing any sexual
        assaults in all-gender restroom and locker room facilities, occasioned by male
        students gaining unchallenged access to female facilities or in response to
        female requests to ensure safe access to shared facilities.

        The proposed rule, 87 Fed. Reg. at 41552, also underestimates the costs to
 schools (in employee time) and students (in lost productivity) for attending lengthier
 trainings which would be caused by the proposed rule if finalized. The proposal
 claims that, because schools have an interest in keeping these trainings as short as
 possible, they will find a way to add no time to the trainings. But if in fact the
 schools have such an interest, then they have already made them as short as



 93 See, e.g., USA Swimming Athlete Inclusion, Competitive Equity and Eligibility Policy,

 https://www.usaswimming.org/docs/default-source/governance/governance-lsc-website/
 rules_policies/usa-swimming-policy-19.pdf (requiring proof of testosterone levels below guidelines for
 36 months).




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 possible, so lack any spare time in the current trainings to devote to the proposed
 rule’s new requirements. Because so many schools, employees, and students are
 involved, this is a potentially large additional cost. Further, the proposed rule does
 not calculate the costs to students of lost productivity at all.

        Of further critical importance is the Department’s failure to consider the
 likely litigation costs from its new proposal. The Department admits that “there
 may be some costs associated with potential litigation,” but it declines to predict
 how large or small those costs will be. 94 Given the manifold risks of constitutional
 and statutory violations outlined in this comment, the failure to identify and
 quantify these risks and costs is arbitrary and capricious. The final rule should
 correct this error by providing this important data and by engaging in a cost-benefit
 analysis. Indeed, commenters are predicting “a wave of litigation.” 95

        The agency should also consider the unnecessary costs imposed if the
 religious exemption rules are changed. 96

     •   Religious educational institutions would incur costs and information
         collection burdens associated with the preparation (by institutions) and
         processing (by the Department of Education’s Office for Civil Rights) of a
         wave of new exemption confirmation requests by institutions that have been
         assured (both by the statutory text and the May 2020 regulation) that they
         need not undergo the optional administrative process until such time (if ever)
         they face a charge of discrimination under Title IX.
     •   The rule would cause unnecessary costs for institutions for whom the
         Department might incorrectly deem ineligible for the Title IX religious
         exemption on the ground that they are controlled by their boards of trustees
         as opposed to some separate external entity.
     •   The rule could incur costs on students at religious educational institutions
         who may effectively lose their federal financial assistance in the event schools
         deemed ineligible for the Title IX religious exemption elect to forego




 94 87 Fed. Reg. at 41561.

 95 Colleen Murphy, 'A Wave of Litigation' Likely as Proposed Title IX Changes Roll Back Due Process

 Rights at Universities, Observers Say, N.Y.L.J., July 13, 2022, https://www.law.com/
 nationallawjournal/2022/07/13/proposed-title-ix-changes-would-roll-back-due-process-rights-at-
 universities-causing-wave-of-litigation/.
 96 20 U.S.C. § 1681(a)(3); 34 C.F.R. § 106.12.




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         participation in federal student aid programs in order to avoid unlawful and
         unconstitutional applications of Title IX to them.

                 5.      Costs to Students
      The rule under review could pose significant costs to students in the
 combined effect of adding gender identity nondiscrimination provisions and the
 removal of due process protections afforded by the previous administration.

     •   Students have a First Amendment right to freedom of speech when attending
         a public educational institution, or when being regulated by a federal statute
         such as Title IX. This includes the freedom to speak one’s views on a public
         campus regarding issues of sexuality and gender identity, and to use
         pronouns that the speaker deems appropriate. It also includes the freedom
         not to be punished by Title IX and its regulations for engaging in speech on
         those issues.
     •   A rule adding gender identity nondiscrimination provisions to Title IX and
         simultaneously removing due process protections could lead to students being
         accused of discrimination or harassment under Title IX because of the
         students’ exercise of free speech on campus concerning issues of sexuality or
         use of pronouns to which others object.
     •   These accusations, combined with the lack of due process protections for
         students, could lead to excessive burdens and costs on students for exercising
         their freedom of speech.
     •   Costs to students may also include costs from false convictions (made more
         likely by some of the NPRM’s changes, such as impeding access to evidence
         that the schools deem irrelevant) and costs to students and employees who
         can no longer attend or work at schools receiving federal funding because
         they would be compelled to violate their beliefs about gender.
     •   Costs to students and to their parents and families from the proposed rule’s
         interference with the parent-child relationship, as described above.

        The Department has utterly failed to quantify these costs to students. 97 The
 proposed rule examines only costs to institutions; it does not examine costs to
 students. But, as shown throughout this comment, evidence shows significant costs
 to students. So this is a major oversight, and failure to rectify it would render the




 97 87 Fed. Reg. at 41547 et seq. (cost-benefit analysis).




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 final rule arbitrary and capricious. Any attempt to quantify these costs should also
 be subject to a separate comment period, so that it can properly subject to scrutiny.

              6.     Other Costs to Society
         The agency should consider how the adverse effects on women and girls
 described above impact society and our economy. The agency should calculate these
 costs, including but not limited to the impact of fewer women obtaining college
 degrees because they were displaced on a team roster or lost college scholarships.
 These costs include the downstream effects of fewer women obtaining higher
 salaries and other measures of economic success correlated with a college education.
 The cost analysis should also consider the added financial, health, administrative,
 legal, and other costs likely to be incurred by society and individuals as a result of
 the Department’s undoing of sex-based protections and opportunities that have
 been in place for decades and successfully ensured female equality and
 advancement.

       It must also quantify the costs of States and schools losing federal funding—
 including an estimate of which States and schools will lose funding—and by how
 much and with what downstream effects, rather than comply with the rule. This
 impact should be measured in evidence, reflecting the many States and many
 schools that have already sued and indicated an unwillingness to comply.

              7.     Costs to the Unborn and Pregnant Mothers
        The Department should also quantify the irreparable loss of life to the
 unborn who are killed via abortion as a result of the pressure to abort and the
 coercion to abort, which will be caused by this rule. It must also quantify the impact
 and unfairness to other students (grades, participation, etc.) because of any
 reasonable modification (such as delayed or longer test taking) due to leave for
 abortions. More importantly, it must quantify the irreparable loss of First
 Amendment rights to free speech or free exercise of religion rights for any school
 employee (such as a counselor) forced to promote or refer for abortion; for any
 student or employee silenced from speaking out against abortion; for any other
 chilling of pro-life free speech; and for the negative impacts on the parent-child
 relationship.

        As to method, the Department must quantify the loss of life, productivity,
 and intangible value of the lives lost to abortion. It must apply a statistical value for
 each life cut short in the womb. As a matter of equality and human dignity, it
 should not assign a lesser value to some people than to others. This means that it
 should value children in the womb as people. Under the principle of inter-
 generational neutrality, future generations should not be treated as of lesser



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 concern. Applying a discount rate to their welfare poses serious ethical concerns. It
 should also consider the harms of abortion to pregnant women, including their long-
 term mental health.

                 8.      Small Businesses and Non-profits
       The agency needs to assess the impact on small businesses, which includes
 nonprofit entities, under the Regulatory Flexibility Act (“RFA”).

     •   If fewer women have the opportunity to go to college due to a lack of an
         athletic scholarship, that will impact businesses who are looking to hire new
         employees, particularly in female dominated fields that require a college
         degree. 98
     •   Religious educational institutions are small entities for purposes of the RFA,
         and any changes to the Title IX rule that affects a substantial number of
         them needs to account for and certify the impacts on those institutions.

        The proposed rule fails to implement these requirements. For instance, at
 p. 41565, the discussion of impacts on small entities just states that discrimination
 can occur at small entities, and therefore no modifications can be made for them.
 But the RFA requires that agencies do more than assess whether the harm against
 which the regulation protects can be found at small entities; rather, the Department
 has the obligation to determine whether the smallness and presumably slender
 resources of small entities warrant the application of different rules than to large,
 well-funded entities.

                 9.      Healthcare and Housing
        The rule must consider its impact on Section 1557 in healthcare and on
 housing under the Fair Housing Act. When issuing a far-reaching rule like this one,
 the Department must consider the impact of those regulations on other laws and in
 other contexts. For example, Section 1557 of the Patient Protection and Affordable
 Care Act incorporates Title IX’s prohibition against sex discrimination. Section 1557
 guarantees that no individual can “be excluded from participation in, be denied the
 benefits of, or be subjected to discrimination under,” any federally run or federally
 funded health program “on the ground prohibited under . . . Title IX.” 99 Thus, how



 98 For example, women fill a majority of the following positions: veterinarians, physician assistants,

 speech language pathologists, dietitians and nutritionists, human resource management,
 psychologists, and occupational therapists.
 99 42 U.S.C. § 18116(a) (citing Title IX, 20 U.S.C. § 1681 et seq.).




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 the Department defines the ground of sex discrimination under Title IX in its
 regulations could have direct impact for Section 1557 and the healthcare context.
 That is why the Department must also evaluate the impact of the rule on Section
 1557 and the healthcare context. Likewise, the Department of Housing and Urban
 Development has interpreted the Fair Housing Act’s prohibition on sex
 discrimination in practice and in enforcement purportedly in a way that harmonizes
 with Title IX on campus. If Title IX is changed, this housing enforcement will
 change, too, and so the Department must address this issue and quantify its costs.

       The Department also should consider this rule in an omnibus rulemaking
 with the related Section 1557 rule, and in joint inter-agency rule led by the
 Department of Justice under Executive Order 12,250, so that a holistic sense of
 statutory interplay and related costs and benefits may be established.

        As to the specific assessment of healthcare costs, the proposed rule will create
 poor health outcomes—costs which must be quantified. The Department must
 quantify the harms of gender procedures and the costs of the resulting necessary
 lifelong care. The Department must quantify the immediate and long-term risks
 relative to benefit of these new forms of medical intervention, including significant
 intervention-associated morbidity, especially evidence that raises concerns that the
 main goal of suicide prevention is not achieved. The Department should consider in
 its assessment of the health benefits and costs of encouraging and mandating
 gender interventions studies showing the lifelong costs of such interventions in the
 form of ongoing treatment and negative side effects. This quantification should
 include data on the precise encouraged or mandated services, procedures,
 treatments, drugs, surgeries, and more to be covered by insurance or provided by
 healthcare professionals, including whether this includes services for
 detransitioners, and including their number, direct cost, cost of follow-up
 treatments and complications, and their attendant increase in premium costs. This
 data should also quantify the number of people covered by age, including minor
 children, including estimated annual increases. The Department should identify the
 present number and qualifications of doctors willing to perform such services,
 especially on minor children. The Department must quantify the number and costs
 of malpractice and other suits by those who regret gender interventions against
 practitioners who performed them.

        As to healthcare, if it requires certain procedures or actions in healthcare
 settings as to gender identity, the proposed rule will also transfer costs to
 healthcare providers and patients more generally—costs that the Department must
 also quantify.




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   •   It must quantify the cost to the health care profession of requiring healthcare
       providers nationwide to violate the Hippocratic Oath, which requires they “do
       no harm” and refrain from providing gender interventions and participating
       in abortion.
   •   Any improvement in access to services by government attempts to coerce
       participation in objectionable practices will be greatly outweighed by
       transferred costs to others. Any new mandates are bad medicine and will
       drive many good providers out of healthcare unless the rule exempts
       scientific, moral, conscientious, and religious objections. Any benefits in
       increasing access to for some, by coercing the provision of objectionable
       services, will be massively offset by curtailing access to the healthcare
       marketplace for patients and providers overall and in specific fields like
       obstetrics. By driving religious healthcare providers in particular out of
       medicine in many settings, the government will increase existing health
       disparities in rural and underserved communities, which will in turn raise
       prices.
   •   Any benefits in regulatory clarity will be offset by uncertainty about the
       government’s shifting view of what constitutes discrimination and about its
       disregard for conscience and religious freedom protections.
   •   The agency should consider the costs from freezing the development of
       medical research, including the problems attendant upon mandating a
       standard of care and preventing the free flow of medical information.
   •   The agency should identify the costs of the lack of public trust in healthcare
       overall from its efforts to set a standard of care contrary to the best interests
       of patients and contrary to state laws.
   •   Because the current law protects conscience, religious freedom, diversity, free
       speech, and pro-life nondiscrimination, the Department should calculate the
       cost of losing those benefits. The agency should assess how rescinding this
       rule would lead to further discrimination, intolerance, and marginalization of
       religious people in healthcare, particularly those who are members of
       minority religions or those who lack a cause of action to vindicate a statutory
       conscience right.
   •   The agency must quantify the free speech harms of making doctors use
       preferred pronouns contrary to biology, of refraining from free medical
       discussions, and of inaccurately charting patient sex.
   •   The agency should consider the burdens and costs resulting from loss of
       diversity in healthcare from non-enforcement of statutory protections and
       from rescission of the rule, and it should assess the number of religious



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       people and organizations out of practice or likely to be expelled from
       healthcare that currently should have protection under this regulation.
   •   The agency must state how many people will choose not to enter the health
       care profession or certain practices like obstetrics as a result of the proposed
       rule and lack of conscience protections.
   •   The agency must calculate the stresses to be placed on the nation’s
       infrastructure of healthcare as a whole, and the detrimental public health
       consequences resulting from the inability of conscientious providers to
       participate in healthcare practice on equal terms.
   •   The agency should quantify the number and demographics of healthcare
       providers and institutions that will be driven out of the practices they built,
       and estimate their economic value, including loss of livelihood, unpaid small
       business loans, defaulted mortgages or leases, and unpaid student loan debt.
   •   The agency should quantify the number and demographics of patients who
       have lost or lose the ability to find any provider or the provider of their
       choice, and who thus are less likely to seek or receive timely care. The loss of
       a provider because of government coercion increases travel costs, reduces
       regular care, risks higher morbidities, and creates a lack of trust for patients,
       who will not easily trust new providers who do not share their values,
       another factor to quantify.
   •   The agency must calculate the costs of constructing hospital wards, exam
       rooms, locker rooms, restrooms, showers, and other facilities to protect the
       privacy of male and female patients and providers in the presence of the
       opposite sex, such as single-stall rooms or new privacy screens, and the
       potential increased costs in monitoring for and preventing any sexual
       assaults in all-gender restroom and other facilities, occasioned by males
       gaining unchallenged access to female facilities or in foreseeable response to
       foreseeable female requests to ensure safe access to shared facilities.
   •   The agency must calculate the costs to health and welfare of women deprived
       of female-only health programs, such as breastfeeding support groups or
       postpartum mental health groups or mother-baby groups, or breast cancer
       groups, given the foreseeable reluctance of women to participate in programs
       that cannot guarantee female privacy.
   •   The agency must calculate costs for employees who lose their jobs or cannot
       practice medicine, including not only their economic losses, but greater
       payments in unemployment benefits, and decreased productivity among
       companies that lose employees. These combined factors will contribute to an
       increase in the national debt. The agency must calculate the rule’s costs in



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        exacerbating existing labor shortages, and the negative effects on the
        economy overall should also be calculated.
    •   The rule will contribute to a shortage in labor because many employees will
        quit or accept termination rather than participate in objectionable practices.
        Economic and health costs also result to consumers from exacerbating labor
        shortages. Shortages in nursing have led to increased travel and medical
        costs for patients, for example.
    •   The agency must calculate the rule’s costs for time spent reading and
        understanding how to comply with the rule and for costs spent availing
        themselves of rights that HHS will not defend, respect, or enforce, including
        through litigation, measured in terms of time, expenses, and uncertainties.
    •   The agency must estimate the effects of all of the above to federal, state, and
        local healthcare programs like Medicaid.

                10.     Proper Assessment of Evidence and Costs
       The agency should consider, with citations, a fair view of science and
 medicine on gender interventions and abortion from all perspectives. 100

       This evidence-based decision making should include considering scholarship
 pointing out the deficiencies in studies on gender dysphoria.

        There is a lack of high-quality scientific data for common gender identity
 interventions, such as the general lack of randomized prospective trial design, a
 small sample size, recruitment bias, short study duration, high subject dropout
 rates, and reliance on opinion. There are serious deficits in understanding the cause
 of this condition or in understanding the reasons for the marked increase in people
 presenting for care. 101

       The agency should ensure the objectivity of any scientific and medical
 information by avoiding reliance on standards promoted by advocacy groups and
 industry groups with a financial incentive in promoting gender interventions and


 100 Both in 2016 and in 2021, in its Section 1557 rules, HHS failed to adequately consider one side of

 the issue—the side for which, in medical practice, sex is a biological reality; patients are harmed by
 imposing the provision of controversial and dangerous medical procedures; and patients are harmed
 by preventing doctors from providing full and timely disclosure of all relevant health information
 about gender identity procedures and interventions. Instead, HHS only considered evidence from the
 other side of the issue, mostly from advocacy groups. 81 Fed. Reg. at 31,429 n.263.
 101 See, e.g., Paul W. Hruz, Deficiencies in Scientific Evidence for Medical Management of Gender

 Dysphoria, 87 Linacre Quarterly 34, 34-42 (2019), https://doi.org/10.1177/0024363919873762.




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 abortions. This means avoiding uncritical acceptance of biased sources of
 information such as the American College of Obstetricians and Gynecologists
 (ACOG), Planned Parenthood, the Guttmacher Institute, and related groups.

        The agency should not use unreliable or inapposite studies. That includes
 avoiding uncritical reliance on self-selected online surveys, polls with cash prizes,
 studies with tiny samples, and studies missing more than half of their subjects. 102
 The agency also should not generalize from studies involving adult patients and
 clinics with strong gatekeeping procedures to studies involving minor patients and
 clinics without strong gatekeeping procedures. 103 The agency should not repeat the
 mistakes that HHS made in the recent document “Gender-Affirming Care and
 Young People.” 104 HHS’s claims conflict with the conclusions of more and more of
 other nations’ public health authorities, misreads data, and ignores contrary
 evidence. 105

       The agency should take care to quantify the number of detransitioners, which
 could number in the tens of thousands (and growing), as a detrans subreddit has
 over 26,000 members, with 4,000 new members since December 2021. 106




 102 Nathanael Blake, The Studies Cited To Support Gender-Bending Kids Are Largely Junk Science,

 The Federalist, Mar. 10, 2020, https://thefederalist.com/2022/03/10/the-studies-cited-to-support-
 gender-bending-kids-are-largely-junk-science/; Nathanael Blake, What We Don’t Know: Does Gender
 Transition Improve the Lives of People with Gender Dysphoria? Public Discourse, Apr. 13, 2019,
 https://www.thepublicdiscourse.com/2019/04/51524/.
 103 Id.

 104 HHS, Gender-Affirming Care and Young People, https://opa.hhs.gov/sites/default/files/2022-

 03/gender-affirming-care-young-people-march-2022.pdf.
 105 See, e.g., Society for Evidence-Based Gender Medicine, Fact-Checking the HHS (April 7, 2022),

 https://segm.org/fact-checking-gender-affirming-care-and-young-people-HHS (explaining that “a
 number of the claims made in the document range from overreaching to highly misleading,” such as
 “[m]isstatements of the effects of social transition on well-being”; “[u]nsupported claim of the
 reversibility of puberty blockers”; “[i]naccurate statement regarding the age eligibility for surgeries”;
 “[e]rroneous claims about the effects of gender transition on adolescent mental health”; “[o]mission of
 any discussion of risks”; “[c]onflation of distinctly different concepts”; “[m]isleading information on
 the incidence of suicide and suicidality,” and the HHS document relied on an “[i]nadequate literature
 review”; “[b]iased recommendations that do not acknowledge the low quality of evidence”; “[f]ailure
 to consult a range of stakeholders with diverse views”; and “[l]ack of identification or
 acknowledgement of alternatives.”).
 106 Ginny Gentles, Detransitioners and Parents vs. Gender Ideology, Independent Women’s Forum

 (March 30, 2022), https://www.iwf.org/2022/03/30/detransitioners-and-parents-vs-gender-ideology.




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        The analyses of the effect of conscience protections should also occur in light
 of HHS OCR’s record-high receipt of complaints between 2017–2020 identifying
 violations of conscience laws in comparison to the much smaller number of
 complaints filed before OCR announced in 2017 that it was “open for business” in
 enforcing these laws.

        C.     The proposed rule fails to account for increased compliance
               costs.

      The proposed rule fails to consider important factors, explore sufficient data,
 and make necessary estimates.

        First, recipient institutions previously had responsibility where there was
 “actual knowledge of sexual harassment.” The proposed rules provide, “A recipient
 must take prompt and effective action to end any sex discrimination that has
 occurred in its education program or activity.” 107 Combined with the new
 obligations of administrators to report and take action for anything that “may
 constitute sex discrimination” under proposed § 106.44(b) & (f), dramatically
 expanding (1) potential liabilities of the recipients, (2) costs of compliance, and (3)
 likely restrictions on speech in order to avoid those liabilities.

        Second, the Department says that it “assumes that the proposed regulations
 would ultimately have a de minimis effect on the time burden for employees
 associated with training, but requests comment on this assumption.” 108 Expanding
 from “sex” to “sexual orientation and gender identity” is an enormous expansion and
 raises myriad sensitive, difficult issues surrounding names, pronouns,
 recordkeeping, access to facilities, and more. This will exact far more than de
 minimis training costs. The Department should generate a well-supported estimate
 of those costs.

        Third, the Department “anticipates that the proposed regulations may
 increase the number of incidents for which supportive measures are provided per
 year,” but never addresses any costs associated with litigation. 109 As recent cases
 indicate, incidents of supportive measures (including no-contact orders giving rise to
 costly litigation) are on the rise even without the dramatic expansion the proposed




 107 NPRM at 672.

 108 NPRM at 598.

 109 NPRM at 602.




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 rules will authorize. 110 The Department should estimate (1) the likely increase in
 the number of supportive measures offered, (2) the cost of offering measures
 themselves, and (3) the likely litigation costs in view of the extent to which the
 proposed rules authorize use of supportive measures that restrict constitutionally
 protected speech.

       Finally, the Department notes in passing that “[a]s this is an evolving area of
 the law, the Department anticipates there may be some costs associated with
 potential litigation.” 111 The Department has failed to account for potential litigation
 from female athletes who have experienced lost opportunities or injury from males;
 students and even teachers whose First Amendment speech and expression is
 censored; school districts who are being forced to violate state law or risk their
 federal funding; and parents whose children are being pushed towards dangerous
 and unscientific ideologies behind their backs.

         D.      The proposed rule would improperly impose additional
                 paperwork costs, should it amend the religious exemption
                 procedures.

        There is also no need for regulatory action to the extent the administration
 plans to restrict or repeal regulations issued by the previous administration that
 protect the religious exemption that Title IX affords to religious colleges and
 universities. Pursuing such actions would impose significant costs, including
 unnecessary information collection requirements under the Paperwork Reduction
 Act. These costs should be considered expressly, and they are reason alone to ensure
 that the rule does not change the procedural requirements for invoking the religious
 exemption.

        Title IX includes a robust religious exemption, which declares that “this
 section shall not apply to an educational institution which is controlled by a
 religious organization if the application of this subsection would not be consistent
 with the religious tenets of such organization.” 112




 110 See, e.g., Perlot v. Green, No. 3:22-cv-00183-DCN, 2022 WL 2355532, at *3–4 (D. Idaho June 30,

 2022). See also DeJong v. Pembrook, No. 22-1124 (S.D. Ill. May 31, 2022).
 111 NPRM at 628.

 112 20 U.S.C. § 1681(a)(3).




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        Decades ago, the Department created by regulation a process under which a
 religious educational institution may seek confirmation of its possession of the
 exemption with respect to particular applications of Title IX. 113

        Recent regulations relieved the regulatory and paperwork burdens of those
 rules by acknowledging that religious schools are statutorily exempt and do not
 need to pursue a paperwork confirmation of their exemption. 114

        The Education Department’s Office for Civil Rights, to our knowledge, has
 never declined to confirm an institution’s possession of the exemption on the ground
 that it is controlled by its board of trustees as opposed to some separate external
 entity. Nor has it declined to acknowledge the applicability of the exemption when
 an institution invokes it for the first time in response to a charge (as opposed to
 having gone through the optional administrative confirmation process at an earlier
 time).

        The proposed rule does not purport to affect these recent rule changes. Nor
 should it do so. The confirmation process re-created if the Department repeals the
 recent rules would therefore impose unnecessary regulatory costs and paperwork
 burdens on religious schools. And the 2020 rule avoided unnecessary costs by
 deferring to colleges and universities concerning their religious control under the
 Title IX exemption rather than requiring them to establish that control through a
 flawed interpretation of the statute.

        Religious educational institutions are by definition controlled by a religious
 organization. The Department of Education recently acknowledged the existence of
 religious control at Brigham Young University in response to a complaint. 115 This is
 consistent with the approach taken by the 2020 regulation acknowledging that
 religious schools satisfy the control element of the Title IX exemption by virtue of
 having religious boards. And we are not aware of the Department ever rejecting a
 religious school’s request for confirmation of exemption, much less because of how
 their governing board is structured.




 113 See 34 C.F.R. § 106.12; 45 FR 30955, 30958 (May 9, 1980).

 114 See 85 FR 30026, 30573 (“An institution is not required to seek assurance from the Assistant

 Secretary in order to assert such an exemption.”)(May 19, 2020); 85 FR 59916, 59980-59981 (setting
 forth exemption eligibility criteria)(Sep. 23, 2020).
 115 U.S. Department of Education letter to Kevin J. Worthen, https://www2.ed.gov/about/offices/list/

 ocr/docs/t9-rel-exempt/brigham-young-university-response-01032022.pdf.




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 Miguel A. Cardona
 Secretary of Education
 U.S. Department of Education
 VIA REGULATIONS.GOV


 RE:   Nondiscrimination on the Basis of Sex in Education Programs or
       Activities Receiving Federal Financial Assistance
       Docket ID ED-2021-OCR-0166

       The Rule Will Harm Parental Rights and Endanger Children


 Dear Secretary Cardona,

        Fifty years ago, Congress acted to protect equal opportunity for women by
 passing Title IX. Now, by radically rewriting federal law, the Biden administration
 is threatening the advancements that women have long fought to achieve in
 education and athletics. Along with denying women a fair and level playing field in
 sports, this new rule seeks to impose widespread harms, including threatening the
 health of adults and children, denying free speech on campus, trampling parental
 rights, violating religious liberty, and endangering unborn human life.

        Alliance Defending Freedom (ADF) submits these comments on the Notice of
 Proposed Rulemaking (NPRM) on Title IX of the Education Amendments of 1972,
 Docket ID ED-2021-OCR-0166. ADF is an alliance-building legal organization that
 advocates for the right of all people to freely live out their faith. It pursues its
 mission through litigation, training, strategy, and funding. Since its launch in 1994,
 ADF has handled many legal matters involving Title IX, the First Amendment,
 athletic fairness, student privacy, and other legal principles addressed by the Notice
 of Proposed Rulemaking.

       ADF strongly opposes any effort to redefine sex in federal regulations
 inconsistent with the text of Title IX itself, or otherwise impair First Amendment,
 due process, or parental rights. ADF thus urges the Department of Education to
 withdraw and abandon the NPRM.

       These comments focus on the negative impact of the proposed rule on
 parental rights and the well-being of children. By redefining “sex” to encompass




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     “gender identity,” the Department of Education wrongly seeks to compel schools to
     treat students as whatever sex they like — without parents’ knowledge or consent.

I.         Redefining “sex discrimination” to include gender-identity
           discrimination undermines parental rights and exposes children to
           the risk of long-term harms.

            What role do parents play in deciding the medical and psychological care of
     their children? Do school officials have the right to supersede the authority and
     stated intent of parents when it comes to some of the most important decisions
     regarding their children?

            Most Americans, and especially most parents, would agree that outside of
     extreme circumstances, parents should be the ones making crucial decisions about
     their children’s health and well-being.

            Across the country, school districts are beginning to introduce policies that
     require staff to ask students to provide their preferred name and pronouns. The
     rationale underlying these questions is that students will express their “gender
     identity” through the use of these names and pronouns. Staff are then required to
     use any name and pronoun the student provides, even if the names and pronouns
     are different from the registration or enrollment documents provided by the
     student’s parents. And staff are also required to keep the use of these preferred
     names and pronouns confidential from the student’s parents or guardians — hiding
     their use when communicating with parents or guardians, for example, on
     documents sent home — unless the student specifically authorizes staff to disclose
     their use.

            The implications of such policies are clear: School districts are enabling
     students to lead double lives — using one name and set of pronouns at school and
     another at home, without their parents’ knowledge and consent. The lack of
     parental knowledge is no accident. The purpose of these policies is to cut parents
     out of decisions about their children until school officials have decided that they will
     approach their child’s desire to live as the opposite sex the way that school officials
     want them to approach it.

            Keeping such sensitive information secret from parents is a grave imposition
     on their fundamental rights. If schools keep secrets from parents, how can parents
     direct the upbringing of their children? In almost all cases, parents know their
     children better than any school official could. If schools give parents unreliable
     information about their children’s mental health at school, how can parents make
     decisions regarding their children’s education and healthcare in a manner that is
     best for their individual child and consistent with their family’s values or religious
     beliefs? Because these policies turn school officials into gatekeepers — controlling


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 parents’ access to information about their own children — they are
 unconstitutional.

        As a result, ADF is already challenging these policies in court. The
 Harrisonburg City Public School Board in Virginia has one such policy. Upon a
 child’s request, Harrisonburg’s policy requires staff to immediately begin using
 opposite-sex pronouns and forbids staff from sharing information with parents
 about their child’s request, instead instructing staff to mislead and deceive parents.
 This policy (and others like it) usurps parents’ right to direct the upbringing of their
 children. It also forces school staff to violate their religious beliefs by affirming the
 board’s view on gender identity — not to mention by lying to parents.

        Such policies will only proliferate if the Department adds proposed section
 106.10 (defining sex discrimination to include gender identity) and the new
 proposed definition of “sex-based harassment” under section 106.2 to the Title IX
 regulations. Indeed, the notice of proposed rulemaking cites with approval two
 specific policies — one from the California Department of Education, and another
 from Washoe County School District in Nevada — that instill these requirements
 around the use of names and pronouns. 1 According to the rule, the “requirement to
 permit students to participate [in education] consistent with their gender identity
 may require updating of policies.” 2

       Those two approved policies, from California’s Department of Education and
 Nevada’s Washoe County School District, say that schools need to share nothing
 with parents when a child expresses gender dysphoria.

        Washoe’s policy says that transgender students have “the right to discuss and
 express their gender identity and expression openly and to decide when, with
 whom, and how much to share their private information.” Staff must not “disclose
 information that may reveal a student’s transgender or gender non-conforming
 status to others, including parents/guardians or other staff members,” unless the
 student specifically authorizes it. Similarly, California insists that with “rare
 exceptions, schools are required to respect the limitations that a student places on
 the disclosure of their transgender status, including not sharing that information
 with the student’s parents.” Instead, once students assert an alternative gender
 identity, the school must refer to them by preferred pronouns, let them use the
 bathrooms or locker room of their choice, and practice so-called “social transition” or
 “social affirmation” (a potentially life-changing psychotherapeutic intervention at
 the center of a roiling international debate) — all while intentionally deceiving



 1 Notice of proposed rulemaking document – p627; 87 Fed. Reg. at 41,529.
 2 87 Fed. Reg. at 41,391.




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 parents. They’re kept in the dark and cut out of crucial decisions about their own
 children. 3

        Given the clear threat to parental rights that these policies represent, as well
 as the potential harms faced by students who have no parental oversight on such
 changes, ADF strongly opposes the Department’s proposed redefinition of sex to
 include gender identity. The Department should not adopt these proposed
 regulations.

        A. The Department must expressly consider the impact on parental
           rights.

       The proposed rule must directly consider the impact on parental rights, in
 each of its applications and across all of its changes to Title IX.

        Parents take care of us before we can take care of ourselves. They bring us
 into the world. They teach us to walk, to talk, to love. They prepare us to enter
 society and live as upstanding citizens.

        Of all the people who share in shaping a child’s moral character and the
 adults they become — from teachers and coaches to spiritual mentors, extended
 family, and others — parents have far and away the deepest and most enduring
 influence. The men and women we are often reflect the men and women our parents
 were.

       Everyone should care about how children are raised. They become our
 nation’s leaders, after all. Everyone should also be able to agree that, in nearly
 every case, parents are best positioned to protect their children’s health and
 welfare.

        Children are first and foremost the responsibility of their parents. The
 unique and intimate relationship between a parent and a child creates a duty and a
 corresponding natural right. Parents’ right to direct the upbringing and education of
 their children is “pre-political.” What does that mean? Parental rights are natural
 rights that exist before the state. They cannot be given or taken away by a
 government. In the words of the U.S. Supreme Court, children are not “mere
 creature[s] of the state.” 4

        Parental rights include, but are not limited to, making decisions regarding
 children’s education and healthcare in a manner consistent with their family’s

 3 Max Eden, Title IX’s anti-parent secret agenda (June 24, 2022),

 https://www.washingtonexaminer.com/restoring-america/community-family/title-ixs-anti-parent-
 secret-agenda.
 4 Pierce v. Soc’y of Sisters, 268 U.S. 510, 535 (1925).




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 values and religious beliefs. Parents must do so to promote their children’s general
 health and well-being.

       Although the law recognizes the rights of parents, parental rights are under
 increasing attack from public-school indoctrination and state governments.
 Sometimes, tragically, parents fail at providing their children’s most basic needs.
 When that happens, the government plays an important role. But the government
 should never replace parents. Great teachers recognize this. Therefore, they seek to
 support the role of parents including, and especially, in the classroom.

        Students deserve to learn in a classroom where they, their parents, and their
 views are treated with respect. Imposing a particular (and hotly debated) political
 viewpoint on students on questions about gender and sexual orientation stigmatizes
 those who hold disfavored views. According to Mary Hasson of the Ethics and Public
 Policy Center, “An education environment that, implicitly or explicitly, labels or
 treats students as ‘bigoted’ because of their beliefs denies that child the right to a
 supportive educational environment, effectively denying them meaningful access to
 the right to an education.” 5

       Alliance Defending Freedom litigates precedent-setting cases to protect
 parents and help to shape and defend public policy that enshrines parents’ rights as
 fundamental.

        B. Efforts to hide the use of students’ “preferred” names and
           pronouns from their parents or guardians represent a clear threat
           to parental rights.

        Redefining the word “sex” in Title IX in the new Biden administration rule
 will pressure schools to mislead emotionally distressed children into thinking they
 can change their sex. Schools could face investigation if they do not address
 students who are confused about their sex with pronouns and names that
 correspond to the opposite sex or to the concept of being “non-binary.”

        The proposed rule could even mandate “gender support plans,” which
 challenge the truth that we are born male and female and erroneously suggest that
 a doctor “assigns” a child’s sex after the child is born. Schools often develop these
 plans without informing parents or asking for their consent. Some schools even lie
 to parents about the existence of these plans. The implementation of such plans in
 schools from coast-to-coast is directly undermining the vital role that parents play
 in guiding children’s education and health care decisions.


 5 Emilie Kao & Jared Eckert, Promise to America’s Children Warns of Destructive Equality Act LGBT

 Agenda, Daily Signal (Feb. 18, 2021), https://www.heritage.org/gender/commentary/promise-
 americas-children-warns-destructive-equality-act-lgbt-agenda.


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       Children who experience feelings of confusion or discomfort with their bodies
 need to be protected from the irreversible damage that results from social and
 medical interventions on their young minds and bodies. They need compassion and
 understanding. They need wise counsel and the truth.

        They need their parents. Parents love and know their children best, and it is
 their fundamental right to help their children make decisions about their physical
 and mental health.

        The truth is that there are only two “sexes.” Gender dysphoria (the distress
 someone experiences when they have a disconnect between their bodily sex and
 internal sense of gender) is a serious condition that should be treated with humane
 and compassionate responses. Adults, youth, and children who suffer from gender
 dysphoria deserve to be treated with the utmost respect and great compassion, but
 no child is born in the wrong body. Schools should not encourage students to treat
 their bodies, including their biological sex, as a mistake.

        All children need protection, and redefining “sex” under Title IX (or any other
 statute) will endanger them. In most cases, children need the protection of their
 parents — not protection from their parents. This is particularly the case with
 children suffering from distress caused by feelings of discomfort with their sex. Kids
 struggling with their gender identity should be free to voice their distress, but
 parents (not schools) must be allowed to choose the best mental health treatment
 for their individual child's needs. Schools cannot presume that all parents are unfit
 to make such choices.

       C. The proposed rule unconstitutionally seeks to violate parental
          rights.

        Policies like the proposed rule that ignore biological reality — ignore sex —
 pose serious risks to student health and safety and undermine the fundamental
 right of parents to direct the upbringing and education of their children. And the
 U.S. Supreme Court has long held that the Constitution safeguards that right.

        In particular, erroneously redefining “sex” to include gender identity will
 hasten the spread of secretive “gender support plans,” which, at their core,
 undermine parental rights. Under the Department’s incorrect view of Title IX,
 schools may be required to violate parental rights simply because parents do not
 conform to politically correct ideologies. No government authority should override
 the authority of parents to protect the well-being of their children by enacting such
 policies.




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        Where school policy allows students to begin a secret life at school,
 inconsistent with their sex, without the knowledge and consent of their parents, the
 policy violates the constitutional rights of the parents.

        Parents have a fundamental human right to direct the upbringing of their
 children. One of the most fundamental and longest recognized “liberty interests”
 protected by the Fourteenth Amendment to the U.S. Constitution is the right of
 parents to “direct the upbringing and education of children under their control.” 6

        Case law establishes three important principles with respect to parents’
 rights.

        First, parents are the primary decision-makers with respect to their minor
 children — not the children’s school. 7

        Second, courts recognize that “parents possess what a child lacks in maturity,
 experience, and capacity for judgment required for making life’s difficult decisions,” 8
 and that parents, not government officials, “hav[e] the most effective motives and
 inclinations and [are] in the best position and under the strongest obligations” to
 decide what is best for their children. 9

        Third, parents’ constitutional rights reach their peak on “matters of the
 greatest importance.” 10 Medical and health-related decisions, for example, are
 generally reserved for parents: “Most children, even in adolescence, simply are not
 able to make sound judgments concerning many decisions, including their need for
 medical care or treatment. Parents can and must make those judgments.” 11

      School policies that undermine this fundamental right of parents have been
 met with legal challenges across the country. 12 Some public schools encourage

 6 Troxel v. Granville, 530 U.S. 57, 65 (2000) (plurality op.).
 7 Parham v. J.R., 442 U.S. 584, 602 (1979) (“Our jurisprudence historically has reflected . . . broad

 parental authority over minor children.”).
 8 Parham, 442 U.S. at 603–04.
 9 Jackson v. Benson, 218 Wis. 2d 835, 879 (1998).
 10 C.N. v. Ridgewood Bd. of Educ., 430 F.3d 159, 184 (3d Cir. 2005); see Wisconsin v. Yoder, 406 U.S.

 205, 233–34 (1972).
 11 Parham, 442 U.S. at 603
 12 For information about some of these legal challenges with which ADF is involved, see generally

 Compl., Doe v. Madison Metro. Sch. Dist., No. 20-CV-454 (Wis. Cir. Ct. filed Feb. 18, 2020), available
 at https://bit.ly/3RBohv4; Compl., B.F. v. Kettle Moraine Sch. Dist., No. 21-CV-1650 (Wis. Cir. Ct.
 filed Nov. 17, 2021), https://bit.ly/3TYlqOb; Compl., D.F. v. Harrisonburg City Pub. Sch. Bd., No.
 CL22-1304 (Va. Cir. Ct. filed June 1, 2022), https://bit.ly/3L2boHO. For information about similar
 legal challenges filed around the country, see Donna St. George, The Washington Post, Gender
 transitions at school spur debate over when, or if, parents are told, (July 18, 2022),
 https://wapo.st/3qnO7GS, which notes lawsuits in Massachusetts, Florida, Wisconsin, Kansas,
 Virginia and Maryland.


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 students to identify as the opposite sex at school and hide it from parents. And some
 government officials pressure parents to “transition” their children under threat of
 abuse charges. ADF defends parents’ right to make medical decisions for their
 children.

        As these lawsuits make clear, it is not just keeping the use of preferred
 names and pronouns a secret that is problematic; even where the parents are aware
 of their child’s wishes to use different names and pronouns, the policy requires the
 school to use the different name and pronoun over the parents’ direction. 13 Parents’
 directions may be considered as part of medical and/or religious considerations. Yet,
 even in these circumstances, staff are required to use the preferred pronouns
 requested by students, which unlawfully interferes with the parents’ free-exercise
 rights and their fundamental right to make decisions concerning the upbringing
 and care of their child. Again, the proposed redefinitions would align with the
 efforts of these unlawful policies.

         Title IX does not require this, and the Constitution does not allow schools or
 the Department to attempt to do so. As one Kansas court held, “it is illegitimate to
 conceal information from parents for the purpose of frustrating their ability to
 exercise [their] fundamental right” to direct the education and upbringing of their
 child. 14 In that case, Pamela Ricard, a math teacher at Fort Riley Middle School
 sought to halt enforcement of a school district policy that required her to violate her
 religious beliefs by lying to students and parents. Troublingly, teachers were forced
 to use a student’s “preferred name” to address the student in class while using the
 student’s legal name when speaking to parents. Ricard sued school district officials
 after they reprimanded and suspended her for addressing a student by the student’s
 legal and enrolled last name. The federal court ruled that she is free to speak
 without violating her conscience by communicating with parents in a manner
 consistent with how she is required to address the students at school. Additionally,
 the court acknowledged that Ms. Ricard can continue addressing students by their
 preferred names while avoiding pronouns for students who have requested
 pronouns inconsistent with their biological sex. The court also found that Ricard is
 likely to prevail on her First Amendment free exercise of religion claim. 15

        Particularly relevant here, the court rejected the school district’s claimed
 interest in compelling Ms. Ricard to withhold information from parents: “It is
 difficult to envision why a school would even claim — much less how a school could

 13 See Compl., supra, B.F. v. Kettle Moraine Sch. District, No. 21-CV-1650, ¶ 35; see also Meriwether

 v. Hartop, 992 F.2d 492, 507 (6th Cir. 2021) (reversing order dismissing professor’s free-speech
 challenge to policy requiring use of preferred pronouns in classroom).
 14 Ricard v. USD 475 Geary County Schools School Board Members, No. 5:22-cv-04015-HLT-GEB,

 2022 WL 1471372, at *8 n.12 (D. Kan. May 9, 2022).
 15 ADF, Court: Kansas teacher free to speak consistent with her religious beliefs,

 https://bit.ly/3TW59cG.


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 establish — a generalized interest in withholding or concealing from the parents of
 minor children, information fundamental to a child’s identity, personhood, and
 mental and emotional well-being such as their preferred name and pronouns.” 16

        But this is not the only case involving the violation of parental rights under
 similar attempts to redefine sex discrimination, as the Department proposes to
 nationalize in the proposed rule. Officials at Kettle Moraine School District in
 Wisconsin sought to defy the wishes of parents regarding their children who
 struggle with gender dysphoria. One of the Wisconsin couples in this case was
 striving to work through gender dysphoria with their 12-year-old daughter, who
 was pushed by a counseling program to say she wanted to be a boy. Her parents,
 who best understood her needs and long-term health, wanted to give her more
 opportunities to work through her very real struggles before making any permanent
 changes, including changes to her name or pronoun usage.

        Unfortunately, the school that their daughter attended disregarded her
 parents’ directions. School officials told the parents they would refer to their
 daughter by whatever name or pronoun she chose, without first informing them or
 getting their consent. Treated as an afterthought — really, treated more like an
 obstacle — the parents were ultimately forced to withdraw their daughter from the
 school to protect her and preserve their God-given, constitutionally protected
 parental role.

        The school district policy takes life-altering decisions out of parents’ hands
 and gives them to school bureaucrats, who have no expertise whatsoever in these
 matters. The school district and officials are substituting their own controversial
 ideology for basic biological reality — a harm that goes far beyond simple pronoun
 usage. Schools cannot even give students aspirin or basic medication without
 parental consent. Yet, in the case of significant and potentially life-altering
 decisions about gender identity, officials are overruling the expressed desire of
 parents regarding the health of their child. 17

       School districts should not override the prerogative of parents. Doing so only
 hurts children. The proposed rule thus should change course and avert mandating
 these policies nationwide.




 16 Ricard, 2022 WL 1471372, at *8.
 17 ADF, Parents Forced to Sue School District to Protect Right to Care for Their Children,

 https://bit.ly/3cZIgnY.


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         D. Policies that immediately accept students’ requests to use
            “preferred” names and pronouns at school fail to consider the
            harms of an “affirmative” approach.

        Inherent in these policies is an underlying assumption that any discomfort or
 incongruence that a child experiences with their natal sex must be met with an
 “affirmative” response. This approach recommends that any expression of a new
 gender identity should be immediately accepted as decisive, and thoroughly
 affirmed by means of consistent use of clothing, names, or pronouns, for example.
 But this approach is not supported by the available clinical data, nor does it take
 account of the long-term (and indeed potentially lifelong) harms that it implicates.

       In an expert affidavit provided to the court in Doe v. Madison Metropolitan
 School District, Dr. Stephen B. Levine, Clinical Professor of Psychiatry at Case
 Western Reserve University School of Medicine, identified many of the concerning
 implications of pursuing an “affirmative” approach, particularly in the school
 context without parental involvement. 18

        In that affidavit, Dr. Levine outlined that among psychiatrists and
 psychotherapists who practice in the area, there are widely varying views
 concerning both the causes of and appropriate therapeutic response to gender
 dysphoria in children, and that existing studies do not provide a basis for a
 scientific conclusion as to which therapeutic response results in the best long-term
 outcomes for affected individuals. 19 Nonetheless, these school policies
 unquestioningly adopt an “affirmative” response to students manifesting gender
 dysphoria or similar discomfort with their natal sex.

        Furthermore, Dr. Levine explained that a majority of children (in several
 studies, a very large majority) who are diagnosed with gender dysphoria “desist” —
 that is, their gender dysphoria did not persist — by puberty or adulthood. 20 At the
 same time, studies also suggest that the active affirmation of transgender identity
 in young children will substantially reduce the number of children “desisting.” 21

        Dr. Levine went on to explain how a so-called “social transition” as part of an
 “affirmative” response (i.e., the use of different names, pronouns, or clothes, for
 example) is itself an important intervention with profound implications for the long-
 term mental and physical health of the child. 22


 18 See Expert Aff. of Dr. Stephen B. Levine, Doe v. Madison Metro. Sch. Dist., No. 20-CV-454 (Wis.

 Cir. Ct. signed Feb. 10, 2020), https://bit.ly/3TSOerz.
 19 Id. ¶¶ 22–44.
 20 Id. ¶¶ 60–62.
 21 Id. ¶¶ 63–64.
 22 Id. ¶¶ 65–69.




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         Dr. Levine outlined how putting a child or adolescent on a pathway towards
 life presenting as the opposite sex puts that individual at risk of a wide range of
 long-term or even lifelong harms, including sterilization (whether chemical or
 surgical) and associated regret and sense of loss; physical health risks associated
 with exposure to elevated levels of cross-sex hormones; surgical complications and
 lifelong after-care; alienation of family relationships; inability to form healthy
 romantic relationships and attract a desirable mate; and elevated mental health
 risks. 23

       Dr. Levine also explained how parental involvement is necessary for accurate
 and thorough health assessment of a child, and further for the effective
 psychotherapeutic treatment and support of the child. 24

        Indeed, Dr. Levine’s more recent expert report submitted in B.P.J. v. West
 Virginia Board of Education (concerning a West Virginia law limiting women’s
 sports to females) indicated that the concerns surrounding the adoption of an
 “affirmative” approach have only heightened in light of new scientific studies and
 international developments. 25

        Dr. Levine’s latest report noted that the knowledge base concerning the
 “affirmative” treatment of gender dysphoria has very low scientific quality with
 many long-term implications remaining unknown. 26 Furthermore, Dr. Levine
 explained that internationally, there has been a marked trend away from
 “affirmative” care and toward better psychological care. 27

        Yet these important considerations receive no attention by the Department in
 its promulgation of the proposed regulations. Instead, the proposed rule threatens
 to standardize the psychotherapeutic intervention known as “social transition” and
 then to make physical “transition” interventions standard medical care for gender-
 dysphoric minors. Puberty blockers and cross-sex hormones could be offered to
 children as young as 9 years old. After receiving these, minors could then undergo
 irreversible “top” or “bottom” surgery.

       The Department should instead consider that children who struggle with
 discomfort with their sex should not be medicalized or subject to life-altering
 procedures. They should be given counseling, and this counseling should take the
 form of watchful waiting or other assistance furthering desistance. This type of talk-
 therapy counseling should not be wrongly labeled “conversion therapy,” and

 23 Id. ¶¶ 98–120.
 24 Id. ¶¶ 70–84.
 25 Decl. & Expert Rep. of Dr. Stephen B. Levine, B.P.J. v. W. Va. State Bd. of Educ., No. 2:21-cv-

 00316 (S.D. W. Va. Feb. 23, 2022), ECF 286-1, https://bit.ly/3L19WFw.
 26 Id. ¶¶ 140–59.
 27 Id. ¶¶ 76 & 82.




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 counselors and parents should be free to continue to obtain it as the proper course of
 treatment. Moreover, because this is the proper course, the Department should be
 at pains to make sure that Title IX does not coerce any contrary standard of care. It
 should not be used to promote other medical procedures, especially on children, or to
 promote “social transition,” which often sets students on an irreversible course
 towards unnecessary, dangerous, and experimental medical interventions,
 increasing the odds of the persistence of gender-identity issues.

        In short, neither the Department nor schools are being supportive, affirming,
 or inclusive when they seek to change the course of psychosocial development and
 allow students to purport to select their own gender or sex. Instead, they are
 putting children on the course of needing lifelong medical care and are putting
 children at risk of many serious complications, including sterility, sexual
 dysfunction, infections, and other serious problems. These problems are only
 compounded when Title IX encourages or requires schools to encourage students to
 identify with another sex without parental involvement or knowledge.

       E. The proposed rule wrongly overrides parental rights on curricula
          and facilities.

       The same considerations extend to matters of parental control over curricular
 and facilities decisions. Many public schools are indoctrinating students in harmful
 views of human sexuality and race, injecting ideas from critical race and critical
 gender theories into classrooms. ADF helps parents and teachers challenge this
 indoctrination of students.

        Because the proposed Title IX rule frames gender ideology as an anti-
 discrimination issue, it is possible that schools will not seek parental permission for
 children to participate in lessons on choosing and purportedly changing one’s sex.
 Indeed, schools will very likely use Title IX’s antidiscrimination mandate to justify
 denying parental opt-outs from these controversial lessons.

         The proposed rule likely also grants children an absolute right to use school
 facilities and participate in activities “consistent with their gender identity,”
 regardless of whether their parents agree or are even aware of that identity. Schools
 will feel free to allow students to select the sex-separated restrooms, overnight field
 trip accommodations, camp cabins, locker rooms, and other intimate facilities of
 their choice and based on their gender identity, not their sex — without parental
 knowledge or prior approval.

         The proposed rule’s efforts to redefine the scope of Title IX to address off-
 campus activity, including on an expansive harassment theory, also sets schools on
 a collision course with family relationships. Under the proposed rule, schools may



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      feel emboldened to pursue parents under the auspices of Title IX enforcement for at-
      home conduct out-of-step with the Administration’s harmful gender ideology. 28

            The proposed rule should add regulatory text expressly disclaiming these
      consequences. It should directly consider these issues, explain whether the rule
      requires these consequences, and quantify their costs and benefits. Any failure to
      address parental rights would be arbitrary decision making.

II.          The Department should consider alternatives that do not harm
             parental rights and the interests of children.

             A. The Department should expressly consider alternative Title IX
                policies that provide accountability, choice, and transparency,
                especially when it comes to parental rights.

             Parents need laws that provide government accountability, choice, and
      transparency. 29 As this comment has shown, the proposed rule fails to advance
      these foundational values.

             The Department thus should withdraw the proposed rule and consider
      alternative policies that meet these three important policy goals for parental rights.
      This alternative policy should include the following elements, which should be
      included in Title IX rulemaking. These rights come from the U.S. Constitution,
      federal law, and state law, and any Title IX rulemaking should respect these rights
      to avoid conflicts with state law.

         Accountability

         •   Every mother or father may hold the government accountable for infringing
             on their rights to care for their child.

         •   Every mother or father should be able to direct the upbringing, education,
             and care of their children. Any infringement on these fundamental rights by
             a federal, state, or local government policy must meet the strictest legal
             standard.

         Choice

         •   Every mother or father has the responsibility and right to choose the
             education and medical treatment that they deem best for their child.


      28 Kaylee McGhee White, Biden’s new Title IX rules deputize teachers to override parents on gender

      identity, New York Post (Aug. 15, 2022), https://bit.ly/3RMCDbs.
      29 ADF, Promise to America’s Parents, https://bit.ly/3xc6a6t.




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    •   Every mother or father should have the freedom to choose a classroom setting
        and coursework that aligns with their values.

    •   Every mother or father should be able to determine the instruction that their
        child receives. Public schools should obtain written consent for instruction on
        topics related to Critical Theory and Identity, including but not limited to,
        topics such as race, sex, sexual orientation, and gender identity. Parents
        should be able to opt their child out of any instruction that violates their
        beliefs and should be able to hold the government accountable if their rights
        are violated.

    •   Every mother or father should be able to determine the medical treatment
        that their child receives. No parent should face political or ideological
        barriers in obtaining healthcare for their child.

    •   Any medical professional, school official, or government employee should
        obtain written parental consent to treat a child’s mental or physical health.

    Transparency

    •   Every mother or father has the right to know about what their child is
        learning, their child’s health, and any harms to them.

    •   Every mother or father should have the right to review all curriculum and
        teacher training materials, receive material updates, meet with teachers to
        discuss instruction of their child, and make alternative arrangements to
        objectionable instruction.

    •   Every mother or father should have the right to be informed by school
        officials about their child’s physical, emotional, and mental health.

    •   Every mother or father should be able to safeguard their child’s personal
        information. Public schools should obtain written parental consent before
        collecting information including, but not limited to, DNA, blood, biometric
        data, and voice or image recordings.

    •   Every mother or father should have the right to full access to all written and
        electronic records about their child (including, but not limited to, medical,
        disciplinary, counseling, and psychological records, and reports of behavioral
        patterns) unless the parent is the subject of a criminal investigation.

    •   Every mother or father should have the right to be notified by school
        employees, medical professionals, or government officials if there is a
        reasonable suspicion that abuse, neglect, or any criminal offense has been



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        committed against their minor child, unless notification would impede an
        official investigation.

       The proposed rule should expressly consider adopting each of these
 alternatives.

        There have been well-publicized efforts to better protect parental rights
 against school policies that facilitate the social transition of a child without parents
 consenting or even knowing about it. The Florida Parental Rights in Education Bill
 prohibited schools from withholding information from parents about their child’s
 mental or emotional well-being. And Arizona strengthened the ability of parents to
 obtain judicial relief when their right to direct the care and upbringing of their child
 is violated.

        B. The Department should consider alternative regulations
           expressly restoring protections by biological sex.

        The Department should also consider enacting rules that expressly address
 the particular harms caused by attempts to redefine sex. 30 The Department should
 expressly consider enacting the following five alternative regulations under Title IX,
 which respect the rights of girls and women under Title IX. The final rule should
 consider and expressly address each of these alternative policies, including the
 reasons for them. Each of these proposed alternatives rests on the need to ensure
 that Title IX respects parents’ constitutional rights, as well as their rights under
 state law.

        1. Proposed Regulation. Title IX does not require or allow schools to adopt
 policies to treat gender dysphoria in students that deceive or exclude parents.
 Gender dysphoria is a serious mental health issue. Parents should decide the
 treatment for their children’s mental health, not schools.

        Reasons for this Alternative Regulation. Contrary to what some schools are
 teaching, no child is born in the wrong body. Children who express discomfort with
 their bodies, and a desire to change names and pronouns, are experiencing a
 psychological disconnect between their sex and their internal feelings about and
 perception of their sex. In some cases, children who experience disconnection and
 discomfort may have gender dysphoria requiring mental health intervention.

        Gender dysphoria is a mental health condition that, as many medical experts
 recommend, can be treated through counseling. Children experiencing this
 condition often have other underlying mental health conditions, including



 30 ADF, Policies and Parents: A Time to Speak, Part II, https://bit.ly/3RyIul6.




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 depression, anxiety, autism spectrum disorders, and attention deficit hyperactivity
 disorder. Those conditions need to be addressed as well.

         Studies show that the majority of children who experience gender dysphoria
 will come to accept their sex if they are allowed to progress through puberty without
 interference. Experts warn of the dangers of “socially transitioning” children to a
 gender identity that does not match their sex. As discussed above, Dr. Stephen B.
 Levine, a Distinguished Life Fellow of the American Psychiatric Association, has
 testified that “social transition” — the psychotherapeutic intervention according to
 which children publicly identify as the opposite sex through dress, names, use of
 intimate facilities, and other behavioral cues — is an “experimental” construct that
 puts vulnerable children at higher risk of lifelong physical and mental health issues
 (including suicide). Dr. Kenneth J. Zucker, a professor of psychiatry at the
 University of Toronto, has warned that encouraging “social transition” equates to a
 “psychosocial treatment that will increase the odds of long-term persistence” of
 gender dysphoria.

        In the Kettle Moraine School District case, school officials rushed to impose a
 male identity on a 12-year-old girl after she expressed confusion over her gender
 identity at school. They then hid this from her parents. But only two weeks after
 her parents withdrew her from the school, her gender dysphoria resolved. Looking
 back, the young girl realized that “affirmative care” “really messed me up” and
 fueled anger toward her mother. Gender dysphoria can resolve over time. But
 parents, not school employees and administrators, should decide on their children’s
 treatment.

        School boards that instruct adult authority figures in schools to reinforce a
 gender identity in children that is at odds with their sex may cement that gender
 dysphoria. By enacting such policies, school boards are assuming the role of mental
 health professionals despite their lack of qualifications and lack of parental
 involvement. This is a dangerous and slippery slope that exposes school boards and
 their members to legal liability. A commonsense policy would involve parents in all
 decisions affecting their child, thereby affording them the opportunity to pursue
 treatment options that they determine are best for their child’s specific needs.

        2. Proposed Regulation. Title IX does not require or allow schools to adopt
 policies that allow school employees to maintain “secret files” about gender-confused
 students or to otherwise conceal important information from parents. Such policies
 are unlawful because they undermine parental rights.

       Reasons for this Alternative Regulation. Several schools around the country
 have kept “secret files” containing confidential “gender support plans” spelling out
 how school authorities will reinforce a student’s “social transition” by use of false
 pronouns. Schools keep these plans separate from students’ standard academic


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 records, and the content and existence of such files are hidden from parents under
 the guise of child privacy (unless the minor child consents to parental notification).

       Not only do such files violate the fundamental right of parents to direct the
 education and upbringing of their child, but they may also violate the Family
 Educational Rights and Privacy Act, which ensures parental access to student
 educational records. Except in very rare cases, schools should never be permitted to
 conceal important information regarding the physical and mental health of a child
 from his or her parents.

        3. Proposed Regulation. Title IX does not require or allow schools to adopt
 policies that demand employees address a student with pronouns that are
 inconsistent with the student’s sex. These policies violate free speech and may
 violate parental rights.

        Reasons for this Alternative Regulation. Policies that compel school employees
 to address a child using a false pronoun violate the employees’ right to free speech
 protected by the U.S. Constitution. Educators cannot be forced to refer to boys as
 girls and girls as boys in violation of their conscience.

        Furthermore, if a school acts to address a child by a different name and
 pronoun at school than the child’s parents do at home, the child’s parents have a
 constitutionally protected right to know. Parental consent to such a significant
 change to a child’s identity should be required. A parent’s right to direct the
 upbringing and education of their child does not simply stop at the schoolhouse
 door.

        4. Proposed Regulation. Title IX does not require or allow schools to adopt
 policies that create privacy and safety risks to students by allowing students to
 access sex-separated facilities and programs on the basis of gender identity or other
 nonbiological factors. When any student is (for whatever reason) unwilling or
 unable to use a multi-occupancy restroom, shower, or changing facility designated
 for that student’s sex, a reasonable accommodation would be for schools to permit
 that student access to a single-occupancy restroom or changing facility.

        Reasons for this Alternative Regulation. Policies that allow students to use
 locker rooms, showers, and restrooms based on their subjective internal feelings,
 rather than their objective sex, violate the privacy, safety, and dignity rights of all
 students. In addition, they increase the risk of serious harm to girls (who are about
 twice as likely as boys to be the victim of a sexual assault). Title IX affirmatively
 protects equal opportunities by requiring schools to respect privacy and safety
 concerns in educational programs.




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 September 11, 2022

 Miguel A. Cardona
 Secretary of Education
 U.S. Department of Education
 VIA REGULATIONS.GOV

 RE:   Nondiscrimination on the Basis of Sex in Education Programs or
       Activities Receiving Federal Financial Assistance
       Docket ID ED-2021-OCR-0166

       The Rule Will Undermine Fairness in Women’s Sports and Hurt
       Women and Girls’ Privacy and Safety

 Dear Secretary Cardona,

        Fifty years ago, Congress acted to protect equal opportunity for women by
 passing Title IX. Now, by radically rewriting federal law, the Biden administration
 is threatening the advancements that women have long fought to achieve in
 education and athletics. Along with denying women a fair and level playing field in
 sports, this new rule seeks to impose widespread harms, including threatening the
 health of adults and children, denying free speech on campus, trampling parental
 rights, violating religious liberty, and endangering unborn human life.

        Alliance Defending Freedom (ADF) submits these comments on the Notice of
 Proposed Rulemaking (NPRM) on Title IX of the Education Amendments of 1972,
 Docket ID ED-2021-OCR-0166. ADF is an alliance-building legal organization that
 advocates for the right of all people to freely live out their faith. It pursues its
 mission through litigation, training, strategy, and funding. Since its launch in 1994,
 ADF has handled many legal matters involving Title IX, the First Amendment,
 athletic fairness, student privacy, and other legal principles addressed by the Notice
 of Proposed Rulemaking.

        ADF strongly opposes any effort to redefine sex in federal regulations
 inconsistent with the text of Title IX itself, or otherwise impair First Amendment
 rights, due process rights, or parental rights. ADF thus encourages the Department
 of Education to withdraw and abandon the NPRM.

        These comments focus on the negative impact of the proposed rule on fairness
 in women’s athletics and on female privacy. By redefining “sex” to include “gender
 identity,” the proposed rule will open sex-segregated spaces like athletic teams,




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 restrooms, locker rooms, dorm rooms and single-sex admissions programs to anyone
 who identifies as a woman, regardless of that individual’s biology.

 I.      Redefining “sex discrimination” to include gender identity hurts
         female athletes.

       Earlier this year in an Atlanta swimming pool, swimmer Lia Thomas won the
 woman’s NCAA Division I Championships in the 500-yard freestyle—beating two
 former Olympians in the same race. 1 Watching an athlete triumph at the pinnacle
 of women’s collegiate swimming should have been cause for celebration. But it
 wasn’t.

         Fifteen women were bumped down the scoreboard that day. 2 Emma Weyant
 was denied a first-place championship trophy. 3 Erica Sullivan was pushed to third
 place. 4 Brooke Forde was eliminated from the winners’ podium. 5 And some women
 didn’t get to compete in the finals at all. 6 Most news reports ignored these talented
 women, focusing instead on Thomas—the lone biological male who dominated the
 women’s race. Women who felt uncomfortable with male nudity in the locker room
 were silenced. 7

        A championship event that should have exemplified the value of giving
 women equal opportunities instead showcased the harm inflicted on female athletes
 when even one male is allowed to compete in women’s sports. 8 These harms—which
 are far greater than de minimis—will proliferate if the Department adds proposed
 section 106.10 (defining sex discrimination to include gender identity) and section
 106.31(a)(2) (defining impermissible sex separation to include preventing


 1 Both Emma Weyant and Erica Sullivan won individual medals in the Tokyo 2020 Olympic games.

 See International Olympic Committee, Tokyo 2020 Swimming Women’s 400M Individual Medley
 Results, https://olympics.com/en/olympic-games/tokyo-2020/results/swimming/women-s-400m-
 individual-medley (last visited September 1, 2022); Tokyo 2020 Swimming Women’s 1500M Freestyle
 Results, https://olympics.com/en/olympic-games/tokyo-2020/results/swimming/women-s-1500m-
 freestyle (last visited September 1, 2022).
 2 Women’s NCAA Championships 500 freestyle results, https://swimmeetresults.tech/NCAA-

 Division-I-Women-2022/ (last visited September 1, 2022).
 3 Id.
 4 Id.
 5 Id.
 6 Women’s NCAA Championships 500 freestyle preliminary results,

 https://swimmeetresults.tech/NCAA-Division-I-Women-2022/ (last visited September 1, 2022).
 7 See Exhibit 1, Concerned Women for America Title IX Complaint at 3-5.
 8 This comment uses the terms ‘women,’ ‘girls,’ and ‘females’ to refer to biological females and the

 terms ‘men,’ ‘boys,’ and ‘males’ to refer to biological males. It further uses the terms ‘sex,’ ‘gender,’
 and ‘gender identity’ as set forth in Doe ex rel. Doe v. Boyertown Area Sch. Dist., 897 F.3d 518, 522
 (3d Cir. 2018).



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 participation consistent with gender identity) to the Title IX regulations. These
 proposed changes do not exempt athletics, and the Department has repeatedly
 taken the position in legal filings that Title IX does not protect female-only sports. 9
 Claims that the Department’s proposed regulations do not implicate athletics are
 simply false. The Department must grapple now—not later10—with the
 ramifications these proposed regulations will have in all areas, including sports.

       Based on what we already know about the harm to women, the clear science
 of male advantage, the goals of Title IX, and alternative options, Alliance Defending
 Freedom strongly opposes the Department’s proposed redefinition of sex to include
 gender identity. The Department should not adopt these proposed regulations.

         A. Female athletes across the country and the world have
            experienced the devastation of losing to male athletes in women’s
            sports.

        From 2017 to 2020, two high school male athletes in Connecticut won a
 combined 15 state championships in girls’ track and set 17 individual meet
 records. 11 One of those males had competed as a midlevel athlete on the boys’ team
 for three seasons before switching to the girls’ team and vaulting to repeated
 championship wins. Selina Soule faced these two males in her preliminary race at a
 state championship. The males took first and second, bumping Selina from
 advancing to the finals—and the New England Championships—by two spots. 12
 Sprinter Chelsea Mitchell was an All-American long jumper who won many state
 championships in sprinting and jumping events. After two male athletes began
 competing in the women’s category, she lost four championship titles to these males
 and never won a single race in which both of them competed. She lost to these
 males on more than twenty different occasions. 13 Selina described the experience as
 frustrating and demoralizing. Chelsea said it caused her anxiety and stress. When




 9 See, e.g., Statement of Interest of the United States, B.P.J. v. West Virginia State Board of

 Education, Case No. 2:21-cv-00316 (S.D. W. Va. June 17, 2021), ECF No. 42 (arguing that West
 Virginia’s law limiting women’s sports to females violated Title IX).
 10 See NPRM at 542-43 (claiming that this proposed rulemaking should not include comments on

 sports).
 11 See Exhibit 2, Declaration of Alanna Smith (Smith Decl.) filed in B.P.J. v. West Virginia State

 Board of Education, 2:21-cv-00316 (ECF No. 286-1) ¶ 25.
 12 See Exhibit 3, Declaration of Selina Soule (Soule Decl.) filed in B.P.J. v. West Virginia State Board

 of Education, 2:21-cv-00316 (ECF No. 286-1) ¶ 21.
 13 See Exhibit 4, Declaration of Chelsea Mitchell filed in B.P.J. v. West Virginia State Board of

 Education, 2:21-cv-00316 (ECF No. 286-1) ¶ 14.



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 Chelsea’s mother advocated for her daughter to school officials and even the Title IX
 coordinator, she was told that the girls have a right to participate, but not to win.

        In Hawaii, a male athlete dominated varsity girls’ volleyball in the 2019–20
 season on the island of Maui. Female players were nervous and intimidated and
 would often ‘duck and cover’ or assume a defensive position rather than prepare to
 respond to his spikes because they were afraid of getting hurt. Girls competing
 against the male athlete felt demoralized and wondered whether they should bother
 playing because they knew the male athlete’s team would beat them. The same
 male athlete also competed in girls’ track, where one young woman said she was
 going to quit after the male athlete raced in her event. 14

       Male athletes have similarly displaced females at the collegiate level.
 Franklin Pierce University hurdler CeCe Telfer never made it to a championship
 event while competing for the men’s team. But in 2018, Telfer began competing on
 FPU’s women’s track team after identifying as a woman. Telfer vaulted to NCAA
 championship victory, won an NCAA championship after placing first in the
 women’s 400-meter hurdles, and also placed fifth in the women’s 100-meter
 hurdles. 15 While Telfer’s testosterone levels were too high to compete as a woman at
 the 2021 U.S. Olympic Trials, Telfer wants to compete at upcoming World
 Championships and the 2024 Olympic Summer Games. 16

        Female athlete Madison Kenyon was surprised during her first collegiate
 cross-country event of 2019 to race against a male athlete—one who had competed
 on the University of Montana’s men’s cross-country and track team for three years
 before switching to the women’s team. Madison described feeling discouraged,


 14 See Exhibit 5, Declaration of Darcy Aschoff (Aschoff Decl.) filed in B.P.J. v. West Virginia State

 Board of Education, 2:21-cv-00316 (ECF No. 286-1).
 15 Notably, after completing a year of testosterone suppression to compete on the women’s team,

 Telfer’s performance times improved:

  Event                              “Craig” Telfer                  “CeCe” Telfer
  Indoor 200 Meter Dash                24.64s (2017)                  24.45s (2019)
  Indoor 60 Meter Hurdles               8.91s (2018)                   8.33s (2019)
  Outdoor 100 Meter Dash               12.38s (2017)                  12.24s (2019)
  Outdoor 400 Meter Hurdles          1:02.00s (2017)                  57.53s (2019)

 16 Jill Martin, Transgender runner CeCe Telfer is ruled ineligible to compete in US Olympic trials,

 CNN (June 25, 2021, 1:08 PM), https://www.cnn.com/2021/06/25/sport/transgender-athlete-cece-
 telfer-trials-olympics-spt/index.html; Dawn Ennis, Trans All-American CeCe Telfer Featured in
 Women’s Sports Equality Campaign, FORBES (Sept. 14, 2021),
 https://www.forbes.com/sites/dawnstaceyennis/2021/09/14/trans-all-american-cec-telfer-featured-in-
 womens-sports-equality-campaign/?sh=64e6e2d04c3c.



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 frustrated, and defeated as she lost to this athlete, June Eastwood, time and time
 again. She watched helplessly as Eastwood displaced literally hundreds of girls in
 cross-country races. But perhaps most painfully of all, she watched in disbelief as
 one of her teammates lost her bronze medal and place on the championship podium
 because Eastwood took first place in her teammate’s event. She was heartbroken for
 her teammate. 17

        Similar stories of loss, frustration, and defeat are told by female athletes
 across the country, and even around the world 18 as the number of individuals who
 identify as transgender continues to rise sharply. 19 Mothers and daughters are both
 facing males in their sports. 20 Other mothers are advocating for their daughters,
 only to be silenced with the heartless retort that girls have the right to participate,
 but not to win. 21 Women and girls across the country are afraid to speak up, fearing
 retaliation, censorship, and lost scholarships. But the small and growing cadre of
 women who have found their voice want nothing more than to ensure that women’s
 sports continue to exist so that future female athletes have real opportunities to
 compete, to earn scholarships, and to win on a fair playing field.




 17 See Exhibit 6, Declaration of Madison Kenyon (Kenyon Decl.) filed in B.P.J. v. West Virginia State

 Board of Education, 2:21-cv-00316 (ECF No. 286-1).
 18 Chuck Culpepper, New Zealand weightlifter Laurel Hubbard makes Olympic history as a

 transgender athlete, WASH. POST (Aug. 12, 2022),
 https://www.washingtonpost.com/sports/olympics/2021/08/02/laurel-hubbard-transgender-olympics-
 weightlifter/; Transgender Track Star Stirs Controversy Competing In Alaska’s Girls’ State Meet
 Championships, CBSNEWS.COM (June 8, 2016),
 https://www.cbsnews.com/newyork/news/transgender-nattaphon-wangyot-alaska-track/ (last visited
 September 1, 2022).
 19 Azeen Ghorayshi, Report Reveals Sharp Rise in Transgender Young People in the U.S., The New

 York Times, https://www.nytimes.com/2022/06/10/science/transgender-teenagers-national-
 survey.html (last visited September 1, 2022).
 20 See Exhibit 7, Declaration of Cynthia Monteleone (Monteleone Decl.) filed in B.P.J. v. West

 Virginia State Board of Education, 2:21-cv-00316 (ECF No. 286-1); see also Melissa Tanji, Complaint
 filed over transgender MIL track athlete, THE MAUI NEWS (Feb. 29, 2020)
 https://www.mauinews.com/news/local-news/2020/02/complaint-filed-over-transgender-
 mil%E2%80%88track-athlete/.
 21 See Exhibit 8, Declaration of Christina Mitchell filed in B.P.J. v. West Virginia State Board of

 Education, 2:21-cv-00316 (ECF No. 286-1) ¶ 39, 41.



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        B. Female athletes are demonstrably harmed by allowing males into
           women’s sports.

            1. Female athletes lose fair competition.

        Categories in sport exist to provide fair competition. 22 They control for
 physiological differences (like sex, age, and impairment) so that sports competition
 can reward “talent, strategy, training, and dedication.” 23 In other words,
 categories—that by definition include some and exclude others—promote
 inclusivity. Without a Paralympic category, society wouldn’t celebrate the
 remarkable achievements of the disabled. Without a featherweight category, heavy
 weightlifters would dominate. 24 And without women’s sports, most women and girls
 wouldn’t stand a chance against their male counterparts.

       This doesn’t mean that every man will beat every woman in a head-to-head
 competition. Instead, it recognizes that given comparable talent, training, and
 dedication, males will have a significant physical advantage over females.
 Categories in sport exist to ensure those male advantages do not eclipse athletic
 achievements that should depend on talent, strategy, training, and dedication. 25

        Males are, on average, bigger, faster, and stronger than females. These are
 inescapable biological facts, not stereotypes, “social constructs,” or relics of past
 discrimination. As Justice Ginsberg wrote, “Physical differences between men and
 women . . . are enduring: ‘[T]he two sexes are not fungible’.” 26 That means that
 when “males and females are not in fact similarly situated and when the law is
 blind to those differences, there may be as much a denial of equality as when a
 difference is created which does not exist.” 27

        That’s true in sports: males and females are not the same. In sports that
 involve speed, stamina, strength, and physique, males have a class-level advantage
 over females. 28 In fact, the male performance advantage is so large that females
 could not reasonably hope to succeed without sex separation in most sports. For


 22 See Exhibit 9, Expert Witness Declaration of Tommy Lundberg (Lundberg Decl.) filed in A.M. v.

 Indianapolis Public Schools, 1:22-cv-1075 (ECF No. 36-7) ¶ 2.1.
 23 Exhibit 10, Expert Witness Declaration of Dr. Emma Hilton (Hilton Decl.) filed in A.M. v.

 Indianapolis Public Schools, 1:22-cv-1075 (ECF No. 36-6) ¶ 5.2.
 24 See Exhibit 11, Expert Report of William Bock (Bock Decl.) filed in A.M. v. Indianapolis Public

 Schools, 1:22-cv-1075 (ECF No. 36-7) ¶ 3.2.5 (noting the various categories in sport).
 25 See Exhibit 10, Hilton Decl., ¶ 5.3.
 26 United States v. Virginia, 518 U.S. 515, 533 (1996).
 27 Yellow Springs Exempted Vill. Sch. Dist. Bd. of Educ. v. Ohio High Sch. Athletic Ass’n, 647 F.2d

 651, 657 (6th Cir. 1981).
 28 Exhibit 10, Hilton Decl. ¶ 4.1.




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 example, World Championship sprinter Allyson Felix is the most decorated female
 track and field athlete in Olympic history—surpassing even Usain Bolt in Olympic
 golds. 29 Yet in one year alone, 275 U.S. high school boys beat Felix’s 400-meter
 lifetime best. Without a female category in sport, history wouldn’t even record her
 name.

        This example is borne out repeatedly in data across sports. For example,
 below are the best high school outdoor track times from 2019 in two events (data
 publicly available on Athletic.net)—the male and female times aren’t even close:

 2019 High School Outdoor 100m
  Boy                        Time                      Girl                         Time
  Matthew Boling             9.98s                     Briana Williams              10.49s
  Micah Williams             10.21s                    Semira Killebrew             11.24s
  Langston Jackson           10.23s                    Thelma Davies                11.25s
  Joseph Fahnbulleh          10.23s                    Tamari Davis                 11.27s
  Ryan Martin                10.26s                    Taylor Gilling               11.32s
  Kenan Christon             10.26s                    Arria Minor                  11.31s
  Lance Broome               10.27s                    Tianna Randle                11.32s
  Tyler Owens                10.29s                    Taylor Gilling               11.32s
  Ryota Hayashi              10.29s                    Kenondra Davis               11.36s
  Marquez Beason             10.30s                    De’anna Nowling              11.40s


 2019 High School Outdoor 400m
  Boy                       Time                       Girl                          Time
  Justin Robinson           44.84s                     Kayla Davis                   51.17s
  Myles Misener Daley       45.62s                     Jan’Taijah Ford               51.57s
  Emmanuel Bynum                  46.24s               Athing Mu                     51.98s
  Jayon Woodard                   46.26s               Britton Wilson                52.06s
  Alex Collier                    46.33s               Ziyah Holman                  52.12s
  Jonah Vigil                     46.43s               Kimberly Harris               52.16s
  Zachary Larrier                 46.49s               Aaliyah Butler                52.25s
  Omajuwa Etiwe                   46.51s               Caitlyn Bobb                  52.79s
  Sean Burrell                    46.52s               Talitah Diggs                 52.82s
  Edward Richardson               46.55s               Aaliyah Butler                52.87s




 29 Allyson Felix Biography, https://olympics.com/en/athletes/allyson-felix (last visited September 1,

 2022).



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        These physiological differences are reflected by everything from different
 fitness test standards for boys and girls, 30 to different equipment height and weight
 for men and women. 31

        The male athletic advantage isn’t due to a masculine identity—identity is
 irrelevant to athletic performance. Nor is it due to superior resources or better
 training. (In fact, the performance gap between male and female Olympians
 narrowed and stabilized in the early 1980s, indicating that resources and training
 are not the source of the persistent athletic performance disparity. 32) The male
 athletic advantage is due to the male body. Sports test physical bodies and physical
 capabilities. As a result, the only way to provide women and girls with fair
 competition is to protect females based on their physical bodies—their sex.

        “[D]ue to average physiological differences, males would displace females to
 a substantial extent if they were allowed to compete” for the same teams. 33 Indeed,
 “the great bulk of the females would quickly be eliminated from participation and
 denied any meaningful opportunity for athletic involvement,” without distinct
 teams. 34 That’s why sports have been separated by sex for over 50 years in our
 country. Early Title IX regulations made clear that sex-separation in sport was an
 exception to the general nondiscrimination rule. Because without it, female athletes
 would be denied the opportunity to compete fairly, showcase their talents, and win.

       If allowed to take effect, the Department’s proposed changes would erode
 these protections for women. They would upend decades of advances in athletic
 opportunities for women and girls. And they would open up women’s sports teams


 30 President’s Challenge Qualifying Standards,

 https://gilmore.gvsd.us/documents/Info/Forms/Teacher%20Forms/Presidentialchallengetest.pdf.
 31 The net height used for women’s volleyball is more than 7 inches lower than that used for men’s

 volleyball. Federation Internationale de Volleyball (FIVB), Official Volleyball Rules 2017-2020,
 https://www.fivb.org/EN/Refereeing-Rules/documents/FIVB-Volleyball_Rules_2017-2020-EN-v06.pdf.
    • The hurdle height used for the high school girls’ 100-meter hurdle event is 33 inches, while the
 standard height used for boys’ high school 110-meter hurdle is 39 inches. USA Track and Field
 (USATF), 2020 Competition Rules, https://www.flipsnack.com/USATF/2020-usatf-competition-
 rules/full-view.html.
    • The standard women’s basketball has a circumference of 28.5 to 29 inches and a weight of
 between 18 and 20 oz, while a standard basketball used in a men’s game has a circumference
 between 29.5 to 30 inches and a weight of between 20 and 22 oz. International Basketball Federation
 (FIBA), 2018 Official Basketball Rules, http://www.fiba.basketball/OBR-2018-Basketball-Equipment-
 Yellow-Version-2.pdf; Women’s National Basketball Association, Official Rules 2020, https://ak-
 static.cms.nba.com/wp-content/uploads/sites/27/2020/05/2020-WNBA-Rule-Book-Final.pdf.
 32 Valérie Thibault, Women and Men in Sport Performance: The Gender Gap has not Evolved since

 1983, J SPORTS SCI. MED. (June 1, 2010), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3761733/.
 33 Clark v. Ariz. Interscholastic Ass’n, 695 F.2d 1126, 1131 (9th Cir. 1982).
 34 Cape v. Tenn. Secondary Sch. Athletic Ass’n, 563 F.2d 793, 795 (6th Cir. 1977).




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 to males with intrinsic biological advantages. Girls like Selina Soule, Chelsea
 Mitchell, and Madison Kenyon would face male competition in their sport—
 depriving them of a fair chance to compete. This harm is far more than de minimis.

             2. Female athletes are exposed to unsafe competition.

        These physical differences also matter for safety. Nearly two years ago, World
 Rugby issued guidelines excluding males from women’s rugby because it concluded
 that safety and fairness could not be assured for women otherwise. 35 World Rugby
 went on to say that the women’s category was created “to ensure protection, safety
 and equality” for those who do not benefit from biological advantages—namely,
 females. 36

        Female-only sports protect safe competition. In sports like basketball,
 volleyball, and soccer where physical contact with equipment or other players
 occurs, females are at greater risk of physical injury when competing against males.

        Just ask women’s mixed-martial arts fighter Tamikka Brents, who suffered
 significant facial injuries when she fought against a male who identified as female
 and fought under the name of Fallon Fox:

         I’ve fought a lot of women and have never felt the strength that I felt
         in a fight as I did that night. I can’t answer whether it’s because she
         was born a man or not because I’m not a doctor. I can only say, I’ve
         never felt so overpowered ever in my life, and I am an abnormally
         strong female in my own right. 37

        As former collegiate soccer player Lainey Armistead put it: “Males are
 generally stronger, fitter, faster, and have bigger stature than women, which gives
 them advantages of strength, speed, and size in soccer. They compete at a faster
 pace. They kick the ball harder. They have physical frames that are generally
 larger.” Lainey should know: she regularly competed in pick-up soccer games with




 35 World Rugby, World Rugby approves updated transgender participation guidelines (Oct. 9, 2020)

 https://www.world.rugby/news/591776/world-rugby-approves-updated-transgender-participation-
 guidelines.
 36 World Rugby, Transgender Women Guidelines, https://www.world.rugby/the-game/player-

 welfare/guidelines/transgender/women (last visited September 1, 2022); see also Kleczek v. R.I.
 Interscholastic League, Inc., 612 A.2d 734, 739 (R.I. 1992) (sex “classifications … will help promote
 safety”).
 37 Alan Murphy, Exclusive: Fallon Fox’s latest opponent opens up to #WHOATV (September 17,

 2014), http://whoatv.com/exclusive-fallon-foxs-latest-opponent-opens-up-to-whoatv/.



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 her brothers and other men. But even as an elite collegiate soccer player, she knew
 that she didn’t stand a chance against these males if they chose to play “all-in.” 38

        Girls know intuitively that they don’t stand a chance against most males in
 head-to-head competition. On Maui, a male athlete dominated varsity girls’
 volleyball in the 2019–20 season. Female players were nervous and intimidated.
 They were afraid of getting hurt. 39 And their fears appear well-founded, as one
 female athlete is reported to have received a concussion due to this male’s powerful
 spike.

       Yet if the Department redefines sex discrimination and forces schools to
 categorize sports teams based on identity rather than biology, female athletes will
 face more dangerous competition.

            3. Female athletes lose athletic opportunities.

        As the Department notes on its website:

        Before the enactment of Title IX, most colleges and universities
        traditionally emphasized sports for male students, and the benefits
        and educational opportunities in athletic programs generally were
        limited for women. Title IX has helped focus attention on meeting the
        needs of women interested in athletics and helped education officials to
        recognize their responsibilities regarding the provision of equal
        athletic opportunity. The result has been increased involvement of
        girls and women in sports at all levels. 40

        When Title IX passed in 1972, there were approximately 250,000 girls
 playing high school sports in the U.S. By 2011, the number increased to more than
 3.25 million (a number still below the number of high school boys competing in
 sports in 1972). 41 In college, women’s numbers have grown almost as steeply, from
 30,000 to more than 288,000 in 2017–18. 42



 38 Exhibit 12, Declaration of Lainey Armistead (Armistead Decl.) filed in B.P.J. v. West Virginia

 State Board of Education, 2:21-cv-00316 (ECF 286-1).
 39 Exhibit 7, Monteleone Decl. ¶ 18.
 40 U.S. Department of Education, Requirements Under Title IX of the Education Amendments of

 1972, https://www2.ed.gov/about/offices/list/ocr/docs/interath.html (last visited September 1, 2022).
 41 U.S. Department of Education, Office for Civil Rights, PROTECTING CIVIL RIGHTS,

 ADVANCING EQUITY 33 (2015), https://www2.ed.gov/about/reports/annual/ocr/report-to-president-
 and-secretary-of-education-2013-14.pdf.
 42 Doriane Lambelet Coleman et al., Re-Affirming the Value of the Sports Exception to Title IX’s

 General Non-Discrimination Rule, 27 Duke J. Gender L. & Pol’y 69, 81–82 (2020).



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        That means that “[w]omen and girls today have the opportunity only boys
 and men had in the previous period to reap the widely recognized and highly valued
 benefits of being physically strong, of being on teams and developing the myriad
 skills associated with competitive sport, of attending college on athletic
 scholarships, and of high-end competitive experiences.” 43 Research shows that girls
 who play sports have lower risk of disease, higher self-esteem, lower incidence of
 depression, and less risky behavior. Ninety-four percent of female CEOs played
 sports. 44

        According to some statistics, high school girls still have over a million fewer
 sports opportunities than boys, college women have over 200,000 fewer varsity
 sports opportunities than their male peers, and female athletes have over a billion
 dollars less in athletic scholarships. 45 But the Department’s proposed rule threatens
 to further reduce opportunities for female athletes.

        The male physique provides males with a competitive advantage. And that
 competitive advantage means fewer and fewer females will benefit from the athletic
 opportunities Title IX originally provided if the Department fails to protect women
 based on their sex. High school track star Selina Soule knows this personally. She
 faced two males in her preliminary race at a state championship meet. The males
 took first and second, bumping Selina from advancing to the finals. Not only did
 Selina lose the opportunity to compete in the final by one spot, but she also lost the
 opportunity to advance to an elite regional meet and compete in front of college
 scouts by two spots.

        As Dr. Bernice Sandler—who has been called the “Godmother of Title IX”—
 cautioned when testifying in 1975 in support of regulations implementing Title IX,
 ignoring differences in male and female physiology would for many sports
 “effectively eliminate opportunities for women to participate in organized
 competitive athletics. For these reasons, such an arrangement would not appear to
 be in line with the principle of equal opportunity.” 46




 43 Id. at 69, 72.
 44 Why female athletes makes winning entrepreneurs, ESPN W., https://assets.ey.com/content/dam/ey-

 sites/ey-com/en gl/topics/entrepreneurship/ey-why-female-athletes-make-winning-entrepreneurs.pdf.
 (last visited September 1, 2022).
 45 Discrimination Against Women in College Sports is Getting Worse, Champion Women

 Communications, June 23, 2020, https://titleixschools.com/2020/06/23/gender-gap/ (last visited
 September 1, 2022).
 46 Review of Regulations to Implement Title IX of Public Law: Hearings before the Subcommittee on

 Postsecondary Education of the Committee on Education and Labor, 94th Cong. 343 (1975),
 https://babel.hathitrust.org/cgi/pt?id=pur1.32754076276330&view=1up&seq=3&skin=2021.



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        If the Department proceeds with redefining sex—which will have the effect of
 opening girls’ sports to males—then girls will inevitably lose spots on the team,
 positions on the field, and lanes in the pool. They will lose their rightful place on the
 winner’s podium. And they will lose the opportunity to advance to more elite levels
 of competition. It only takes one male in women’s individual sports to take the
 championship title. It only takes three males to eliminate women from the victory
 podium altogether.

             4. Female athletes lose public recognition.

       When males win women’s athletic events, female athletes lose the recognition
 and publicity they deserve. Female athletes in the Ivy League and NCAA swimming
 Championships were left in the shadows instead of being recognized for their
 achievements—while Lia Thomas enjoyed the limelight.

        Connecticut track athlete Chelsea Mitchell was the fastest girl in a women’s
 55-meter championship race but lost to two male athletes. Media dubbed her the
 “third-place competitor, who is not transgender.” Chelsea did not make it into her
 high school record books as the first ever Canton high school female athlete be
 named a State Open Champion in a running event. She was not recognized as an
 All-State Athlete, invited to the All-State Banquet, or celebrated on a banner in her
 high school gym for her accomplishments in the 55-meter dash. 47

        Recognition matters to female athletes. It tells them that their hard work has
 paid off. It spurs them to train harder. It elevates their visibility to potential
 recruiters and coaches. And for some women, it can open doors to new financial
 opportunities, such as benefitting from their name, image, and likeness. 48 But when
 female athletes lose the recognition they rightly deserve to a male, they feel
 demoralized, deflated, and lose their competitive spirit as well as potential financial
 rewards.

             5. Female athletes lose scholarship opportunities.

        For many female athletes, athletic scholarships open the door to pursue
 higher education and the career of their dreams. Collegiate soccer player Lainey
 Armistead relied on her soccer scholarship to help pay for her education and avoid
 college loans. 49 Collegiate track runner Madison Kenyon relied on her athletic
 scholarship to allow her to continue her education at her school of choice. 50 In fact,


 47 See Exhibit 4, Mitchell Decl.
 48 Exhibit 12, Armistead Decl.¶ 27.
 49 Id. ¶¶ 12-13
 50 Exhibit 6, Kenyon Decl.




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 for many female athletes, competing for a collegiate scholarship drives them to train
 harder and push themselves to their limits.

        But if males are allowed to compete against women and girls for athletic
 scholarships, females will lose the already fewer scholarship opportunities they
 have. Coaches, after all, have a mandate to win. And they will use scholarships to
 recruit the fastest, strongest, and most competitive players they can—even if that
 means awarding a women’s scholarship to a male of mediocre ability.

              6. Female athletes lose the drive to compete.

        Title IX has “enhanced, and will continue to enhance, women’s opportunities
 to enjoy the thrill of victory [and] the agony of defeat.” 51 After all, “[a] primary
 purpose of competitive athletics is to strive to be the best.” 52 And the “greater the
 potential victory, the greater the motivation to the athletes.” 53 Thus, “[t]reating
 girls differently regarding a matter so fundamental to the experience of sports—the
 chance to be champions—is inconsistent with Title IX’s mandate of equal
 opportunity for both sexes.” 54

        And yet, when female athletes have pointed out the monumental unfairness
 of being forced to compete against males, they have been told that they have a right
 to participate, but not to win. Female athletes don’t compete for participation
 trophies: they compete to win. The late nights and early mornings, forfeited spring
 breaks and time with friends, the challenging training and achy muscles—girls are
 motivated to make these sacrifices if they have a shot at winning.

        But if the Department allows males in their sports and takes away their
 ability to win, many girls may decide that the hard work, sacrifice, and dedication
 necessary to be a female athlete just isn’t worth it anymore.

       When faced with two males in her sport, Connecticut high school track
 athlete Alanna Smith remembers feeling defeated before settling into her starting
 blocks—she knew she was competing for third place and beyond. 55 Other girls in
 Connecticut tried to switch from track to other events, feeling too disheartened to
 continue losing to the males. Collegiate runner Mary Kate Marshall similarly
 reports that while losing to another woman drives her to work harder, losing to a



 51 Neal v. Bd. of Trs. of Cal. State Univs., 198 F.3d 763, 773 (9th Cir. 1999).
 52 McCormick ex rel. McCormick v. Sch. Dist. of Mamaroneck, 370 F.3d 275, 294–95 (2d Cir. 2004).
 53 Id. at 294.
 54 Id. at 295.
 55 Exhibit 2, Smith Decl. ¶ 19.




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 male feels deflating and makes her think that “no matter how hard I try, my hard
 work and effort will not matter.” 56

            7. Science supports sex-separation in sports.

         Sports have for decades been divided into male and female categories 57 based
 on the scientific, common-sense understanding that human beings are a dimorphic
 sex. 58 More than 99.98% of human beings are either male or female, and all humans
 who do not suffer from a tragic genetic or developmental disorder are
 unambiguously male or female. 59 It is this simple fact of human biology that serves
 as the basis for sex-separated sports.

        And yet the Department has provided no evidence that it has considered the
 science of male athletic advantage and female susceptibility to injury before
 redefining sex discrimination to include gender identity—a move that will abolish
 women-only sports.

                a. Males have an athletic advantage.

       “[S]cientists agree that males and females are materially different with
 respect to the main physical attributes that contribute to athletic performance.” 60
 According to developmental biologist Dr. Emma Hilton, the performance gaps
 between males and females are “detectable during childhood and cemented during
 puberty.” 61

       The male advantage is conferred by “the accident of birth” 62 and is not
 achievable by “dedicated training, nutrition, or recovery habits.” 63 The male
 advantage is, therefore, unfair over comparably fit, trained, talented, and aged
 females. The male athletic advantage exists in most athletic tests before puberty




 56 Exhibit 13, Declaration of Mary Kate Marshall (Marshall Decl.) filed in B.P.J. v. West Virginia

 State Board of Education, 2:21-cv-00316 (ECF 286-1) ¶ 13.
 57 Co-ed sports are not a concern here. If sports are advertised as co-ed, then the women and girls

 who compete in those sports are assuming the risk of competing against males.
 58 Exhibit 14, Declaration and Expert Report of Dr. Gregory A. Brown (Brown Decl.) filed in B.P.J. v.

 West Virginia State Board of Education, 2:21-cv-00316 (ECF 286-1) ¶ 1 (collecting sources).
 59 Id.
 60 Re-Affirming the Value of the Sports Exception, 27 Duke J. Gender L. & Pol’y at 92 (cleaned up).
 61 Exhibit 10, Hilton Decl. ¶ 2.1.
 62 See Frontiero v. Richardson, 411 U.S. 677, 686 (1973) (“sex” meant “an immutable characteristic

 determined solely by the accident of birth.”).
 63 Ex. 9, Lundberg Decl. ¶ 4.6.




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 and is particularly pronounced in upper body strength. From puberty on, boys and
 men have a large and natural “doping” advantage over girls and women. 64

      Broadly, the male athletic advantage is conferred by a superior skeletal,
 muscular, and cardiovascular system. 65 Males have:

            •   Larger lungs and denser alveoli in the lungs, enabling faster oxygen
                uptake;
            •   Larger hearts and per-stroke pumping volume, and more hemoglobin
                per unit of blood, all enabling higher short-term and sustained levels of
                oxygen transport to the muscles;
            •   An increased number of muscle fibers and increased muscle mass (for
                example, men have 75%-100% greater cross-sectional area of upper
                arm muscle than do comparably fit women, while women have 60-70%
                less trunk and lower body strength than comparably fit men);
            •   Higher myoglobin concentration within muscle fibers, enabling faster
                transfer and “cellular respiration” of oxygen within the muscle to
                unleash power;
            •   Larger bones, enabling the attachment of greater volumes of muscle
                fiber;
            •   Longer bones, enabling greater mechanical leverage thus enabling
                males to unleash more power, for instance, in vertical jumps; and
            •   Increased mineral density in bones resulting in stronger bones,
                providing superior protection against both stress fractures and
                fractures from collisions.
         The impact of male puberty is so pronounced that male athletic performance
 typically matches and then exceeds those of elite female athletes by 14-15 years
 old. 66 Female puberty, meanwhile, brings distinctive changes to girls and women
 that—while critical for healthy female fertility—measurably impede training and
 athletic performance, including increased body fat, wider hips and different hip
 joint orientation, and menstruation. 67 The menstrual cycle can impact


 64 See Ex. 11, Bock Decl. ¶ 7.3.2 (noting the advantage males have by virtue of their male

 development is analogous to the advantage gained by male or female atheltes using exogenous
 testosterone or other anabolic agents).
 65 See Ex. 10, Hilton Decl. ¶ 2.1.
 66 Ex. 10, Hilton Decl. ¶ 4.2.
 67 See Ex. 14, Brown Decl. ¶ 50 (noting impact of female hormones, pelvis angle, hip structure); ¶ 57

 (noting impact of increased body fat); see also Ex. 10, Hilton ¶ 4.5 (noting impact of female menstrual
 cycle).



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 “cardiovascular, respiratory, brain function, response to ergogenic aids, orthopedics,
 and metabolic parameters, and represents a barrier to athletic capacity not
 experienced by males.” 68 Because of these inherent physiological differences, male
 athletes consistently achieve performance records 10-50% higher than comparably
 fit, trained, and aged females. 69

       As explained by Professor of Exercise Science Dr. Gregory Brown, these
 physiological differences confer marked advantages in sport:

             •   Males are stronger, with 60%-100% greater arm strength, 57% greater
                 grip strength, and 25-60% greater leg strength;
             •   Males run 10%-13% faster;
             •   Males jump 15%-20% higher;
             •   Males throw 35% faster, and hit and kick faster and farther;
             •   Males exhibit faster reaction times;
             •   Males are 7% to 8% taller and heavier;
             •   Males have larger and longer bones, stronger bones, and different bone
                 configuration;
             •   Males have larger muscle mass; and
             •   Males are able to metabolize and release energy to muscles at a higher
                 rate due to larger heart and lung size, and higher hemoglobin
                 concentrations. 70
        It’s important to recognize that these physiological advantages are not
 undone by testosterone suppression. There is currently no scientific evidence that
 testosterone suppression negates the athletic advantage that males have over
 females. 71

        As Drs. Hilton and Lundberg detail, the data shows that following
 testosterone suppression, “strength, lean body mass, muscle size and bone density
 are only trivially affected.” 72 Joanna Harper, a male athlete who identifies as
 female, recently published a literature review on the effects of testosterone


 68 Ex. 10, Hilton Decl. ¶ 4.5.
 69 Emma Hilton and Tommy Lundberg, Transgender Women in the Female Category of Sport:

 Perspectives on Testosterone Suppression and Performance Advantage (Feb. 2021),
 https://pubmed.ncbi.nlm.nih.gov/33289906/.
 70 Ex. 14, Brown Decl. ¶¶ 13-67.
 71 Ex. 9, Lundberg Decl. ¶ 2.3.
 72 Id.




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 suppression and found that “the small decrease in strength in transwomen after
 12–36 months of [testosterone suppression] suggests that transwomen likely retain
 a strength advantage over cisgender women.” 73

        As discussed infra, many sports organizations are abandoning the old
 testosterone suppression requirement because the science demonstrates that it does
 not promote fairness or safety for female athletes. But even that ineffective,
 unscientific standard imposed a small barrier to males in women’s sports.
 Remarkably, the Department’s proposed rule would allow all males who identify as
 female to compete in women’s sports without medical intervention, forcing female
 athletes to compete against males that everyone agrees are, on average, bigger,
 faster, and stronger. Even the International Olympic Committee and the NCAA do
 not take such an extreme position. 74 That just underscores what everyone knows:
 women’s sports cannot be separated based on gender-identity alone.

                b. Females are more susceptible to injury.

        Since males tend to be bigger and heavier, faster and stronger, it should come
 as no surprise that—by comparison—females are more susceptible to injury,
 especially when competing against males. 75 That’s why World Rugby recently
 issued guidelines excluding males from women’s rugby.

        Emerging science shows that women and girls are more susceptible to injury,
 especially in two particular areas. First, female athletes are more prone to
 concussions and more severe outcomes. 76 When comparing the concussion rates in
 various sports—such as basketball, soccer, and baseball/softball—females had
 almost double the annual rate of concussions as males. 77 This dramatic statistical
 difference has been attributed to lower impact resistance in female neck muscles
 and more delicate brain structures. 78 Concussions raise serious long term health


 73 Joanna Harper, et al., How does Hormone Transition in Transgender Women Change Body

 Composition, Muscle Strength and Haemoglobin? Systematic Review with a Focus on Implications for
 Sport Participation, Br. J. Sports Med. (2021), doi: 10.1136/bjsports-2020-103106 (published online
 ahead of print).
 74 Even with the NCAA’s prescribed regimen of testosterone suppression, Lia Thomas still managed

 to beat two female Olympic champions in a single race. Both the NCAA and the IOC organizations
 have abandoned their previous policies for a “sport-by-sport approach.” NCAA, NCAA Transgender
 Student-Athlete Participation Policy, https://www.ncaa.org/sports/2022/1/27/transgender-
 participation-policy.aspx.
 75 See also Exhibit 15, Declaration of Chad Carlson in B.P.J. v. West Virginia Board of Education, ¶

 43-56 (describing male sex-based advantages that lead to female vulnerability).
 76 Ex. 15, Carlson Decl. ¶ 58; see also Ex. 10, Hilton Decl. ¶ 4.6.
 77 Ex. 11, Bock Decl. ¶ 8.4.2.6.1.5.
 78 Ex. 10, Hilton Decl. ¶ 4.6.




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 implications and can have lifelong debilitating effects. 79 Females also tend to have
 greater cognitive impairment than males do when they suffer a concussion. 80
 Females already have higher rates of concussion than males: the addition of male
 athletes into women’s contact sports “will inevitably increase the risk of concussive
 injury to girls and women….” 81

        Second, girls and women are at a higher risk of Anterior Cruciate Ligament
 (ACL) injuries. 82 Some estimate that their risk is 150% to as much as 300% higher
 than it is for males. 83 But putting males into women’s sports will increase further
 their risk of career-ending ACL injuries. 84

              8. Sport governing bodies are reestablishing sex-based categories
                 in sport.

        In light of these scientific findings, and the evidence of harm to women,
 national and international athletic governing bodies are moving away from allowing
 males to compete in the female category—regardless of medical intervention—and
 are reestablishing sex-based categories in sport.

        The Department’s proposed regulations would make U.S. secondary and
 collegiate sports an outlier among national and international sporting bodies. We
 are not aware of a single national or international sporting organization that has
 adopted a pure gender-identity standard—which is what the Department proposes
 by its new de minimis harm standard.

        The International Olympic Committee and the NCAA allow some (but not all)
 males who identify as female to compete on women’s teams. 85 But the most recent
 trend is towards more robust protection for female sport.

      World Rugby was the first international sport federation to adopt
 comprehensive transgender eligibility rules. 86 In 2020, World Rugby issued


 79 Ex. 10, Bock Decl. ¶ 8.4.2.6.1.2.
 80 Ex. 15, Carlson Decl. ¶ 64.
 81 Id. at ¶ 69.
 82 Id. at ¶ 70.
 83 Ex. 15, Carlson Decl. ¶ 72.
 84 Ex. 11, Bock Decl. ¶ 8.4.2.6.2.3.
 85 Even with the NCAA’s prescribed regimen of testosterone suppression, Lia Thomas still managed

 to beat two Olympic champions in a single race. The NCAA and the IOC organizations abandoned
 their previous policies for a “sport-by-sport approach” that will become effective later this year.
 NCAA, NCAA Transgender Student-Athlete Participation Policy,
 https://www.ncaa.org/sports/2022/1/27/transgender-participation-policy.aspx.
 86 Ex. 11, Bock Decl. ¶ 7.4.1.1.1.




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 guidelines excluding virtually all males from women’s rugby because of the injury
 risk to females. 87 That decision followed “a comprehensive and inclusive process . . .
 to understand whether it was possible to balance inclusivity with safety and
 fairness in light of growing evidence that the testosterone suppression required by
 previous transgender regulations does not significantly impact muscle mass,
 strength or power.” 88 The evidence consistently shows that, “given the size of the
 biological differences” between men and women, the “comparatively small effect of
 testosterone reduction” over a 12-month period still “allows substantial and
 meaningful differences to remain.” 89 And those differences have “significant
 implications for the risk of injury” to female players, thus justifying the new
 policy. 90

       In the fall of 2021, the UK Sports Councils performed a comprehensive
 assessment of male athletes in women’s sport. After extensive consultation with
 experts and athletes, the Council concluded that “[c]ategorization within the sex
 binary is and remains the most useful and functional division relative to sporting
 performance.” 91 It went on to note that competitive “fairness cannot be reconciled
 with self-identification into the female category….” 92

        In May 2022, the World Swimming Coaches Association (WSCA) released a
 position statement advocating to separate swimming divisions based on “birth sex”
 and potentially to create a new “Trans Division.” 93 As the WSCA stated,
 “[c]ompetitive fairness cannot be reconciled with self-identification into the female
 category in a gender-affected sport such as swimming.” 94

       In June 2022, FINA—the international governing body for swimming—
 released new guidelines that effectively ban males who have experienced any part



 87 World Rugby, Transgender Women Guidelines, https://www.world.rugby/the-game/player-

 welfare/guidelines/transgender/women.
 88 World Rugby, World Rugby approves updated transgender participation guidelines (Oct. 9, 2020),

 https://www.world.rugby/news/591776/world-rugby-approves-updated-transgender-participation-
 guidelines.
 89 World Rugby, Transgender Guidelines, https://www.world.rugby/the-game/player-

 welfare/guidelines/transgender#SummaryforTransgenderWomen.
 90 Id.
 91 The UK’s Sports Councils Guidance for Transgender Inclusion in Domestic Sport, 7

 https://equalityinsport.org/docs/300921/Guidance%20for%20Transgender%20Inclusion%20in%20Do
 mestic%20Sport%202021.pdf.
 92 Id.
 93 World Swimming Coaches Association, Position Statement on Transgender Swimming,

 https://perma.cc/D9VS-5ZH8.
 94 Id.




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 of male puberty from competing in women’s swimming. 95 As FINA stated in its
 opening paragraph explaining the new policy:

        Because of the performance gap that emerges at puberty between
        biological males as a group and biological females as a group, separate
        sex competition is necessary for the attainment of these objectives.
        Without eligibility standards based on biological sex or sex-linked
        traits, we are very unlikely to see biological females in finals, on
        podiums, or in championship positions; and in sports and events
        involving collisions and projectiles, biological female athletes would be
        at greater risk of injury. 96

       Even more recently, in the summer of 2022, the British Triathlon, Rugby
 Football Union, and Rugby Football League all issued updated policies protecting
 the female category in sport—and relying on principles of fairness and scientific
 data to do so. 97 Even sporting organizations that do not completely ban males from
 women’s sports generally require significant medical intervention—i.e. testosterone
 suppression—over an extended period of time before allowing males to compete in
 the women’s category. 98

        The Department has provided no evidence that it has considered principles of
 fairness and the scientific data. It should follow the trend of the international



 95 FINA, Policy on Eligibility for the Men’s and Women’s Competition Categories, 7-8,

 https://resources.fina.org/fina/document/2022/06/19/525de003-51f4-47d3-8d5a-716dac5f77c7/FINA-
 INCLUSION-POLICY-AND-APPENDICES-FINAL-.pdf.
 96 Id. at pg. 1.
 97 See Sean Ingle, British Triathlon creates ‘open’ category for transgender athletes to compete at all

 levels, THE GUARDIAN (July 6, 2022), https://www.theguardian.com/sport/2022/jul/06/british-
 triathlon-creates-open-category-for-transgender-athletes-to-compete-at-all-levels; PA Media, Rugby
 codes ban transgender women from playing in women’s union and league matches, THE GUARDIAN
 (July 29, 2022) https://www.theguardian.com/sport/2022/jul/29/womens-rugby-union-and-rugby-
 league-block-transgender-players.
 98 See, e.g., USA Swimming’s 2022 Athlete Inclusion, Competitive Equity, and Eligibility Policy,

 https://www.usaswimming.org/docs/default-source/governance/governance-lsc-
 website/rules policies/usa-swimming-policy-19.pdf (requiring testosterone suppression to 5 nm/l for
 36 months); World Triathlon 2022 Transgender Policy
 https://www.triathlon.org/news/article/world triathlon executive board approves transgender polic
 y (requiring testosterone suppression to 2.5 nm/l for 24 months); IUC Policy VII Transgender Athlete
 Participation, https://usacycling.org/about-us/governance/transgender-athletes-policy (2.5 nm/l for 24
 months); International Powerlifting Federation, March 1, 2022, IPF Policy Statement for
 Transgender Athletes,
 https://www.powerlifting.sport/fileadmin/ipf/data/rules/IPF Transgender Policy FInal.pdf
 (testosterone suppression to 2.4nm/l for at least 12 months).



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 sporting authorities and carefully consider how best to promote principles of
 fairness and inclusion for all athletes—including those born female.

        C. The proposed rule creates a legal conundrum in states with
           women’s sports laws.

         Since 2020, eighteen states have passed laws protecting women’s sports. 99 All
 of these states limit girls’ teams to females only. And many of those laws include
 legal penalties for the school districts and athletic teams that fail to comply, and
 offer female athletes a legal remedy. 100

         In these states, the Department’s proposed rule would place conflicting
 obligations on school districts: comply with the Department’s reinterpretation of
 Title IX, or comply with state law. This exposes these schools to significant legal
 risk if they choose to protect their female athletes and provide them with fair and
 safe competition. Or it requires them to give up federal funding, an
 unconstitutionally coercive result.

        (And, because of these laws, the proposed rule will cost taxpayers and private
 citizens millions of dollars in court costs, which the final rule must quantify.)

        D. The proposed rule fails to give proper and fair notice of its effect
           on sex-separated athletics.

        The Department included language that appears to punt the sports issue, but
 the proposed rule affects athletics because it redefines discrimination in all
 applications of Title IX. The government is essentially saying is that it likely will
 issue another rule focused on sports at some point int the future, even though this
 rule already affects sports.

       The Department thus has failed to invite comment and give notice of its
 proposed rulemaking in a fair and open way because it has sought to deter comment
 on the key issue of this rulemaking: women’s athletic opportunities. 101



 99 SAVE WOMEN’S SPORTS, https://savewomenssports.com/state-legislation (last visited September 1,

 2022).
 100 A federal district court recently found that states have standing to sue the federal government

 when the Administration’s new guidance documents redefining sex conflict with their state women’s
 sports laws because it injures their sovereign interests. See Tennessee v. U.S. Dep’t of Educ., 2022
 WL 2791450, at *9 (E.D. Tenn. 2022).
 101 NPRM at 542, 87 Fed. Reg. 41537. The notice states: “the Department plans to address by

 separate notice of proposed rulemaking the question of what criteria, if any, recipients should be
 permitted to use to establish students' eligibility to participate on a particular male or female



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        In this proposed rule, discrimination “on the basis of sex” would expand to
 include discrimination on the basis of gender identity (among other things):
 “preventing any person from participating in an education program or activity
 consistent with their gender identity would subject them to more than de minimis
 harm on the basis of sex and therefore be prohibited.” Because school sports are
 considered “an education program or activity,” the regulation requires that sports
 participation be based on gender identity.

        But that requirement is not what the Department communicated in its press
 releases, fact sheet, and even in its notice to the public. Instead of inviting comment
 on this important and high-profile issue—something a federal judge recently
 chastised the Department for failing to do 102—the Department has sought to duck
 public attention. It said that it would issue separate proposed regulations to address
 "whether and how" to amend the current regulations on sex-specific athletics and
 "the question of what criteria, if any, recipients should be permitted to use to
 establish students' eligibility to participate on a particular male or female athletics
 team." The Department further explains that it does not propose (at this time) to
 change current Title IX regulations, under which schools may "operate or sponsor
 separate teams for members of each sex where selection for such teams is based
 upon competitive skill or the activity involved is a contact sport." It then
 discouraged comments on “this issue,” saying that they are beyond the rule’s scope,
 and thus indicated that they will not be considered.

        If the Department is acting in good faith and is not actually seeking to
 change the criteria for access to sex-separates programs and facilities, it must say
 so directly. It should say that its new discrimination provisions do not apply to
 athletics at all. Anything short of an explicit statement that athletes' gender
 identity does not determine participation in sex-specific school sports would be
 patently unfair to the public, who read the Department’s notice and public
 materials to indicate that this issue was not up for comment at this time.

       But nowhere do the proposed regulations explicitly state that participation in
 sex-specific sports must (or may) be based on biological sex. Instead, the rule does
 not say that schools can choose not to take gender identity into consideration. In
 other words, sex-separate teams can remain, so long as each student can choose




 athletics team. The scope of public comment on this notice of proposed rulemaking therefore does not
 include comments on that issue; those comments should be made in response to that separate
 rulemaking.”
 102 See Tennessee v. U.S. Dep’t of Educ., 2022 WL 2791450, at *20-21 (E.D. Tenn. 2022) (finding

 plaintiffs were likely to succeed on the merits of their notice and comment claim).



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 their own sex-separated team based on gender identity. Only in that sense is the
 rule on athletics unchanged.

        All the proposed rule is saying is that the proposed rule does not plan to
 change the wording of the specific section of the regulation (106.41) that addresses
 sports. But that sports section still prohibits sex discrimination in athletics and the
 overarching nondiscrimination change proposed to be made puts gender identity
 into sex, including athletics.

        As one commenter noted, the Department’s use of “whether” is illuminating.
 “The department’s unwillingness to commit to a full-throated repudiation of men
 competing in women’s sports hints that the proposed rule perhaps already
 addresses the issue. Because it does.” 103 Because the rule expands the term “sex” to
 include gender identity, the proposed rule says, “under the proposed regulations …
 a recipient’s education program or activity would include buildings or locations that
 are part of the school’s operations. … A recipient’s education program or activity
 would also include all of its academic and other classes, extracurricular activities,
 [and] athletics programs.” 104 As this commenter has recognized, “[t]hus, the
 department has ensured that the sports issue will be decided in favor of biological
 men whether or not it engages in additional rule-making.”

         Make no mistake: this proposed rule is thus accomplishing changes to
 women’s sports—and the Department’s proposed rule misleads the public into
 thinking that it is not adopting these changes. The Department’s goal is in poor
 faith: to avoid public comments and controversy, and to subvert the process of fair
 rulemaking and democratic accountability. As another commenter said, “The
 Education Department's failure to state its position outright and take the political
 backlash is cowardly.” 105

       Given its misleading nature, the entire rule should be withdrawn and
 reproposed, with a new full supplemental comment period. Rather than shirk the
 duty to provide fair notice, the Department should start over and do any
 rulemaking the right way.




 103 Sarah Parshall Perry, Fox in the Henhouse: Biden’s New Title IX Rule Puts Women in Danger,

 THE HERITAGE FOUNDATION (July 5, 2022), https://www.heritage.org/gender/commentary/fox-the-
 henhouse-bidens-new-title-ix-rule-puts-women-danger-0.
 104 NPRM at 44, 87 Fed. Reg. at 41,401.
 105 Rachel N. Morrison, Education Department's Fake Punt on Women's Sports, NEWSWEEK (Aug. 9,

 2022, 6:00 AM), https://www.newsweek.com/education-departments-fake-punt-womens-sports-
 opinion-1731743 (last visited September 1, 2022).



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        Furthermore, because the Department has suggested that this proposed rule
 does not address athletics—while actually transforming athletics—the Department
 has failed to engage in the close attention and scrutiny required for reasoned
 decision making. The Department has failed to consider the high costs of
 eviscerating women’s sports, consider the true benefits of maintaining women’s
 athletics, and consider the many alternatives to taking steps that would effectively
 end women’s sports programs. The final rule thus must take account of all of these
 factors, including the costs, benefits, and alternatives outlined in this comment.
 Were the Department to do so and engage in the APA-required reasoned decision
 making, it would realize that sound law and good policy require abandoning the
 proposed rule and saving women’s sports.

        E. The Department should consider alternatives that protect
           fairness in women’s sports.

       Given the harm to female athletes of forcing them to compete against males,
 the physical differences between the sexes, and overall trend towards reestablishing
 sex-based categories in sport, the Department should demonstrate that it has
 considered other alternatives that accomplish its goals but do not harm female
 athletes.

        First, the Department should consider making the male sports category an
 open category. Any student athlete—male or female—could elect to compete in this
 category. Because the category is open to all, it would eliminate alleged concerns
 about stigma or dignity harm to any athlete. Only biological females would be
 eligible to compete in the female category. In July 2022—after extensive research—
 the British Triathlon announced that it was taking this approach as a way to
 “reflect[] the needs of our sport, protect[] fairness in competition and serve[] our
 desire to make triathlon truly inclusive.” 106

       Second, the Department should consider spurring schools to create more co-
 ed teams and sporting opportunities. In contexts where the science and data
 demonstrate that the male sex-linked advantages are less of a concern—such as in
 elementary grades, or in certain noncontact, noncompetitive sports—the
 Department should establish policies that create more co-ed teams. This step would
 eliminate concerns about stigma or dignity harm to any athlete. And even in sports




 106 Niamh Lewis, British Triathlon creates 'open' category for transgender athletes, ESPN (July 6,

 2022) https://www.espn.com/olympics/story/ /id/34200332/british-triathlon-creates-open-category-
 transgender-athletes (last visited September 1, 2022).



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 where fairness or safety concerns are present, females could decide whether or not
 to assume that risk.

       Third, the Department could consider retaining male and female sports
 teams, but creating a third open category for any individual to choose to compete in.
 Only biological females would be eligible to compete in the women’s and girls’
 category.

        Any of these options would preserve the integrity of women’s sports and
 ensure that the female athletes of tomorrow have fair, safe, and equitable
 competition as Title IX promised. These other options would also alleviate the
 Department’s concern about how best to navigate sports for students who identify
 as transgender, nonbinary, or otherwise.

       Women’s sports do not exist as a platform for personal expression or identity
 affirmation. They exist to give females—based on their unique physiological
 makeup—the opportunity to showcase their talents and win. For these reasons,
 Alliance Defending Freedom opposes any change to the original text of Title IX and
 urges the Department to find a solution that does not disadvantage female athletes

 II.     Redefining “sex discrimination” to include gender identity hurts
         student dignity and privacy.

       Every individual deserves to have their personal privacy respected. And they
 deserve the right to consent to opposite-sex nudity. These basic principles of human
 dignity are why we have separate changing facilities, shower areas, restrooms,
 overnight accommodations, and dorms for men and women, boys and girls.

        As Justice Ginsburg wrote in response to the contention that the Equal
 Rights Amendment would cause restrooms to be opened to both men and women:
 “Separate places to disrobe, sleep, perform personal bodily functions are permitted,
 in some situations required, by regard for individual privacy. Individual privacy, a
 right of constitutional dimension, is appropriately harmonized with the equality
 principle.” 107

       Toilets, locker rooms, showers, and other private facilities are not sex-
 separated to foster comradery or affirm identities. These private facilities are sex-
 separated to promote privacy, dignity, and an environment free of sexual
 harassment. The Department’s proposed rule redefining sex discrimination to



 107 Ruth Bader Ginsburg, The Fear of the Equal Rights Amendment, THE WASHINGTON POST, April 7,

 1975.



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 include gender identity would effectively destroy the privacy for millions of students
 across the country.

         A. Women and girls deserve to have their privacy protected, consent
            to male nudity, and decide when to sleep alongside males.

        People have “a special sense of privacy in their genitals, and involuntary
 exposure of them in the presence of people of the other sex may be especially
 demeaning and humiliating.” 108 That feeling is magnified for teens, who are
 “extremely self-conscious about their bodies[.]” 109 Their “adolescent vulnerability
 intensifies the . . . intrusiveness of the exposure.” 110 Forcing minors to risk exposing
 their bodies to the opposite sex is an “embarrassing, frightening, and humiliating”
 experience. 111

        This is especially true of young women, as they attend to menstruation and
 feminine hygiene needs. Young women who have been forced to share restrooms,
 locker rooms, and other intimate spaces with males experience loss of dignity,
 anxiety, stress, humiliation, embarrassment, apprehension, and distress. “In light
 of the privacy interests that arise from the physical differences between the sexes, it
 has been commonplace and universally accepted—across societies and throughout
 history—to separate … public restrooms, locker rooms, and shower facilities” based
 on sex. 112

         Teammates of Lia Thomas described feeling uncomfortable changing in their
 own locker room—not because of Thomas’s identity, but because of his male body:
 “It's definitely awkward because Lia still has male body parts and is still attracted
 to women.” 113 Other female competitors felt “extreme discomfort” sharing a locker
 room with a male. 114



 108 Fortner v. Thomas, 983 F.2d 1024, 1030 (11th Cir. 1993) (citation omitted).
 109 Cornfield v. Consol. High Sch. Dist. No. 230, 991 F.2d 1316, 1323 (7th Cir. 1993).
 110 Safford Unified Sch. Dist. No. 1 v. Redding, 557 U.S. 364, 375 (2009).
 111 Id. at 366.
 112 Grimm v. Gloucester Cnty. Sch. Bd., 972 F.3d 586, 634 (4th Cir. 2020), as amended (Aug. 28,

 2020) (Niemeyer, J., dissenting).
 113 Shawn Cohen, EXCLUSIVE: 'We're uncomfortable in our own locker room.' Lia Thomas' UPenn

 teammate tells how the trans swimmer doesn't always cover up her male genitals when changing and
 their concerns go ignored by their coach, DAILY MAIL (Jan. 27, 2022),
 https://www.dailymail.co.uk/news/article-10445679/Lia-Thomas-UPenn-teammate-says-trans-
 swimmer-doesnt-cover-genitals-locker-room.html.
 114 Allie Griffin, Lia Thomas competitor says she felt ‘extreme discomfort’ sharing locker room, NY

 POST (July 27, 2022), https://nypost.com/2022/07/27/lia-thomas-competitor-riley-gaines-felt-extreme-
 discomfort-in-locker-room/.



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        As one Ivy League mother described her daughter’s heart-rending situation:

        She also worked through how many towels to take in her bag into the
        locker room in case she needed to cover herself completely as she
        changed. All the girls knew Lia was still physically intact and had
        been using the locker rooms. …I asked my daughter what she would do
        if Lia was changing in there. And she said resignedly. I’m not sure I
        have a choice.

        I still can’t believe I had to tell my adult-age daughter. “You always
        have a choice about whether you undress in front of a man.” What
        messages that these girls have been receiving this year. How many of
        the other girls were feeling this? My heart was ripped apart. Damage
        far greater than the sports arena was now apparent to me. 115

        If there is one message the Department should help schools reinforce to
 young women, it is this: you always have a choice about whether to undress in front
 of a male. But the Department’s proposed rule—in a cruel twist of misogyny—would
 deprive young women of that choice. They, like the Ivy League swimmers, would be
 forced into changing their clothes, or taking care of their private toilet and shower
 needs, in view of males. Such a policy would elevate the emotional desires of males
 over the needs of women and girls.

        Young women also deserve the right to consent to male nudity. It is sexually
 harassing—traumatic, even—for females to be exposed to male nudity without their
 consent. In her expert report opposing males in women’s sports, Champion Women
 CEO Nancy Hogshead-Makar recounts being psychologically traumatized by a
 violent rape, and the additional trauma she would have suffered if forced to undress
 in front of a male (however he identified):

        It was difficult to feel safe. I had a heightened need to control my
        environment and I went to elaborate lengths to feel safe. Among other
        insecurities, I was particularly aware of any risk of harm in my
        environment. I cannot imagine the psychological consequences if I had
        been required to change in front of biological males. 116




 115 Jonathan Van Maren, Female swimmer says she has “no choice” but to change in locker room with

 male “Lia” Thomas, THE BRIDGEHEAD (Mar. 7, 2022) https://thebridgehead.ca/2022/03/07/female-
 swimmer-says-she-has-no-choice-but-to-change-in-locker-room-with-male-lia-thomas/.
 116 See Exhibit 16, Expert Witness Declaration of Nancy Hogshead-Makar, J.D. filed in A.M. v.

 Indianapolis Public Schools, 1:22-cv-1075 (ECF 36-7) ¶ 47.



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       The Department cannot ignore the voices of sexual assault survivors. For
 many of these women, it takes an act of sheer will to enter a public space where
 they will encounter men. And they are traumatized at the mere thought of
 encountering a male in a space where they undress, attend to their private bodily
 needs, or sleep. A male’s prerogative to live out his beliefs ends where it harms
 others—and that includes at the door of sex-separated spaces.

        Women and girls also deserve the right to consent to sleeping in the same
 room as males. The Department’s redefinition of sex discrimination would make it
 unlawful for girls and women to object to sharing a hotel room with a male peer on
 school trips, or object to sharing a dorm room. There is little that makes college
 women less safe than forcing them to sleep mere feet from males, behind closed
 doors.

       Though the Department belittles concerns about privacy and safety as
 “unsubstantiated,” the Department itself has recognized the importance of sex-
 separated private facilities in exempting toilet, locker room, shower facilities, and
 overnight accommodations from general prohibition on sex discrimination. 117

        Moreover, these are not fictional scenarios. Grotesque attacks on women’s
 privacy are being seen in greater measure across the country. When it comes to
 safety, “the difference between male and female inmates … is obvious.” 118 But that
 didn’t stop New Jersey from agreeing to provide “housing in line with gender
 identity” following a lawsuit by the ACLU. 119 This resulted in a male inmate who
 identified as a female impregnating two female inmates. 120 And in California, a new
 law allowing incarcerated males to be housed in women’s facilities resulted in over
 300 males requesting transfer to women’s prison, and sexual violence to the
 incarcerated women forced to share housing with these men. 121


 117 “A recipient may provide separate toilet, locker room, and shower facilities on the basis of sex, but

 such facilities provided for students of one sex shall be comparable to such facilities provided for
 students of the other sex.” 34 C.F.R § 106.33. See also Jeldness v. Pearce, 30 F.3d 1220, 1228 (9th
 Cir. 1994) (finding that Title IX provides for sex-specific toilet, shower, and locker room facilities).
 118 Oliver v. Scott, No. 3:98-CV-2246, 2000 WL 968784, at *5 (N.D. Tex. July 13, 2000), aff’d, 276 F.3d

 736 (5th Cir. 2002).
 119 ACLU of New Jersey, Settlement of NJ Civil Rights Suit Promises Necessary Reform Affirming

 Transgender, Intersex, and Non-binary people in prison (June 29, 2021) https://www.aclu-
 nj.org/en/press-releases/settlement-nj-civil-rights-suit-promises-necessary-reform-affirming-
 transgender (last visited September 2, 2022).
 120 Joe Atmonavage, Transgender woman who impregnated 2 inmates removed from N.J.’s female

 prison, NEWJERSEY.COM, https://www.nj.com/news/2022/07/transgender-woman-who-impregnated-2-
 inmates-removed-from-njs-female-prison.html.
 121 See, e.g., Complaint for Declaratory and Injunctive Relief, Chandler v. Cal. Dep’t. of Cor. and

 Reh., No. 1:21-cv-01657, (E.D. Cal. filed November 17, 2021), available at,



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        Or take homeless shelters that house women who “have escaped from sex
 trafficking or been abused or battered, primarily at the hands of men.” 122 When one
 women’s shelter in Alaska declined to admit a male who identified as female, the
 municipality filed a complaint alleging it “had discriminated against [the male] on
 the basis of sex and gender identity.” 123 A shelter in New York city took a different
 route and admitted a male, who was recently released from prison and had a
 “propensity for violence” toward women. 124 The male is currently standing accused
 of murdering a woman who was visiting him. 125

        B. The Department should consider alternatives that protect student
           dignity and privacy.

        Sacrificing the privacy and dignity of women is too high a price to pay to
 affirm a male’s beliefs about his identity—the balance of harms is clear. The
 Department must explore other alternatives. For example, the Department should
 promulgate regulations stating that private spaces must be offered by biological sex
 in order to preserve women’s opportunities. Likewise, the Department should
 consider encouraging school districts to make multiple single-user facilities
 available so that any student who is uncomfortable using the toilet, changing, or
 shower facilities of their biological sex can have a private place to take care of their
 needs. The Department should evaluate how many federally funded schools already
 have single-user restrooms and facilities available for student or teacher use that
 would require no alteration to the physical facility. The Department should also
 undertake a cost-benefit analysis of altering some existing multi-user facilities into
 single-user facilities that would accommodate the privacy needs of every student.
 But under no circumstances should female private spaces be opened to all-comers.

        The Department should also consider many other alternative policies, such as
 (1) delaying compliance dates; (2) applying the policy prospectively only; (3)
 grandfathering existing categories of single-sex housing; (4) exempting religious
 institutions, faculty, and students; or (5) crafting more specific privacy exemptions.




 https://static1.squarespace.com/static/5f232ea74d8342386a7ebc52/t/6196bf95316ee67aa2e827c5/1637
 269398161/Chandler+v+CDCR+Complaint Case+No.+21-cv-1657.pdf.
 122 Downtown Soup Kitchen v. Mun. of Anchorage, 406 F. Supp. 3d 776, 781 (D. Alaska 2019).
 123 Id. at 784; see id. at 789–800 (enjoining municipality from enforcing public accommodations law

 against shelter).
 124 Rebecca Davis O’Brien & Ali Watkins, How Did a Two-Time Killer Get Out to Be Charged Again

 at Age 83? NYTIMES, HTTPS://WWW.NYTIMES.COM/2022/07/30/NYREGION/HOW-DID-A-TWO-TIME-KILLER-
 GET-OUT-TO-BE-CHARGED-AGAIN-AT-AGE-83.HTML (last visited September 2, 2022).
 125 Id.




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         C. The proposed rule will harm student housing and censor speech
            in student housing.

       The Department must also consider and address the interplay of Title IX and
 the Fair Housing Act and the effect of its proposed rule on protected conduct in the
 context of educational housing.
        Both laws regulate housing on most college campuses, and both laws should
 be correctly interpreted not to require colleges to place men in women’s dorms.
 Permitting males to access female private spaces fails to accommodate girls. It
 instead discriminates against them by limiting their equal opportunities.
        But the federal government now seeks to redefine sex discrimination in both
 laws to address gender identity. And prohibiting gender identity discrimination is
 actually a ban on single-sex housing, originally understood as housing separated by
 biological sex. Colleges must now place males who identify as female in female dorm
 rooms, and vice versa.
        The Fair Housing Act and its regulations prohibit sex discrimination and
 prohibit speech expressing a policy of, or preference for, sex discrimination. 126
 Congress enacted the Fair Housing Act (FHA) in 1968 to prohibit discrimination
 based on race, religion, and national origin in housing, and it amended the Act in
 1974 to prohibit sex discrimination. 127 The FHA and its regulations prohibit
 “statement[s]” and “notice[s]” expressing a policy of, or preference for,
 discrimination in housing. 42 U.S.C. § 3604 (c); 24 C.F.R. § 100.50 (b)(4)–(5).1
        The FHA applies to all “dwellings,” even if the owner receives no government
 funds. 128 Courts and the government have long applied the FHA to college
 housing. 129
        Statutory context confirms that Congress did not prohibit student housing
 separated by biological sex. Sex was added as a nondiscrimination category to the
 FHA in 1974. Two years earlier, in Title IX of the Education Amendments of 1972,
 Congress said that Title IX does not prohibit “maintaining separate living facilities
 for the different sexes.” 20 U.S.C. § 1686. In its ordinary meaning in 1974, sex
 means the biological binary of male and female.
       For decades, courts unanimously held that the FHA does not address sexual
 orientation or gender identity. 130 As recently as 2020, the U.S. Department of


 126 42 U.S.C. § 3604; 24 C.F.R. § 100.50.
 127 42 U.S.C. § 3604 (a) & (b); 24 C.F.R. § 100.50(b)(1)–(3).
 128 42 U.S.C. § 3602(b); 24 C.F.R. § 100.20.
 129 United States v. Univ. of Neb. at Kearney, 940 F. Supp. 2d 974, 983 (D. Neb. 2013).
 130 See, e.g., Smith v. Avanti, 249 F. Supp. 3d 1194, 1201 (D. Colo. 2017) (rejecting argument that the

 sex stereotyping theory supports an FHA claim based on “status as a transgender” or “sexual



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 Housing and Urban Development (HUD) said that “to consider biological sex in
 placement and accommodation decisions in single-sex facilities” is “permitted” by
 the FHA. 131
       The FHA says nothing about undoing what Title IX allowed for student
 housing. In the FHA itself, Congress funds private college single-sex housing
 through HUD, even though it was commonly separated based on biological sex. 132
 The FHA therefore cannot be interpreted to have prohibited separating student
 housing by biological sex.
        For decades, regulations and guidances have allowed colleges to separate
 student housing by the biological binary of male and female. 133 HUD’s own Title IX
 regulation characterizes sex this way: “[h]ousing provided by a recipient to students
 of one sex, when compared to that provided to students of the other sex, shall be as
 a whole” proportionate and comparable. 24 C.F.R. § 3.405 (emphasis added). It has
 said this since at least 1975. 134 The FHA did not overturn the longstanding practice
 that colleges separate student housing by biological sex.


 orientation or identity”). Many courts have rejected sexual orientation claims brought under the
 FHA. Lath v. OakBrook Condominium Owners’ Ass’n, No. 16-CV-463-LM, 2017 WL 1051001, at *4
 n.5 (D. N.H. Mar. 20, 2017); Thomas v. Osegueda, No. 2:15-CV-0042-WMA, 2015 WL 3751994, at *4
 (N.D. Ala. June 16, 2015); Thomas v. Wright, No. 2:14-CV-01604-RDP, 2014 WL 6983302, at *3 (N.D.
 Ala. Dec. 10, 2014); Ordelli v. Mark Farrell & Assocs., 2013 WL 1100811, at *2 (D. Or. 2013); Miller
 v. 270 Empire Realty LLC, 2012 WL 1933798, at *5 (E.D.N.Y. 2012); Fair Housing Ctr. of Washtenaw
 Cty., Inc. v. Town & Country Apts., No. 07-10262, 2009 WL 497402, *3, n.1 (E.D. Mich. Feb. 26,
 2009); Swinton v. Fazekas, No. 06-CV-6139T, 2008 WL 723914, *5 (W.D.N.Y. Mar. 14, 2008); Smith
 v. Mission Assocs. Ltd. P’ship, 225 F. Supp. 2d 1293, 1299 (D. Kan. 2002); Neithamer v. Brenneman
 Property Services, Inc., 81 F. Supp. 2d 1, 4 (D.D.C. 1999). Even when parties conceded that the FHA
 prohibits sexual orientation in Wetzel v. Glen St. Andrew Living Community, LLC, 901 F.3d 856, 862
 (7th Cir. 2018), the court warned that between the FHA and Title VII “there are some potentially
 important differences between the relationship that exists between an employer and an employee, in
 which one is the agent of the other, and that between a landlord and a tenant, in which the tenant is
 largely independent of the landlord,” and consequently the court “refrain[ed] from reflexively
 adopting the Title VII standard” into all applications beyond “comparable situations.” Id. at 863.
 131 Making Admission or Placement Determinations Based on Sex in Facilities Under Community

 Planning and Development Housing Programs, 85 Fed. Reg. 44,811, 44,812 (Sept. 22, 2021).
 132 See Tables 5 & 5a, pg. 228, Evolution of Role of the Federal Government in Housing and

 Community Development, Subcomm. on Housing and Community Development of the Comm. on
 Banking, Currency and Housing, 94th Cong. (Oct. 1975) (filed with Pub. L. 93-383 on Aug. 22, 1974),
 available on Westlaw under U.S. Government Accountability Office (GAO) Legislative History, Pub.
 L. 93-383—part 1.
 133 45 C.F.R. § 86.32 (“A recipient may provide separate housing on the basis of sex.”); HUD

 Occupancy Handbook, Chapter 3: Eligibility for Assistance and Occupancy, sec. 3-22.B.1 (citing 45
 C.F.R. §§ 86.32 and 86.33), https://www.hud.gov/sites/documents/DOC 35645.PDF (last visited
 September 1, 2022).
 134 Consolidated Procedural Rules for Administration and Enforcement of Certain Civil Rights Laws

 and Authorities, 40 Fed. Reg. 24,128, 24,148 (June 4, 1975) (promulgating 45 C.F.R. § 86.32).



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        In early February 2021, the federal government through HUD issued what it
 called a “directive” and “rule change” that redefined the Fair Housing Act’s sex-
 discrimination provisions to include sexual orientation and gender identity. 135
 Without notice or comment, the Directive ordered agency officials and external
 enforcement grantees to “fully enforce” this new standard immediately—and
 retroactively for one year—including against virtually all colleges’ housing policies
 and speech. These laws impose crippling punishments for violations, including six-
 figure civil penalties, unlimited punitive damages, and even prison time. 136
         Just as the proposed rule by the Department of Education will transform
 student housing nationwide, HUD’s Directive is a marked change that affects
 schools nationwide, such as the College of the Ozarks, a Christian undergraduate
 institution in Missouri. 137 Students need not be of a particular religion to study or
 live at the College, but they must agree to follow the College’s religiously informed
 code of conduct. Under that code, sex is acknowledged at birth and based on biology,
 not gender identity, and students agree not to engage in sex outside marriage
 between a man and a woman. This code governs the College’s single-sex residence
 halls, including communal showers, restrooms, dorm rooms, and roommate
 selection, as well as its pronoun usage and visitation policies. The College
 communicates these policies daily to 1,300 students. And because the FHA and its
 regulations prohibit “discriminatory” statements, the Directive censors the College’s
 speech, banning it from saying that its student housing is or should be separated by
 biological sex, and coercing the College to adopt contrary policies. HUD now
 considers the College’s housing policies and speech to be unlawful. By interpreting
 the FHA to address sexual orientation and gender identity, the government forces
 colleges to let males occupy female dorms—and qualify for roommate selection—
 when they claim a female gender identity.
        Were schools like the College to comply with HUD’s new mandate, or were
 Title IX to apply to colleges and universities as the proposed rule contemplates,



 135 U.S. Department of Housing & Urban Development, Directive, Implementation of Executive

 Order 13,988 on the Enforcement of the Fair Housing Act (Feb. 11, 2021).
 136 The FHA provides broad enforcement mechanisms, including complaints, investigations, and

 lawsuits. E.g., 42 U.S.C. § 3611–3614; 24 C.F.R. § 103.215, 180.671, 180.705; JA31–33. Its penalties
 include unlimited compensatory and punitive damages, 42 U.S.C. §§ 3612(g), 3613(c), and huge civil
 penalties: fines of $21,663 for a first violation, $54,157 for a second violation, and $108,315 for a
 third or continuing violation. 24 C.F.R. § 180.671. The FHA also provides criminal punishments,
 including prison time, if an incident involves the threat of force, such as if security staff enforce a
 prohibited housing policy. 42 U.S.C. § 3631. And anyone can file a complaint and trigger a
 government investigation, or bring a private lawsuit, so long as they “pose as renters,” Havens Realty
 Corp. v. Coleman, 455 U.S. 363, 373 (1982). 42 U.S.C. §§ 3610(a)(1)(A)(i), 3613, 3614; 24 C.F.R. §
 103.9, et seq.
 137 ADF, College of the Ozarks v. Biden, https://adflegal.org/case/college-ozarks-v-biden.




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 these schools would suffer immeasurable harm to religious exercise, free speech,
 and students’ privacy interests. Abandoning any code of conduct and opening female
 private spaces to biological men jeopardizes their ability to function, harms
 students, and dissuades them from attending the school. They would also incur
 regulatory compliance costs of time, money, and speech were they to comply,
 because they would have to change their policies, statements, trainings, and
 signage, and even renovate their buildings. Conversely, if the colleges disregard the
 government’s rewritten FHA, the Directive threatens “full enforcement.” This
 includes investigations, enforcement actions, and litigation that could impose costly
 discovery and legal fees, millions in penalties and punitive damages, and criminal
 penalties against the colleges and their employees. Their liability under the
 Directive grows exponentially each day as they continue to speak about and apply
 their housing policies.
       When the College sought relief in court, HUD confirmed that it considers the
 College’s policies and speech unlawful under the FHA. 138 The government
 elaborated the many ways it believes the Directive applies to the College:
         •   The government said that to avoid liability the College must consider
             “accommodat[ing]” biological males who identify as females.
         •   The government said the Directive should not be enjoined because the
             College’s students “might someday experience housing discrimination on
             the basis of sexual identity or sexual orientation.”
         •   The government said the College’s policies and speech could violate the
             Directive because a transgender student could be “denied housing” or
             experience “a hostile housing environment from college administrators on
             the basis of gender stereotype” because of the College’s speech.
         •   The government said the College’s policies could violate the Directive
             because “a cisgender student” “may experience housing discrimination
             when she brings transgender friends or family members to the dorm
             simply because those friends or family members do not conform to the
             college’s views on sexuality.”
         •   The government also questioned whether the College’s opposition to
             compliance with the Directive is “really compelled” by its religion and
             whether its code of conduct is really “enforced,” saying HUD
             investigations must be allowed to explore these issues.




 138 College of the Ozarks v. Biden, No. 21-2270 (8th Cir.).




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        Marcia Fudge, the HUD Secretary, then testified to Congress that she
 believes the College’s policies are illegal. 139 This view tracks the government’s
 reinterpretations of other sex-discrimination laws. In federally funded single-sex
 housing not subject to the FHA, like emergency shelters, HUD prohibits gender-
 identity discrimination and has ordered that the “placement and accommodation of
 individuals in facilities that are permitted to be single-sex must be made in
 accordance with the individual’s gender identity,” not biological sex. 140
        Worse, the government condemned the College’s speech as “indicat[ing] a
 discriminatory and unlawful preference”—and argued the College’s speech is not
 protected at all under the First Amendment.
        The Department of Education should expressly state whether it interprets
 Title IX the same way: to require this intrusive change to all college housing. The
 Department must address the application of its proposed rule with this level of
 specificity as to its impact, including on each point above, or else the regulated
 community will not have fair notice of what the rule requires. This particularly
 includes requiring girls to share rooms, dorms, restrooms, and more with males,
 including while sleeping and in states of undress.
        The Department furthermore must evaluate these potential applications of
 its rule to student housing and address whether these costs are justified, and if so,
 on what basis. It should granularly break down the costs of the rule on student
 housing, including the costs on individual students. And it should address why and
 how it identifies higher benefits. It should also consider whether redefining sex in
 Title IX will cause other agencies to redefine sex in other statutes to avoid conflicts,
 and it should describe in the final rule how it proposes to coordinate enforcement of
 these laws on college housing, given the dual and overlapping enforcement
 structure of many civil rights offices and divisions across agencies.
        The right course is for the Department to conclude that neither the FHA nor
 Title IX requires any of this, either as a matter of law or as a matter of a cost-
 benefit analysis. Congress did not unmistakably address sexual orientation and
 gender identity in the 1974 FHA, or in the 1972 Title IX, let alone unmistakably


 139 Testimony of Marcia Fudge, U.S. House Comm. on the Budget, Hr’g on U.S. Dep’t of Housing and

 Urban Development’s Fiscal Year 2022 Budget at 29:06 (June 23, 2021),
 https://budget.house.gov/legislation/hearings/us-department-housing-and-urban-development-s-
 fiscal-year-2022-budget. Secretary Fudge claimed she would not violate free speech rights, but the
 government denies that the College has any free speech rights.
 140 81 Fed. Reg. at 64,765, 64,767–68; Press Release, U.S. Dep’t of Housing & Urban Dev., HUD

 Withdraws Proposed Rule, Reaffirms Its Commitment to Equal Access to Housing, Shelters, and
 Other Services Regardless of Gender Identity (Apr. 22, 2021),
 https://www.hud.gov/press/press releases media advisories/HUD No 21 069 (last visited
 September 1, 2022).



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 force colleges to allow males to live and shower with females. In fact, in a 1976
 letter to the President of Harding College, OCR Acting Director Martin H. Gerry
 specifically denied that Title IX applied to sexual orientation: “We should, perhaps,
 note in this connection that Title IX does not address the question of
 homosexuality—it prohibits discrimination based on sex, not actions based upon
 sexual preference.” 141
        Because Congress did not “in fact face[], and intend[] to bring into issue” this
 particular disruption of state and private authority, 142 any such interpretation
 violates the clear-notice canon.
       The Department of Education should also expressly state whether it
 interprets Title IX and the Constitution the same way as HUD to make colleges’
 own speech about housing illegal, and to claim that colleges have no First
 Amendment rights in this area.
         More broadly, the Department must address the reliance interests of public
 and private colleges, these free speech and religious liberty concerns, and any
 alternatives not only in the broad context of education but also specifically in the
 context of college housing. “[A]gency action is lawful only if it rests on a
 consideration of the relevant factors.” 143 Whether the agency action concerns a rule
 or concerns enforcement, it must address “legitimate reliance” on past policies or
 legitimate alternative policies. 144 The Department must consider these reliance
 interests and constitutional concerns in particular settings of student housing and
 in the specific circumstances for educational institutions, including how to
 accommodate the First Amendment rights of those individuals with religious
 objections, such as school employees, students, and visitors. Even if Title IX
 provides a religious exemption for schools, it provides no exemption for individual
 employees, students, and visitors. And secular schools and non-religious individuals
 have First Amendment interests in speech that must be considered. These effects on
 their free speech and religious freedom thus must be quantified now, both in their
 nature, number, and degree. Any failure of the Department of Education to “overtly
 consider” these privacy, free speech, and religious freedom reliance interests render
 it fatally flawed. 145




 141 Letter from Martin H. Gerry, Acting Dir., Office for Civil Rights, Dep’t of Health, Educ., &

 Welfare, to Clifton L. Ganus, Jr., President, Harding Coll. 4-5 (Oct. 14, 1976),
 http://www2.ed.gov/about/offices/list/ocr/docs/t9-rel-exempt/harding-university-response-
 10141976.pdf.
 142 United States v. Bass, 404 U.S. 336, 349 (1971).
 143 Michigan v. EPA, 576 U.S. 743, 750 (2015) (internal citation omitted).
 144 Dep’t of Homeland Sec. v. Regents of the Univ. of Cal., 140 S. Ct. 1891, 1910–15 (2020).
 145 Little Sisters of the Poor v. Pennsylvania, 140 S. Ct. 2367, 2383 (2020).




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        The Department of Education’s proposed Title IX rule—like HUD’s
 directive—causes tremendous upheaval for student housing, yet the proposed rule
 ignores colleges’ interests in their single-sex housing policies and codes of conduct.
 The proposed rule also does not adequately consider possible exemptions or other
 statutory or constitutional protections of religious rights, including the First
 Amendment and the Religious Freedom Restoration Act (RFRA) for schools and
 individuals.
        If Title IX and the FHA were read to prohibit sexual orientation and gender
 identity discrimination—which Bostock said its holding did not encompass—the
 Department still must consider these interests because that reading of these laws
 would be unconstitutional. The same constitutional claims would support relief
 against government enforcement of the statute and regulations. And so the same
 problems with the proposed rule must be considered now, even if the Department
 has statutory authority. The proper course is to provide for no rules that redefine
 sex and raise these conflicts, or, at a minimum, draft regulatory exemptions now.
        And, upon consideration of these free speech interests in college housing, the
 Department should conclude that its regulations cannot affect and must expressly
 exempt protected expression in the context of student housing. Under the Free
 Speech Clause, the government may not restrict speech because of its content or
 viewpoint. 146 But the FHA and HUD regulations, whose enforcement the Directive
 modifies, prohibits speech “with respect to the sale or rental of a dwelling that
 indicates any preference, limitation, or discrimination based on [sex].” 147 It is
 possible that the Department of Education will interpret Title IX to impose similar
 restrictions. But that mandate, like HUD’s directive, will prohibit a college’s speech
 about having or preferring its own housing policies as it rents space to students. It
 likely will restrict a college’s code of conduct for housing, under which sex is
 determined at birth and based on biology, not gender identity, and under which
 students agree not to engage in sex outside marriage between a man and a woman.
        Consider statements the proposed rule (like the HUD Directive) would censor
 a college from making:
         •   Posting online its beliefs or code of conduct, including saying that its
             student housing and visitation are separated by biological sex, not gender
             identity;
         •   telling students in person or in applications about its code of conduct;




 146 Reed v. Town of Gilbert, 135 S. Ct. 2218, 2227 (2015).
 147 42 U.S.C. § 3604(c); 24 C.F.R. § 100.50(b)(4)–(5).




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                  EXHIBIT 1




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 The Honorable Catherine E. Lhamon
 Assistant Secretary for Civil Rights
 U.S. Department of Education
 Office for Civil Rights
 400 Maryland Avenue, SW
 Washington, D.C. 20202-1100

 Submitted via electronic form:

                                                                                March 17, 2022


 Dear Assistant Secretary Lhamon,

          Concerned Women for America (CWA), the nation's largest public policy organization for
 women, is filing this formal complaint with the U.S. Department of Education Office for Civil
 Rights (OCR) against the University of Pennsylvania (UPenn) for its egregious violations of the
 protections for women on the basis of sex secured a half-century ago in the landmark passage
 of Title IX of the Education Amendments of 1972. The infractions have not only occurred within
 the 180 days required but, to the detriment of current and future female student-athletes
 nationwide, it is ongoing.

         On February 16-19, 2022, Lia Thomas (formerly Will Thomas), a Division I swimmer who
 is biologically male but rostered as a senior on UPenn's women's team and competed through
 the season displacing teammates in events and shattering pool, league, and national records,
 was allowed to compete in the Ivy League Championships (ILC) as a member of UPenn women's
 swimming team in direct violation of the prohibition against sex discrimination under Title IX.
 Thomas is currently competing in the National Collegiate Athletic Association (NCAA) National
 Championships (scheduled for March 16-19, 2022). Thomas is anatomically/biologically a male
 who should not be eligible to compete in women's sports, depriving anatomically/biologically
 female athletes of the opportunities afforded to them by law.




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        Predictably, Thomas has set records and crushed women's aspirations as a male-bodied
 athlete competing in women's sports.1 Thomas' time in the 500-yard freestyle event at the ILC
 was 7.5 seconds faster than the second-place finisher, Thomas' teammate Catherine Buroker. It
 is undeniable that Buroker was deprived of the first place finish she earned in the women's
 category.

        Despite the blatant injustice to female athletes, UPenn and the Ivy League doubled
 down on its celebration of a biological male who self-identifies as the opposite sex competing in
 women's swimming by awarding Thomas First Team All-Ivy honors in three events (200-, 500-
 and 1000-yd freestyle) and the single team athlete selected by UPenn for the 2021-22 Ivy
 League Women's Swimming and Diving Academic All-Ivy team.2 All significant career-enhancing
 opportunities that female student-athletes were deprived of because of sex— because of their
 unique biological design as females.

          As recent as 2020, Thomas was competing as a member of UPenn's men's swimming
 team. In 2021, just a year later, UPenn allowed Thomas to join the women's team after self-
 identifying as a woman. But Thomas is still anatomically a male, bearing all the biological
 advantages of male developmental physique.3 By allowing a male to take a spot and compete
 on the women's swim team, depriving aspiring young women athletes of a fair and level playing
 field in competition, UPenn commits a grave injustice and violates the most fundamental
 principles of equity in Title IX's historic efforts to promote equal opportunity in sports in
 educational institutions.

         It cannot be overlooked that UPenn's policy has a disparate impact on women, given the
 clear biological differences between the sexes.4 Women unquestionably lose under these types
 of discriminatory practices, and the U.S. Supreme Court has long recognized such disparate
 impact to establish a prima facie case of discrimination.5 To allow such a discriminatory policy
 to continue is to say that an educational institution could have an all-biological male swimming
 or even wrestling or boxing team, both in the men's and women's categories of competition,
 while remaining in full compliance with federal law, potentially eliminating all opportunities for


 1 Brooke Migdon, “Lia Thomas wins 500-yard freestyle, sets pool record at Ivy League Championships,” The Hill (Feb. 18, 2022), available at

 https://thehill.com/changing-america/respect/diversity-inclusion/594905-lia-thomas-wins-500-yard-freestyle-sets-pool.
 2 Ivy | ESPN, “Women's Swimming & Diving All-Ivy, Postseason Awards Announced” (Fev. 23, 2022), available at

 https://ivyleague.com/news/2022/2/23/womens-swimming-diving-all-ivy-postseason-awards-announced.aspx.
 3 Knox T, Anderson LC, Heather A, “Transwomen in elite sport: scientific and ethical considerations,” Journal of Medical Ethics 2019;45:395-403,

 available at https://jme.bmj.com/content/45/6/395; David J Handelsman, Angelica L Hirschberg, Stephane Bermon, “Circulating Testosterone
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 comparingathleticperformances.pdf; Ian Janssen, Steven B. Heymsfield, ZiMian Wang, and Robert Ross, “Skeletal muscle mass and distribution
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 https://doi.org/10.1152/jappl.2000.89.1.81.
 4 Thibault, V., Guillaume, M., Berthelot, G., Helou, N. E., Schaal, K., Quinquis, L., Nassif, H., Tafflet, M., Escolano, S., Hermine, O., & Toussaint, J.

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 Exploring the Biological Contributions to Human Health: Does Sex Matter? Washington (DC): National Academies Press (US); 2001. 2, Every Cell
 Has a Sex. Available from: https://www.ncbi.nlm.nih.gov/books/NBK222291/.
 5 See Dothard v. Rawlinson, 433 U.S. 321, (1977).




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 female athletes in a program. Any interpretation of federal law facilitating such a result is
 anathema to Title IX.

          Educational institutions have a responsibility under federal law to protect every
 student's right to learn in a safe environment free from unlawful discrimination and to prevent
 unjust deprivations of that right. This includes students who experience gender dysphoria, but
 it also includes female students, who make up over 50% of post-secondary students. Thomas
 has a place to compete in sports against other athletes according to the athlete's biological
 makeup as a male. As already mentioned, Thomas indeed competed in the men's team from
 2018 to 2020, even while taking steps to embrace a new identity. There would be no injustice if
 Thomas retained a roster spot on the men's team. But to allow a male-bodied athlete to
 displace female student-athletes in the women's category based on inevitable biological
 advantages is a gross violation of Title IX. Thomas' own teammates have spoken out, saying,
 "Biologically, Lia holds an unfair advantage over competition in the women's category, as
 evidenced by her rankings that have bounced from #462 as a male to #1 as a female."6

          The situation has devolved into a hostile environment for female athletes at UPenn at
 the hands of the UPenn swim coach and University administration. Female athletes are being
 forced to forfeit their rightful privacy and dignity in sex-specific locker rooms in direct violation
 of Title IX. Worse yet, they do not feel free to speak up in disagreement with the policy without
 creating adverse effects on their dreams of an athletic college career. Therefore, female
 athletes have been forced to speak up only on the condition of anonymity. One of Thomas'
 teammates spoke of the injustice towards her and her teammates to OutKick:7

           "Pretty much everyone individually has spoken to our coaches about not liking
           this. Our coach [Mike Schnur] just really likes winning. He's like most coaches. I
           think secretly everyone just knows it's the wrong thing to do," the female Penn
           swimmer said during a phone interview.

           "When the whole team is together, we have to be like, 'Oh my gosh, go Lia,
           that's great, you're amazing.' It's very fake," she added.

 She later discussed the fear of speaking out for women's rights:

           "If we protest it, we're only hurting ourselves because we're going to miss out on
           all that we've been working for," Thomas' female teammate said, but she added
           that something needs to be done to protect biological women who've fought for
           an equal playing field in collegiate athletics.



 6 Isaac Schorr, “Transgender Swimmer Lia Thomas Continues to Dominate, Break Records, at Ivy League Championships,” National Review (Feb.

 18, 2022), available at https://www.nationalreview.com/news/transgender-swimmer-lia-thomas-continues-to-dominate-break-records-at-ivy-
 league-championships/.
 7 Joe Kinsey, “Penn Trans Swimmer’s Teammate Speaks Out as Lia Thomas Smashes More Records,” OutKick (Dec. 11, 2021), available at

 https://www.outkick.com/outkick-exclusive-penn-trans-swimmers-teammate-speaks-out-as-lia-thomas-smashes-more-records/.




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 Another account to NewsNation expressed the frustration:

           "The first word that comes to my mind is insane," the swimmer told NewsNation.
           "I feel like it's something that's so basic that people have just somehow managed
           to twist and make [it] way more complicated than it should have ever been."8

 The situation is untenable. Teammates say the female athletes feel uncomfortable changing in
 their own locker room, something Title IX specifically addresses.

           "It's definitely awkward because Lia still has male body parts and is still attracted
           to women," one swimmer on the team told DailyMail.com in an exclusive
           interview.

           Lia has told her teammates that she dates women.

           While Lia covers herself with a towel sometimes, there's a decent amount of
           nudity, the swimmer said. She and others have had a glimpse at her private
           parts.

           She stated that team members have raised their concern with the coach, trying
           to get Thomas ousted from the female locker room, but got nowhere.

           "Multiple swimmers have raised it, multiple different times," the UPenn
           swimmer said. "But we were basically told that we could not ostracize Lia by not
           having her in the locker room and that there's nothing we can do about it, that
           we basically have to roll over and accept it, or we cannot use our own locker
           room."9

         What has happened at the University of Pennsylvania, Ivy League, and the NCAA is a
 complete failure of compliance obligation under Title IX. Female athletes are accorded rights on
 the basis of sex under the law and deserve protection, not intimidation and abuse. Federal law
 demands schools receiving federal funds comply with the laws on sex discrimination, not flout
 it.10 OCR has a duty to protect women's rights under Title IX. The policies at UPenn have
 produced the very definition of a hostile work environment for its female athletes in their swim
 team. It can never be an acceptable practice for school coaches and officials to tell female



 8 Bobby Oler, “Lia Thomas situation ‘insane,’ Penn teammate says,” NewsNation (March 7, 2022), available at

 https://www.newsnationnow.com/prime/lia-thomas-situation-insane-penn-teammate-says/.
 9 Shawn Cohen, “EXCLUSIVE: 'We're uncomfortable in our own locker room.' Lia Thomas' UPenn teammate tells how the trans swimmer doesn't

 always cover up her male genitals when changing and their concerns go ignored by their coach,” Daily Mail (Jan. 27, 2022), available at
 https://www.dailymail.co.uk/news/article-10445679/Lia-Thomas-UPenn-teammate-says-trans-swimmer-doesnt-cover-genitals-locker-
 room.html.
 10 UPenn is one of the federal government’s most well-funded universities. See Evan Comen, Michael B. Sauter, Samuel Stebbins, Thomas C.

 Frohlich, “Universities Getting the Most Money from the Federal Government,” 24/7 Wall St. (March 22, 2017), available at
 https://247wallst.com/special-report/2017/03/22/universities-getting-the-most-money-from-the-federal-government/4/.




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 athletes to "suck it up" 11 when they complain about sexual harassment and these flagrant
 violations of their rights as biological women.

         As the federal agency charged with enforcing federal civil rights laws that prohibit
 discrimination on the basis of sex in programs or activities that receive federal financial
 assistance in the educational context, OCR must act urgently against the University of
 Pennsylvania and generally as an ongoing matter of enforcement before this abject denial of
 biological impact and flagrant sex discrimination against female student-athletes affects more
 and more female students across the country.

          OCR must ensure female students are not deprived of their rights under the law and
 denied recourse for sex discrimination. We plead for you to issue clear, decisive guidance to
 clarify the law and prevent colleges and university athletic programs from violating women's
 rights by allowing biological male athletes to compete in the women's category of sport.
 Protecting all female student-athletes from this type of injustice is the very essence of OCR's
 mission to ensure equal access to educational opportunities and benefits the law requires
 under Title IX.

           We thank you in advance for your immediate attention to this matter,




 Penny Nance                                                                            Mario Diaz, Esq.
 President and CEO                                                                      General Counsel
 Concerned Women for America                                                            Concerned Women for America




 11 “It is definitely uncomfortable and has been expressed to our coach and members of the athletic department that people are uncomfortable

 with it,” the teammate said. “We were basically told to, ‘suck it up.’” Dan D’Addona, “Lia Thomas Teammate: Situation is ‘Unfair’ and NCAA is
 ‘Discriminating Against Cisgender Women’; Locker Room Discomfort,” Swimming World (March 9, 2022), available at
 https://www.swimmingworldmagazine.com/news/lia-thomas-teammate-situation-is-unfair-and-ncaa-is-discriminating-against-cisgender-
 women-locker-room-discomfort.




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                          IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                  CHARLESTON DIVISION

  B.P.J, by her next friend and mother, HEATHER
  JACKSON,
                                               Plaintiff,
         v.
  WEST       VIRGINIA      STATE       BOARD       OF            Case No. 2:21-cv-00316
  EDUCATION, HARRISON COUNTY BOARD OF
  EDUCATION, WEST VIRGINIA SECONDARY
  SCHOOL ACTIVITIES COMMISSION, W.                               Hon. Joseph R. Goodwin
  CLAYTON BURCH in his official capacity as State
  Superintendent, DORA STUTLER in her official
  capacity as Harrison County Superintendent, and THE
  STATE OF WEST VIRGINIA,
                                            Defendants
         and
  LAINEY ARMISTEAD,
                                 Defendant-Intervenor.

                            DECLARATION OF ALANNA SMITH

 I, Alanna Smith, declare as follows:

        1.      I am an eighteen-year-old senior at Danbury High School in Danbury,

 Connecticut.

        2.      Though I am an elite female track athlete, I have personally experienced the

 devasting impact of competing against—and losing to—male athletes in my sport.

        3.      Though I only competed against these athletes during my freshman year of high

 school, they still impacted my placements, public recognition, medals, records, and how I

 physically and mentally prepared for competition.




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 Athletic Background

         4.      I was born into a family of athletes. My dad is a Major League Baseball Hall of

 Fame relief pitcher. My mom ran track in high school and still runs recreationally. One maternal

 uncle played professional football. Another played professional baseball. My twin brother is a

 three-sport athlete.

         5.      Sports was a big part of my world from a very young age, as I attended my dad’s

 MLB games and events and ran with my mom. Having a twin brother who is naturally athletic

 helped instill a competitive drive in me, because as a little girl I loved to beat him in foot races at

 every opportunity.

         6.      The sports legacy that surrounds me was not something I consciously thought

 about—it just became a part of who I am. And without thinking about it too seriously, I knew I

 had the potential to excel athletically.

         7.      It wasn’t until I started running with mom and developing endurance and strength

 that I considered competitively running track. So, in middle school, mom enrolled me in the local

 middle school track program. Between 2015 and 2018, I tried shot put, the long jump, the 55-

 meter dash, the 100-meter, 200-meter, 400-meter, and 800-meter races.

         8.      As I tried different track and field competitions, I realized that I enjoyed and

 excelled at running shorter distances. That’s when I knew I wanted to concentrate on the 100-

 meter, 200-meter, and 400-meter distances. I wanted to run and get it over with!

         9.      During middle school, I became a three-peat 100-meter Connecticut State

 Champion. In eighth grade, I was also the 400-meter state champion.




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         10.    My freshman year of high school I was a varsity cheerleader in the fall and winter

 and made it to the 2019 Connecticut High School Coaches Association All-State cheerleading

 team.

         11.    After cheerleading finished, I started outdoor track in the spring of 2019. I was

 nervous. The first few practices were hard. I felt that my teammates had high expectations based

 on my middle school track performance. And it didn’t help that the first few track meets were

 outside in cold or rainy weather, courtesy of New England.

         12.    But I won. And it felt amazing. I had proven to myself, the coaches, and my

 teammates that I could be a contributor to a winning season.

         13.    As my freshman season played out, I set personal, conference, state and regional

 facility records; improved my personal strength and technique; and accomplished personal goals.

 I contributed to the Danbury High School sweeping the 2019 outdoor FCIAC, Class LL, State

 Open, and New England Regional Championship competitions, and received numerous honors

 such as The Ruden Report Player of the Week, The Ruden Report Player of the Year, the 2019

 All-FCIAC First Team in the 100-meter, 200-meter, 400-meter, 2019 CHSCA All-State Girls’

 Outdoor Track, and was a recognizable component of the 2019 CHSCA Connecticut Team of the

 Year award.

         14.    Excelling on the track and setting personal records gives me a sense of personal

 achievement and confidence that carries over into all parts of my life. I love training, I love

 competing. Competing against girls like myself who work hard is rewarding. I compete to be the

 best, to be the fastest, to be a champion.




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 Competition Against Males

          15.    In spite of my focused, diligent practice and training, my success on the track has

 been limited by biological males competing in the girl’s high school track in Connecticut.

          16.    I first competed against a male at the New York Relays in April 2019. My team

 was invited to attend, along with teams from approximately seventeen other states. I knew going

 in that there would be a male athlete named Terry Miller from another Connecticut school in my

 race, and I was upset. I knew I wouldn’t win, and I knew we girls were competing for second

 place and beyond. As expected, Terry won the 100-meter dash. I placed fourth. Had Terry not

 competed in that race I would have been recognized as third place.

          17.    I learned later that Terry had competed for three seasons in Connecticut boys’

 high school track before switching to girls’ track.

          18.    Later that season, I found out I would be racing against Terry Miller and a second

 male athlete, Andraya Yearwood, in the 100-meter dash at the 2019 Connecticut State Open that.

          19.    After learning this news, I thought “I don’t stand a chance to win.” I felt defeated

 before I even got set in my blocks. Terry was in the lane next to me in the 100-meter finals, and I

 assumed going in that Terry would win. Terry was disqualified from the race due to a false start.

 I felt badly for Terry as an athlete, but I could tell the rest of us girls were a bit relieved that the

 race would now be a little more fair.

          20.    Also at the 2019 Connecticut State Open, I raced Terry Miller in the women’s

 200-meter dash. Terry placed first. Because of a male in my race, I was pushed from second

 place to third place.

          21.    Thus, at the 2019 State Open, I had one fair race: the 400-meter dash. I won that

 event.



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        22.       From the State Open Championship, I advanced to the New England Regional

 Championship meet, which is quite an accomplishment for any athlete, but especially a

 freshman.

        23.       I won the 400-meter title at the New England Regional Championships. It was

 exhilarating, not only because I won, but because my race was free of male athletes. It was a

 level playing field.

        24.       The 200-meter dash was a different story. I would have also been runner-up in the

 200-meter and received a silver medal and earned my team more overall points, but Terry Miller

 placed first and pushed me down in the rankings to third. Third place is nothing to be ashamed of

 if it is won fair-and-square, but my race was anything but fair.

        25.       My story is not unique. Girls across Connecticut have experienced similar

 displacement, loss of recognition, and even championship title losses solely because my state

 allowed two biological males to compete against biological females. Between 2017-2020, these

 two male competitors won 15 women’s state championship titles and set 17 new meet records in

 track and field. These statistics are in the back of my mind no matter how hard I train and how

 well I perform

        26.       Even though the males have graduated now and are no longer competing against

 us girls in Connecticut, we still feel the effects of their participation. For example, in the 2022

 Connecticut indoor track and field season—long after Terry Miller and Andraya Yearwood

 graduated—I ran a 6:96 time in the 55m dash. This would have set a new Connecticut girls’ state

 record. But back in 2019, Terry Miller set a record of 6.95 in the 55m dash, eclipsing my best

 time. If not for Terry competing in the girls’ category three years ago, I would have been




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                  EXHIBIT 3




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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                   CHARLESTON DIVISION

  B.P.J, by her next friend and mother, HEATHER
  JACKSON,
                                                Plaintiff,
         v.
  WEST       VIRGINIA      STATE       BOARD       OF             Case No. 2:21-cv-00316
  EDUCATION, HARRISON COUNTY BOARD OF
  EDUCATION, WEST VIRGINIA SECONDARY
  SCHOOL ACTIVITIES COMMISSION, W.                                Hon. Joseph R. Goodwin
  CLAYTON BURCH in his official capacity as State
  Superintendent, DORA STUTLER in her official
  capacity as Harrison County Superintendent, and THE
  STATE OF WEST VIRGINIA,
                                              Defendants
         and
  LAINEY ARMISTEAD,
                                  Defendant-Intervenor.


                             DECLARATION OF SELINA SOULE

 I, Selina Soule, under penalty of perjury, declare as follows:

        1.      I am a nineteen-year-old resident of Boca Raton, Florida, in Palm Beach County

 and have personal knowledge of the information below.

        2.      I am a sophomore and female athlete at Florida Atlantic University (FAU) in

 Boca Raton, Florida. Competing in track and field is my passion.

 Athletics Background

        3.      Sports are a huge part of my family. Both of my parents were multi-sport athletes.

 My dad competed in track, cross-country, baseball, and football. My mom was a competitive

 runner and figure skater, and now coaches figure skating.
                                                1


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         4.        My mom first coaxed me onto the ice rink at Rockefeller Center when I was just

 three years old. At age five, I started taking figure skating lessons. During elementary school, I

 began entering figure skating competitions—something I continued through my sophomore year

 of high school.

         5.        Figure skating was something my mom and I did together. We spent a lot of time

 on the ice, as she not only helped me learn to skate but even skated with me at times. By age

 thirteen, I was a volunteer figure skating coach helper, which turned into a paid coaching

 position at age fifteen. I continued coaching figure skating until I moved away for college.

         6.        The axel jump—a figure skating showstopper!—is my favorite figure skating

 element. Figure skating is not only a beautiful, graceful sport, but it is athletic too. It requires

 strength, speed, balance, and skill to execute those jumps and spins.

         7.        But I remember one thing very distinctively about figure skating: I did not like the

 scoring. Scoring was subjective; it was harder to clearly measure my achievements. (This is one

 reason I love track. My race times clearly show how fast I run so scoring is objective, not based

 on the subjective opinion of an individual judge.)

         8.        My mom introduced me to running when I was just five years old. I began

 running in our community’s summer mile-long “fun runs” with my mom. Even at that young

 age, I knew two things with certainty: I loved to run, and I hated running long distances!

         9.        When I was around eight years old, my mom signed me up for my first Hershey

 Track and Field meet that was held in our town in the spring. It was the first time I set foot on a

 track—and I loved it. I realized that I was fast, and that I enjoyed competing to win. Running

 became my passion. And I enjoyed some success in the Hershey events as I competed there in



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 third through sixth grade. For example, I qualified twice for state level meets. In sixth grade, I

 won all three of my events.

        10.     After the Hershey events, I competed in the Nutmeg State games, the largest

 amateur multi-sport sporting event in my home state of Connecticut. These meets were ones my

 mom and I could do together. My favorite memory of the Nutmeg games was that my mom

 taught me how to long jump just a couple weeks before my first competition. And I went on to

 win the long jump that year for my age category.

        11.     But my freshman year at Glastonbury High School in Connecticut was my first

 school opportunity to compete in track and field. It was my first time on a school team with

 organized team practices and workouts—and I loved it.

        12.     Track and field competitions involve a variety of races and events. In track there

 are sprints, middle distance races, long-distance races, relay races, and hurdle races. And field

 events include long jump, triple jump, high jump, pole vault, shot put, discus throw, javelin

 throw, and hammer throw.

        13.     I am a short-distance sprinter and long-jumper. During high school, I competed in

 the 55-meter dash, 100-meter dash, 200-meter dash, the 4x200 and 4x100-meter relays, and the

 long jump. I also ran the 300-meter dash a handful of times.

        14.     When I joined my high school track team in my freshman year, I quickly became

 the school’s best long jumper. And after only a few competitions, I became the permanent starter

 for the 4x200-meter relay.

        15.     I am proud of my high school athletic accomplishments. I was a ten-time All-

 Conference Honoree recipient, a five-time state title holder, three-time All New England award



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 recipient, a four-time National qualifier, and set five new Glastonbury high school records

 (including one that was previously set in 1976).

         16.     Track means everything to me. It is my passion and my happy place. When I run,

 I set aside everything else in life and just run.

 Facing Male Competition in Girls’ Track

         17.     But my high school track and field experience was not without frustration. During

 all four years of high school, I had the deflating experience of competing against male athletes in

 the girls’ category.

         18.     The first time I competed against a male athlete in the girls’ category was during

 my freshman year of high school at the May 2017 Middletown Invitational in the 200-meter

 dash. The gun went off at the start of the race, the male athlete left most of us girls in the dust. I

 knew immediately that this was not right and that girls would miss opportunities to succeed. Just

 days later, that same male went on to win the 2017 Connecticut Interscholastic Athletic

 Conference (CIAC) Class M Women’s outdoor track championship in both the 100-meter and

 the 200-meter sprints.

         19.     The losses happened again and again. During my sophomore year, another male

 athlete joined girls’ track and I had to face two male competitors at the 3rd Greater Bristol

 outdoor track and field invite in the 200-meter dash. The males took first and second; I crossed

 the finish line third. Had the males not been competing in the girls’ category, I would have won

 that race.

         20.     These two males, Terry Miller and Andraya Yearwood, impacted my placement

 at statewide championship meets. At the 2018 CIAC State Open Championship in the Women’s

 Outdoor 100-meter dash, the males again took first and second. Because of their participation in
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 the women’s category, I was bumped down to sixth place when I should have earned fourth

 place.

          21.    But one of my more painful memories of loss involved the 2019 Connecticut

 State Open Championship. I missed qualifying for the state championship 55-meter final by just

 one spot, and the chance to qualify for the New England Regional championship by just two

 spots. The top two spots were taken by males. If not for those two male competitors in my race, I

 would have had the opportunity to compete in the championship final and for a coveted spot at

 the New England Regional championship.

          22.    While I was in high school, these two males collectively won 15 Connecticut

 women’s state championship titles in girls’ high school track and field and set 17 new individual

 meet records.

          23.    It is demoralizing and frustrating to compete against someone who has unfair

 physical advantages over you, because no matter how hard I train or how hard I try, there is

 nothing I can do to overcome that disparity. We girls train to win; not to win second place or

 receive a participation trophy. Some girls I know were so demoralized by the experience of

 losing to males that they abandoned certain track events and changed sporting events entirely.

 Other times coaches tried to convince girls to change their events just so the girls would have a

 chance to succeed.

          24.    Because of male competition, I have lost opportunities to compete at world class

 tracks. I have lost opportunities to compete in front of college coaches and scouts. I have lost

 opportunities to win titles and public recognition of my achievements. I have lost opportunities

 to win recognition and event points for my school.



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        25.     And the heartbreaking thing is that my story is not unique. Many other girls

 across the state of Connecticut lost out on similar opportunities.

        26.     It felt so unfair. I knew I had to stand up. My parents and I reached out to school

 administrators and coaches. We reached out to CIAC officials to ask for a policy change. But no

 one would listen to us. Instead, they silenced us.

        27.     My parents and I were left with no other option but to file a federal lawsuit to

 protect the integrity of women’s sports under Title IX. It was a huge step, a scary step. But

 someone needed to speak out for girls in Connecticut. That lawsuit is still ongoing.

 Competing in Women’s Collegiate Athletics

        28.     It was my dream to run track in college. Despite the unfairness of my high school

 track experience, I hoped to put that experience behind me and have a fresh start and level

 playing field in college.

        29.     After visiting several colleges, I decided to attend the College of Charleston in

 South Carolina. I attended the College of Charleston in 2020-21 for my freshman year. However,

 it was a tough school year with COVID and at the end of the year, I re-visited my options.

        30.     I received an offer to run for Florida Atlantic University, and I immediately knew

 that was the right fit for me. My dream has always been to attend college and run in Florida, and

 I finally have the opportunity to fulfill that goal. And I had always hoped to end up somewhere

 warm with lots of sunshine, so competing in Florida was a dream come true.

        31.     FAU has a NCAA Division I track and field team and competes in the East

 Division of Conference USA.

        32.     Being part of the team is quite an honor. And there are many additional side

 benefits to being a collegiate athlete: access to top-tier coaching, facilities, and equipment;
                                                    6


                                                                                              App.122
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                                                                  Armistead  App. 0045
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 consultation with nutritionists and dieticians; paid travel to games, academic support services;

 medical and wellness care; access to psychologists; access to the NCAA Student Assistance

 Fund; team gear and apparel; and the opportunity to make money on my own name, image, and

 likeness.

        33.     For example, the Florida Panthers, a professional ice hockey team, recently

 announced that they were sponsoring FAU female athletes and giving us an opportunity to

 partner with them. I do not yet know all that will entail, but we receive tickets to home games,

 team apparel, the opportunity to partner with their brand. As athletes, we also have the

 opportunity to make money on our name, image, and likeness by appearing in ad campaigns for

 brands like Nike and Adidas.

        34.     At the end of the 2021-22 academic year, I will still have four more years of

 NCAA eligibility due to COVID.

        35.     My teammates and I train hard to win. We weightlift, complete running drills, and

 run sprints time and time again. It takes incredible work and dedication to win a race determined

 by hundredths of a second. I have trained much of my life striving to shave mere fractions of

 seconds off my race times.

        36.     I had to make many sacrifices over the course of my athletic career to play the

 sport I love. I have missed school dances and spring breaks, family events and holiday trips, and

 friends’ birthdays and vacations. I have given up weekends and free time. I stayed late after

 school for practice. And the commitment to track has only increased during my time spent

 training in college.




                                                  7


                                                                                            App.123
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          37.   But I make these sacrifices because I want to be the best that I can be. I want to

 win—not just for myself, but also for my teammates. And the motivation to win is what compels

 me to train as hard as I can.

          38.   I love my sport. I get on the track and I can let everything in my life go and I can

 be free to focus on running. It’s exhilarating to see all the training and hard work pay off on the

 track.

          39.   But track has taught me more than just how to run fast down the track. I have also

 learned life skills. It has taught me physical and mental toughness. I have learned perseverance

 and good sportsmanship. I have learned that hard work pays off. And that making sacrifices to

 excel at something reaps future benefits. It opened new financial opportunities, personal

 development opportunities, and even academic opportunities. And it has given me something to

 strive for.

          40.   I am currently majoring in criminal justice with the goal of being a lawyer. But I

 always have my eyes on the track, and I would love to go pro after college if the right door

 opens.

 Fairness in Women’s Sports

          41.   When I heard that Florida’s legislature passed the Fairness in Women’s Sports

 Act in late April 2021 to protect the integrity of women’s sports, I enthusiastically supported it.

          42.   In fact, it was my incredible honor to be invited to attend the bill signing

 ceremony in early June 2021 because my own personal story had played such a role in

 motivating lawmakers to pass a bill protecting Florida’s female athletes. Little did I know at the

 time that Florida’s Fairness in Women’s Sports Act would later protect me, too, as I start

 competing for a public university women’s team in Florida.
                                               8


                                                                                               App.124
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                                                                  Armistead  App. 0047
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         43.    When that law was later challenged in federal court, I decided to speak up for

 girls who are afraid of retaliation from the media, school officials, and coaches and filed a

 motion to intervene in the lawsuit. I fear that too many women feel pressured to remain silent

 about their real views. And if someone does not speak up for women, I fear that we could see the

 end of women’s sports. There will be boys’ sports and co-ed sports. But women’s sports as we

 know it will be gone.

         44.    I know from my own past experience in high school that males competing in

 women’s sports takes away opportunities from women—whether that is a spot on the team, a

 spot on the podium, an athletic scholarship, the ability to benefit from her likeness, or

 recognition and awards—and it defies the entire purpose of having separate women’s sports.

         45.    Woman have fought hard for many years to have equal athletic opportunities. I

 want to make sure that girls in the future can continue to compete in the sports they love. If girls

 do not have equal opportunities, I fear they may choose not to be involved in sports at all if they

 feel they cannot win or possibly even get physically hurt competing against a stronger, faster

 male.

         46.    I believe that ensuring an equal playing field for women to be champions in their

 own sport is a women’s rights issue. But this isn’t just about fair play and winning for me. I want

 to protect the fairness and safety of women’s sports for female athletes everywhere. I want to

 ensure that future generations of women have access to the same equal athletic opportunities that

 shaped me and my love of sports.




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                                                                                             App.125
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                                                                  Armistead  App. 0048
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                                                                        App.126
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                  EXHIBIT 4




                                                                         App.127
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                                                                  Armistead  App. 0009
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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                   CHARLESTON DIVISION

  B.P.J, by her next friend and mother, HEATHER
  JACKSON,
                                                Plaintiff,
         v.
  WEST       VIRGINIA      STATE       BOARD       OF              Case No. 2:21-cv-00316
  EDUCATION, HARRISON COUNTY BOARD OF
  EDUCATION, WEST VIRGINIA SECONDARY
  SCHOOL ACTIVITIES COMMISSION, W.                                 Hon. Joseph R. Goodwin
  CLAYTON BURCH in his official capacity as State
  Superintendent, DORA STUTLER in her official
  capacity as Harrison County Superintendent, and THE
  STATE OF WEST VIRGINIA,
                                              Defendants
         and
  LAINEY ARMISTEAD,
                                  Defendant-Intervenor.


                         DECLARATION OF CHELSEA MITCHELL
 I, Chelsea Mitchell, declare as follows:
        1.       I am a nineteen-year-old graduate of Canton High School in Canton,

 Connecticut, and a sophomore student athlete at the College of William and Mary in

 Williamsburg, Virginia.

        2.       As an elite female athlete, I had the deflating experience of competing against

 and losing to male athletes in the girls’ category throughout all four years of my high school

 career. I personally lost four state championship titles, two All-New England awards, medals,

 points, placements, and publicity due to an unfair state athletic policy that permits males to

 compete in girls’ sports in Connecticut.




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                                                                                            App.128
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                  I hope that by sharing my experience, no other female athlete will have to face

 the heartache and loss that I did.

 Athletic Background

        4.          Sports are a big part of my family. My sisters and I each started playing

 organized sports in kindergarten and later became multi-sport athletes. My oldest sister was

 captain of her high school soccer and track teams and went on to run collegiate track. My

 younger sister plays high school soccer and runs track, and also played lacrosse and basketball

 for a time. And I played basketball until eighth grade. I was the leading scorer on my varsity

 soccer team and a four-year starter. And I am a short distance sprinter and long-jumper.

                  My dad dedicated 15 years to coaching our soccer and basketball teams. My

 mom was our number one cheerleader, driving us to and from games, and volunteering her time

 so that we could play the sports we loved.

        6.          I started running track in middle school. My older sister ran it, and I decided to

 give it a try. I loved it: the competitiveness, how it makes me feel, and the opportunity to win.

                   I’m quite proud of my high school athletic achievements, which include:

        x       High School All-American for Long Jump, 2020 – NSAF (top 6 nationally)
        x       Girls Outdoor Track Athlete of the Year, 2019 – Connecticut High School Coaches
                Association
        x       Bo Kolinsky Female Athlete of the Year, 2019 – Hartford Courant (soccer and track)
        x       New England Champion in 100m
        x       3 State Open Championships – 55m, 100m, Long Jump
        x       8 State Championships – 55m, 100m, 200m, 300m, Long Jump x3, 4x100 relay
        x       20 Conference Championships
        x       Hold the Conference Meet Records in all my events – 55m, 300m, LJ, 100m, 200m,
                LJ
        x       MVP award for track every season of high school career.
        x       Most goals scored in school history for girls’ soccer.
        x       Most championship titles in school history for any athlete, male or female.



                                                     2

                                                                                                App.129
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                                                                  Armistead  App. 0011
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            x       Being the only female in school history to win a State or New England Championship
                    in track and field. Thirteen different male athletes have won titles.
                       I am proud of what I’ve accomplished. But it hasn’t been easy.

                       I have made a ton of sacrifices to compete—giving up what many would

 consider the “normal” teenage life by watching what I eat, skipping the parties, and going to bed

 early. I spend several hours a day at the track and in the weight room. Track meets are all-day

 events that start early and end late. I usually train or compete six days a week, with Sunday often

 my only day off when we are in-season. I do all of this to strengthen my body and improve my

 technique in hopes of running just a few tenths of a second faster or jumping just a few inches

 farther.

                     I do not mind the early mornings and long, tiring days when I know the

 competition is fair. Because when the competition is fair, I know I have a decent shot at winning.

 But my high school experience was anything but fair.

 Males competing in Connecticut girls’ track

                     During my freshman year of high school, my mom informed me that a male

 would be competing in the girls’ category.

            12.         Later, we learned that the Connecticut Interscholastic Athletic Conference

 (CIAC) —the athletic association that set the rules for school sports in Connecticut—had passed

 a policy allowing biological males who identify as female to compete in the girls’ category.

                     From the Spring 2017 outdoor track season through the Winter 2020 indoor track

 season1—six track seasons—I competed against biological males in my track and field athletic

 events due to the CIAC policy.




 1
     The Spring 2020 outdoor season was cancelled due to the global COVID-19 pandemic.
                                                        3

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 2017-2018 Sophomore Year
           19.   During my sophomore year, I learned that Andraya Yearwood’s school was

 reclassified to the Class S division for indoor track events—which was the same class as my

 school.

           20.   This news was upsetting for me because I would now be racing against a male

 competitor at both the Class S championship and the State Open championship.

           21.   At the February 10, 2018, indoor Class S Championship in the 300m, I was

 knocked out of advancing to the State Open by just one spot—a spot was taken by Andraya.

              As a competitive person, I often check Athletic.net, a website that lists high

 school track rankings. One day, I noticed a new girl, named Terry Miller, at the top of the charts.

 Terry was running times better than I ever hoped to run. But my coach told me later that it must

 be some mistake—perhaps Terry was entered in the wrong race. Terry had competed as a boy for

 the previous three seasons.

           23.   On April 27, 2018, at the first invitational race of the Spring 2018 outdoor

 season, I was seeded in the 100m in a lane beside not just one, but two male athletes: Terry

 Miller and Andraya Yearwood.

           24.   I distinctly remember seeing Terry look over to Andraya and say: “You and me,

 one and two.” At fifteen years old, I felt extremely intimidated to run against bigger, faster, and

 stronger male competitors.

           25.   But Terry was right. I should have won that 100m race; but instead, Terry and

 Andraya took first and second place, while I placed third.

           26.   Similarly, at the Spring 2018 outdoor State Open Championship, Terry won the

 women’s 100m event by a wide margin, while Andraya finished second.

           27.   But for CIAC’s policy, I would have won second place statewide:

                                                  5

                                                                                             App.132
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                                                                         App.133
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                                                                  Armistead  App. 0017
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             42.   At the March 2, 2019, indoor New England Regional Championship, Terry took

 first and Andraya took third place in the 55m dash. I missed medaling and being named All New

 England Champion by just two spots—two spots that were taken by male competitors.

             43.   Following Terry Miller’s sweep of the CIAC’s Indoor Class S, State Open, and

 New England titles in the 55m dash and 300m, Terry was named “All-Courant girls indoor track

 and field athlete of the year” by the Hartford Courant newspaper. This felt like an injustice to my

 fellow female athletes.

             44.   In the Spring 2019 outdoor season, I competed against both Terry and Andraya

 in the Class S Championship. At this event, I ran the fastest biological female times in the 100m

 and 200m across all state class meets.

             45.   But because of the CIAC’s policy, being the fastest biological girl just was not

 good enough to experience the thrill of victory. Instead, at the 2019 Class S Championship, Terry

 placed first in the 100m and 200m, while I placed second in both events. I won the long jump

 and received a state title. But because of the CIAC’s policy, I took home only one state title

 instead of three.

             46.   The trend continued at the 2019 outdoor State Open Championship as Terry

 easily won the women’s 200m race. But for CIAC’s policy, Cori Richardson would have won

 the state championship, Alanna Smith would have finished runner-up, and Olivia D’Haiti would

 have advanced to the New England Championship:

 Table 5: 2019 CIAC State Open Championship Women’s Outdoor Track 200m Final
 Results (June 3, 2019)6
     Place     Grade   Sex    Name                            Time      High School

 6
  AthleticNet,
 https://www.athletic.net/TrackAndField/MeetResults.aspx?Meet=364088&show=all, last visited
 June 2, 2020.
                                                   9

                                                                                             App.136
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                                                                         App.137
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 number one in the state for the women’s 55m dash—false-started and was disqualified. That

 false start opened the door for me to not only win the CIAC Class S Championship in the 55m

 dash, but also to advance to the 2020 Connecticut State Open Championship in the 55m event

 and win.

        52.      To my disappointment, the 2020 Spring outdoor season—the final track season

 of my high school career — was cancelled in light of the global COVID-19 pandemic.

        53.      It feels defeating to know that records at my high school, CIAC, AthleticNet,

 MySportsResults, CT.Milesplit.com, and others do not reflect the four state titles and two All

 New England awards I should have earned. It is upsetting to know that the meet records of many

 great female athletes before me have also been wiped from the books.

        54.      Competing against males makes me feel anxious and stressed. And stress has a

 negative impact on my athletic performance.

        55.      I try to stay positive, to take support from family and friends, but it is hard when

 I know that I must compete against those who have a biological advantage because they were

 born male.

        56.      I hope that future female athletes will not have to endure the anxiety, stress, and

 performance losses that I have while competing under a policy that allows males to compete in

 the female category.



 Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and

 correct.

                                                    ____________________________________
                                                    Chelsea Mitchell
                                                    Dated: April 13, 2022



                                                 11

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                  EXHIBIT 5




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                                                                  Armistead  App. 0049
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                            IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                    CHARLESTON DIVISION

  B.P.J, by her next friend and mother, HEATHER
  JACKSON,
                                                 Plaintiff,
            v.
  WEST       VIRGINIA      STATE       BOARD       OF               Case No. 2:21-cv-00316
  EDUCATION, HARRISON COUNTY BOARD OF
  EDUCATION, WEST VIRGINIA SECONDARY
  SCHOOL ACTIVITIES COMMISSION, W.                                 Hon. Joseph R. Goodwin
  CLAYTON BURCH in his official capacity as State
  Superintendent, DORA STUTLER in her official
  capacity as Harrison County Superintendent, and THE
  STATE OF WEST VIRGINIA,
                                               Defendants
            and
  LAINEY ARMISTEAD,
                                   Defendant-Intervenor.

                             DECLARATION OF DARCY ASCHOFF

        1.        I am a 2 year resident of Lehi, Utah, and have personal knowledge of the

 information below.

        2.        As a former collegiate athlete, high school varsity volleyball coach, and mother of

 two competitive high school volleyball players, I have observed the mental and psychological

 toll on female athletes of being forced to compete against a male.

 Athletic Background

        3.        Volleyball runs in my family. My mom played as a youth, I competed in college,

 and now my daughters are star high school volleyball athletes with dreams of competing in

 college.




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        4.      I began playing competitive volleyball as a freshman at Delta High School as a

 middle blocker. During my senior year, my volleyball team won the 1995 Utah State

 Championship, and I was awarded MVP (most valuable player) for our team.

        5.      Throughout my sophomore, junior, and senior years of high school, I also played

 club volleyball.

        6.      I was recruited and given a scholarship to play varsity volleyball at Dixie State

 College (now Dixie State University), an NCAA Division I school. From 1996 to 1997, I played

 for Dixie State College.

        7.      After my sophomore year of college, I transferred to Hawaii Pacific University,

 an NCAA Division II school, where I was also offered a volleyball scholarship. From 1998 to

 1999 during my junior and senior years of college, I played volleyball for Hawaii Pacific

 University.

        8.      In 1998, during my junior year of college, my Hawaii Pacific volleyball team won

 the NCAA Division II Nationals Championship. This was the highlight of my volleyball career.

        9.      In 2016, my entire Hawaii Pacific University volleyball team was inducted into

 Hawaii Pacific’s Hall of Fame to honor our 1998 Nationals Championship.

        10.     I continued to play volleyball recreationally after college. My two daughters, Ajah

 and Jahslyn, have said that one of their earliest memories is watching me play recreational

 volleyball at a park across the street from our home. I would bring my daughters with me, and

 Ajah would beg whoever was on the sidelines not playing volleyball to pass the ball with her.

        11.     Both of my daughters went to volleyball summer camp at young ages, and

 eventually began competing in school and club volleyball.

        12.     As my girls reached high school, I started coaching their school and club teams.



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                                                                                           App.141
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                                                                  Armistead  App. 0051
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         13.    In 2015, I coached Lanakila club volleyball for the 14 and under team, and in

 2016 I coached Lanakila club volleyball for the 12 and under team, respectively.

         14.    From 2018 to 2020, I also coached girl’s Hawaiian Style Volleyball, a

 competitive club volleyball team on Maui. In the 2018-2019 season, I coached the girls’ 14 and

 under team, and in the 2019-2020 season I coached the girls’ 16 and under team.

         15.    I served as assistant girls’ varsity volleyball coach at Maui High School during

 the 2018 and 2019 seasons. Maui High School competes in the Maui Interscholastic League of

 the Hawaii High School Athletic Association.

 My Daughters’ Experience Competing Against a Male Athlete

         16.    The 2019-2020 volleyball season was my girls’ final volleyball season at Maui

 High on our beloved island of Maui. Ajah was a sophomore and a team captain, and Jahslyn was

 a freshman. The Maui High team was a young team in a building season.

         17.    Ajah and Jahslyn worked so hard to develop their volleyball skills to become their

 best. They attended summer camps, participated in daily practice during high school season, and

 then continued to play volleyball year-round with highly competitive national club teams. These

 teams travel nationally and practice 2-3 times per week.

         18.    But despite my daughters’ hard work, the 2019-2020 varsity girls’ volleyball

 season was unusually tough: they were forced to face a male athlete on another team.

         19.    Both of my daughters knew this athlete, Jhene Saribay, from summer volleyball

 camps because training is co-ed. From what I learned, this male competed on the Kamehameha

 boys’ volleyball team for several years, and only recently switched to competing on the girls’

 team.




                                                 3

                                                                                          App.142
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                                                                  Armistead  App. 0052
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         20.     My daughters heard rumors from other girls on the Maui High team that this male

 athlete was planning to play on the Kamehameha High girls’ varsity volleyball team, but at first

 they didn’t believe it.

         21.     I first heard about the situation from the Maui High head coach. Initially I thought

 it was a joke: this could not be happening. But it was. And our coach’s hands were tied—the

 Maui High athletic director made clear that our head coach could not make waves about this

 situation, or he would lose his job. Other parents at Maui High were upset but were not willing to

 act.

         22.     My daughters competed against this athlete 3 times and their volleyball team lost

 every match.

         23.     Based on my observations as a mother and assistant coach at my daughters’

 volleyball games, this male athlete dominated Maui varsity girls’ volleyball in the 2019-2020

 season. He dominated playing time. He jumped higher. He spiked the ball harder and faster and

 further. From my perspective, he was one of the best hitters on Maui, despite his average stature.

         24.     The girls, on the other hand, were nervous and intimidated by the male on the

 other side of the net. They seemed mentally defeated before stepping onto the court. They would

 often “duck and cover” or assume a defensive position rather than prepare to respond to his

 spikes. My daughters said they were afraid of getting hurt. My daughters’ teammates told us that

 they felt demoralized. Some wondered why they should even bother playing in matches against

 Kamehameha that season, because they knew the male athlete’s team would beat them.

         25.     Volleyball is a very physical sport. And a male competing in girls’ volleyball is a

 safety issue. I’m concerned that one of my daughters could be hurt, or that a male could take

 away their scholarship opportunities to compete in college.



                                                  4

                                                                                            App.143
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                                                                         App.144
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                  EXHIBIT 6




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                                                                  Armistead  App. 0059
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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                   CHARLESTON DIVISION

  B.P.J, by her next friend and mother, HEATHER
  JACKSON,
                                              Plaintiff,
         v.
  WEST       VIRGINIA      STATE       BOARD       OF            Case No. 2:21-cv-00316
  EDUCATION, HARRISON COUNTY BOARD OF
  EDUCATION, WEST VIRGINIA SECONDARY
  SCHOOL ACTIVITIES COMMISSION, W.                               Hon. Joseph R. Goodwin
  CLAYTON BURCH in his official capacity as State
  Superintendent, DORA STUTLER in her official
  capacity as Harrison County Superintendent, and THE
  STATE OF WEST VIRGINIA,
                                            Defendants
         and
  LAINEY ARMISTEAD,
                                 Defendant-Intervenor.


                         DECLARATION OF MADISON KENYON

 I, Madison Kenyon, declare as follows:

         1.    I am a twenty-year-old resident of Pocatello, Idaho, and have personal knowledge

 of the information below.

         2.    I am a junior and female athlete at Idaho State University in Pocatello, Idaho,

 where I compete in women’s cross-country and track. Running is my passion.

 Athletics Background

         3.    Athletics has been my world from a very young age. Both of my parents were

 high school athletes, so competition—especially among my siblings—was like the air I breathed

 growing up.



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                                                                                          App.146
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            4.    I first kicked a soccer ball at age three, and I was hooked. That first encounter

 with a ball led me to compete for 15 years on various club soccer teams.

            5.    Through playing soccer, I learned both that I am fiercely competitive and that I

 love to run.

            6.    Admittedly, I hated running at first, because it is hard work. But the more I ran,

 the faster I got and the more I enjoyed it.

            7.    In 6th grade, that love of running and competition led me to try cross-country—a

 sport I have competed in every fall since. In my freshman year of high school, I also started

 running track.

            8.    Running is my happy place. I love pushing my body to its limits, spending time

 outdoors, and doing it all with a sense of camaraderie and fun alongside some of my closest

 friends.

            9.    I’m proud of my accomplishments. In high school, I set five different school

 records, and as a sophomore was even voted unanimously by our coaches for the honor of

 “athlete of the year.”

 Competing in Women’s Collegiate Athletics

            10.   I decided to attend college at Idaho State University (ISU) because it is a big

 university nestled in a small town with plenty of opportunities for outdoor activity and track

 competition. The athletic scholarship I received from ISU has not only helped finance my

 athletic career but has also helped finance my dream of becoming a nurse someday. I am

 currently pursuing a degree in nursing.




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         11.    As an ISU freshman in the 2019-2020 academic year, I made the cross-country

 team and competed in the 4-kilometer (2.49-mile), 3-mile, 5-kilometer (3.12-mile), and 6-

 kilometer (3.73-mile) events. I was thrilled.

         12.    But that enthusiasm turned into confusion when, at the start of the fall 2019 cross-

 country season, I was informed that I would be competing against a male athlete.

         13.     At first, I was incredulous that any biological male would be allowed to compete

 in the women’s category. This couldn’t be happening.

         14.    So I researched the student. I found out that June Eastwood competed on the

 University of Montana’s men’s cross-country team for three years, before switching to compete

 on its women’s cross-country team. I also learned that while competing as a man, Eastwood ran

 times in at least one event that was faster than the NCAA collegiate women’s record. My heart

 sank.

         15.     So as I got into position at the starting line of my first ever collegiate cross-

 country race, I faced a hurdle I never expected to encounter: a male athlete.

         16.    In the 2019 cross-country season, I lost to Eastwood three times:

            a. 2019 Montana State Cross-Country Classic in the 3-mile event.

            b. 2019 Big Sky Cross-Country Championships in the 5k event.

            c. 2019 NCAA Division I Mountain Region XC Championships in the 6k event.

         17.    In all three races, Eastwood not only beat me by a significant margin, but also

 bumped me down to a lower placement than I would have received had I only competed against

 other women. That may not seem like a big deal to some, but placements matter to athletes. I

 want to know that I earned my placement fair and square. Fair competition pushes me to better

 myself and try harder; unfair competition leaves me feeling frustrated and defeated.



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          18.   It was discouraging. My heart sank as I watched Eastwood placing and medaling

 in the women’s cross-country races in meet after meet.

          19.   Cross-country athletes, like me, usually also compete in indoor and outdoor track.

 So, during the winter 2020 indoor track season, I competed in the 3k (1.86-mile), the mile, and

 the distance medley relay events.

          20.   Again, I raced this male athlete during the indoor track season. At the 2020 Stacy

 Dragila Open Women’s Indoor Mile, Eastwood took 2nd place and I took 8th. Eighth place is

 nothing to be ashamed of if won fairly—especially as a freshman competing in a race dominated

 by juniors and seniors—but the competition is not fair when one of the athletes in the women’s

 category is a male with the strength and speed advantages that come from male physiology.

          21.   And at the 2020 Indoor Big Sky Championship I, along with three other ISU

 teammates, competed in the distance medley relay against Eastwood’s relay team. A distance

 medley relay is made up of a 1200-meter leg, a 400-meter leg, an 800-meter leg, and a 1600-

 meter leg. Montana State’s relay team was in 6th place before Eastwood began the final 1600-

 meter leg of the race. During Eastwood’s leg, Eastwood advanced Montana’s relay team not one

 or two, but four positions to finish in 2nd place. My team took 5th, though we would have placed

 4th if not for Eastwood’s participation. We lost not only a placement, but team points as well.

          22.   Also at the Big Sky Championship, I watched in disbelief as one of my teammates

 lost her bronze medal and place on the championship podium because Eastwood took first place

 in my teammate’s women’s mile event and bumped her to fourth place. It was heartbreaking to

 watch.




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 Fairness in Women’s Sports

         23.    I believe that allowing males to enter women’s sports defeats the entire idea of

 fair competition. Sex segregation in sports helps maintain fair competition so that no athlete has

 an unfair advantage over another. And it helps ensure that if women like me work hard, we have

 a shot at winning.

         24.    I am studying nursing and plan to enter the medical field. In my biology

 coursework, it is clear that the biological differences between male and female are not matters of

 personal opinion, or features that can be changed or chosen. I am female, not because I chose to

 be female, or identify as female, but because every cell in my body is marked with XX

 chromosomes and my entire body developed in alignment with those female markers.

         25.    But you do not need to be a medical expert to understand this. I know from

 everyday experience that since the boys in my class went through puberty, the males around me

 are generally bigger, faster, and stronger than the females, simply because they are male. Even

 the rules of sport implicitly acknowledge this. For example, men’s cross-country races are longer

 than women’s cross-country races.

         26.    In March 2020, Idaho became the first state in the country to pass a law to protect

 women’s sports. H.B. 500, the Fairness in Women’s Sports Act, protects women’s sports by

 ensuring that only female athletes compete in sports designated for women or girls. I intervened

 in a lawsuit to help defend that law because I want my races to be fair and a test of skill and hard

 work. I do not want to wonder whether I am training countless hours for inevitable defeat, or

 whether I will even have a chance to win against a physically advantaged male athlete.

         27.    I fear that if we are no longer allowed by law to recognize the objective existence

 of women, that it will be a huge loss to women’s rights.



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            28.   Sports was like the air I breathed growing up, and I want my kids to have that

 same experience. And as hard as my teammates and I work to be competitive, I do not want to

 see women’s sports fade away as a separate category because males compete in women’s

 divisions, and women give up trying to compete because they do not think they can win. I fear

 that we will soon effectively have men’s sports and co-ed sports, but no dedicated category for

 females only.

            29.   And I do not want to see women lose their legal protection and progress under the

 law because we can no longer identify what a woman is.

            30.   To my knowledge, June Eastwood has graduated. But I learned through my

 involvement in defending Idaho’s Fairness in Women’s Sports Act that another male, Lindsay

 Hecox, wants to compete on the women’s team at Boise State University—a university that my

 team competes against. And if Title IX and Idaho's law aren’t upheld, other males will almost

 certainly follow.

            31.   I believe everyone should be able to compete, but it must be done fairly. It is not

 fair for women’s competitions to be open to male athletes. And women’s sports itself will lose its

 meaning, and its specialness, if males can be redefined as females.



 Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and

 correct.

                                                        ___________________________________
                                                        Madison Kenyon
                                                        Dated: $SULO  




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                  EXHIBIT 7




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                                                                  Armistead  App. 0054
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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                   CHARLESTON DIVISION

  B.P.J, by her next friend and mother, HEATHER
  JACKSON,
                                                Plaintiff,
           v.
  WEST       VIRGINIA      STATE       BOARD       OF             Case No. 2:21-cv-00316
  EDUCATION, HARRISON COUNTY BOARD OF
  EDUCATION, WEST VIRGINIA SECONDARY
  SCHOOL ACTIVITIES COMMISSION, W.                                Hon. Joseph R. Goodwin
  CLAYTON BURCH in his official capacity as State
  Superintendent, DORA STUTLER in her official
  capacity as Harrison County Superintendent, and THE
  STATE OF WEST VIRGINIA,
                                             Defendants
           and
  LAINEY ARMISTEAD,
                                  Defendant-Intervenor.

                       DECLARATION OF CYNTHIA MONTELEONE

 I, Cynthia Monteleone under penalty of perjury, declare as follows:

          1.     I am a forty-six-year-old resident of Lahaina, Maui County, Hawaii, and have

 personal knowledge of the information below.

          2.     I am a mother, a coach, and track and field athlete for Team USA. Both my

 daughter and I have had the frustrating experience of competing against a male athlete in our

 sport.

 My Competition Against a Male Athlete

          3.     In September 2018, I competed at the World Masters Athletics Championships in

 Malaga, Spain. I was eager to put my hard work to the test. And it paid off: I took bronze in the

 W40 400, along with USA golds in the 4x100 and 4x400.


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         4.     But I was shocked to find out that one of my competitors was a biological male

 from Colombia who had just recently started identifying as female. The athlete had a much larger

 build than any of the female athletes.

         5.     I began to ask questions as to the fairness of this issue. The European officials

 stopped the track meet, conferred, and decided that the race had to continue and urged me to file

 a complaint with the Team USA managers.

         6.     Not only did the Team USA managers refuse to file a complaint or inquiry, they

 warned that for my own safety, I should not speak up about this issue.

         7.     My freedom of speech is important to me. I will not be silenced. I continue to

 defy this directive and speak up because I see firsthand the harm being done to my fellow female

 athletes.

         8.     This is not about being a sore loser—I beat the male athlete by just a few tenths of

 a second. This is about fairplay for all women. The same male athlete just a year later beat my

 USA teammate in the hurdles for a place on the podium at the 2019 World Masters Athletics

 Championships in Poland.

         9.     I see the psychological and emotional heartbreak of women. After training so hard

 to be the best that they can be at their sport, and spending so much time away from their families,

 they are devasted to see that sacrifice wasted because they were beaten by a biological advantage

 that no amount of training or sacrifice can overcome.

         10.    Many of the girls I coach suffer from anxiety over having to compete against male

 athletes. We all know the powerful scientific neurotransmitter connection between our minds and

 our bodies: When you think you can win, you have a better chance of doing it. It’s proven.




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                                                                  Armistead  App. 0056
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         11.     Science and common sense tell us that male and female bodies are different. No

 amount of testosterone suppression can change the amount of myonuclei in a male body, making

 it easier at any point in their life to build more muscle than the female sex. Not only that these

 cellular level advantages dictate that male bodies will be more powerful with faster twitch fibers

 than those of the female sex.

         12.     Women are not just hormones. Our athletic performance is impacted by our cycle,

 birth control, and pregnancy—something no male who identifies as female has to address.

         13.     As a masters athlete, I am especially concerned because female hearts shrink as

 we age, while the male hearts enlarge, all of this despite any “hormone treatment.”

 My Daughter’s Competition Against a Male Athlete

         14.     But it was not just on the world stage that I experienced the demoralizing trend of

 males displacing females in their own competitions; it was also on my home island of Maui,

 Hawaii.

         15.     A year and a half after my experience in Spain, my daughter, Margaret, lined up

 for her very first high school track meet. I had watched proudly as my strong and determined girl

 did all the right things – made personal, difficult sacrifices to train her body to be as fast and fit

 as possible for her first race.

         16.     Yet all her hard work seemed for naught as she raced against a male-bodied

 athlete who had just transferred from the boys’ volleyball team to the girls’ team the season

 before. The athlete breezed right by Margaret to win first place, pushing her into second place.

         17.     My daughter lost her very first race to this athlete who ran so fast in the first 100

 meters of the 400-meter race that the individual could have set a state record.




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                                                                  Armistead  App. 0057
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        18.      The Maui athletic community is small and tightknit. I learned that this biological

 male had grown up wrestling and had just injured a girl during volleyball, giving her a

 concussion with a powerful spike. This individual was casually trying out track and had trained

 only two weeks before running next to my daughter who had trained all year.

        19.     This athlete also raced against the girls I coached. One senior girl was crying

 because she told me she knew there was nothing she could do to win the conference

 championship that she had dreamed of winning since she was a freshman. She told me, right

 after that male athlete raced, that she was quitting track, even though I told her she had what it

 took to possibly run in college. She turned to me and asked, “What’s the point, if it’s not fair?”

        20.     COVID cancelled the rest of our season, but these horrible memories were never

 cancelled from my mind. We must consider the mental and physical health and safely of the

 biological female athletes and provide an equal and level playing field for them to achieve all of

 the opportunities the male sex has.

        21.      We must not hold the feelings and mental health of one group as more important

 than another. The mental health of our daughters, granddaughters, sisters, and teammates matter.

        22.     All of the lessons I teach as a coach about hard work paying off: these lessons fall

 apart when a mid-level male athlete doesn’t have to work as hard and can beat our hardest

 working, most talented females.

        23.     In 2019 in Hawai’i, about 350 out of 700 male athletes ran faster than the fastest

 female in Hawai’i. Quite literally, a mediocre boy could beat the best girl. Tens of thousands of

 high school boys could run faster than the most decorated Olympian in history, Allyson Felix. If

 we do not protect women’s sports, our girls will see their athletic dreams crushed.




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                                                                                             App.156
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                                                                  Armistead  App. 0058
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        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

 and correct.

                                                 ____________________________________
                                                 Cynthia Monteleone

                                                 Dated: $SULO  




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                  EXHIBIT 8




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                                                                  Armistead  App. 0020
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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                   CHARLESTON DIVISION

  B.P.J, by her next friend and mother, HEATHER
  JACKSON,
                                                Plaintiff,
         v.
  WEST       VIRGINIA      STATE       BOARD       OF              Case No. 2:21-cv-00316
  EDUCATION, HARRISON COUNTY BOARD OF
  EDUCATION, WEST VIRGINIA SECONDARY
  SCHOOL ACTIVITIES COMMISSION, W.                                 Hon. Joseph R. Goodwin
  CLAYTON BURCH in his official capacity as State
  Superintendent, DORA STUTLER in her official
  capacity as Harrison County Superintendent, and THE
  STATE OF WEST VIRGINIA,
                                              Defendants
         and
  LAINEY ARMISTEAD,
                                  Defendant-Intervenor.


                        DECLARATION OF CHRISTINA MITCHELL

        I, Christina L. Mitchell, under penalty of perjury, declare as follows:

        1.      I am a forty-eight-year-old resident of Canton, Connecticut, in Hartford County,

 and have personal knowledge of the information below.

        2.      I am the mother of three female athletes. My daughters are now ages twenty-

 three, nineteen, and fifteen and have competed in soccer, basketball, and track. Our family life

 has been centered around sports since the girls were just little, spending most nights and nearly

 every weekend at the soccer field, in the gym, or at the track.

 Family Athletics Background

        3.      I ran track and played basketball in high school. My husband played many sports

 and was the star of his high school basketball team. We have a competitive spirit that we have
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                                                                                           App.159
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                                                                  Armistead  App. 0021
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 passed on to our girls. Whether it’s board games, March Madness brackets, or a pickup game of

 soccer in the yard, our family enjoys a good competition.

        4.      My husband volunteered his time as a youth soccer and basketball coach for the

 town of Canton for fifteen years. He would race home from his office job to try and make it to

 the field or gym in time for practice. Some seasons he coached two of our daughters’ teams,

 which meant practice four nights a week and four games each weekend. It was exhausting but he

 loved every minute of it.

        5.      I volunteered on the Board for the Canton Youth Soccer Association for eight

 years. As registrar, I had to enforce strict age categories for the teams. Kids were allowed to

 “play up” on an older team but were never allowed to “play down” on a team for younger kids.

 Soccer teams were also separated by sex beginning in first grade. Boys’ teams were designated

 as co-ed so that girls who wanted to sign up for the boys’ team could “play up”. Girls' teams

 were restricted to females in the registration system.

        6.      When my oldest daughter reached high school, I turned my volunteer efforts to

 the Canton Athletic Booster Club. I worked to get a concession stand built and stadium lighting

 installed at the high school track and field. In 2017, I was presented with the Dubuc Service to

 Canton Award in recognition for my years of volunteer service to the school and community.

        7.      All three of our daughters have excelled at sports. Our oldest daughter, Emily,

 was a varsity soccer and track athlete in high school. She was captain of both teams in her senior

 year and went on to compete on the women’s track team in college.

        8.      Our youngest daughter, Kennedy, is a sophomore in high school and competes in

 soccer and track as well. She plays outside defensive back in soccer and her team made it to the




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                                                                                            App.160
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 state championship this year. She is a long jumper and sprinter in track. She hopes to continue

 with one of these sports in college.

        9.      Our middle daughter, Chelsea, has proven herself as an exceptional athlete. Like

 her sisters, she had success in both soccer and track in high school. As a little girl on the soccer

 field, you could see her natural ability to run – she could come from 20 yards behind and beat

 anyone to the ball. When she got to high school, she added a heavy dose of hard work to that

 natural gift and made the most of it on the track.

 2017 Outdoor Track Season – Freshman year

        10.     In April of 2017, the outdoor season of track and field in Connecticut was just

 getting started and Chelsea was ranked among the top sprinters in the state. She was coming off

 the indoor season where she set school records in the 55m and 300m at her very first meet.

        11.     There was one other freshman posting times in the top ten, Andraya Yearwood. I

 soon learned from an article in the Hartford Courant that Yearwood was a male identifying as

 female and running for Cromwell. I was confused by the piece, which seemed to celebrate this,

 and found it hard to believe that the schools, coaches, and state officials would allow it to

 continue. I saw it as a clear violation of women’s rights under Title IX.

        12.     Chelsea worked hard that season and placed 2nd at the Class S state championship

 in all three of her events - the 100m, 200m, and 4x100 relay. The top five in each event advance

 to the State Open Championship to compete against the top twenty-five athletes in the state.

 Making it to the State Open is a huge accomplishment and Chelsea had qualified in all three

 events as a freshman. We were very proud and excited for her.

        13.     I knew that one of the other twenty-five competitors at the State Open would be

 Andraya Yearwood. The CIAC had allowed Yearwood to compete at the Class M state



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 championships and take the girls’ title in the 100m and 200m races. One of the girls who placed

 second, Kate Hall, was interviewed following the race – “I can’t really say what I want to say”.

 The silencing of the girls had begun.

           14.   I had shielded Chelsea from much of the news up to this point, but the night

 before the race we felt we needed to prepare her for what she would face the next day. I told her

 there would be a boy who identified as a girl in her race and that she had to try to focus on

 herself and block out the rest. We knew that this would be a blow to her mental game but didn’t

 want her to be surprised by it at the start line.

           15.   Chelsea’s first race against a biological male was on a really big stage. The State

 Open is held at New Britain stadium, one of the biggest outdoor tracks in Connecticut. It is

 always packed with spectators and many college coaches attend to see potential recruits in

 action.

           16.   For me, it was my first time watching this unfair policy play out in person. As

 someone who has now watched my daughter race against males more than twenty times, I can

 attest to how difficult it has been every single time. The girls are forced into a race that they

 know is rigged against them. They are told to be quiet and be a good sport. They watch as

 officials casually ignore the foundational principle of sport – fair play. They see the media there,

 waiting to celebrate the travesty and daring the girls to speak against it. The message to these

 girls was very clear – nobody cares about your rights. As a woman it was infuriating and as a

 mom it was heartbreaking. I can only imagine what it felt like to be one of the girls in the race.

           17.   The 2017 Outdoor State Open was Chelsea’s first tangible loss to a biological

 male. She took 7th place in the finals of the 100m. She missed advancing to the New England

 Championship by one spot. Yearwood had placed UG.



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                                                                  Armistead  App. 0024
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        18.       In a stroke of luck, one of the six automatic qualifiers to New England, Caroline

 O’Neil, had to decline her spot. We got the call later that night that as the 7th place finisher,

 Chelsea could go and compete. We were so grateful.

        19.       A few days later at the New England Championships, I watched as Yearwood’s

 2nd place finish in the 100m again took something tangible from female athletes. Madison Post

 from Maine didn’t make the finals. Katya Levasseur from New Hampshire missed the top six

 and lost out on the All-New England designation. Kyla Hill from Massachusetts took home a 3rd

 place medal instead of silver. The ripple effect of Connecticut’s policy had spread to our

 neighboring states.

 2018 Indoor Track Season – Sophomore Year

        20.       I hoped that common sense would prevail, and this would work itself out before

 the next season. It didn’t. Yearwood took home the 2018 Indoor Class S State Championship

 title in the 55m and placed 2nd in the 300m. Chelsea recorded another lost opportunity due to the

 policy as she missed advancing to the State Open in the 300m by one spot. Patricia Jurkowski

 should have taken home the 55m title and other girls lost opportunities to advance to finals or

 score points for their team. With every race, the list of female sprinters impacted by the policy

 grew longer. I knew I couldn’t remain silent about it any longer.

        21.       Following the 2018 Indoor State Championships, I began to advocate for a change

 in policy. I first spoke to the Assistant Superintendent of Canton Schools, Dr. Jordan Grossman.

 I asked if he thought the Board of Education could help, but he advised against taking the issue

 to them. Instead, he gave me the name of the CIAC Executive Director so I could follow up with

 them directly.




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                                                                  Armistead  App. 0025
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        22.     I went to work on a letter to the CIAC asking for a solution to protect the rights of

 the female athletes in our state. I included the Canton principal, athletic director, coach, and

 assistant superintendent on the email. The CIAC replied that they were unwilling to consider

 changing the policy and listed various reasons. I addressed each reason with my own points – I

 was thorough and respectful – but I received no reply.

 2018 Outdoor Track Season – Sophomore Year

        23.     The night before the first big meet of the outdoor season, we realized that a

 second male was competing in girls' sprint events. It was hard to believe at first, I remember

 thinking that surely this wasn’t really happening. Terry Miller had competed for three seasons on

 the boys’ team. Looking at the race results online, it was clear that Miller was an average runner

 that hadn’t even qualified to compete at the boys’ state championships just a few weeks earlier.

 After switching to the girls’ team, Miller was suddenly ranked first in the state. I reached out to

 Chelsea’s coach immediately. It seemed it was true; this was really happening.

        24.     The two male athletes took first and second in the 100m race the next day –

 Chelsea finished 3rd. With two males competing, it was clear that the number of lost

 opportunities for Chelsea and female sprinters across the state would now be double.

        25.     I again wrote to the Canton athletic director and principal to let them know that

 there were now two male athletes competing in girls’ track. I asked them to urge the CIAC to

 change the policy before more harm was done but nothing changed.

        26.     Miller swept the sprint events at the Class M championship, taking three state

 titles. Yearwood was close behind. Girls were sidelined, missing finals and advancement to the

 Open. Anyone who tried to speak out was quickly silenced. Chelsea was thankfully in Class S




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 and took home three state titles of her own. But she would again head to the State Open to

 compete against males.

        27.     The State Open was a circus. Miller and Yearwood took 1st and 2nd in the 100m.

 The media was out in full force, waiting to ask the first female finisher how she felt about taking

 3rd place. We were glad Chelsea took 4th and didn’t have to deal with the emotions of being the

 one to lose a state title and her banner in the gym. Bridget LaLonde was the unlucky girl this

 time. Other girls lost points for their team, medals, and opportunities to advance to the New

 England Championship. The list of females impacted was very long at this point.

        28.     There was more of the same at the New England Championship. The top six

 athletes from Maine, Vermont, New Hampshire, Massachusetts, Rhode Island, and Connecticut

 were there to compete for the title. It was a sunny day at a beautiful track and field facility at the

 University of New Hampshire, an incredible experience. But a cloud hung over the event as the

 female athletes were again denied a fair race.

        29.     I watched as Miller swept the 100m and 200m races at the New England

 championship. Chloe Alfieri, a senior from Massachusetts, took second place in both events.

 Miller was interviewed after each win, as is customary for the champion. Chloe missed out on

 those titles and that recognition. It was awful to watch.

        30.     Chelsea took 7th place in the 100m. The top six are given the All-New England

 designation, so it was another tangible loss that she directly felt. Athletes set goals for

 themselves—they don’t expect to achieve the top spot right out of the gate. It is a progression.

 Being named All-New England was the goal she had set for the day and she hadn’t reached it

 because they allowed a male to compete in her race.




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        31.     Following the New England Championship, I called my state senator, Kevin

 Witkos. He urged me to seek help from the school administration, as he did not agree with the

 CIAC that Connecticut law required this policy. He felt that if asked by member schools, CIAC

 could change the policy and restore fairness for the female athletes.

        32.     I immediately followed up with an email to Canton school officials including

 Chelsea’s coach, the athletic director, the principal, the assistant superintendent, and the

 superintendent. I asked them to contact the CIAC and urge a change in policy. Nobody

 responded to my email.

        33.     At the end of June, Senator Witkos reached out to me and said that he would work

 with the Connecticut Speaker of the House to draft a letter to the superintendents of all schools,

 but not until after the November elections, five months away. That letter never happened.

        34.     In July, I scheduled an in-person meeting with the principal, Drew DiPippo. I

 asked what the process was to formally request a change in CIAC policy. He said he would look

 into it and let me know. He noted that there would be a new CIAC Executive Director starting in

 August and that perhaps the policy would be revisited. I never heard back from him on the

 process to request a change.

        35.     During the fall, we learned that Terry Miller had transferred to a Class S school.

 Chelsea cried as I drove her home from soccer that night. She knew that meant she would now

 face males not just at the State Open, but at the Class S championship as well. In her mind, it

 meant she would never win another state championship race.

 2019 Indoor Track Season – Junior Year

        36.     A few weeks before the state championships arrived, I drafted another letter to

 CIAC Executive Director, Glenn Lungarini, to again ask for fairness for female athletes and a



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 change in policy. The CIAC responded that they would not consider my request for a rule change

 because I was just a parent. I soon learned there was a new “gender committee” commissioned

 by the CIAC that would make a recommendation in the summer. It was an endless game of

 shifting responsibility and delaying any meaningful discussion.

        37.     As the championships drew near, I dreaded what was to come. I had watched

 many other girls lose the state title they deserved. This time it was Chelsea’s turn. As a junior,

 she was stronger, more experienced, and her times had improved significantly. She was the

 fastest female in the 55m at both the Class S championship and the State Open. But Miller went

 home with both of those titles. Jillian Mars was the fastest female in the 300m – she too was

 robbed of her titles. And, of course, more girls lost the chance to advance to finals, or the Open,

 or the New England Championship. Female athletes lost out on podium spots and medals and

 points for their team. Chelsea lost out on another All-New England designation after finishing 8th

 at the championship in Boston.

        38.     The list of girls who had been directly harmed was pages long by now, but the

 CIAC did not care. They showed so little regard for the rights of the female track athletes in our

 state it was staggering. The coaches and administrators remained silent, no doubt fearful for their

 jobs. But there was one girl who was not afraid to speak up, Selina Soule. We watched her

 bravely tell her story on national television one night and knowing that we weren’t alone in our

 fight made all the difference.

        39.     I asked my principal to schedule time for me to meet with CIAC director, Glenn

 Lungarini. As we sat in the principal’s office at Canton High School and I shared the list of the

 girls who had been directly harmed by the policy, it became clear that they had no intention of

 changing anything. I expressed my concerns that the CIAC policy was violating the rights of my



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 daughter and the other female athletes under Title IX. Mr. Lungarini’s response was that my

 daughter had only the right to participate, not to win.

        40.     The CIAC director was not interested in alternative solutions or fairness for

 females. He did not seem at all bothered that the CIAC’s unwillingness to address the issue had

 placed all of these kids directly in the center of a highly controversial international political

 debate. He tossed about slogans like “transwomen are women” and his arguments lacked any

 logical consistency or regard for the rights of females. I left feeling angry but resolved to

 advocate for Chelsea and all of the girls being harmed.

        41.     Following that meeting, I asked to meet with our school’s Title IX coordinator,

 Lori Devito. I called the State of Connecticut’s Title IX Coordinator, Dr. Adrian Wood, to

 discuss my options for filing a Title IX complaint. I spoke with an attorney, Robin Cecere, at the

 Connecticut Department of Education. I called the Office of Civil Rights for the U.S.

 Department of Education in Boston. Multiple times I was told by these government officials that

 girls have the right to participate, not to win. I began to believe it must be part of the talking

 points being circulated on this issue or in some presentation somewhere. It certainly didn’t stem

 from any regulation or case law on Title IX that I had found.

        42.     I contacted the Canton Board of Education and the topic was added to the agenda

 for their next meeting. I was given three minutes to speak about something that had been

 impacting us for two years. I followed up with more emails to the Board of Education but would

 seldom get a reply. The one-way dialogue was not an effective means of discussion.

        43.     I continued to send research papers and information to Glenn Lungarini at the

 CIAC. He abruptly notified me that he would no longer receive my emails because I was just a

 parent. Everything would have to come from a member school. I went back to the Board of



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 Education and asked them to contact the CIAC to request a public forum be held so that parents

 could bring their concerns forward. Canton Superintendent, Kevin Case, assured me he would

 ask for one, but it never happened.

        44.     I emailed my state representative, Leslee Hill, and my state senator, Kevin

 Witkos. I contacted two female coaches from the Connecticut High School Coaches Association

 (CHSCA) to ask for their help requesting a rule change. In all of these cases, I explained the

 devastating impact this was having on female athletes in our state. And yet, at the end of the day,

 not a single person would help us get the policy changed.

 2019 Outdoor Track Season – Junior Year

        45.     The Outdoor season added more names to the list of girls impacted by the policy.

 It was Chelsea’s fifth season competing against males. My efforts to convince school and state

 officials to fix the policy had failed. I felt sure that nobody was going to take steps to change

 things unless their hand was forced.

        46.     The state championships should have been an exciting day, but I dreaded

 watching the injustice play out again. I understood how demoralizing and disrespectful it was to

 these girls and felt sickened by the whole thing. Chelsea lost the Class S championship in the

 100m and 200m to Miller– her tally was now at four state titles lost to biological males. She

 headed to the State Open expecting more of the same.

        47.     It was her third year in a row competing against males in the 100m at the State

 Open. None of us were looking forward to watching males break the female records, take home

 the title, and give their post-race interviews. This year would be different though.

        48.      In what I often describe as a gift from above, there was a false-start in the 100m

 by Miller. Chelsea saw the playing field leveled a bit, and she was going to make the most of it.



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 Her win in the 100m that day was extraordinary for so many reasons and I will be forever

 grateful she had that moment. What unfolded at that stadium was emotional not just for us, but

 many in the crowd. We had so many strangers come up and hug her and tell us how happy they

 were for her. She ran a time that is still her personal best, even three years later.

         49.     Other awards and opportunities flowed from her success that day, and I often

 think of how sad it would have been if that false start hadn’t happened and she had never had

 those experiences. It shouldn’t need to be said, but girls shouldn’t have to hope for a false start to

 get their chance at fair competition.

         50.     I continued to pursue opportunities to advocate for the girls. I had a meeting with

 Connecticut Deputy Attorney General Peggy Chapple and three other members of the AG’s

 office. I met with Governor Lamont’s General Counsel, Bob Clark. I spoke with several state

 lawmakers and asked them to pass legislation. I wrote letters to my U.S. Representative, Jahana

 Hayes, and my U.S. Senator, Richard Blumenthal. And while some were sympathetic to our

 position, they were unwilling to do anything to help.

         51.     I also looked for support from well-known feminist organizations such as

 Women’s Sports Foundation, National Women’s Law Center, and National Organization of

 Women. It was just unbelievable to learn that these organizations did not support our advocacy

 for fairness in women’s sports. They issued statements to publicly say so. They completely

 ignored the impact it was having on our female athletes and seemed shockingly uneducated

 about the harm that will flow from eliminating sex-based rights in law. Thankfully, many other

 women’s organizations are taking their place and stand with us in this fight.




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 2020 Indoor Track Season – Senior Year

        52.      After years of asking school, state, and federal officials for help, we did what we

 felt was our last resort. Two days before what would end up being Chelsea’s final state

 championships, we filed a federal lawsuit. Chelsea was taking a public stand for herself and

 other female athletes. We hoped that this might finally make a difference and that what she went

 through wouldn’t have to happen to anyone else. It took a great deal of courage, and I was very

 proud of her.

        53.      Since then, many more people are aware of her story. We have submitted

 testimony on both state and federal legislation. Several states have successfully passed laws to

 protect female sports and many more are now debating the issue. She has bravely given

 interviews and told her story in national publications. There was a time when she was afraid to

 speak out, and I was afraid for her future if she did. But we are no longer afraid.

        54.      We will continue to fight for policy and laws to be based on facts about science

 and biology, not ideology. We will exercise our right to speak out on issues that affect us without

 fear. We hope that in the end, the sex-based rights of females will be acknowledged and

 respected and fairness will be restored in our sports.



        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

 and correct.

                                                   ____________________________________

                                                   Christina Mitchell

                                                   Dated: $SULO  




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                  EXHIBIT 9




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                                         1:22-cv-1075
                      A.M., by her mother and next friend, E.M., Plaintiff.
                                                v.
           INDIANAPOLIS PUBLIC SCHOOLS; SUPERINTENDENT, INDIANAPOLIS
                  PUBLIC SCHOOLS, in her official capacity, Defendants.




                           Expert Witness Declaration
                                   Tommy Lundberg, PhD




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      1.    Introduction and overview of qualifications
           1.1.     My name is Tommy Lundberg. I am currently employed as a lecturer in the
                    Division of Clinical Physiology at Karolinska Institutet (Stockholm SWE),
                    one of the top ranked medical universities in the world 1.
           1.2.     I have been asked by the Defendant's counsel to provide written expert
                    testimony on issues relating to classification by sex in sport, the
                    participation of transgender athletes in female athletic categories, and the
                    effects of testosterone suppression in transgender girls/women.
           1.3.     Prior to writing this declaration, I have read the plaintiff’s complaint, the
                    declarations by James D Fortenberry and E.M, the IHSAA Gender Policy,
                    and the Indiana House Enrolled Act 1041.
           1.4.     This statement is based on my own and others' scientific findings and
                    knowledge, and on my own professional opinion, which is based on my
                    disciplinary training and research experience and does not necessarily
                    reflect that of my employer. Where the literature is of particular relevance
                    to the statement, I have provided direct references in the text.
           1.5.     My research focuses on physiology, with special emphasis on exercise
                    physiology. I teach anatomy, physiology and exercise physiology in
                    various courses at Karolinska Institutet, both at undergraduate and
                    postgraduate level.
           1.6.     I obtained my MSc degree (pass with distinction) in Exercise Physiology
                    from Loughborough University in 2009. In May 2014, I received my PhD
                    degree in Sports Science from the Mid Sweden University, examining the
                    influence of aerobic exercise on skeletal muscle adaptation to resistance
                    training.
           1.7.     In 2017, I received the Swedish Central Association for Sport Promotion
                    (SCIF) prize for most prominent young researcher in Sport Science in
                    Sweden.
           1.8.     In September 2021, I was awarded the title Docent in Physiology at
                    Karolinska Institutet. The title Docent is a nationally recognized expression
                    of scientific and pedagogical competence 2.
           1.9.     I have authored 34 peer-reviewed publications and received 1270 citations
                    (Google Scholar). My h-index is 16 3. Two of these publications were of
                    particular relevance to the topic of transgender in sport:

                    Wiik A, Lundberg TR*, Rullman E, Andersson DP, Holmberg M, Mandić M, Brismar TB,
                    Dahlqvist Leinhard O, Chanpen S, Flanagan JN, Arver S, Gustafsson T. Muscle Strength,

  1 https://ki.se/en/about/ranking-and-karolinska-institutet
  2 https://staff.ki.se/docent
  3
      https://scholar.google.com/citations?hl=en&user=jXX7Qa4AAAAJ

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                   Size, and Composition Following 12 Months of Gender-affirming Treatment in
                   Transgender Individuals. J Clin Endocrinol Metab. 2020;105(3):dgz247. Journal impact
                   factor: 5.605 *Corresponding author

                   and

                   Hilton EH and Lundberg TR*. Transgender Women in the Female Category of Sport:
                   Perspectives on Testosterone Suppression and Performance Advantage. Sports Med.
                   2021; 51, 199–214. Journal impact factor: 11.140 *Corresponding author

          1.10.    The former of these publications concerns a research project aimed at
                   clarifying the effects of cross-sex hormone treatment for adults who suffer
                   from gender dysphoria due to an incongruence between their gender
                   identity and the sex identified at birth. In this study, we thoroughly
                   examined the effects of 12 months of testosterone suppression on
                   changes in muscle size and strength in transgender women and
                   transgender men.
          1.11.    The latter publication is a review paper examining the longitudinal effects
                   of testosterone suppression in transgender women and the presumption
                   that this suppression removes the male athletic performance advantage.
          1.12.    In 2020, I was invited by World Rugby to give evidence to the
                   Transgender Working Group, which had been tasked with reviewing the
                   rules for the inclusion of transgender women in female categories in
                   international competitions 4.
          1.13.    I have been invited by the Swedish Sports Confederation and the Swedish
                   Football Association to present scientific evidence pertaining to inclusion
                   of transgender athletes in sports.
          1.14.    I am very familiar with the sports environment at all levels. I was an elite
                   football (soccer) player myself in the Finnish Premier League. I have
                   worked as a sports director for the Åland Islands Football Association. I
                   have also advised the Swedish Ice Hockey Federation and the Swedish
                   Football Association on exercise physiology.
          1.15.    An extended version of my CV is attached as Appendix 1.
          1.16.    I have testified previously in a deposition in March 2022 (JayCee Cooper
                   v. USA Powerlifting & USA Powerlifting Minnesota, 62-CV-21-211, State
                   of Minnesota District Court).
          1.17.    I will derive no personal, social, or academic benefit from the opinions
                   expressed in this declaration.
          1.18.    I am compensated at an hourly rate of $300 for my time in preparing this
                   report and providing any testimony.


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      https://www.world.rugby/news/561370

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   2.    Summary of expert witness declaration

         I declare five primary professional opinions that I justify in the report:
         2.1.     Biological males outperform comparable biological females in almost all
                  sports and athletic competitions. These sex differences are evident in
                  childhood, adolescence, and adulthood. Before puberty, these differences
                  are smaller and not always consistent. During and after puberty, the sex
                  differences are so large that it would be highly unlikely that girls could win
                  school competitions or gain equal opportunities if they competed against
                  boys in sports where strength, stamina and/or physique are important.
         2.2.     The reason for this sex difference is primarily due to differences in male
                  physiology compared to female physiology.
         2.3.     There is currently no scientific evidence that suppression of testosterone
                  in transgender girls/women who have undergone male puberty negates
                  the athletic advantage that biological males have over females.
         2.4.     The suppression of male puberty (by "puberty blockers") in transgender
                  individuals has not yet been studied in terms of outcomes in strength,
                  muscle mass, or other athletic indicators.
         2.5.     Categorization by biological sex is a feasible and defensible classification
                  in school athletic competitions.

   3.     Relevant background on sex and gender identity
         3.1.     Humans, like most other species, have two sexes, referred to as male and
                  female. The male sex is defined as the adult phenotype with the
                  corresponding physiology and reproductive system that produces the
                  smaller gamete (sperm). The female sex is defined as the adult phenotype
                  with the corresponding physiology and reproductive system that produces
                  the larger gamete (the egg) 5. Biologically, therefore, there are two sexes –
                  male and female.
         3.2.     Gender identity refers to a person's self-perceived sex/gender. It is
                  increasingly accepted and recognized in society that gender identity does
                  not always match one's sex as determined at birth, allowing individuals to
                  more freely question or redefine their gender identity 6.
         3.3.     Gender dysphoria refers to the discomfort caused by the discrepancy
                  between gender identity and biological sex.



  5 Lehtonen J, Parker GA. Gamete competition, gamete limitation, and the evolution of the two sexes. Mol

  Hum Reprod. 2014 Dec;20(12):1161-8.
  6 T'Sjoen G, Arcelus J, Gooren L, Klink DT, Tangpricha V. Endocrinology of Transgender Medicine.

  Endocr Rev. 2019 Feb 1;40(1):97-117.

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         3.4.    The term "transgender" is used as an umbrella term to describe
                 individuals whose gender identity differs from the sex identified at birth.
                 Transgender boys/men are individuals who were observed female at birth
                 but self-identify as boy/male/man. Transgender girls/women are
                 individuals who were observed male at birth but identify as
                 girls/female/woman. There are no objective criteria by which a person is
                 designated as transgender. It is primarily a decision made by individuals
                 who experience gender incongruence.
         3.5.    Therapy for transgender girls/women may include testosterone
                 suppression and estrogen therapy to lower or maintain testosterone levels
                 in the female range.
         3.6.    Since no therapy can completely alter the reproductive system (including,
                 for example, chromosomes, ovaries, uterus, testes, prostate) to support
                 production and delivery of the opposite gamete type, biological sex cannot
                 be changed. The goal of hormone treatment in transgender girls/women is
                 therefore to use medication to produce feminine and less masculine
                 physical characteristics, or, in the case of testosterone suppressing
                 agents, sometimes to stop/delay the male puberty.
   4.    Sex and sports categorization
         4.1.    Some transgender individuals want to compete in the sport category that
                 best fits their gender identity.
         4.2.    Most sports have separate competition categories for boys/men and
                 girls/women. The main reason for this is the difference in body phenotype
                 (body characteristics) between males and females. This difference
                 accelerates during puberty and results in average differences in strength,
                 stamina, and physique that are so great that athletic competition is not
                 considered meaningful for girls/women if they must compete against
                 boys/men.
         4.3.    In sports, we reward exceptional physical and psychological attributes that
                 come from genetic factors, dedicated training, and optimized nutrition and
                 recovery habits. Because there is a strong genetic component in
                 determining the body phenotype and trainability of some of the rewarded
                 physical abilities in sports, not everyone can become a world champion.
                 These unique traits that underlie exceptional athletic performance are part
                 of the athletic concepts of "talent" and “natural “endowment”, and are not
                 considered an unfair advantage, but something that should be rewarded 7.
         4.4.    In sport, there is an overriding principle of competitive fairness, which is
                 typically included in the concept of Fair Play. To maintain fairness, no one
                 should be given an advantage that is considered unfair. From the earliest
                 days of formal athletic competition, governing bodies have established
  7 Coleman DL. Sex in sport. Law Contemp Probl. 2017;63–126.



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                 rules of competition and categories of competition in order to facilitate
                 safe, fair and meaningful competition.
         4.5.    Common examples of rules to protect fairness include the prohibition of
                 doping and clear rules on the shape, format and size of the various sports
                 equipment used. Examples of categorization to prevent unfair advantage
                 in sport include age categories in youth sports, weight categories in some
                 sports, disability categories in Paralympic sports and, most relevant to the
                 current case, the provision of separate sex categories.
         4.6.    The main reason for protecting the female category in sport lies in the
                 differences in performance between boys/men and girls/women caused by
                 the superior physical attributes underpinning athletic performance.
                 Although both boys/men and girls/women may have exceptional genetics,
                 physical attributes, and psychological abilities, the best girls/women in
                 most sports are outperformed by thousands of boys/men because of this
                 male advantage that no female can ever benefit from. Being male is
                 conferred at birth, is not achievable by dedicated training, nutrition, or
                 recovery habits, and therefore should not be rewarded more than being
                 female in sports. For this reason, the male performance advantage is
                 considered an unfair advantage over equally talented and superbly trained
                 female athletes.
         4.7.    It is important to recognize that the presence or absence of an unfair
                 advantage cannot be judged on the basis of the final outcome of the
                 contest. A poor male athlete will not beat the best female athletes even
                 though he has the typical male performance advantage. So, if you have an
                 advantage that is not allowed in a particular sport, or an advantage that is
                 not allowed in a particular category, you have an unfair advantage,
                 regardless of the size of that advantage and regardless of the final result
                 in competition with that advantage.
         4.8.    Another consideration that justifies sex categories in sports is athlete
                 safety. In sports where collisions and combat may occur, sex categories
                 (and sometimes weight categories) are used not only to maintain fairness
                 but also to protect athletes and reduce the risk of injury.
   5.    Sex differences in sport and its causes
         5.1.    In a paper I co-authored with Dr Emma Hilton from the University of
                 Manchester, we examined the performance differences between adult
                 males and females 8. We concluded that the performance advantage of
                 men over women is typically 10-50% depending on the sport. These
                 statistics are easy for anyone without expertise to observe and verify, as
                 the competition transcripts of most sports are readily available online. I
                 therefore feel it is unnecessary to provide further overwhelming evidence
  8 Hilton EN, Lundberg TR. Transgender Women in the Female Category of Sport: Perspectives on

  Testosterone Suppression and Performance Advantage. Sports Med. 2021 Feb;51(2):199-214.

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                  of the typical male performance advantage and will focus specifically on
                  younger boys and girls later in the report.
         5.2.     The explanation for the large difference between male and female athletic
                  performance lies in the underlying biological factors that explain
                  performance in most sports, namely strength, stamina and physique.
                  These biological differences have been extensively studied in the scientific
                  literature and provide compelling evidence for the underlying biology that
                  explains the differences in athletic performance between men and women.
         5.3.     To illustrate these differences, I have reported with Dr. Hilton in the above-
                  mentioned review that adult males have 45% higher lean body mass, 33%
                  higher lower body muscle mass and 40% higher upper body muscle mass,
                  54% higher knee extension strength, and 30% higher maximum cardiac
                  output. We have also noted that many male junior athletes outperform
                  adult female elite athletes by the age of 14-15, demonstrating that many
                  adolescent elite male athletes are better than adult female elite athletes
                  within a few years of the onset of puberty.
         5.4.     As Handelsman, Hirschberg, and Bermon have justified in a thorough
                  review of the literature 9, average sex differences in athletic performance
                  are accentuated during puberty, when circulating testosterone
                  concentrations increase in males, resulting in circulating testosterone 15-
                  20 times higher than in children or females of any age. This is also
                  supported by the dose-response relationship between testosterone
                  administration and increases in muscle mass and strength demonstrated
                  in experimental studies 10. Higher testosterone levels in adolescent boys
                  result in, for example, more muscle mass, greater muscle strength, less
                  body fat, higher hemoglobin concentrations, larger hearts, and an overall
                  larger stature than in adolescent girls.
         5.5.     Sport performance differences between males and females before puberty
                  are often considered relatively small. Nevertheless, pre-pubertal
                  performance differences are not negligible and could be mediated to some
                  extent by genetic factors and/or activation of the hypothalamic-pituitary-
                  gonadal axis during the neonatal period, sometimes referred to as "mini-
                  puberty". For example, increased testosterone levels during mini-puberty
                  in males aged 1-6 months may be correlated with a faster growth rate and
                  an "imprinting effect" on BMI and body weight 11.


  9 Handelsman DJ, Hirschberg AL, Bermon S. Circulating testosterone as the hormonal basis of sex

  differences in athletic performance. Endocr Rev. 2018;39(5):803–829.
  10 Bhasin S, Storer TW, Berman N, Callegari C, Clevenger B, Phillips J, Bunnell TJ, Tricker R, Shirazi A,

  Casaburi R. The effects of supraphysiologic doses of testosterone on muscle size and strength in normal
  men. N Engl J Med. 1996 Jul 4;335(1):1–7.
  11 Lanciotti L, Cofini M, Leonardi A, Penta L, Esposito S. Up-To-Date Review About Minipuberty and

  Overview on Hypothalamic-Pituitary-Gonadal Axis Activation in Fetal and Neonatal Life. Front Endocrinol
  (Lausanne). 2018 Jul 23;9:410.

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         5.6.     A comprehensive review 12 of fitness data from over 85 thousand
                  Australian children aged 9-17 years showed that compared to 9-year-old
                  females, 9-year-old males were faster at short sprints (9.8%) and one mile
                  (16.6%), could jump 9.5% further from a standing position (a test of
                  explosive strength), could complete 33% more push-ups in 30 seconds
                  and had a 13.8% stronger grip.
         5.7.     A similarly large advantage for males was found in a study of Greek
                  children 13, in which 6-year-old males, compared to 6-year-old females,
                  completed 16.6% more shuttle runs in a given time and could jump 9.7%
                  further from a standing position. In terms of aerobic endurance capacity,
                  6–7-year-old males have been shown to have higher absolute and relative
                  (to body mass) maximum oxygen uptake than 6–7-year-old females 14.
         5.8.     A study by Tønnessen et al. 15 analyzed the 100 all-time best Norwegian
                  male and female 60-m, 800-m, long jump, and high jump athletes in each
                  age category from 11 to 18 years. Sex differences in performance were
                  already present at age 11 (1% for 60 m, 4.8% for 800 m, 3.6% for long
                  jump, and 3.5% for high jump) and grew substantially to 10-18% by age
                  18 in all disciplines studied.
         5.9.     Sartorio et al. 16 examined sex differences in maximum handgrip strength
                  and body composition in 278 children of normal weight and growth. The
                  children were divided into three groups with mean ages of 8, 11, and 13
                  years, respectively. A marked difference between the sexes was evident
                  as early as 8 years of age, and boys had > 10% greater fat-free mass and
                  handgrip strength at all ages. Handgrip strength was strongly correlated
                  with fat-free mass.
        5.10.     Telford et al. 17 studied physical activity and fitness at ages 8 and 12 in
                  276 boys and 279 girls from 29 schools. At age 8, girls had 18% lower
                  cardio-respiratory fitness, 44% lower eye-hand coordination, and higher
                  percent body fat (28% vs 23%) compared with boys. However, girls were


  12 Catley MJ, Tomkinson GR. Normative health-related fitness values for children: analysis of 85347 test

  results on 9-17-year-old Australians since 1985. Br J Sports Med. 2013 Jan;47(2):98-108.
  13 Tambalis KD, Panagiotakos DB, Psarra G, Daskalakis S, Kavouras SA, Geladas N, Tokmakidis S,

  Sidossis LS. Physical fitness normative values for 6-18-year-old Greek boys and girls, using the empirical
  distribution and the lambda, mu, and sigma statistical method. Eur J Sport Sci. 2016 Sep;16(6):736-46.
  14 Eiberg S, Hasselstrom H, Grønfeldt V, Froberg K, Svensson J, Andersen LB. Maximum oxygen uptake

  and objectively measured physical activity in Danish children 6-7 years of age: the Copenhagen school
  child intervention study. Br J Sports Med. 2005 Oct;39(10):725-30.
  15 Tønnessen E, Svendsen IS, Olsen IC, Guttormsen A, Haugen T. Performance development in

  adolescent track and field athletes according to age, sex and sport discipline. PLoS One. 2015 Jun
  4;10(6):e0129014.
  16 Sartorio A, Lafortuna CL, Pogliaghi S, Trecate L. The impact of gender, body dimension and body

  composition on hand-grip strength in healthy children. J Endocrinol Invest. 2002 May;25(5):431-5.
  17 Telford RM, Telford RD, Olive LS, Cochrane T, Davey R. Why Are Girls Less Physically Active than

  Boys? Findings from the LOOK Longitudinal Study. PLoS One. 2016 Mar 9;11(3):e0150041.

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                   also 19% less physically active than boys, and physical activity was
                   associated with cardio-respiratory fitness and percent body fat in girls.
         5.11.     Handelsman 18 wanted to determine the timing of the sex divergence in
                   athletic performance and relate it to the increase in circulating
                   testosterone resulting from male puberty. The sports analyzed were elite
                   swimming, running and jumping in track and field, and hand grip strength
                   in non-athletes. The results showed that sex differences in athletic
                   performance, although small, were generally measurable before puberty
                   and grew substantially by age 12 and reached a plateau in the late teens.
                   The author concluded that the similar timing of the sex-specific divergence
                   in each of these events, in relation to the increase in circulating
                   testosterone to adult male levels, strongly suggests that they all reflect
                   increases in muscle size and strength, although the effects of other
                   androgen-dependent effects on bone, hemoglobin, and psychology may
                   also contribute. The following figure illustrates these sex differences in
                   athletic performance across age groups.




                   Figure 1. Adjusted sigmoidal curve plot of sex-specific performance differences (in
                   percent) as a function of age (in years) in running, jumping, and swimming, and serum
                   testosterone 18.

         5.12.     To conclude this section, it is evident that male athletic performance far
                   exceeds that of females. These sex differences are observed in childhood,
                   adolescence, and adulthood. Before puberty, however, these differences
                   are smaller, varies between different performance metrics, and are not
                   always consistent. During and after puberty, sex differences are so large
                   that it would be highly unlikely that girls could win school competitions if
                   they competed against boys in sports where strength, stamina and/or
                   physique are important factors for performance.


   18 Handelsman DJ. Sex differences in athletic performance emerge coinciding with the onset of male

   puberty. Clin Endocrinol (Oxf). 2017 Jul;87(1):68-72.

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    6.    Regulation of inclusion of transgender girls/women in female sporting
          categories
          6.1.    The inclusion of transgender girls/women in sport and the eligibility criteria
                  for the female category have been the subject of much debate, particularly
                  in recent years.
          6.2.    The Indiana High School Athletic Association (IHSAA) has previously
                  developed a policy to govern the eligibility and participation of all students,
                  including transgender students, in IHSAA-sponsored interscholastic
                  athletics events. For transgender girls, this included a statement and/or
                  credible documentation from an appropriate medical professional that the
                  transgender student had completed counseling and other medical or
                  psychological interventions related to transition and had either completed
                  at least one year of hormone treatment related to transition or had
                  undergone a medically confirmed sex-reassignment procedure. In
                  addition, medical examinations and tests, as well as physiological testing,
                  must demonstrate that the transgender student has no physical (bone
                  structure, muscle mass, and/or testosterone levels, etc.) or physiological
                  advantages over a genetic female of the same age group.
          6.3.    In my opinion, this policy was not scientifically sound and was not feasible.
                  It was not scientifically sound because scientific data suggest that
                  hormone therapy is not sufficient to mitigate the athletic advantage that
                  males have over females. It was not feasible because case-by-case
                  testing and trials are unlikely to be successful because of the incentive to
                  underperform in performance tests. In addition, case-by-case testing of
                  objective biological characteristics risks further stigmatizing the vulnerable
                  transgender population, as only those deemed "female enough" by testing
                  will be allowed to compete in the female category.
          6.4.    In early 2020, World Rugby announced that it was revising its transgender
                  guidelines. One of the reasons 19 for this was my team's publication
                  showing that 12 months of testosterone suppression in transgender
                  women resulted in minimal changes in muscle mass and strength 20.
          6.5.    After a very transparent and science-based process, World Rugby
                  announced in the fall of 2020 that transgender women would no longer be
                  able to participate in international women's rugby. Based on scientific
                  evidence, World Rugby concluded that player welfare and fairness of
                  competition could not be ensured if transgender women were allowed to
                  play in the women's category.


   19 https://www.world.rugby/the-game/player-welfare/guidelines/transgender/faqs
   20 Wiik A, Lundberg TR, Rullman E, Andersson DP, Holmberg M, Mandić M, Brismar TB, Dahlqvist

   Leinhard O, Chanpen S, Flanagan JN, Arver S, Gustafsson T. Muscle Strength, Size, and Composition
   Following 12 Months of Gender-affirming Treatment in Transgender Individuals. J Clin Endocrinol Metab.
   2020 Mar 1;105(3):dgz247.

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           6.6.    The most comprehensive assessment of transgender inclusion in sport
                   was conducted by the UK Sports Councils (published online 30
                   September 2021) 21. This study explored the views and experiences of
                   hundreds of people in sport, including transgender individuals and
                   advocacy groups. It also examined current policy and the latest scientific
                   evidence on transgender inclusion in sport.
           6.7.    In short, the UK Sports Councils concluded that although all sports are
                   committed to the inclusion of transgender people in sport, categorization
                   by sex is lawful, and fairness in competition cannot be reconciled with self-
                   identification in the female category. It was also noted that, based on
                   current evidence, testosterone suppression is unlikely to ensure fairness
                   between transgender women and natal females, and that categorization
                   within the sex binary is and remains the most meaningful functional
                   classification. In my professional opinion, this guide to transgender
                   inclusion is accurate and science based.

    7.     Growth and maturation during puberty
           7.1.    Puberty is characterized by significant anatomical and physiological
                   changes leading to the mature state typical of adulthood. The onset and
                   progression of puberty are controlled by the hypothalamic-pituitary-
                   gonadal axis. A progressive increase in pulsatile Gonadotropin hormone-
                   releasing hormone secretion is responsible for the onset and progression
                   of puberty 22. In American females and males, puberty begins at ages 8.0
                   to 14.9 years in females and 9.7 to 14.1 years in males and is completed
                   at ages 12.4 to 16.8 years in females and 13.7 to 17.9 years in males 23.
                   The average female experiences the onset of puberty 0.5-1 year earlier
                   than the average male and completes puberty with a comparable age
                   difference.
           7.2.    Sex hormones and growth hormones are important for both the onset and
                   maintenance of sexual maturation and growth during puberty.
                   Testosterone is the most important male sex hormone and promotes male
                   characteristics such as a deeper voice, facial hair, and muscle
                   development. Estrogen is the most important female sex hormone and
                   plays an important role in the development of female secondary sex
                   characteristics.
           7.3.    The first visible signs of puberty in females are usually the development of
                   breasts. In males, the earliest signs of puberty are the growth of the



   21 https://equalityinsport.org/resources/index.html
   22 Rey RA. The Role of Androgen Signaling in Male Sexual Development at Puberty. Endocrinology. 2021

   Feb 1;162(2):bqaa215.
   23 Lee PA. Normal ages of pubertal events among American males and females. J Adolesc Health Care.

   1980 Sep;1(1):26-9.

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                  testes. Females reach their peak height velocity at about 12.5 years of
                  age, while males reach it just before the age of 14.
          7.4.    Circulating testosterone concentrations increase in males during puberty,
                  eventually resulting in circulating testosterone 15-20 times higher than in
                  children or females of any age. It is widely accepted and experimentally
                  supported that circulating testosterone during male development is the
                  primary cause of the sex differences in athletic performance that manifest
                  at puberty and are then maintained in adulthood, independent of therapies
                  that alter testosterone levels in adulthood.

    8.    Suppressing puberty
          8.1.    Some professional bodies recommend that puberty be suppressed in
                  certain transgender minors, preferably with the help of gonadotropin-
                  releasing hormone agonists 24. The most common recommendation is that
                  eligible minors have undergone psychiatric evaluation and have reached
                  at least the Tanner stage II of puberty, meaning that clear signs of puberty
                  have appeared. This approach attempts to alleviate the psychological
                  discomfort by halting the development of secondary sexual characteristics,
                  thus substantially expanding the window for gender clarification.
          8.2.    With puberty blockers, progression of sexual development eventually
                  comes to a halt if it begins early enough in puberty. Discontinuation of the
                  drug leads to reactivation of the hypothalamic-pituitary-gonadal axis,
                  resulting in continuation of pubertal development in line with gonadal sex
                  13.


          8.3.    Suppression of puberty has been studied in the clinical treatment of
                  children with central precocious puberty, but comparatively little data are
                  available in transgender adolescents. Although the treatment with
                  gonadotropin-releasing hormone agonists is generally effective in
                  suppressing the progression of puberty 25, the effects of suppressing
                  puberty in transgender boys or girls have not yet been studied in terms of
                  outcomes in strength, muscle mass, or other athletic indicators.
          8.4.    Despite the lack of athletic performance data, a recent study reported that
                  height in adulthood is relatively unaffected by prior treatment with GnRH
                  analogs and estradiol during adolescence, implying that trans girls grow
                  taller than reference females 26. This height advantage could confer


   24 Mahfouda S, Moore JK, Siafarikas A, Zepf FD, Lin A. Puberty suppression in transgender children and

   adolescents. Lancet Diabetes Endocrinol. 2017 Oct;5(10):816-826.
   25 Hembree WC. Management of juvenile gender dysphoria. Curr Opin Endocrinol Diabetes Obes. 2013

   Dec;20(6):559-64.
   26 Boogers LS, Wiepjes CM, Klink DT, Hellinga I, van Trotsenburg ASP, den Heijer M, Hannema SE.

   Trans girls grow tall: adult height is unaffected by GnRH analogue and estradiol treatment. J Clin
   Endocrinol Metab. 2022 Jun 6:dgac349. doi: 10.1210/clinem/dgac349.

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                  athletic advantages in various sports, not least because height in general
                  is also strongly correlated with total lean body mass.
          8.5.    If athletic category eligibility criteria depended on circulating testosterone
                  levels or evidence of puberty-suppressing medications, the relevant
                  athletic association would have to implement a rigorous compliance and
                  testing protocol that would require significant effort and resources.
          8.6.    Puberty blockers also present an ethical dilemma that is handled
                  differently in different countries. While some professional organizations
                  consider them feasible for some transgender minors, others, such as the
                  National Board of Health and Welfare in Sweden 27, have concluded that
                  the risks of puberty blockers and gender-affirming hormone treatments for
                  those under 18 currently outweigh the potential benefits for the group as a
                  whole.

    9.    Effects of testosterone suppression in transgender girls/women who have
          undergone male puberty
          9.1.    In a recent review paper that I co-authored with Dr Emma Hilton from the
                  University of Manchester, we examined studies that have assessed
                  longitudinal changes in muscle mass, lean body mass, and muscle
                  strength in transgender women undergoing testosterone suppression 28.
          9.2.    After the literature search and screening of papers, we found 12
                  longitudinal studies relevant for the assessment of whether the male
                  advantage is reduced or eliminated with testosterone suppression in
                  transgender women.
          9.3.    We found that transgender women generally maintain their bone mass
                  over a period of at least 24 months of testosterone suppression.
          9.4.    We also reported that lean body mass decreases by approximately 3-5%
                  after 12 months of testosterone suppression, and this was consistent
                  across studies.
          9.5.    In a study from my research team 29, a comprehensive series of magnetic
                  resonance imaging and computed tomography scans were performed
                  before and after 12 months of testosterone suppression and estrogen
                  supplementation in 11 transgender women. Thigh volume (both anterior
                  and posterior thigh) and quadriceps cross-sectional area decreased by -4

   27 https://www.socialstyrelsen.se/om-socialstyrelsen/pressrum/press/uppdaterade-rekommendationer-for-

   hormonbehandling-vid-konsdysfori-hos-unga/
   28 Hilton EN, Lundberg TR. Transgender Women in the Female Category of Sport: Perspectives on

   Testosterone Suppression and Performance Advantage. Sports Med. 2021 Feb;51(2):199-214.
   29 Wiik A, Lundberg TR, Rullman E, Andersson DP, Holmberg M, Mandić M, Brismar TB, Dahlqvist

   Leinhard O, Chanpen S, Flanagan JN, Arver S, Gustafsson T. Muscle Strength, Size, and Composition
   Following 12 Months of Gender-affirming Treatment in Transgender Individuals. J Clin Endocrinol Metab.
   2020 Mar 1;105(3):dgz247.

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                   and -5%, respectively, after the 12-month period. This small loss should
                   be placed in relation to the > 30% advantage in muscle mass that
                   transgender women had over comparison women before hormone
                   therapy. Overall, these data on muscle size confirm previous results of
                   whole-body lean mass measurements related to the modest effects of
                   testosterone suppression.
          9.6.     In a multicenter study, 249 transgender women were found to have a -4%
                   decrease in grip strength after 12 months of cross-hormone treatment,
                   with no differences between testosterone levels, age groups, or BMI
                   tertiles 30. After 1 year of hormone treatment, the transgender women still
                   had a 21% advantage in grip strength over a comparison group of
                   females.
          9.7.     While most longitudinal studies have reported muscle/lean mass and/or
                   strength values after 12 months of testosterone suppression, it appears
                   that the net loss of these values does not decrease significantly at year 2
                   or 3 of testosterone suppression 31. This suggests that a plateau or new
                   equilibrium state is reached within the first year, a phenomenon also
                   observed in transgender men, in whom muscle mass gains appear to
                   stabilize between the first and second years of testosterone treatment.
          9.8.     These longitudinal data reveal a clear pattern of very modest changes in
                   muscle mass and strength in transgender women who suppress
                   testosterone. These conclusions were confirmed by a subsequent
                   systematic review published in the prestigious British Journal of Sports
                   Medicine 32.
          9.9.     As I substantiated with extensive citations in my research report with Dr.
                   Hilton, well-controlled studies of biological males undergoing strength
                   training during testosterone suppression show that exercise protects and
                   even improves muscle mass and strength characteristics.
         9.10.     All in all, the collective body of scientific evidence suggests that
                   testosterone suppression is highly unlikely to reverse the athletic
                   advantage of males over females.




   30 Scharff M, Wiepjes CM, Klaver M, et al. Change in grip strength in trans people and its association with

   lean body mass and bone density. Endocr Connect. 2019;8:1020–8.
   31 Hilton EN, Lundberg TR. Transgender Women in the Female Category of Sport: Perspectives on

   Testosterone Suppression and Performance Advantage. Sports Med. 2021 Feb;51(2):199-214.
   32 Harper J, O'Donnell E, Sorouri Khorashad B, McDermott H, Witcomb GL. How does hormone transition

   in transgender women change body composition, muscle strength and haemoglobin? Systematic review
   with a focus on the implications for sport participation. Br J Sports Med. 2021 Aug;55(15):865-872.

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   I verify under the penalties for perjury that the foregoing representations are true.

   On the 15th of June 2022




   Tommy Lundberg, PhD




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                                  Appendix 1




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                                               CV of Tommy Lundberg, PhD


                             CURRICULUM VITAE
    1   NAME
    Tommy Richard Lundberg
    2   BIRTH DATA
    (yyyy-mm-dd): 1981-04-15
    3   EDUCATION AND DEGREES
    Higher education courses (completion year)
    2018          Pedagogy for doctoral supervisors (2 weeks)
    2018          Leadership for research group leaders (2 weeks)
    2017          Future Educational Leader (5 weeks)
    2017          Open Networked Learning (ONL171), 2 weeks
    2015          Teaching and Learning in Higher Education (GHPD), 5 weeks
    2015          Introductory Doctoral Supervision Course (1 week)

    Doctoral education
    2010-2014     Doctoral studies, 240 credits, Dept. of Health Sciences, Mid Sweden
                  University

    Graduate degree
    2009         Master of Science in Exercise Physiology, Loughborough University, UK
    Master and undergraduate study programmes
    2008-2009    MSc in Exercise Physiology (12 months), Loughborough University
    2006-2008    Biology and Sports Science (120 credits), Mid Sweden University
    2001-2003    Coaching and Sport Management (120 credits), Växjö University

    Other relevant education
    2006         Certified fitness coach in sports, Swedish Sports Confederation

    4   DOCTORAL DEGREE
    2014         Doctoral degree in Sports Science, Mid Sweden University. Thesis title: The
                 effects of aerobic exercise on human skeletal muscle adaptations to resistance
                 exercise. Main supervisor: Per Tesch. Co-supervisor: Ola Eiken.
    5   POSTDOC APPOINTMENTS
    2015-2018    50% Postdoc at the Karolinska Institutet, Dept. of Laboratory Medicine, Div. of
                 Clinical Physiology, through funding from a fellowship awarded by the Swedish
                 Council for Research in Sport Science
    6   DOCENT STATUS
    2021         Awarded the Title Docent in Physiology (September 2021)




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                                               CV of Tommy Lundberg, PhD

    7   CURRENT POSITION
    2014-          Lecturer, Karolinska Institutet, Dept. of Laboratory Medicine, Div. of Clinical
                   Physiology. Time devoted to research: 50%
        Current scientific activity
        An overarching theme of my previous, current and planned future long-term research
        concerns the control and regulation of skeletal muscle mass and function. I am interested
        in how human skeletal muscle responds and adapts to increased or decreased loading. In
        contexts such as sporting performance, exercise, aging and disease, this work examines
        the functional, metabolic, morphological and molecular adaptations to, for example, acute
        and chronic resistance and/or aerobic exercise, and cross-hormone therapy.

        Current teaching activity
        The main focus of my teaching is within the field of human physiology, with a particular
        specialization in exercise physiology. I teach this subject in several courses for different
        medical degree programs at Karolinska Institutet, including the Physiotherapy degree
        programme, the Biomedical Laboratory Sciences degree programme and the
        Occupational Therapist degree programme. I am a course instructor and examiner for a
        contract education course called Advanced Exercise Physiology (4.5 credits).

    8   SCIENTIFIC PUBLICATIONS
        Bibliometric parameters (verified June, 2022)
        Total number of peer-reviewed papers: 34

        Total number of citations:
            •   1270 Google Scholar
        h-index:
            •   16 Google Scholar

    9   PRIOR POSITIONS
    2010-2014      Doctoral student, Mid Sweden University, Dept. of Health Sciences
    2003-2006      Director of Sports, Åland Island Football Association (full-time)


    10 SELECTED ACADEMIC DISTINCTIONS
    2021           Docent
    2017           Swedish Central Association for Sport Promotion (SCIF) prize for most
                   prominent young researcher in Sport Science
    2009           MSc, pass with distinction




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                                               CV of Tommy Lundberg, PhD


                            SCIENTIFIC PORTFOLIO

      A. List of all peer-reviewed publications (in reverse order)

    1: Lundberg TR, Feuerbacher JF, Sünkeler M, Schumann M. The Effects of Concurrent Aerobic and
    Strength Training on Muscle Fiber Hypertrophy: A Systematic Review and Meta-Analysis. Sports
    Med. 2022 Apr 27. doi:10.1007/s40279-022-01688-x. Epub ahead of print. PMID: 35476184.

    2: Niklasson E, Borga M, Dahlqvist Leinhard O, Widholm P, Andersson DP, Wiik A, Holmberg M,
    Brismar TB, Gustafsson T, Lundberg TR. Assessment of anterior thigh muscle size and fat
    infiltration using single-slice CT imaging versus automated MRI analysis in adults. Br J Radiol. 2022
    May 1;95(1133):20211094. doi:10.1259/bjr.20211094. Epub 2022 Feb 23. PMID: 35195445.

    3: Mandić M, Hansson B, Lovrić A, Sundblad P, Vollaard NBJ, Lundberg TR, Gustafsson T,
    Rullman E. Improvements in Maximal Oxygen Uptake After Sprint-Interval Training Coincide with
    Increases in Central Hemodynamic Factors. Med Sci Sports Exerc. 2022 Jun 1;54(6):944-952. doi:
    10.1249/MSS.0000000000002872. Epub 2022 Feb 8. PMID: 35136000.

    4: Skoglund E, Lundberg TR, Rullman E, Fielding RA, Kirn DR, Englund DA, von Berens Å,
    Koochek A, Cederholm T, Berg HE, Gustafsson T. Functional improvements to 6 months of physical
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    limited older individuals. Exp Gerontol. 2022 Jan;157:111631. doi: 10.1016/j.exger.2021.111631.
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    muscle molecular responses to resistance exercise. Med Sci Sports Exerc. 2012 Sep;44(9):1680-8. doi:
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      B. Scientific/popular scientific papers in national journals

        •   Lundberg T. Anti-inflammatory drugs - a double-edged sword. Swedish sports medicine
            4/2019.
        •   Lundberg T, Rullman E, Gustafsson T. Exercise prolongs life - or? Swedish sports medicine
            3/2019
        •   Lundberg T. Effects of NSAIDs on training results. Best Practice Rheumatology. Nov. 2018.
        •   Lundberg T, Berglind D, Gudiol J. Big gains from reviewing protein intake. Läkartidningen.
            2018; 115: E79H
        •   Lilja M, Mandic M, Lundberg T. Anti-inflammatory drugs inhibit muscle growth. Swedish
            sports research 1 Nov 2017.
        •   Gustafsson T, Lundberg T, Vollard N. Intensive intervals a hit for fitness. Swedish Sports
            Research 4/2015
        •   Lundberg T. New findings on combined training of strength and endurance. Swedish Sports
            Medicine 3/2014.
        •   Lundberg T. Combined training of strength and endurance. Swedish Sports Medicine 3/2010.




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     C. Educational books
    Books

    Lundberg T. Styrketräningens fysiologi (English translation: The Physiology of Strength Training).
    Tommy Lundberg/Publit. Apr. 2019. ISBN: 9789178190775

    Book chapters

    Lundberg T. Long-term Effects of supplementary aerobic training on muscle hypertrophy. In:
    Schumann M, Rønnestad B (Eds.) Concurrent aerobic and strength training: Scientific basics and
    practical applications. Springer. 2019. ISBN 978-3-319-75547-2
    McPhee JS, Lundberg TR. Muscle form and function. In: A Comprehensive Guide to Sports
    Physiology and Injury Management. Elsevier. 2020 (ISBN 9780702074899).
    Lundberg TR, McPhee JS. Muscle adaptations and fatigue. In: A Comprehensive Guide to Sports
    Physiology and Injury Management. Elsevier. 2020 (ISBN 9780702074899).



     D. Speaker and oral presentations (selected)

    Invited speaker at international and national (selected) congresses
        • Lundberg T. “The Compatibility of Endurance and Strength Training: Old Myths and New
            Science”. American College of Sports Medicine (ACSM) 68th Annual Meeting, 1-5, 2021 in
            Washington DC (held virtually due to Covid-19).
        • Lundberg T. “Physiology around the inclusion of transgender people - What are the problems
            in sport?”. Sports & Diversity - Transgender Inclusion, February 2021, 1-5, 2021 in Karlstad,
            Sweden (held virtually due to Covid-19).
        • Lundberg T. ”Concurrent training and Hypertrophy”. Scandinavian Sports Medicine Congress.
            30 Jan-2 Feb 2019, Copenhagen
        • Lundberg T. ”Effect of NSAID on skeletal muscle adaptation to training”. Scandinavian Sports
            Medicine Congress. February 1-3, 2018 in Copenhagen
        • Lundberg T. “The Make-up and Regeneration of Hamstring Muscle and Connective Tissue:
            Implications for Performance and Return to Play”. The 5th International Global Hamstring
            Project. Nov 17, 2018 in Barcelona

    Oral presentations of own accepted and peer-reviewed abstracts
       • Lundberg TR, Hansson B, Olsen LA, von Walden F, Fernandez-Gonzalo R. Concurrent
            Exercise of the Arm Extensors Modulates Anabolic Signaling and Gene expression for
            Ribosome Biogenesis. Presented at the American College of Sports Medicine 66th Annual
            Meeting, Orlando, 2019.
       • Lundberg TR, Lilja M, Mandic M, Maddipati KR, Gustafsson T, Rullman E. Human Skeletal
            Muscle Lipid Mediator Responses to Resistance Exercise and Anti-inflammatory Drugs.
            Presented at the American College of Sports Medicine 65ft Annual Meeting, Minneapolis,
            2018.
       • Lundberg TR, Fernandez-Gonzalo R, Tesch PA, Rullman E, Gustafsson T. Aerobic Exercise
            Augments the Muscle Transcriptome Profile of Subsequent Resistance Exercise. Presented at
            the American College of Sports Medicine 63rd Annual Meeting, Indianapolis, Boston, 2016.




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       •     Lundberg TR, Fernandez-Gonzalo R, Carlsson D, Tesch PA. Aerobic exercise prior to
             resistance exercise compromises functional adaptations, yet boosts increases in muscle size.
             Presented at the 18th Annual Congress of the European College of Sport Science, Barcelona,
             Spain, 2013.
       •     Lundberg TR, Fernandez-Gonzalo R, Rodriguez-Miguelez P, Tesch PA. Relationship
             between acute myostatin expression, p70S6K phosphorylation and muscle adaptations to
             aerobic and resistance training. Presented at the American College of Sports Medicine 60th
             Annual Meeting, Indianapolis, Idianapolis, 2013.
       •     Lundberg TR, Fernandez-Gonzalo R, Åkerström S, Tesch PA. Increase in Muscle Size
             Following 5-wk Resistance Training is Exaggerated by Concurrent Aerobic Exercise.
             Presented at the American College of Sports Medicine 59th Annual Meeting, San Fransisco,
             California, 2012.
       •     Lundberg T, Fernandez-Gonzalo R, Gustafsson T, Tesch PA. A Single Bout of Aerobic
             Exercise Compromises Down-regulation of MuRF Expression Subsequent to Resistance
             Exercise. Presented at the American College of Sports Medicine 58th Annual Meeting, Denver,
             Colorado, 2011.



     E. Research funding obtained in the last 5 years
       External research funding obtained in international or national competition as
       principal applicant
           Grant provider   Project title                    Amount     Own      Time period
                                                                        share

           Swedish          Macrophage- and satellite        SEK        100%     01.01-2021 –
           Council for      cell-mediated adaptations to     373 550             31.12-2021
           Research in      resistance training with
           Sport Science    NSAIDs

           Swedish          Myonuclear content and           SEK        100%     01.01-2020 –
           Council for      ribosome biogenesis following    257 000             31.12-2020
           Research in      8 weeks of resistance training
           Sport Science    and NSAID intake

           Ragnhild and     Identification of new targets    SEK        100%     01.01-2018 –
           Einar            and effective methods for the    30 000              31.12-2018
           Lundströms       treatment of sarcopenia
           memorial fund

           Swedish          The novel role of                SEK        100%     01.01-2018 –
           Council for      inflammatory lipid mediators     150 000             31.12-2018
           Research in      in muscle adaptive responses
           Sport Science    to resistance exercise

           Swedish          Effects of NSAIDs on skeletal    SEK        100%     01.01-2018 –
           Council for      muscle adaptation to strength    450 000             31.12-2018
           Research in      training
           Sport Science                                     (salary
                                                             funding)

           Swedish          NSAID compromises                SEK        100%     01.01-2017 –
           Council for      exercise-induced increases in    185 000             31.12-2017
           Research in      muscle strength and
           Sport Science




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                          hypertrophy: possible
                          mechanisms

        Swedish           Effects of NSAIDs on skeletal   SEK           100%        01.01-2017 –
        Council for       muscle adaptation to strength   450 000                   31.12-2017
        Research in       training
        Sport Science                                     (salary
                                                          funding)

        Lars Hiertas      Identification of new targets   SEK           100%        01.01-2017 –
        memorial fund     and effective methods for the   50 000                    31.12-2017
                          treatment of sarcopenia
        Tornspiran        Identification of new targets   SEK           100%        01.01-2017 –
        foundation        and effective methods for the   100 000                   31.12-2017
                          treatment of sarcopenia

        Swedish           Effects of NSAIDs on skeletal   SEK           100%        01.01-2016 –
        Council for       muscle adaptation to strength   100 000                   31.12-2016
        Research in       training
        Sport Science

        Swedish           Effects of NSAIDs on protein    SEK           100%        01.01-2016 –
        Council for       synthesis and adaptation to     450 000                   31.12-2016
        Research in       strength training in human
        Sport Science     skeletal muscle                 (salary
                                                          funding)

        Swedish           Effects of NSAIDs on protein    SEK           100%        01.01-2015 –
        Council for       synthesis and adaptation to     135 000                   31.12-2015
        Research in       strength training in human
        Sport Science     skeletal muscle

        Swedish           Effects of NSAIDs on protein    SEK           100%        01.01-2015 –
        Council for       synthesis and adaptation to     450 000                   31.12-2015
        Research in       strength training in human
        Sport Science     skeletal muscle                 (salary
                                                          funding)

        Lars Hiertas      Effects of NSAIDs on protein    SEK           100%        01.01-2015 –
        memorial fund     synthesis and adaptation to     45 000                    31.12-2015
                          strength training in human
                          skeletal muscle



       External research funding obtained in international or national competition as co-
       applicant

        Grant           Principal   Project title     Amount         Own share      Time period
        provider        applicant
        Swedish         Rodrigo     Transcriptomic    SEK            Not            01.01-2021–
        National        Fernandez   Regulation of     4 503 000      specified      31.12-2022
        Space           Gonzalo     Bedrest‐                         (but 20% of
        Agency                      Induced                          my salary
                                    Muscle and                       included) in
                                    Immune                           the budget).
                                    System
                                    Alterations:
                                    Investigating
                                    the Role of




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                                            Long Non‐
                                            Coding RNA
           Swedish         Anna Wiik        Cross-sex          SEK          Not         01.01-2020 –
           Council for                      hormone            275 000      specified   31.12-2020
           Research in                      therapy: effects
           Sport Science                    on muscle
                                            morphology,
                                            strength,
                                            aerobic
                                            capacity in
                                            transgenders
           Swedish         Eric             Automatic and      SEK          Not         01.01-2017 –
           Council for     Rullman          quantitative       210 000      specified   31.12-2017
           Research in                      assessment of
           Sport Science                    muscle mass
                                            and body
                                            composition in
                                            athletes using
                                            MRI



       Significant other research funding received (donation, grant in local competition –
       etc.) as principal applicant
           Grant            Project title                      Amount       Own share   Time period
           provider
           KI funds         Internal research grant            SEK 24 900   100%        2018

           Åland’s Self-    Effects of match-                  EUR 4 500    100%        2016
           Government       congestion on the
           jubilee fund     performance and recovery
                            of elite football players



     F. Research supervision
       Ongoing supervision of a PhD candidate, with the applicant serving as main
       supervisor
       Mats Lilja, Project: NSAIDs and muscle adaptations to resistance exercise. Registered
       June 1, 2017. Half-time completed June 11, 2020 at Karolinska Institutet.

       Previous supervision of a PhD candidate, with the applicant serving as co-supervisor
       Elisabeth Skoglund, Project: Muscular aging - mechanisms, consequences and potential
       treatment. Half-time completed December 5th, 2018 at Uppsala University. PhD
       defended: December 3, 2021.


     G. Evaluation of others work

    2020              External reviewer for the PhD thesis of Baubak Shamim, Australian Catholic
                      University, Melbourne, AUS. Thesis title: Concurrent exercise: From training to
                      transcriptome.


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     H. Referee for scientific journals
    +35 reviewer assignments in the following journals from 2014 to 2022:
       •   International Journal of Sports Medicine
       •   Sports Medicine
       •   Acta Physiologica
       •   Scandinavian Journal of Science and Medicine in Sports
       •   American Journal of Physiology
       •   Journal of Applied Physiology
       •   Journal of Applied Physiology, Nutrition and Metabolism
       •   Research in Sports Medicine
       •   J Strength Cond Research
       •   Nutrients
       •   Ageing Research Reviews
       •   Physiol Genomics
       •   European Journal of Sport Science
       •   Medicine and Science in Sport and Exercise
       •   British Journal of Sports Medicine
       •   Frontiers in Physiology
       •   Sports Medicine (Open)

     I. Collaboration with the surrounding community
    I have given >20 lectures on topics related to my expertise to the larger community, including
    sports federations.

    Media
       I took part in the creation of this video on gene doping by SVT

        KI official news article about my research:

        New study on changes in muscle mass and strength after gender-affirming treatment may
        have an impact on sports regulations

        Anti-inflammatory drugs can inhibit muscle growth

        I have been interviewed in national and international media numerous times, especially
        about these two research fields above. This covers media articles both in national and
        international media, including, for example, the New York Times. I also featured live in
        Sky News in July 2021 (during the Olympics), speaking on the transgender debate.




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                        PEDAGOGICAL ACTIVITY

    TEACHING ACTIVITY

    Subject area and competence
    My teaching focuses on human physiology, anatomy, exercise physiology, physical activity
    and health, and applied fitness/strength and conditioning. I teach this subject in several
    courses for different medical degree programs at Karolinska Institutet, including the
    Physiotherapy degree program, the Biomedical Laboratory Sciences degree program, and the
    Occupational Therapist degree program. I am also the inventor, course leader and examiner
    for a contract education course called Advanced Exercise Physiology (4.5Hp). During my
    time as a PhD student, I have dedicated 20% of my time to teaching in the Sports Science
    degree programme at Mid Sweden University, which includes exercise testing and
    physiological assessment (see relevant courses below). For the past 3 years I have been the
    main teacher of the course "Applied Physiology and Nutrition" at School of Naprapathy in
    Stockholm.

    Scope/time of teaching

    I currently spend 50% of my working hours on teaching. That equates to 693 teaching hours
    per year, including planning, actual teaching, and classroom management. Actual classroom
    (or online lecture) teaching hours are estimated at 180 hours per year.

    Degree project supervision (main supervisor only)

     Level         Name            Time     Study             Academic   University
                                   period   Programme         credits
     Degree        Erik            2021     Study             30         Karolinska
     project       Niklasson                Programme in                 Institutet
                                            Medicine
     Master’s      Björn           2020     Study             30         Swedish School
     degree        Hansson                  Programme in                 of Sport and
                                            Sport Science                Health Sciences
     Master’s      Gordan          2016     Study             30         Swedish School
     degree        Divlak                   Programme in                 of Sport and
                                            Sport Science                Health Sciences
     Master’s      Mirko           2016     Master            30         Örebro University
     degree        Mandic                   programme in
                                            Sports Medicine
                                            and Physiology
     Bachelor’s    Rebecka Zaar    2020     Study             15         Stockholm
     degree                                 Programme in                 University and
                                            Nutrition                    Karolinska
                                                                         Institutet
     Bachelor’s    Isabelle        2018     Study             15         Stockholm
     degree        Christiansson            Programme in                 University and
                                            Nutrition                    Karolinska
                                                                         Institutet
     Bachelor’s    Lisa Larsson    2016     Study             15         Karolinska
     degree                                 Programme in                 Institutet
                                            Biomedical
                                            Laboratory
                                            Science



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    Course director/coordinator assignments

     Role/assignment        Study programme         Course                  Time period
     Course coordinator     Study Programme in      Anatomy and             2014-2015
                            Nursing, 180 credits    Physiology in healthy
                                                    humans, distance
                                                    course (12 credits)
     Course coordinator     Contract Education      Advanced Exercise       2018-ongoing
                            Course, advanced        Physiology (4,5
                            level                   credits)

     Moment/module          Study Programme in      Moment/module 2         2015-ongoing
     coordinator            Occupational Therapy,   (7.5 credits) in
                            180 credits             Anatomy and
                                                    Physiology (15
                                                    credits)



    Examination and assessment

     Role/assignment        Study programme         Course                  Time period
     Course examiner        Contract Education      Advanced Exercise       2018-ongoing
                            Course, advanced        Physiology (4,5
                            level                   credits)

     Course examiner        Study Programme in      Physiology III (4,5     2016-ongoing
                            Physiotherapy, 180      credits)
                            credits
     Responsible for        Study Programme in      Moment/module 2         2015-ongoing
     written examinations   Occupational Therapy,   (7.5 credits) in
                            180 credits             Anatomy and
                                                    Physiology (15
                                                    credits)
     Responsible for        Study Programme in      Physiology III (4,5     2016-ongoing
     written examinations   Physiotherapy, 180      credits)
                            credits
     Responsible for        Contract Education      Advanced Exercise       2018-ongoing
     written examinations   Course, advanced        Physiology (4,5
                            level                   credits)

     Responsible for        Study Programme in      Anatomy and             2014-VT2015
     written examinations   Nursing, 180 credits    Physiology in healthy
                                                    humans, distance
                                                    course (12 credits)
     Responsible for        Study Programme in      Anatomy and             2014-VT2015
     practical              Nursing, 180 credits    Physiology in healthy
     examinations (heart                            humans, distance
     rate and blood                                 course (12 credits)
     pressure)




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    PEDGOGICAL EDUCATION AND DEVELOPMENT OF TEACHING SKILLS

    Formal studies in university-level teaching
       2018                  Pedagogy for doctoral supervisors, 2 weeks
       2017-2018             Leadership for research group leaders, 2 weeks
       2016-2017             Future Educational Leader, 5 weeks
       2017                  Open Networked Learning (ONL171), 2 weeks
       2015                  Teaching and Learning in Higher Education (GHPD), 5 weeks
       2015                  Introductory Doctoral Supervision Course, 1 week




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                LEADERSHIP AND DEVELOPMENT
    TRAINING IN LEADERSHIP AND DEVELOPMENT

    Formal education related to leadership and development

    2018          Pedagogy for doctoral supervisors (2 weeks)
    2017-2018     Leadership for research group leaders (2 weeks)
    2016-2017     Future Educational Leader (5 weeks)
    2017          Open Networked Learning (ONL171), 2 weeks
    2015          Teaching and learning in Higher Education (GHPD), 5 weeks
    2013          Doctoral course in Presentation Techniques, Cooperation and Relationships, 3
                  credits, Karolinska Institutet
    2013          Innovative applications of research and science, 4.5 credits, Mid Sweden
                  University/Linnaeus University/Örebro University/Karlstad University
    2001-2003     Sports Coaching, 7.5 credits, Växjö University
                  International Sports Coaching, 7.5 credits, Växjö University
                  Leadership and Organizational Theory, 7.5 credits, Växjö University


    MANAGERIAL POSITIONS

    Chairmanship
    2019-Ongoing              Chair for the Competence Network in Physiology, Swedish Ice-
                              hockey Federation

    Responsibility of management/area of responsibility
    2015-Ongoing            Responsible for data storage and data management at the Division
                            of Clinical Physiology, Karolinska Institutet
    2019-Ongoing            Facility responsible for the exercise laboratory at the Division of
                            Clinical Physiology, Karolinska Institutet

    Supervisory responsibility
    2003-2006                Director of Sports (full-time position), Åland Island Football
                             Association. Supervisor of one full-time employee.


    COMMITTEE WORK

    2020                      Expert delegate at the 2020 World Rugby expert meeting for
                              Transgender participation in sport, London

    2010-2014                 Member of the Sports Science teaching committee, Mid Sweden
                              University




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    CONSULTANCY WORK

    2020-ongoing         Elite project within the Swedish Football Association: The role of
                         biological maturation in talent development and player education

    2019-Ongoing         Competence Network in Physiology, Swedish Ice
                         hockey Federation




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                     A.M., by her mother and next friend, E. M.

                                        .v.

      Indianapolis Public Schools; Superintendent, Indianapolis Public Schools

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                             Expert witness statement
                                Emma Hilton, PhD




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1.     Overview of qualifications

     1.1. My name is Emma Hilton. I am currently employed as a postdoctoral researcher in
          developmental biology at the University of Manchester, UK, a world top 50
          university.1 I am also an unpaid director of Sex Matters, a UK-based policy group
          who lobby for clarity on the protected characteristic of sex in law and in institutions.2

     1.2. I have been asked by the legal team for the State of Indiana to provide my expert
          scientific opinion on the need for a protected female sports category and the loss of
          fairness for female athletes arising from the inclusion of transgender girls and
          transgender women.

     1.3. The opinions put forward in this statement are my own, grounded in my education
          and scientific expertise, and do not necessarily reflect those of my employer, the
          University of Manchester. I declare no conflicts of interest. I will make no personal,
          social, sporting or academic gains from the opinions expressed here. I have been
          compensated for my time preparing this report ($300 USD per hour).

     1.4. In 1999, I received my Bachelor of Science degree from the University of Warwick,
          UK, where I studied Biochemistry. In 2004, I received my Doctor of Philosophy
          degree from the University of Warwick, UK, where I researched the development
          and growth of vertebrate embryos.

     1.5. I have extensive research experience in the field of developmental biology—the
          study of how embryos grow and how individuals mature—and human clinical
          genetics. I have authored over 20 peer-reviewed publications in development and
          genetics journals and received over 1100 citations. My h-index is 16.3 I have acted
          as an expert reviewer for multiple clinical genetics journals.

     1.6. My developmental biology career has focussed on the molecular mechanisms
          underpinning inherited genetic disorders in humans, including those that differently
          affect males and females, and those that affect nerve and/or muscle development
          during embryogenesis.4 In 2007, I was named as an Outstanding Young
          Investigator by the European Society of Human Genetics, for my work on a sex-
          linked genetic disorder that causes death in male fetuses.5 I teach genetics,
          inheritance and genetic disorders. I have contributed a chapter entry to a key
          medical textbook on genetic disorders.6

     1.7. I participate keenly in sports at an amateur level. Over the past five years, I have
          applied my academic developmental genetics knowledge to the study of sex
          differences in development and how they affect sporting performance. Publications
          most relevant to this expert statement are listed in the following sections.


1 https://www.manchester.ac.uk/study/experience/reputation/rankings/
2 https://sex-matters.org/about/emma-hilton-phd/
3 https://scholar.google.com/citations?user=A8zl2ggAAAAJ&hl=en
4 https://www.research.manchester.ac.uk/portal/emma.hilton.html
5 https://www.eshg.org/index.php?id=102
6 Epstein’s Inborn Errors of Development: The Molecular Basis of Clinical Disorders of Morphogenesis. Oxford

University Press, Oxford, UK.


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   1.8. Hilton and Lundberg, 2021. Transgender Women in the Female Category of
        Sport: Perspectives on Testosterone Suppression and Performance
        Advantage. Sports Medicine 51, 199–214.7

         (From abstract) “Here, we review how differences in biological characteristics
         between biological males and females affect sporting performance and assess
         whether evidence exists to support the assumption that testosterone suppression in
         transgender women removes the male performance advantage and thus delivers
         fair and safe competition. We report that the performance gap between males and
         females becomes significant at puberty and often amounts to 10–50% depending
         on sport... [T]he muscular advantage enjoyed by transgender women is only
         minimally reduced when testosterone is suppressed.”

         (Metrics) Journal five-year impact factor: 12.194; citations: 31; Altmetric score:
         4115 (on June 7th 2022). Evidenced by its current Altmetric score, this review has
         received widespread global attention. It is the most popular peer-reviewed article
         ever published by Sports Medicine, an international leader in the field. It has been
         referenced in the mainstream news in 62 different outlets, extensively in online
         media, and in scientific media including Nature.8

   1.9. Hilton et al., 2021. The Reality of Sex. Irish Journal of Medical Science,
        190: 1647.9

         (Extract) “Human sex is an observable, immutable, and important biological
         classification; it is a fundamental characteristic of our species, foundational to many
         biology disciplines, and a major differentiator in medical/health outcomes.”

         (Metrics) This journal is the official organ of the Royal Academy of Medicine in
         Ireland. Journal five-year impact factor: 1.441; citations: 1; Altmetric score: 717 (on
         June 7th 2022).

   1.10. Pike, Hilton and Howe, 2021. Fair Game: Biology, Fairness and Transgender
         Athletes in Women’s Sport. Macdonald-Laurier Institute, Canada.10

         (Summary) We review the importance of sex categories in sport, synthesising
         knowledge across developmental biology, the physiology of transgender women,
         and sports philosophy. We conclude that a female category that excludes all males,
         regardless of gender identity, is philosophically coherent in terms of category
         definition and necessary to ensure everyone can compete fairly and fully. We argue
         it is reasonable for female athletes to expect that their rights will be upheld by the
         institutions and procedures of their sports.

   1.11. In 2020, I was invited by World Rugby to give evidence to the Transgender Working
         Group, which was tasked with reviewing their regulations for inclusion of



7 https://link.springer.com/article/10.1007/s40279-020-01389-3
8 https://link.altmetric.com/details/95647691
9 https://link.springer.com/article/10.1007/s11845-020-02464-4
10 https://macdonaldlaurier.ca/files/pdf/Dec2021_Fair_game_Pike_Hilton_Howe_PAPER_FWeb.pdf




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         transgender women in female categories in elite international competition.11 After
         an extensive, “mock courtroom/adversarial” consultation process that heard
         evidence from all quarters, World Rugby determined that female categories can
         only be safe and fair if males, regardless of gender identity, are excluded from
         female categories.

   1.12. I have been invited to consult with sports and athlete groups like the US-based
         Women’s Sports Policy Working Group12 and the UK Sports Council Equality
         Group, who cited Hilton and Lundberg, 2021 in their influential policy document.13 I
         regularly liaise with various UK and international sporting bodies seeking advice on
         policy formation.

   1.13. In 2022, I was invited to speak at a private meeting at the UK House of Lords and
         wrote a house-wide briefing pack. I have recently contributed to a literature review
         on transgender athletes to be published by the Parliamentary Office of Science and
         Technology in June 2022.

   1.14. I have published opinion pieces in the mainstream media. Most recently, I wrote
         with Professor David Handelsman, an international expert in the pharmacology of
         androgens and expert witness for World Athletics, in a piece called What science
         tells us about transgender women athletes (The Australian, May 9th 2022).14

   1.15. My short form academic CV is provided in Appendix 1.




11 https://www.world.rugby/news/563437/landmark-world-rugby-transgender-workshop-important-step-

towards-appropriate-rugby-specific-policy; World Rugby Transgender Guidelines, 2020.
12 https://womenssportspolicy.org/
13 https://www.uksport.gov.uk/news/2021/09/30/transgender-inclusion-in-domestic-sport; Sports Council

Equality Group Guidance for Transgender Inclusion in Domestic Sport, 2021.
14 https://amp.theaustralian.com.au/sport/what-science-tells-us-about-transgender-women-athletes/news-

story/cb8b7a30f68745a3fa65442b7ff15694


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2.     Summary of expert witness statement

     2.1.   Performance gaps between males and females in almost all sports are detectable
            during childhood and cemented during puberty. Broadly, male athletic advantage
            is conferred by superior skeletal and muscle metrics and a more efficient
            cardiovascular system, although there are perhaps thousands of smaller
            magnitude physical differences that contribute to male athletic advantage. Male
            athletic advantage, the result of typical male development starting in utero, is
            acquired largely but not wholly under the influence of testes-derived testosterone.

     2.2.   Male athletic advantage is not necessarily evident by performance or output
            metrics. Rather, as for other physical parameters like age and impairment, it is
            rationalised from the extensive medical and biological knowledge on class-level
            physical differences, in this case between the male and female sexes.

     2.3.   Protected female sports categories that render ineligible people with the benefit of
            male athletic advantage acquired during typical male development are justified to
            protect fairness (and, discipline-dependent, safety) for female athletes who, by
            virtue of typical female development, do not benefit from male athletic advantage.

     2.4.   The suppression of testosterone post-puberty in transgender women who have
            gained male athletic advantage during development does not affect skeletal
            proportions and reduces muscle mass by only a modest amount. The magnitude
            of reduction in strength experienced by transgender women suppressing
            testosterone in adulthood is wholly insufficient to mitigate the large performance
            gap between males and females which forms the justification for sex categories in
            many sports. The sparse evidence regarding musculoskeletal metrics in
            transgender girls who have partially-blocked puberty reveals adult metrics like
            height far exceeding those of typical females.

     2.5.   Considering the above, it is my professional opinion that the Indiana General
            Assembly is justified in protecting fairness for female athletes in sports competition
            by restricting from female categories transgender girls and transgender women,
            because those individuals will have acquired male athletic advantage by virtue of
            biological development, and acquisition of male athletic advantage is not entirely
            removed by either puberty blockers and/or testosterone suppression post-puberty.




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1.     Sex and reproductive development

     1.1. Across the natural world, the words male and female describe reproductive
          function; how an individual (or tissue) functions in the contribution of small gametes
          (like sperm) or large gametes (like ova), respectively, to the next generation. In
          healthy humans, there are two evolved anatomical body patterns, each
          corresponding to one of the two reproductive functions. That is, in humans, there
          are two sexes.

     1.2. During embryonic development in utero, males and females develop sex-specific
          primary sex characteristics required for function during reproduction. Healthy male
          anatomy comprises external testes (also called testicles) that will make sperm,
          internal genital structures like the vas deferens (that carries sperm from the
          testicles to penis) and external genitalia in the form of a penis and scrotum. In
          contrast, healthy female anatomy comprises internal ovaries that will make eggs,
          internal genital structures like a uterus and vagina, and external genitalia in the
          form of a vulva, incorporating the clitoris.

     1.3. The various parts of the reproductive anatomy of a healthy baby (gonad type,
          internal genitalia, external genitalia) develop in a coordinated sequence of events.
          As such, sex is routinely and reliably observed at birth by visual and palpable15
          assessment of external genitalia.

     1.4. The above descriptions of primary sex are standard, appearing in dictionaries,16 key
          biology textbooks,17 academic publications18 and medical consensus statements
          like that issued by the Endocrine Society in 2021.19 By these standard descriptions
          of sex, transgender girls and transgender women are biologically male.

     1.5. Disorders of sex development (DSDs), where the development of reproductive
          anatomy is atypical or disrupted,20 are very rare21 but frequently used to argue that
          sex in humans cannot be described as simply male and female. While it is true that,
          rarely even within DSDs, the sex of some individuals is difficult to classify, this is
          usually irrelevant when considering transgender people who do not typically have
          DSDs.



15 “Palpable” means, roughly, “detect by touching”. This assessment is typically used to confirm the healthy

descent of testes in male babies.
16 Examples include: Oxford English Dictionary; Merriam-Webster Dictionary.
17 Examples include: Baresi and Gilbert, 2020. Developmental Biology. Oxford University Press, UK; Wolpert,

Tickle and Martinez Arias. Principles of Development. Oxford University Press, UK.
18 Academic publications defining sex, actively researching sex or incidentally dependent on these

understandings of sex are too numerous to consider. For example, a search on the scientific publication
database PubMed for only “male [AND] sperm” (that is, not an exhaustive search) retrieves over 100,000
results, including multiple results from Nobel Laureates in Physiology or Medicine, and from a huge array of
biology and medical disciplines.
19 Barghava et al., 2021. Considering Sex as a Biological Variable in Basic and Clinical Studies: An Endocrine

Society Scientific Statement. Endocrine Reviews, 42(3): 219-258.
20 For example: Arboleda et al., 2014. DSDs: genetics, underlying pathologies and psychosexual

differentiation. Nature Reviews Endocrinology 10(10): 603-615.
21 Sax, 2002. How common is lntersex? A response to Anne Fausto‐Sterling. Journal of Sex Research 39 (3):

174-178.


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2. Sex and somatic growth

   2.1. Beyond differences in reproductive anatomy, males and females differ in somatic
        (non-reproductive) physical characteristics. Somatic differences first emerge in
        utero and are evident at birth. Small differences in average body length (measured
        as head-bottom length) can be detected by ultrasound from the first trimester of
        pregnancy, with males already slightly longer than females.22 Larger average skull
        diameter in male fetuses at twenty weeks has also been reported.23 Gestational
        growth charts track not just higher male values for skull diameter but also
        abdominal circumference and estimated fetal weight.24 In a large study of male and
        female fetuses and newborns, Broer-Brown et al (2016) concluded that, “Sex
        affects both fetal as well as infant growth. Besides body size, also body proportions
        differ between males and females with different growth patterns.”25 Although the
        magnitude of in utero and birth differences in size are small, they are consistently
        different between males and females; indeed, sex is considered necessary to
        clinically assess fetal growth with accuracy.26

   2.2. Analysis of growth charts27 for male and female infants reveals that, at birth, males
        are, on average, slightly longer and heavier than females. Males are consistently 1-
        2 cm taller than females between 0-10 years old. Boys at 10 years old also have a
        larger vertebral cross-sectional area (larger spinal columns) than girls.28 Girls enter
        puberty earlier than boys, typically around 10 years old, and the growth spurt
        associated with earlier pubertal onset accounts for taller female height between 10-
        14 years old. Boys catch up and overtake girls in height at around 14 years old.

   2.3. At puberty, both sexes undergo rapid somatic changes as they mature in
        preparation for reproduction, leading to measurably different adult body shapes
        (‘sexual dimorphism’).29 Many male secondary sex characteristics are rooted in our
        evolutionary history of male fighting ability, displays of strength and competition for
        mates30 and become increasingly evident as puberty progresses. When briefly
        considering sexually-dimorphic physical characteristics, adolescent and adult males
        are typically taller with wider shoulders, longer limbs and longer digits. They have

22 Pedersen, 1980. Ultrasound evidence of sexual difference in fetal size in first trimester. British Medical

Journal 281(6250): 1253.
23 Persson et al., 1978. Impact of fetal and maternal factors on the normal growth of the biparietal diameter.

Scandinavian Association of Obstetricians and Gynaecologists 78: 21-27.
24 Schwartzler et al., 2004. Sex-specific antenatal reference growth charts for uncomplicated singleton

pregnancies at 15–40 weeks of gestation. Ultrasound in Obstetrics and Gynaecology 23(1): 23-29.
25 Broere-Brown et al, 2016. Sex-specific differences in fetal and infant growth patterns: a prospective

population-based cohort study. Biology of Sex Differences 7: 65.
26 Galjaard et al., 2019. Sex differences in fetal growth and immediate birth outcomes in a low-risk Caucasian

population. Biology of Sex Differences 10: 48.
27 For example: World Health Organisation https://www.who.int/tools/child-growth-standards/standards;

Centre for Disease Control https://www.cdc.gov/growthcharts/clinical_charts.htm; Royal College of Paediatrics
and Child Health https://www.rcpch.ac.uk/resources/growth-charts
28 Gilsanz et al., 1997. Differential Effect of Gender on the Sizes of the Bones in the Axial and Appendicular

Skeletons. Journal of Clinical Endocrinology and Metabolism 82(5): 1603-1607.
29 For example: Well, 2007. Sexual dimorphism of body composition. Best Practice and Research Clinical

Endocrinology and Metabolism 21(3): 415-430.
30 For example: Morris et al., 2020. Sexual dimorphism in human arm power and force: implications for sexual

selection on fighting ability. Journal Of Experimental Biology 223(2): 212365; Puts, 2010. Beauty and the
beast: mechanisms of sexual selection in humans. Evolution And Human Behaviour 31(3): 157-175.


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         larger and denser muscle mass, reduced fat mass, different distributions of muscle
         and fat and stiffer connective tissue. They have higher amounts of haemoglobin
         (the molecule that carries oxygen in blood), and larger hearts and lungs.31

   2.4. It should be noted that this is a non-exhaustive list of sexually-dimorphic differences
        between males and females, which would number into the thousands and include,
        for example, the fine architecture of muscle tissue like proportions of cell type (fibre
        type, stem cell populations), cell morphology (numbers of nuclei, amounts of
        myoglobin) and some 3000 muscle-specific gene expression differences,32 to the
        minutiae of different visual perception, hand-eye coordination and tracking
        capacity.33




31 Reviewed in: Hilton and Lundberg, 2021. Transgender Women in the Female Category of Sport:

Perspectives on Testosterone Suppression and Performance Advantage. Sports Medicine 51, 199–214 (and
references therein).
32 Haizlip et al., 2014. Sex-Based Differences in Skeletal Muscle Kinetics and Fiber-Type Composition.

Physiology (30)1: 30-39.
33 For example: Mathew et al., 2020. Sex differences in visuomotor tracking. Scientific Reports 10: 11863.




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    3.4. In utero, from around 12 weeks of gestation, testosterone and derived
         dihydrotestosterone (DHT) are involved in the development of male reproductive
         anatomy. Testosterone is primarily produced by the male testes.40 Testosterone
         promotes the formation of the vas deferens and other male internal genital
         structures, while DHT is necessary for the development of the penis and prostate
         gland.41 The effect of testosterone on somatic development does not appear to be
         significant, and the sex differences in fetal size described in Section 2.1 are not
         related to hormones but rather to the sex-specific genetics of maternal-placental
         interactions which affect, for example, nutrient exchange.42

    3.5. In the post-natal minipuberty period between 1 week to 6 months of age, transient
         activation of the hypothalamic-pituitary-gonadal axis means males are exposed to a
         corresponding burst of testosterone.43 This burst of testosterone supports male
         penis and testes growth,44 and is associated with higher growth velocity in the first
         six months of life,45 higher weight gain, lower acquisition of body fat and lower body
         mass index.46 The transient exposure to testosterone in minipuberty thus seems to
         underpin the well-established structural differences between males and females in
         childhood described in Section 2.2.

    3.6. At puberty, males experience levels of testosterone up to 20 times greater than in
         females, driving development during the ensuing teenage years of male secondary
         sex characteristics.47 The effects of testosterone on male growth during puberty are
         well-characterised and hardly require exhaustive analysis here.48




 40 Richmond and Rogol, 2007. Male pubertal development and the role of androgen therapy. Nature Clinical

 Practice Endocrinology and Metabolism 3(4): 338-344.
 41 Theakston, 2020. Development of the Reproductive System https://teachmeanatomy.info/the-

 basics/embryology/reproductive-system
 42 Buckberry et al., 2014. Integrative transcriptome meta-analysis reveals widespread sex-biased gene

 expression at the human fetal–maternal interface. Molecular Human Reproduction 20(8): 810-819.
 43 Lanciotti et al., 2018. Up-To-Date Review About Minipuberty and Overview on Hypothalamic-Pituitary-

 Gonadal Axis Activation in Fetal and Neonatal Life. Frontiers in Endocrinology 9: 410.
 44 Boas et al., 2006. Postnatal penile length and growth rate correlate to serum testosterone levels: a

 longitudinal study of 1962 normal boys. European Journal of Endocrinology 154(1): 125-129.
 45 Kiviranta et al., 2016. Transient Postnatal Gonadal Activation and Growth Velocity in Infancy. Pediatrics

 138(1): e20153561.
 46 Becker et al., 2015. Hormonal ‘minipuberty’ influences the somatic development of boys but not of girls up

 to the age of 6 years. Clinical Endocrinology 83: 694-701.
 47 Handelsman et al., 2018. Circulating Testosterone as the Hormonal Basis of Sex Differences in Athletic

 Performance. Endocrine Reviews 39(5): 803-829.
 48 Reviewed in, for example: Hiort, 2002. Androgens and puberty. Best Practice and Research Clinical

 Endocrinology and Metabolism 16(1): 31-41; Richmond and Rogol, 2007. Male pubertal development and the
 role of androgen therapy. Nature Clinical Practice Endocrinology and Metabolism 3(4): 338-344.


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 4. Sex and sporting advantage

    4.1. In most athletic sports—those where outcome is affected by speed, stamina,
         strength and physique—males have a class-level advantage over females. Male
         advantage is founded in physical differences described in Section 2 that underpin
         functional differences in muscular strength, skeletal levers and proportions, force
         application, upper to lower body strength, and cardiovascular and respiratory
         function. In turn, these functional differences confer superior athleticism.49
         Examination of a variety of sporting records and performances identifies few
         athletic sporting disciplines where males do not possess performance advantage
         over females.50

    4.2. The physical, functional and performance advantages in adult males are
         summarised in Figure 2, using reported record performances across multiple sports
         and sporting actions (current at the time of publication of Hilton and Lundberg,
         2021). Male strength is disproportionately large in the upper body, and sports and
         sporting movements that require upper body input typically exhibit larger
         performance gaps than those where lower body strength is key. Performance
         differences, emerging from the physical and functional differences between adult
         males and females, are insurmountable,51 and the significance of male puberty is
         evidenced by the fact that male performances match then exceed those of elite
         adult females by the age of 14-15 years old.52

    4.3. Performance differences between males and females in childhood can be detected
         by, for example, comparison of schoolchildren international records in track and
         field.53 An overview of male advantage in selected disciplines (comprising common,
         simple movements) at 5 years, 10 years and 15 years of age is shown Figure 3.
         There is no clear pattern of male advantage in running and jumping events at 5
         years or 10 years old. However, male advantage in throwing events is clearly-
         evident at these pre-pubertal ages. Data for 10 year olds may underestimate male
         advantage, as girls are typically experiencing early puberty and growth which
         permits some amount of catch up with males. As expected, male advantage across
         all selected disciplines is evident by 15 years of age, with all the presented 15 year
         old male records bettering those of elite adult females.




 49 For example: Tonnessen et al., 2015. Performance development in adolescent track and field athletes

 according to age, sex and sport discipline. PLOS One 10(6): e0129014.
 50 For example: Olympic performances https://olympics.com/en/olympic-games/olympic-results; track and field

 performances https://www.worldathletics.org/stats-zone
 51 Thibault et al., 2010. Women and Men in Sport Performance: The Gender Gap has not Evolved since 1983.

 Journal of Sports Science and Medicine 9(2): 214-223.
 52 Hilton and Lundberg, 2021. Transgender Women in the Female Category of Sport: Perspectives on

 Testosterone Suppression and Performance Advantage. Sports Medicine 51, 199-214.
 53 International age records http://age-records.125mb.com




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          outcomes. This has been attributed to lower impact resistance in their neck muscles
          and more delicate brain structures.57




 57 www.rugbypass.com/news/long-term-brain-damage-could-be-a-significantly-bigger-issue-in-womens-rugby-

 than-mens-says-lead-concussion-doctor/


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 5. Sports categories and concepts of advantage

    5.1. Sports where performance or competitor safety is affected by sex (“sex-affected
         sports”) routinely employ a protected female category that excludes males, to
         secure fairness for (and, discipline-dependent, safety of) female athletes. This
         separation on the basis of sex in pursuit of fair, safe sports and sporting
         opportunities for female athletes is permissible under much national equality
         legislation, including, for example, the UK Equality Act 2010.58

    5.2. Misunderstandings regarding the nature of categories and advantage are common.
         Sports categories control for baseline physiological differences in sex, age, and
         impairment (and occasionally weight) that affect results or outcomes independently
         of the characteristics sporting competition seeks to reward – a package of talent,
         strategy, training, and dedication.

    5.3. Categories are rationalised on biological principles and do not mean that all
         persons of a non-protected category will beat all persons of the protected category.
         Rather, they recognise that like-for-like—given equal amounts of talent, strategy,
         training and dedication—males have a physical bonus (for example, of superior
         height and muscle mass) over females, 25 year olds have a fitness bonus over
         those in Masters sport and physical maturity over those in school sport, and able-
         bodied people have the bonus of bodies unimpeded by impairment or disability.
         Categories exist to ensure those physiological bonuses do not obscure outcomes
         that should depend on talent, strategy, training, and dedication.

    5.4. Conceptually, all athletes have access to the package of talent, strategy, training
         and dedication that sporting competition seeks to reward. For example, both males
         and females, old and young, and able-bodied or impaired, can possess the ‘speed
         gene’59 that alters muscle fibre type distribution, thought to favour the explosive
         power important in sports like sprinting. This same pool of athletes can be coached
         in equally good strategies and equally effective psychology during gameplay, can
         train equally hard, can eat equally well, can wear the same shoes, and so on. The
         gross physiological differences in different types of body—the advantages of being
         male, being able-bodied and being at peak age and physical maturity—transcend
         the differences in athletes that result from talent, strategy, training and dedication.

    5.5. It is via categories that fairness is achieved, and all people included in sports,
         regardless of baseline physiological differences. We ensure that winning
         opportunities for the more talented athlete—a fundamental characteristic of sport—
         are preserved, in the case of sex by instituting a female category.

    5.6. Advantage should be considered as a “kind” rather than an “amount”; that is, it
         exists regardless of magnitude. Indeed, as well as regulating for very large unfair
         advantages, sports bodies have a history of regulating for even very small unfair
         advantages. For example, inside lane track runners closer to the traditional start
         gun hear the gun more quickly and more loudly than those in outside lanes, offering
         them a small kind of advantage unavailable to the whole field. To combat this

 58 UK Equality Act 2010, Part 14, Section 195.
 59 Pickering and Kiely, 2017. ACTN3: More than Just a Gene for Speed. Frontiers in Physiology 8: 1080.




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          advantage, worth around 150 milliseconds in a staggered start of a 400m track,
          runners typically now start races via a loudspeaker at each block.60

    5.7. A common argument is to frames ‘advantage’ as simply a property of results or
         outcomes (for example, any person who is faster than any other has ‘advantage’,
         while people who are equally fast are said to be fairly-matched), one undermines
         the very existence of categories. The logical outcome is sports organised not to
         reward talent but to reward a combination of talent and talent-independent physical
         properties that together deliver a winning outcome. In such a framework, almost all
         sports at every competitive level will be dominated by able-bodied males aged
         around 20-35 years old.

    5.8. What has traditionally been described as a “girl’s/women’s category” is, in fact,
         upon deeper examination, more precisely understood as a category for females
         that excludes males who have acquired any magnitude of male athletic advantage
         by virtue of biology, regardless of performance relative to the female field. The
         ineligibility of those with any male advantage is necessary to maintain the integrity
         of the female sports category.




 60 Holmes, 2008. Olympic start gun gives inside runners an edge. New Scientist, 23rd June 2008.




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 6.     Treatment of transgender girls and transgender women

      6.1. Transgender girls and transgender women may feel deep distress and discomfort
           with their male body (“gender dysphoria”), have a sense of identification with the
           female sex (“gender identity”) and may take social, pharmaceutical and/or surgical
           steps to be perceived and treated as if they were female.

      6.2. In adulthood, transgender women may opt for surgical removal of the testes, which
           has the effect of lowering testosterone levels to those of females61 and reducing the
           functional or visual impact of their male physical characteristics; in addition,
           estrogen supplementation typically promotes feminisation of, for example, breast
           tissue.62 For pre-surgical transgender women, hormonal regimes in adulthood
           typically include the suppression of either testosterone production or activity (for
           example, via gonadotropin-releasing hormone [GnRH] agonists, spironolactone or
           cyproterone acetate), and the addition of estrogen.

      6.3. Early pharmaceutical interventions in transgender girls may involve blocking male
           puberty via GnRH analogue (“puberty blockers”), administered after the onset of
           puberty (at least Tanner stage 2; in male children, the appearance of pubic hair,
           and increase in testicular volume and reddening of scrotum skin).63 This is typically
           followed by a regime of cross-sex hormones from 16 years old. Puberty blockers do
           not, therefore, completely block the entirety of male puberty.

      6.4. Most children reporting gender dysphoria or incongruent gender identity desist; that
           is, gender identity issues resolve with puberty.64 For this reason, puberty blockers
           are not administered until after the onset of puberty and there is demonstrable
           persistence of gender identity issues. Furthermore, the reported effects and side-
           effects of puberty blockers are serious, including long-term effects on bone growth,
           brain development, fertility and sexual function, and short-term effects like
           headaches, hot flashes, mood swings, and depression and anxiety,65 necessitating
           caution with their prescription until biologically-appropriate.

      6.5. Children seeking early treatment from the major UK gender identity service have
           high levels of mental health comorbidities and self-harming behaviours, and are a
           cohort increasingly dominated by female children and those reporting same-sex



 61 Nishiyama, 2014. Serum testosterone levels after medical or surgical androgen deprivation: a

 comprehensive review of the literature. Urologic Oncology 32(1): 38.e17-28.
 62 Unger, 2016. Hormone therapy for transgender patients. Translational Andrology and Urology. 5(6): 877-

 884.
 63 Puberty progression is assessed using “Tanner staging”, which describes the typical physical changes in

 boys and girls using landmarks of external genitalia in males (testicular volume, penis length and skin
 appearance), quantity and coarseness of pubic hair in both sexes, and breast development in girls. In males,
 Tanner stage 2 indicates the first signs of puberty, around the age of 11 years old, comprising the appearance
 of downy pubic hair, an increase in testicular volume and reddening of the scrotum skin. At Tanner stage 3,
 around the age of 13 years old, the penis begins to grow in length. Testicular volume increase and penis
 growth continues during later stages, and pubic hair becomes course and curly. For more information, see:
 https://childgrowthfoundation.org/wp-content/uploads/2020/03/Puberty-and-Tanner-Stages_v2.0.pdf
 64 Wallien and Cohen-Kattenis, 2008. Psychosexual outcome of gender-dysphoric children. Journal of the

 American Academy of Child and Adolescent Psychiatry 47(12): 1413-1423.
 65 Reported by various healthcare providers, for example: Mayo Clinic, NHS, St. Louis Children’s Hospital.




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           attraction.66 Almost all children who initiate puberty blockers continue to cross-sex
           hormones67 and long-term follow-up studies show the persistence of mental health
           comorbidities into adulthood.68

    6.6. In light of the potential for medical harm while outcomes remain uncertain, many
         jurisdictions have cautioned against or restricted the use of puberty blockers in
         children, including the Swedish National Board of Health and Welfare,69 the Finnish
         Health Authority,70 and the French National Academy of Medicine.71 The UK Cass
         Review Interim Report notes the large evidence gaps to support puberty blockers
         as the first line treatment for dysphoric children.72 Pioneers of the original protocol
         for treatment of childhood dysphoria have advocated re-evaluation in light of the
         rapidly-changing cohort demographics.73




 66 Griffin et al., 2021. Sex, gender and gender identity: A re-evaluation of the evidence. British Journal of

 Psychiatry Bulletin 45(5): 291-299.
 67 De Vries et al., 2011. Puberty suppression in adolescents with gender identity disorder: a prospective

 follow-up study. Journal of Sexual Medicine 8(8): 2276-2283.
 68 Dhejne et al., 2011. Long-Term Follow-Up of Transsexual Persons Undergoing Sex Reassignment Surgery:

 Cohort Study in Sweden. PLOS ONE 6(2): e16885.
 69 https://www.socialstyrelsen.se/globalassets/sharepoint-dokument/artikelkatalog/kunskapsstod/2022-3-

 7799.pdf
 70 https://palveluvalikoima.fi/documents/1237350/22895838/Summary+transgender.pdf/2cc3f053-2e34-39ce-

 4e21-becd685b3044/Summary+transgender.pdf?t=1592318543000
 71 https://segm.org/sites/default/files/22.2.25-Communique-PCRA-19-Medecine-et-transidentite-genre.pdf
 72 https://cass.independent-review.uk/wp-content/uploads/2022/03/Cass-Review-Interim-Report-Final-Web-

 Accessible.pdf
 73 de Vries, 2020. Challenges in Timing Puberty Suppression for Gender-Nonconforming Adolescents.

 Pediatrics 146(4): e2020010611.


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 7.     Transgender girls and transgender women in sport

      7.1. Given the role of testosterone in the development of male characteristics relevant
           for sporting performance and the typical treatments sought by transgender women,
           the International Olympic Committee (IOC) and other sporting federations have
           historically sought to include transgender women in female sport by regulating
           levels of testosterone for 12 months prior to competition.74

      7.2. Many sports federations adopted the historic IOC guidelines without further
           scrutiny. However, World Athletics, for example, put in place more stringent
           requirements around testosterone suppression,75 albeit with no evidence that
           suppression to their chosen 5 nmol/litre elicits some meaningful difference in male
           performance advantage not achieved with the 10 nmol/litre limit set by the IOC. In
           contrast, World Rugby, after an exhaustive, transparent, evidence-based consulting
           process, barred transgender women from competing in the female category in
           events they regulate, identifying clear and unacceptable safety risks for female
           players.76

      7.3. It is inferred from the historical guidance that the IOC believed testosterone
           suppression sufficient to remove the male performance advantage provided by
           male-typical secondary sex characteristics. In 2020, with the IOC equivocating over
           a review of their testosterone guidelines, Dr Tommy Lundberg (Karolinska Institutet,
           SWE) and I tested the guidelines’ promise to protect fair competition by reviewing
           peer-reviewed published longitudinal changes in muscular and skeletal metrics in
           transgender women suppressing testosterone in adulthood for a minimum of 12
           months.77

      7.4. Having reviewed measures of bone density, lean body mass, muscle mass and
           strength tests, we identified a unified consensus in 11 original studies covering
           approximately 800 transgender women that skeletal metrics like height and bone
           length were unaffected, bone mass was preserved, and muscle mass and strength
           was decreased by 4% over 12 months of testosterone suppression. Where we
           could compare final measurements in transgender women with reference female
           subjects from the same cohort study, we found that muscle mass and strength
           measurements remained far higher than reference female subjects. A summary of
           this data is shown in Figure 4.




 74 https://stillmed.olympic.org/Documents/Commissions_PDFfiles/Medical_commission/2015-

 11_ioc_consensus_meeting_on_sex_reassignment_and_hyperandrogenism-en.pdf
 75 https://www.worldathletics.org/download/download?filename=ace036ec-a21f-4a4a-9646-

 fb3c40fe80be.pdf&urlslug=C3.5%20-%20Eligibility%20Regulations%20Transgender%20Athletes
 76 https://www.world.rugby/the-game/player-welfare/guidelines/transgender?lang=en
 77 Hilton and Lundberg, 2021. Transgender Women in the Female Category of Sport: Perspectives on

 Testosterone Suppression and Performance Advantage. Sports Medicine 51, 199–214. Note: the date
 disparity of the published paper represents the gap between article submission and publication.


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          muscle area, yet values remain above that observed in cisgender women, even
          after 36 months.”78




 78 Harper et al., 2021. How does hormone transition in transgender women change body composition, muscle

 strength and haemoglobin? Systematic review with a focus on the implications for sport participation. British
 Journal of Sports Medicine 55(15): 865-872.


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          parental heights, the authors conclude that GnRH analogue plus ethinylestradiol—
          but not GnRH analogue plus estradiol—reduces adult height. GnRH analogue plus
          ethinylestradiol delivers an average adult height far larger than the population
          female average (170.7cm) and closer to the population male average (183.8cm).
          This particular hormone regime does deliver adult height close to “target height”,
          which is the height decided between clinicians and the patient as both desirable for
          the transgender woman to feel less discomfort but within the bounds of what is
          achievable under current hormone regimes. I believe Dr Fortenberry has
          interpreted “target height” as “female height” and misinterpreted the results of this
          study.

    7.10. As above, studies of transgender women who have at least partially-blocked
          puberty show that adult height acquisition remains closer to male than female
          averages. Furthermore, lean body mass in young adulthood remains higher than in
          reference females81 and grip strength remains higher than in a matched cohort of
          transgender boys.82




 81 Klaver et al., 2018. Early Hormonal Treatment Affects Body Composition and Body Shape in Young

 Transgender Adolescents. Journal of Sexual Medicine 15(2): 251-260.
 82 Tack et al., 2018. Proandrogenic and Antiandrogenic Progestins in Transgender Youth: Differential Effects

 on Body Composition and Bone Metabolism. Journal of Clinical Endocrinology and Metabolism 103(6): 2147-
 2156.


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 8. Summary

     8.1. Considering the above witness statement, it is my professional opinion that the
          Indiana General Assembly is justified in protecting fairness for female athletes in
          sports competition by restricting from those female categories transgender girls and
          transgender women, because those individuals will have acquired male athletic
          advantage by virtue of biological development, and acquisition of male athletic
          advantage is not entirely removed by either puberty blockers and/or testosterone
          suppression post-puberty.

     8.2. Further, it is my professional opinion that the typical course of early male
          development, driven by both genetics and hormones, delivering structural
          differences (compared to females) from as early as first trimester gestation, and
          translating to performance differences during childhood athletics and school
          programme activities means it is justifiable to separate A.M. (and other transgender
          girls) from sports activities designated as female-only.




 I verify under the penalties for perjury that the foregoing representations are true.




 Emma Hilton, PhD
 16th June 2022




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                           Appendix 1. Short form academic CV

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 ROLES
 04/2019 - present Postdoctoral research associate, Division of Infection, Immunity &
                   Respiratory Medicine, University of Manchester (funding from BBSRC;
                   NC3Rs; Cystic Fibrosis Foundation).
 01/2014 - 04/2019 Research Fellow, University of Manchester (funding from MRC,
                   Newlife).
 01/2010 - 01/2014 Stepping Stone Research Fellow, Genetic Medicine, University of
                   Manchester (funded internally).
 06/2003 - 12/2009 Postdoctoral research associate, Genetic Medicine, University of
                   Manchester (MRC).

 ACADEMIC QUALIFICATIONS
 2004          Ph.D. Developmental Biology, University of Warwick, UK.
 1999          B.Sc. (Honours) Biochemistry, University of Warwick, UK.


 KEY ACHIEVEMENTS
 In my research career, I have successfully synthesised my expertise as a developmental
 biologist with clinical genetics research, have been a key driver in establishing Xenopus as
 an animal model for human genetics research in Manchester and have collaborated on
 many projects with diverse developmental outcomes. I have published over 20 manuscripts
 and one book chapter. I have co-supervised one PhD student (awarded 2015). In June
 2007, I received the Young Investigator Award for Outstanding Science from the European
 Society for Human Genetics, using Xenopus to model syndromic microphthalmia 2 and
 identifying novel clinically-relevant phenotypes in patients based on my frog studies.


 SELECTED PUBLICATIONS (Google Scholar: Citations 1181, h-index 16)
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 Woolf, A.S., Stuart, H.M., Roberts, N.A., McKenzie, E.A., Hilton, E.N., and Newman, W.G.
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               EXHIBIT 11




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   A.M. v. Indianapolis Public Schools, et al., Case No. 1:22-cv-1075-JMS-DLP


                        EXPERT REPORT OF WILLIAM BOCK, III.1

  1. Introduction and overview of qualifications

      1.1. My name is William Bock, III. I am a partner at the Indianapolis, Indiana
           law firm of Kroger, Gardis & Regas, III. I was the General Counsel for the
           United States Anti-Doping Agency (USADA) during 2007-2020. Both before
           and after service as USADA’s General Counsel I served as outside counsel to
           USADA for a period totaling over twenty-one (21) years. Congress has
           determined that USADA shall “serve as the independent anti-doping
           organization for the amateur athletic competitions recognized by the United
           States Olympic Committee and be recognized worldwide as the independent
           national anti-doping organization for the United States.” USADA “serve[s]
           as the United States representative responsible for coordination with other
           anti-doping organizations coordinating amateur athletic competitions
           recognized by the United States Olympic Committee to ensure the integrity
           of athletic competition, the health of the athletes, and the prevention of use
           by United States amateur athletes of performance-enhancing drugs or
           prohibited performance-enhancing methods adopted by the Agency.”2 During
           2009-2021 I served as one of six international arbitrators for the
           international swimming federation (Federation Internationale de Natation-
           FINA), Anti-Doping Panel, adjudicating eligibility cases involving
           international swimmers and other aquatic sports athletes. I am currently a
           member of the National Collegiate Athletic Association (NCAA) Division I
           Committee on Infractions, handling major infractions cases involving rule
           violations in collegiate sports. I served on the NCAA Doping, Drug Education
           and Drug Testing Task Force. Since 1992 I have served as legal counsel to
           athletes, coaches, sports officials, sports organizations, and anti-doping
           laboratories in hundreds of sport eligibility matters.3

      1.2. I received my J.D. degree, cum laude, from the University of Michigan Law
           School in 1989.

      1.3. I was named a lawyer of the year in 2012 by Colorado Law Week, and in
           2013 designated a Distinguished Barrister by the Indiana Lawyer. I was
           selected as a 2014 honoree for the NASBA Center for Public Trust’s Being a

  1 ©2022 by William Bock, III, all rights reserved.
  2 21 U.S.C. § 2001(b)(4).
  3 A partial list of contested sport eligibility cases in which I have served as legal counsel and which

  progressed to a hearing or final written decision is attached to this Declaration as Appendix A.

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         Difference Award and have been named a Super Lawyer in the State of
         Indiana each year during 2015-2022. I have been included in Who’s Who
         Legal’s list of the top three hundred international sports lawyers during
         2019-2021. I received a twenty-year service award from USADA on May 26,
         2021.

     1.4. Published materials I have principally authored are listed in Appendix B. A
          partial listed of invited presentation is Appendix C. My curriculum vitae is
          Appendix D.

     1.5. I previously served as an expert witness for the PGA Tour in V.J. Singh v.
          PGA Tour, Supreme Court of New York, No. 651659/2013.

     1.6. I have been asked by counsel for the State of Indiana to provide expert
          testimony on: transgender eligibility rules in sport, the manner in which
          anti-doping procedures and practices are used in connection with
          transgender eligibility rules to monitor the suppression of testosterone by
          transgender females, sport eligibility principles relevant to determining
          competitive advantage in sport, sport eligibility principles relevant to
          protecting athlete safety, and the adequacy of the Indiana High School
          Athletic Association (IHSAA) transgender athlete eligibility rules.

     1.7. In connection with providing testimony in this case I have reviewed the
          Complaint, Plaintiff’s brief in support of her motion for preliminary
          injunction, declarations of E.M. and of James D. Fortenberry, M.D., M.S, and
          declarations of Dr. James Carlson, Dr. Emma Hilton, Dr. Tommy Lundberg
          and Nancy Hogshead-Makar. My opinions contained in this report are based
          upon experience, background and knowledge gained through my job
          responsibilities in sport, familiarity with the underlying eligibility rules in
          sport, my review of the foregoing documents and the documents referenced
          in this report, including the List of Sources Relied Upon in Appendix E.

     1.8. I am being compensated for my services as an expert witness at the rates of
          $650 per hour for study and analysis of the issues on which I have been
          asked to provide expert testimony and for preparation of an expert report(s),
          preparation for testifying and testifying at deposition(s) and/or trial.

     1.9. In this declaration, when I use the term “transgender” I am referring to
          persons who are males or females, but who identify as a member of the
          opposite sex (e.g., a “transgender female” refers to a biological male).




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     1.10. The opinions in this declaration are my own and do not necessarily reflect
           the opinions of Kroger, Gardis & Regas, LLP or of any client or of any
           organization with which I am or have been affiliated.

  2. Summary of opinions in declaration

     2.1. Applying principles developed in anti-doping eligibility rules to protect a
          level playing field and fair competition, transgender females possess a
          competitive advantage over biological females.

     2.2. Applying principles developed in anti-doping eligibility rules to protect the
          safety of athletes, transgender females create an unacceptable risk of injury
          for biological females competing in contact and combat sports.

     2.3. The IHSAA’s transgender eligibility rules do not protect a level playing field
          and athlete safety using objective and repeatable standards.

     2.4. The IHSAA’s transgender eligibility rules do not adequately monitor
          testosterone suppression in compliance with recognized international
          standards.

     2.5. H.E.A. 1041 protects a level playing field and athlete safety using objective
          and repeatable standards that are consistent with sport eligibility principles
          regularly applied in domestic and international sport.

  3. Universality of Sport Eligibility Rules to Advance Competitive Fairness
     and Protect Athlete Health and Safety

     3.1. It is universally accepted that sport must have eligibility rules to advance
          competitive fairness,4 promote meaningful competition, and protect athlete
          health and safety.

         3.1.1. For instance, anti-doping eligibility rules in international sport are
              said to be “founded on the intrinsic value of sport”5 referred to as “the
              spirit of sport”6 which is asserted to be “the ethical pursuit of human
              excellence through the dedicated perfection of each Athlete’s natural
              talents.”7


  4 The question of “competitive advantage” is also central to the positions taken by Plaintiff who

  claims a transgender girl “has no competitive advantages in athletic participation compared to other
  girls.” Complaint, ¶ 36.
  5 World Anti-Doping Code (2021) (the “Code”), Fundamental Rationale for the World Anti-Doping

  Code, available at: https://www.wada-ama.org/sites/default/files/resources/files/2021 wada code.pdf
  6 Id.
  7 Id.



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         3.1.2. The Olympic Charter even characterizes the practice of sport as a
              “human right”8 and sets forth rules and appeal processes to protect that
              right.

     3.2. There is a long history in the U.S. and around the world of developing sport
          eligibility rules and accepted standards and norms have developed in
          relation to sport eligibility rules.9

          3.2.1. For example, it is accepted that sport eligibility rules must be objective
                 set forth in writing and fairly and consistently enforced.10

          3.2.2. Objective rules are necessary to exclude subjective or biased decision-
                 making in relation to sport eligibility.

          3.2.3. Examples where objective eligibility rules are required in sport
                 include:

             3.2.3.1.    Anti-doping rules, including rules relating to the use of
                         testosterone,

             3.2.3.2.    Olympic or national team selection rules, and

             3.2.3.3.    Transgender eligibility rules.

         3.2.4. In addition to objective rules, sport systems typically (including in
                relation to each of the examples listed above) provide a mechanism for
                impartial review of the application of objective criteria.




  8 Olympic Charter, Fundamental Principles of Olympism, available at:

  https://stillmed.olympics.com/media/Document%20Library/OlympicOrg/General/EN-Olympic-
  Charter.pdf
  9 As stated by Drs. Handelsman, Hirschberg and Bermon, “[i]f sports are defined as the organized

  playing of competitive games according to rules, fixed rules are fundamental in representing the
  boundaries of fair sporting competition.” Handelsman, D.J., Hirschberg, A.L., Bermon, S.,
  “Circulating Testosterone as the Hormonal Basis of Sex Differences in Athletic Performance,”
  Endocr. Rev. 2018 Oct; 39(5): 803-829, p. 806.
  10 See, e.g., Title IX of the 1972 Education Amendments, Pub. L. 92-318, Title IX, 20 U.S.C. § 1681 et

  seq.; Ted Stevens Olympic and Amateur Sports Act, 36 U.S.C. §220501 et seq., Authorization of the
  U.S. Anti-Doping Agency, 21 U.S.C. § 2001 et seq.; World Anti-Doping Code; Olympic Charter.

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         3.2.5. Objective rules designed to preserve meaningful and fair competition
                include:

             3.2.5.1. Anti-doping rules which define which prohibited methods11 and
                      substances can and cannot be used in sport,

             3.2.5.2. Amateurism rules which prohibit professional athletes from
                      competing against amateurs,

             3.2.5.3. Male and female categories which protect the female category of
                      sport against male biological advantage by making males
                      ineligible to compete in female sport,12

             3.2.5.4. Paralympic disability classifications which seek to have
                      individuals within like categories in terms of kind and scope of
                      disability compete against each other, and

             3.2.5.5. Weight classifications in combat sports such as boxing, mixed
                      martial arts or wrestling which only permit athletes within
                      specified weight bands to compete against each other.

         3.2.6. Objective rules designed to protect athlete safety include:

             3.2.6.1. Anti-doping rules banning products which increase the risk of
                      harm to athletes by harming the health of the athlete ingesting
                      the substance or the health or safety of that athlete’s competitors,

             3.2.6.2. Male and female classifications which prevent males (who tend to
                      be taller, heavier, and faster) from creating a heightened risk of
                      injury for female athletes in contact and combat sports, and

             3.2.6.3. Weight classifications in combat sports such as boxing, mixed
                      martial arts, or wrestling which limit the risk of injury from
                      physically unequally matched opponents.

     3.3. The protective purposes for which sport has long divided its participants into
          male and female categories is captured in the introduction to World
          Athletics’13 October 1, 2019, Eligibility Regulations for Transgender Athletes.


  11 A prohibited method is something other than a prohibited substance that is believed to make

  competition less fair or safe and is therefore prohibited under sport rules.
  12 See, e.g., Handelsman, et al., p. 803 (“Elite athletic competitions have separate male and female

  events due to men’s physical advantages in strength, speed, and endurance so that a protected
  female category with objective entry criteria is required.”).
  13 World Athletics is the international federation for the sport of track and field.



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          This introduction states that, “because of the significant advantages in size,
          strength and power enjoyed (on average) by men over women from puberty
          onwards, due in large part to much higher levels of androgenic hormones,
          and the impact that such advantages can have on sporting performance, it is
          necessary to have separate competition categories for males and females in
          order to preserve the safety, fairness and integrity of the sport, for the
          benefit of all of its participants and stakeholders.” The introduction goes on
          to state that World Athletics “wants its athletes to be incentivized to make
          the huge commitments required to excel in the sport, and so to inspire new
          generations to join the sport and aspire to the same excellence.” And they
          recognize that a failure to “deliver on the promise of fair and meaningful
          competition offered by the division of the sport into male and female
          categories of competition” would discourage participation and disincentivize
          commitment by those unable to keep up. Thus, World Athletics is resolved
          “not . . . to risk discouraging [the] aspirations [of sports participants] by
          permitting competition that is not fair and meaningful.”

     3.4. As the foregoing examples make clear, eligibility for sport competitions is
          typically not simply a matter of individual choice or self-selection. Rather,
          sport eligibility is strictly defined, highly segmented, almost never open to
          all comers, and subject to a variety of barriers to entry that are designed to
          advance the twin goals of meaningful competitive opportunities and safety.
          Individuals who wish to compete in sport must invariably submit to detailed
          and comprehensive eligibility categories and rules which exclude those
          unable to comply with the rules. In no competitive sport anywhere is there
          an absence of eligibility rules, as it is a truism that without eligibility rules
          sport cannot be meaningfully competitive.

  4. Regulation of Competitive Advantage and Safety in Sport

     4.1. Sources of competitive advantage are closely examined, typically well
          understood, and strictly regulated in sport.

         4.1.1. For instance, swimsuits that reduce drag and increase performance
                have been banned by the international swimming federation14 which
                has detailed rules and a pre-approval process for swimwear to be worn
                in competitions.15



  14 “‘Fast suits’ and Olympic swimming: a tale of reduced drag and broken records,” The Conversation

  (Aug. 3, 2012), available at: https://theconversation.com/fast-suits-and-olympic-swimming-a-tale-of-
  reduced-drag-and-broken-records-7960.
  15 See https://www.fina.org/swimming/approved-swimwear.



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         4.1.2. In 2008, research was published indicating that runners nearer the
                starting gun had an advantage measured in milliseconds.16 As a
                consequence, starter’s guns at the Olympics have been outlawed in
                favor of a timing system that permits a starting beep to be heard from
                a speaker located at each starting block so that no athlete has an
                advantage.17

         4.1.3. “Sex is a major factor influencing best performances and world
                records”18 in Olympic sport. In one study, researchers evaluated 82
                quantifiable events since the beginning of the Olympic era (i.e., from
                1896 to 2007). They looked at both the best performances by men and
                women in these events and the top 10 performers in each gender in
                swimming and track and field. The researchers found a stabilization of
                the gender gap after 1983 and that men outperformed women in all
                sports with a mean difference of 10.0% ± 2.94% between them
                depending upon the event.19 They found: “The gender gap ranges from
                5.5% (800-m freestyle, swimming) to 18.8% (long jump). The mean gap
                is 10.7% for running performances, 17.5% for jumps, 8.9% for
                swimming races, 7.0% for speed skating and 8.7% in cycling.”
                Moreover, they noted that many of these timed performances for
                women “coincided with later-published evidence of state-
                institutionalized or individual doping,” suggesting that the gender gap
                is actually even larger than the differences reported by the
                researchers.20 The researchers concluded that the gender gap is
                unlikely to change significantly in the future.

         4.1.4. Dr. Emma N. Hilton and Dr. Tommy R. Lundberg report that “the
                performance gap between males and females becomes significant at




  16 “Olympic start gun gives inside runners an edge,” by Bob Holmes, June 23, 2008, available at:

  https://www.newscientist.com/article/dn14183-olympic-start-gun-gives-inside-runners-an-
  edge/#ixzz7VwldE6Sr; “Olympic Sprinters Nearest Starting Gun Get Advantage,” Live Science (Aug.
  7, 2008), available at: https://www.livescience.com/2749-olympic-sprinters-nearest-starting-gun-
  advantage.html.
  17 “Why They Stopped Using Real Pistols to Start Olympic Races,” by Jason Plautz, Mental Floss

  (Aug. 15, 2016), available at: https://www.mentalfloss.com/article/31429/why-they-stopped-using-
  real-pistols-start-olympic-races.
  18 Thibault, V., Guillaume, M., Berthelot, G., El Helou, N., Schaal, K., Quinquis, L., Nassif, H.,

  Tafflet, M., Escolano, S., Herine, O., Toussaint, J.F., “Women and men in sport performance: The
  gender gap has not evolved since 1983,” Journal of Sports Science and Medicine (2010) 9, 214-223, p.
  214, available at: https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3761733/
  19 Id.
  20 Id.



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                 puberty and often amounts to 10-50% depending on sport.”21 They note
                 that the performance gap between men and women is not limited to
                 certain sports but applies generally to most skills necessary for success
                 in sport. Here is a chart that illustrates the male advantage across a
                 wide group of discrete sport skills.




  Reproduced from: Hilton, E.N., Lundberg, T., “Transgender Women in the Female Category
  of Sport: Perspectives on Testosterone Suppression and Performance Advantage,” Sports
  Medicine, (2021) 51:199-214, p. 202, Fig. 1.

         4.1.5. The performance gap between men and women is well understood in
                sport. As explained above, the substantial competitive advantages that
                men possess over women is one of the two primary reasons for the
                female category of sport; the other being, protecting the safety of
                female competitors in certain sports.

         4.1.6. The lesson from the above examples is that in competitive sport,
                minute performance differences arising from factors outside of natural
                biology and training are considered material and when found, are
                generally eliminated if possible. In other words, the general rule in
                competitive sport is to maximize meaningful competition by removing


  21 Hilton, E.N., Lundberg, T.R., “Transgender Women in the Female Category of Sport: Perspectives

  on Testosterone Suppression and Performance Advantage,” Sports Medicine (2021) 51:199-214, p.
  199.

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                even small competitive advantages where possible. Additionally,
                because of the significant performance gap between men and women
                male and female categories were created to permit meaningful and fair
                competition within the two sex-based categories.

      4.2. There are at least three key areas in which sport has developed or begun to
          develop comprehensive eligibility rules to address competitive advantage
          and athlete safety.

         4.2.1. Anti-doping programs and eligibility rules are a universal example of
                sport regulation of competitive advantage and safety.

         4.2.2. Likewise, the division of sport into the male and female categories is
                made on the basis of competitive advantage and safety.

         4.2.3. Finally, transgender athlete eligibility rules are an emerging example
                of sport regulation of competitive advantage and safety.

      4.3. As this case demonstrates, the desire of some biological males (i.e.,
           transgender females with male biological performance advantages) to
           compete as transgender females in the female category without distinction
           as to sport, competitive advantages, or safety concerns, has created tension
           with the paradigm of male and female categories, the means by which sport
           has for decades protected the rights of biological females to compete equally
           in sport.

   5. Regulation of Competitive Advantage and Safety Through Anti-Doping
      Rules

      5.1. Accepted Rationale for Sport Anti-Doping Rules

         5.1.1. It is well understood in the field of anti-doping that competitive
                advantage can be achieved through pharmacological (including
                hormonal) intervention. Therefore, international and domestic sport
                organizations and anti-doping authorities have imposed, and elite
                athletes submit to, a comprehensive anti-doping system that involves
                education, submission of 24/7 whereabouts information, rigorous
                hormone monitoring (known as the Athlete Biological Passport) and
                regular drug testing.

         5.1.2. Anti-doping rules have developed over a nearly 60-year period over
                which the enormous advantages that can be gained through use of




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                  male hormones and other pharmacological agents have become
                  apparent.22

          5.1.3. As reflected in the rules set forth below, the accepted rationale for anti-
                 doping rules and the robust international anti-doping system designed
                 to prevent the use of hormones and other prohibited substances in
                 sport is preventing unfair competitive advantage and protecting
                 athlete safety.

      5.2. Basic Rule:

           To be included on the Prohibited List a substance must satisfy at least two of
           the following three criteria:

           (1)     The “potential to enhance . . . sport performance.”23

           (2)     A “potential health risk to the Athlete.”24

           (3)     Use violates “the spirit of sport.”25

              5.2.1.1. Thus, for a substance to be banned it must only have a “potential”
                       to enhance sport performance and increase risk. There is no
                       threshold level of performance enhancement or increased risk
                       that must be met before a substance can be banned.

              5.2.1.2. Athletes may also apply to use in sport a medication that is on the
                       Prohibited List through a Therapeutic Use Exemption (TUE)
                       process. TUEs are also dependent on the medication not creating
                       any potential for additional performance enhancement as
                       explained further below.

              5.2.1.3. Therapeutic Use Exemption Rule:




   22 For example, on October 20, 1968, East Germany’s Margitta Gummel threw the shot, a then world

   record, 19.61 meters to beat teammate Marita Lange by 0.83m and to win the women’s gold medal at
   the Mexico City Olympics. East German secret police (Stasi) files would later show Gummel was
   using oral turinabol over the 11-week period when she obtained her performance gain. With her
   world record throw, Gummel had achieved a 1.6 meter or 9% improvement on her personal best
   within a single season. Yet, this gain from steroids is less than the competitive advantage that will
   be available to many transgender females.
   23 World Anti-Doping Code Art. 4.3.1.1.
   24 Code Art. 4.3.1.2.
   25 Code Art. 4.3.1.3.



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                                                                                               App.243
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               An athlete can only obtain a TUE to use a prohibited substance if they
               meet each of four conditions:

              (1) The Prohibited Substance or Prohibited Method in question is needed
                  to treat a diagnosed medical condition supported by relevant clinical
                  evidence.26

              (2) The Therapeutic Use of the Prohibited Substance or Prohibited Method
                  will not, on the balance of probabilities, produce any additional
                  enhancement of performance beyond what might be anticipated by a
                  return to the Athlete’s normal state of health following the treatment
                  of the medical condition.27

              (3) The Prohibited Substance or Prohibited Method is an indicated
                  treatment for the medical condition, and there is no reasonable
                  permitted Therapeutic alternative.28

              (4) The necessity for the Use of the Prohibited Substance or Prohibited
                  Method is not a consequence, wholly or in part, of the prior Use
                  (without a TUE) of a substance or method which was prohibited at the
                  time of such Use.29

   6. Essential Components of the Anti-Doping System in Sport

          6.1.1. Prohibited List

              6.1.1.1. Foundational to the anti-doping system is a defined list of
                       prohibited methods and substances which are banned in sport. As
                       explained above, methods and substances are placed on the
                       Prohibited List if they may yield a competitive advantage or
                       undermine safety.

              6.1.1.2. One of the key prohibited substances in sport is the male sex
                       hormone testosterone. Testosterone and other anabolic-
                       androgenic agents are among the most effective and commonly
                       abused doping agents in sport and have a dramatic impact on
                       sport performance.30 Testosterone is known to regulate numerous

   26 World Anti-Doping Agency (WADA) International Standard for Therapeutic Use Exemptions

   (ISTUE), Art. 4.2(a) (emphasis added).
   27 ISTUE, Art. 4.2(b) (emphasis added).
   28 ISTUE, Art. 4.2(c) (emphasis added).
   29 ISTUE, Art. 4.2(d) (emphasis added).
   30 Saudan, C., Baume, N., Robinson, N., Avois, L., Mangin, P., and Saugy, M., “Testosterone and

   doping control,” Br J Sports Med. 2006 Jul; 40(Suppl 1): i21–i24, available at:

                                                     11
                                                                                              App.244
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                        developmental and physiological processes including muscle
                        protein metabolism, sexual and cognitive functions,
                        erythropoiesis,31 plasma lipid levels, and bone metabolism.32

              6.1.1.3. Athletes use steroids to increase lean muscle mass, improve
                       strength and speed, and to be able to train harder and increase
                       endurance33 Floyd Landis, Tyler Hamilton and multiple other
                       professional athletes I have interviewed have told me that they
                       used testosterone after hard workouts to increase their ability to
                       recover. They would also take small amounts of testosterone after
                       difficult race stages for similar reasons.

              6.1.1.4. Steroids are extremely powerful performance enhancers in
                       women. For instance, Kelli White, a female sprinter ensnared in
                       the BALCO scandal, told me that after just a few months of using
                       the anabolic agent tetrahydrogestrinone she was able to lower her
                       100-meter time by several tenths of a second. Other female
                       athletes who admitted steroid use to me confessed to similar
                       dynamic effects on performance.

          6.1.2. Athlete Whereabouts System

              6.1.2.1. In all robust sport testing programs, athletes are subject to
                       testing 365 days a year and do not have “off-seasons” or blackout
                       periods when testing does not occur. Whereabouts information
                       (dates, times, locations, training schedules, regular activities, etc.)
                       is information submitted by an athlete to their anti-doping
                       organization. This information allows the athlete to be located for
                       out-of-competition testing.




   https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2657495/#:~:text=The%20World%20Anti%E2%80%9
   0Doping%20Agency%20provided%20a%20guide%20in,testosterone%20metabolite%2C%20dihydrotes
   tosterone%2C%20or%20a%20masking%20agent%2C%20epitestosterone.
   31 Erythropoiesis is the process by which red blood cells are generated in the bone-marrow. See

   Shamidi, N.T., “Androgens and Erythropoiesis,” N. Engl. J. Med., 1973 Jul 12;289(2):72-80. doi:
   10.1056/NEJM197307122890205 available at:
   https://www.nejm.org/doi/10.1056/NEJM197307122890205?url ver=Z39.88-
   2003&rfr id=ori:rid:crossref.org&rfr dat=cr pub%20%200pubmed (“numerous reports have now
   firmly established that androgens stimulate erythropoiesis”).
   32 “Testosterone and doping control,” supra.
   33 Rogol, A.D., Yesalis, C.E., “Anabolic-androgenic steroids and athletes: what are the issues?” The

   Journal of Clinical Endocrinology & Metabolism, Volume 74, Issue 3, 1 March 1992, Pages 465–469,
   https://doi.org/10.1210/jcem.74.3.1740476,

                                                   12
                                                                                              App.245
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          6.1.3. Regular No Notice Out-of-Competition Testing

              6.1.3.1. No notice, out-of-competition testing protects a level playing field
                       and deters doping by eliminating times athletes know they will
                       not be tested and might otherwise use performance-enhancing
                       drugs or prohibited methods (PEDs) without detection.34

              6.1.3.2. The primary goal of testing is “to deter the athlete from making
                       the decision to use a performance-enhancing drug or method.”35

              6.1.3.3. “Deterrence is based on three perceptions: the certainty that the
                       individual could be caught; the severity of the formal and informal
                       sanctions; and the celerity of the imposition of those sanctions.”36
                       Research demonstrates that, “[t]he perception that the individual
                       can be caught is the most important of the three factors.”37

              6.1.3.4. Therefore, [t]o be effective, punishments imposed by anti-doping
                       agencies must be credible (certain), severe enough to outweigh the
                       intended benefits of the misdeed, and swift enough to counter the
                       immediate anticipated benefits of the wrongful acts in the mind of
                       the offender.”38

              6.1.3.5. Anti-doping researchers have concluded “there is a threshold level
                       of certainty or a ‘tipping point’ that is required for any deterrent
                       effect to be created.”39 “Estimates from criminological research
                       consistently have shown that in order for punishment to provide a
                       credible threat the certainty of punishment must reach a
                       threshold probability of .30.” Therefore, “[i]f the perception of the
                       certainty of punishment for doping among athletes is not .30 or
                       higher, then, there is little if any deterrent effect.”40 In other
                       words, for deterrence to occur athletes must perceive that there is
                       at least a thirty percent chance of being caught. To achieve a

   34 The clearance times for some prohibited substances can be very short and is sometimes measured

   by only hours after which a performance benefit may remain but the drug is no longer detectable in
   bodily fluids.
   35 Bowers, L.D., “The Quest for Clean Competition in Sports: Deterrence and the Role of Detection,”

   Clinical Chemistry 60:10 (2014), available at:
   http://hwmaint.clinchem.org/cgi/doi/10.1373/clinchem.2014.226175.
   36 Id.
   37 Id.
   38 Bowers, L.D., Paternoster, R., “Inhibiting doping in sports: deterrence is necessary, but not

   sufficient,” Sport, Ethics and Philosophy, 2016 DOI: 10.1080/17511321.2016.1261930, available at:
   http://dx.doi.org/10.1080/17511321.2016.1261930.
   39 Id.
   40 Id.



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                                                                                              App.246
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                       maximum deterrent effect the perceived risk of detection must be
                       significantly higher, likely as much as 75%.41

            6.1.4. Regular Measurement of Athlete Hormone Levels: The Athlete
                   Biological Passport

               6.1.4.1. In 2009, the World Anti-Doping Agency (WADA) approved the
                        Hematological Model of the Athlete Biological Passport (ABP)
                        which relies on measuring indirect markers in blood over time to
                        detect possible doping. The principle behind the ABP is that
                        monitoring of selected biological parameters over time will
                        indirectly reveal the effects of doping on the body. This approach
                        allows anti-doping organizations to evaluate individual,
                        longitudinal profiles for each athlete and to monitor fluctuations
                        potentially indicative of use of performance-enhancing hormones,
                        drugs, or methods. Statistical tools utilize data from an athlete’s
                        previous samples to predict the likely individual limits or
                        reference range for future samples. If data from a sample falls
                        outside of the athlete’s reference range, this abnormal value may
                        be an indication of doping and follow up analysis and testing is
                        conducted. In some cases, a single out of limit value can result in
                        an anti-doping case being brought.

               6.1.4.2. In 2008 the international federation in the sport of cycling
                        implemented an ABP program in advance of WADA approval. The
                        chart provided as Appendix F reflects a substantial drop in
                        abnormal values for a blood parameter known as reticulocytes in
                        professional cyclists after the cycling ABP program was
                        implemented. The second page of Appendix F is a chart
                        demonstrating that times in the 10,000-meter race in
                        international competition have generally gotten slower in tandem
                        with introduction of new anti-doping tests. Both pages provide a
                        visual depiction of change in athlete behavior brought about
                        through hormone monitoring and/or drug testing.

            6.1.5. Investigations

               6.1.5.1. In addition to a robust testing program, protecting a level playing
                        field requires a vigorous investigative program to follow up on so-
                        called “nonanalytical evidence” of doping, meaning evidence other



   41 Id.



                                               14
                                                                                    App.247
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                         than a positive drug test.42 Over the years, USADA has generally
                         found that 30 – 50% of the cases of proven doping established by
                         USADA have resulted from investigations and nonanalytical
                         evidence.

       6.2. Anti-Doping Lessons Applied to Emerging Transgender Eligibility
            Questions

           6.2.1. Competitive Advantage Under Anti-Doping Rules

               6.2.1.1. It is well known in sport that margins between competitors can be
                        exceedingly small. For example, at the 2008 Olympic Games
                        Michael Phelps won his seventh gold medal in the 100-meter
                        butterfly over Milorad Cavic by .01 of a second, a mere 4.7
                        millimeters, and at the 1984 Los Angeles Olympic Games Nancy
                        Hogshead and Carrie Steinseifer tied in the 100-meter freestyle.

               6.2.1.2. Recognizing how slight margins in sport can be, the anti-doping
                        rules do not tolerate any competitive advantage. “It is the
                        Athletes’ personal duty to ensure that no Prohibited Substance
                        enters their bodies,”43 and they “are responsible for any Prohibited
                        Substance or its Metabolites or Markers found to be present in
                        their Samples.”44 Thus, any detectable amount of a prohibited
                        substance in an athlete’s sample will constitute an anti-doping
                        rule violation.45 The anti-doping rules reflect that any competitive
                        advantage gained due to hormonal advantage is too much. By this
                        standard any competitive advantage obtained in the female
                        category through male biology or male hormones is unfair
                        performance enhancement.

           6.2.2. Unfair Competitive Advantage or Safety Concerns Due to Hormonal
                  Disparities Can Disincentivize Sport Participation




   42 See WADA International Standard for Testing and Investigations, Part Three: Standards for

   Intelligence Gathering and Investigations, available at: https://www.wada-
   ama.org/sites/default/files/resources/files/international standard isti - 2021.pdf.
   43 Code, Art. 2.1.1 (emphasis added).
   44 Id.
   45 Code, Art. 2.1.3 (“Excepting those substances for which a Decision Limit is specifically identified in

   the Prohibited List or a Technical Document, the presence of any reported quantity of a Prohibited
   Substance or its Metabolites or Markers in an Athlete’s Sample shall constitute an anti-doping rule
   violation.”).

                                                      15
                                                                                                  App.248
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              6.2.2.1. Doping within a sport can disincentivize participation in that
                       sport by those unwilling to dope. For example, during the “EPO46
                       era” the sport of cycling lost cyclists who left the professional
                       ranks once they recognized they did not have a reasonable chance
                       of success competing with dopers.47 Others did not attempt a
                       professional career in cycling specifically because they did not
                       think they could be successful without doping.

              6.2.2.2. Likewise, for safety reasons athletes are frequently reluctant to
                       compete against athletes they believe are doped. Before USADA
                       began a drug testing program for Ultimate Fighting
                       Championship (UFC), fighter Georges St. Pierre stepped away
                       from his sport saying, “I will never fight again in MMA without
                       my opponent and myself being thoroughly tested for the most
                       advanced PEDs by a credible independent anti-doping
                       organization.”48

              6.2.2.3. These experiences suggest that participation in sport by biological
                       females could be disincentivized should they come to believe
                       either their safety has been compromised or their competitive
                       opportunities diminished by transgender athletes.

              6.2.2.4. Concern that transgender eligibility in girls sport could lead to a
                       decline in sport participation by biological girls is further
                       supported by research showing that the attrition rate in sport is
                       two to three times greater for girls than for boys.49



   46 Erythropoietin (EPO) is a potent natural generator of red blood cells that can also be taken to

   cheat. Testosterone increases EPO and red blood cell production. The EPO era is generally
   considered to be the time period before the ABP came into use in cycling.
   47 See, e.g., Cycling Independent Reform Commission, Report to the President of the Union Cycliste

   Internationale (2015), p. 40 available at: https://www.velonews.com/wp-
   content/uploads/2015/03/CIRC-Report-2015.pdf (“Those few who rejected doping and left the sport
   appear to share a common factor in that they had an alternative . . . in another walk of life.”);
   Bowers, L.D., “The Quest for Clean Competition in Sports: Deterrence and the Role of Detection,”
   Clinical Chemistry 60:10 (2014), available at:
   http://hwmaint.clinchem.org/cgi/doi/10.1373/clinchem.2014.226175. (“Cyclist Scott Mercier was
   forced to make the choice to quit the sport he loved because he was unwilling to become a fraud and
   risk his health.”)
   48 “Georges St. Pierre says he will never return to the UFC without independent drug testing,” by

   Brent Bookhouse, (Aug. 22, 2014), available at:
   https://www.bloodyelbow.com/2014/8/22/6054745/georges-st-pierre-ufc-interview-drug-testing-
   fighter-union.
   49 Zarrett, N., Cooky, C., Veliz, P., “Coaching through a Gender Lens: Maximizing Girls’ Play and

   Potential,” Women’s Sports Foundation, (April, 2019), p. 6.

                                                     16
                                                                                                 App.249
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          6.2.3. Escalating the Arms Race

              6.2.3.1. Another acknowledged effect of athlete perception that other
                       athletes are gaining a hormonal advantage is that it escalates the
                       performance enhancing arms race, causing athletes who might
                       not otherwise dope to use PEDs to attempt to remain competitive.

              6.2.3.2. In Major League Baseball the result of anti-doping rules without
                       robust enforcement is acknowledged to have been the so-called
                       “steroids era,” where banned drug use was rampant and players
                       felt obligated to use steroids to compete.50

              6.2.3.3. Analyzing what happened when doping became prevalent in pro
                       cycling, the Cycling Independent Reform Commission said:

                             A typical narrative from that period was of a gifted non-
                             doping amateur, who had previously competed closely with
                             riders from the rest of the world, turning professional. He
                             would find that his former amateur competitors were now
                             significantly faster than him, and he soon realized that
                             doping was the difference, and not a hugely increased
                             training schedule, advanced nutritional supplements or
                             professional team technology. The rider was confronted with a
                             stark choice, either to fall away from professional riding or
                             dope. . . Doping became the norm in the peloton, not only to
                             increase performance but also just to keep up with the rest of
                             the peloton. Doping became organised, sophisticated,
                             widespread and systematic. 51

                        These examples demonstrate how destructive and disheartening
                        it is when athletes believe their competitors have achieved an
                        unfair competitive advantage. The result has been athletes’ loss of
                        faith in sport governance and in many cases a desperate effort by
                        athletes, and sometimes their coaches, to cheat to reset the
                        competitive balance.



   50 Report to the Commissioner of Baseball of an Independent Investigation into the Illegal Use of

   Steroids and Other Performance Enhancing Substances by Players in Major League Baseball, by
   George J. Mitchell, December 13, 2007, pp. SR-14 – SR-17, SR-36, 60-257, available at:
   http://files.mlb.com/mitchrpt.pdf.
   51 Cycling Independent Reform Commission, Report to the President of the Union Cycliste

   Internationale (2015), p. 40 available at: https://www.velonews.com/wp-
   content/uploads/2015/03/CIRC-Report-2015.pdf.

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               6.2.3.4. A similar fate may befall women’s sport if female athletes believe
                        they are disadvantaged by the hormonal and structural
                        advantages of transgender athletes competing in their sport and
                        that the only way they can compete is through illicit means.

            6.2.4. The Financial Cost of Commitment to a Level Playing Field

               6.2.4.1. In 2019 USADA’s total program costs solely for its Olympic
                        program (not including its UFC program) were $21,632,450.52
                        USADA conducted 7,336 tests, including 6,073 urine tests and
                        1,263 blood tests.53 An estimated average cost for urine sample
                        analysis is about $500 - $750 per sample, including sample
                        collection and shipping costs. Special analysis, such as carbon
                        isotope analysis or EPO testing puts the cost per sample at well
                        over $1,000 per sample. Blood samples are considerably more
                        expensive than urine samples as they require refrigeration,
                        prompter sample shipping and collection by a trained
                        phlebotomist.

               6.2.4.2. Therefore, to the extent a sport chooses to adopt hormone
                        suppression (as discussed below) as a basis for transgender
                        eligibility in the female category very significant resources would
                        need to be invested in a robust hormone monitoring program for
                        transgender females.

               6.2.4.3. Most states have not adopted successful and robust high school
                        anti-doping programs and none are believed to have yet
                        attempted any program of regular hormone suppression
                        monitoring.

   7. Regulation of Competitive Advantage and Safety Through Transgender
      Eligibility Rules

       7.1. Key Questions Addressed in Transgender Eligibility Rules

            7.1.1. Competitive Advantage

               7.1.1.1.   Testosterone

                  7.1.1.1.1. Sport organizations by and large treat the topic of
                             “competitive advantage” arising from testosterone

   52 https://www.usada.org/wp-content/uploads/2019-USADA-Annual-Report.pdf
   53 Id.



                                                18
                                                                                    App.251
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                               consistently in relation to anti-doping and transgender
                               eligibility, typically assessing what constitutes “performance
                               enhancement” (or unfair performance enhancement) from
                               testosterone.

               7.1.1.2.    Other aspects of Male Sport Advantage

                   7.1.1.2.1. As explained in the reports of Drs. Hilton and Lundberg,
                              there are additional aspects of male competitive advantage
                              beyond testosterone (and likely not curable through hormone
                              suppression) that must also be considered if the goal for
                              transgender eligibility is, consistent with the goal in anti-
                              doping, a level playing field.

           7.1.2. Athlete Safety

               7.1.2.1. As in anti-doping rules, a key aspect of emerging transgender
                        eligibility rules in contact and combat sports is athlete safety.

       7.2. Anti-Doping Monitoring Principles and Practices Cross-Applied to
            Transgender Eligibility Rules

           7.2.1. Hormone Monitoring

               7.2.1.1. All of the recently developed transgender sport eligibility rules in
                        Olympic and Paralympic sport draw directly from the field of anti-
                        doping, applying similar testing procedures, analytical methods
                        and compliance standards and rules.

           7.2.2. Therapeutic Use Exemptions

               7.2.2.1. An athlete’s application to use testosterone as part of a
                        transgender transitioning process is made to the relevant anti-
                        doping agency and proceeds under anti-doping TUE rules.54

       7.3. Determining What Constitutes Unfair “Competitive Advantage”

           7.3.1. As explained above, anti-doping rules start from the understanding
                  that any competitive advantage obtained through hormonal advantage
                  is too much. Applying this standard, any competitive advantage gained


   54 See, e.g., https://www.wada-ama.org/sites/default/files/2022-

   01/TUE%20Physician%20Guidelines_Transgender%20Athletes_Final%20%28January%202022%29.
   pdf.

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                   through male biology or hormones is unfair performance enhancement
                   for an athlete competing in the female category in sport.

           7.3.2. From a performance standpoint the benefit obtained from a
                  transgender female athlete’s male development (whether in utero,
                  during the mini-puberty phase occurring in a male infant’s first six
                  months, or as a result of puberty) is analogous to advantage gained by
                  male or female athletes using exogenous testosterone or other anabolic
                  agents. Thus, disadvantages faced by female athletes competing
                  against PED-using women are analogous to disadvantages faced by
                  biological females when competing against transgender female
                  competitors.

           7.3.3. Based on the data supplied by Drs. Hilton and Lundberg, advantages
                  from male biology available to transgender female athletes appear to
                  be greater than even the performance gains attributable to the most
                  notorious, level playing field altering, doping practices. For instance,
                  the performance gain from “blood doping,” the scourge of the Tour de
                  France and professional cycling from the early 1980s through at least
                  2010, is generally acknowledged to be about 5 – 9 %, much lower than
                  the advantage many transgender females have over biological
                  females.55

       7.4. Key Components of International Sport Transgender Eligibility Regulations

           7.4.1. Safety concerns

               7.4.1.1.    International Rugby Eligibility Rules

                   7.4.1.1.1. World Rugby was the first international sport federation to
                              adopt comprehensive transgender eligibility rules. Regarding
                              transgender females, Rugby’s rules state:

                       7.4.1.1.1.1. Transgender women who transitioned pre-puberty and
                                    have not experienced the biological effects of
                                    testosterone during puberty and adolescence can play




   55 See, e.g., Gledhill, N., “Blood doping and related issues,” Medicine and Science in Sports and

   Exercise: Volume 14 - Issue 3 – pp. 183-189, available at: https://journals.lww.com/acsm-
   msse/Abstract/1982/03000/Blood doping and related issues a brief review.5.aspx (showing a 5-9%
   increase in VO2max from blood doping).
   a brief review

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                                    women’s rugby (subject to confirmation of medical
                                    treatment and the timing thereof).56

                      7.4.1.1.1.2. Transgender women who transitioned post-puberty and
                                   have experienced the biological effects of testosterone
                                   during puberty and adolescence cannot currently play
                                   women’s rugby. 57

            7.4.2. Competitive Advantage Concerns

               7.4.2.1.   World Athletics Eligibility Rules

                  7.4.2.1.1. World Athletics’ rules require a transgender athlete wishing
                             to switch to the women’s category to engage in testosterone
                             suppression to reduce her serum concentration of
                             testosterone below 5 nmol/L continuously for a period of at
                             least 12 months and to demonstrate to an expert panel the
                             athlete has been continuously suppressed throughout that
                             period.58

                  7.4.2.1.2. World Athletics’ rules make clear that should a transgender
                             female athlete’s testosterone level exceed the 5 nmol/L
                             threshold at any time, the athlete will be required to abstain
                             from competition for a year and maintain uninterrupted and
                             continuous suppression below the threshold before regaining
                             the opportunity to compete.

                  7.4.2.1.3. World Athletics reserves the right to test transgender
                             females at any time and the athlete must agree to provide
                             whereabouts information and submit to blood testing for this
                             purpose. At any time, the World Athletics’ Medical Manager
                             can require the athlete to submit additional information.

                  7.4.2.1.4. Under World Athletics’ rules, if an athlete competes with
                             serum testosterone levels over the threshold the results for
                             the competition will be disqualified. The athlete may be
                             disciplined under the World Athletics Code of Conduct and


   56 Available at: https://www.world.rugby/the-game/player-welfare/guidelines/transgender/women.
   57 Id.
   58 World Athletics Eligibility Regulations for Transgender Athletes (“WA Regulations”), Art. 1.2,

   available at:
   file:///C:/Users/wb/Documents/Issues/Transgender%20Athletes/World%20Athletics/C3.5%20-
   %20Eligibility%20Regulations%20Transgender%20Athlete%20(1).pdf.

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                             fined and/or face a period of ineligibility from sport or other
                             discipline.

                  7.4.2.1.5. Additionally, World Athletics sets out stringent requirements
                             for sample collection to occur in the morning when serum
                             testosterone levels are highest, using standard anti-doping
                             collection procedures, and requiring refrigeration and prompt
                             transportation of samples, and use of high-resolution
                             analytical techniques.

              7.4.2.2.   USA Swimming Eligibility Rules

                  7.4.2.2.1. On February 1, 2022, USA Swimming released a document
                             entitled “USA Swimming Athlete Gender Inclusion,
                             Competitive Equity, and Eligibility Policy” which was added
                             to its rules as Article 19.0 Athlete Inclusion Procedures.59

                  7.4.2.2.2. The USA Swimming eligibility rules set forth a rebuttable
                             presumption to be overcome by a swimmer seeking a male to
                             female transition. This presumption states:

                             In addition to other relevant factors considered by the Panel
                             [in relation to the Panel’s consideration of whether the
                             athlete has a competitive advantage over biological female
                             competitors] it shall be presumed that the athlete is not
                             eligible unless the athlete demonstrates that the
                             concentration of testosterone in the athlete’s serum has been
                             less than 5 nmol/L (as measured by liquid chromatography
                             coupled with mass spectrometry) continuously for a period of
                             at least thirty-six (36) months before the date of Application.
                             This must include at a minimum three (3) separate blood
                             tests within the past three hundred sixty-five days (365)
                             preceding the Application, with the last test conducted
                             within ninety (90) days prior to the athlete’s Application.
                             This presumption may be rebutted if the Panel finds, in the
                             unique circumstances of the case, that the [requirement to
                             demonstrate a lack of competitive advantage] has been
                             satisfied notwithstanding the athlete’s serum testosterone
                             results (e.g., the athlete has a medical condition which limits
                             the bioavailability of the athlete’s free testosterone).


   59 Available at: https://www.usaswimming.org/docs/default-source/governance/governance-lsc-

   website/rules_policies/usa-swimming-policy-19.pdf.

                                                   22
                                                                                            App.255
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               7.4.2.2.3. If a transgender female athlete is granted eligibility, to
                          retain eligibility that athlete “must keep [their] serum
                          testosterone concentration below 5 nmol/L and comply with
                          any other conditions of the Elite Athlete/Event Fairness
                          Panel’s approval for so long as the athlete wishes to compete
                          in the Female category in Elite Events.”

   8. Strengths and Weaknesses in the IHSAA Transgender Eligibility Regulation

      8.1. IHSAA Identifies Key Values of Fairness and Safety

         8.1.1. The IHSAA Gender Policy (the “IHSAA Policy”) currently on the
                website of the IHSAA (i.e., IHSAA Gender Policy 03.31.2021.pdf) states
                that it was “developed . . . to address the eligibility and participation of
                all students, including transgender students, in IHSAA-sponsored
                interscholastic athletics.” The IHSAA Policy explicitly recognizes the
                need to “limit[] participation on single gender athletic teams to
                students of one gender” for reasons of “health and safety . . .
                competitive equity . . . safeguarding a level playing field and . . .
                ensuring . . . fair opportunity for athletic participation.”

         8.1.2. The IHSAA Policy further states that it seeks to promote the health
                and safety of all students, “and especially the health and safety of
                female students who would otherwise have to participate in activities
                with biological males or androgen-supplemented females who are
                generally stronger and faster than their biological females [sic]
                counterparts and by promoting Title IX competitive equity.” Thus, the
                IHSAA Policy states it intends to recognize and apply the principles of
                fairness (i.e., “a level playing field”) and athlete health and safety
                which are key values underlying many sport rules, including anti-
                doping rules.

      8.2. Participation Component

         8.2.1. The IHSAA Policy provides, “[i]t is a tenant of the IHSAA that, except
                as permitted by rules [applying to mixed teams], a student may only
                participate in interscholastic competition as a member of a single
                gender Athletic Team when the Gender of the Athletic Team matches
                the student’s Birth Gender.” The IHSAA terms this the “Participation
                Component” of its Policy.

      8.3. Waiver of Participation Component of Policy



                                             23
                                                                                    App.256
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         8.3.1. The IHSAA Policy allows for a transgender female athlete to apply for
                a waiver of the Participation Component. Such a waiver, if granted,
                will permit a transgender female to compete in the girls’ category. For
                a transgender student wishing to compete in the IHSAA’s girls’
                category of sport the student must establish:

               (1) “through testimony and/or creditable documentation, from an
                   appropriate health-care professional, that the Transgender student
                   has completed counseling, and other medical or psychological
                   interventions related to Gender transition, and has either (a)
                   completed a minimum of one (1) year of hormone treatment related
                   to gender transition or (b) undergone a medically confirmed gender
                   reassignment procedure, and”

               (2) “through medical examination and testing and through
                   physiological testing that the Transgender Female student does not
                   possess physical (bone structure, muscle mass, and/or testosterone
                   hormonal levels, etc.) or physiological advantages over a genetic
                   female of the same age group.”

      8.4. Weaknesses in the IHSAA Policy

         8.4.1. The IHSAA Policy inaccurately presumes there exists an effective and
                efficient means of conducting physiological testing regarding whether
                the transgender female student “possess[es] physical or physiological
                advantages over a genetic female.” The IHSAA Policy, however, does
                not identify what that testing may entail or identify any uniform,
                reliable, or recommended, way to conduct such testing.

         8.4.2. While the IHSAA Policy requires medical intervention for gender
                transition to include a minimum one year of hormone treatment or a
                medical reassignment procedure, it sets no required hormonal level(s),
                such as the 5 nmol/L level set by USA Swimming and World Athletics,
                and requires no testing or follow up to ensure compliance.

            8.4.2.1. The reports of Drs. Hilton and Lundberg indicate a one-year
                     period of suppression is insufficient.

            8.4.2.2. In addition, the IHSAA Policy fails to meet the objectivity criteria
                     that is a necessity for athlete eligibility rules. It provides nothing
                     in the way of an evidentiary standard or measurable evaluative
                     process to ensure robust review of the waiver application or to



                                             24
                                                                                   App.257
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                   guide the IHSAA Gender Committee’s review of applications and
                   decisions on whether to approve them.

           8.4.2.3. Nor does the IHSAA set a measurable level of testosterone
                    suppression as do the rules of other sport organizations which
                    require testosterone suppression for transgender females to
                    compete in the female category of sport. Without requiring a level
                    of suppression, the IHSAA cannot ensure that the suppression
                    IHSAA requires would have any effect on the performance
                    advantages accruing to transgender girls as a result of their
                    body’s production of male levels of testosterone.

           8.4.2.4. Finally, even if it could be assumed that a program of hormone
                    suppression is a reasonable way to address the competitive
                    advantage of transgender females, the IHSAA policy neglects to
                    provide for any follow-up testing to confirm compliance, leaving
                    open the prospect of additional performance gains either as a
                    result of negligence or intentional manipulation. Thus, the IHSAA
                    Policy hands a key to transgender females to gain additional
                    performance advantages over biological girls due to lack of
                    oversight.

           8.4.2.5. Thus, while the IHSAA Policy expressly embraces the goals of
                    competitive fairness and safety in protecting girls’ sport
                    competition, its policy does not employ clear, consistent, effective,
                    easy to apply, or easily repeatable means of protecting those
                    values. Rather, the IHSAA Policy opens the door to unchecked
                    discretion in the evaluative process by both the transgender
                    student’s physician and the IHSAA Gender Committee.

           8.4.2.6. Athlete Safety

              8.4.2.6.1.    Concussions

                  8.4.2.6.1.1. At all levels and for more than a decade, sport
                               organizations have been focused on reducing concussion
                               risk to athletes. The focus on concussion prevention is
                               important and should be a high priority.

                  8.4.2.6.1.2. Concussions raise serious long term health implications
                               and can have lifelong debilitating effects. “[Y]oung
                               athletes may suffer significant long-term cognitive,
                               memory, and fine motor impairment secondary to


                                            25
                                                                                  App.258
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                                     sports related, mild, traumatic brain injuries.”60
                                     Evaluation of the brains of former athletes who have
                                     suffered concussions “demonstrates abnormal
                                     deposition of a certain type of protein (tau) associated
                                     with head trauma, defined as chronic traumatic
                                     encephalopathy (CTE).”61 “[D]amage to the brain from
                                     collisions has been shown to cause greater instance of
                                     mental illness such as depression and psychosis.
                                     Through . . . even one substantial head injury, the
                                     connections between brain neurons can be profoundly
                                     disrupted.”62

                      8.4.2.6.1.3. High school age and adolescent girls face a serious risk
                                   of concussion while participating in sport. Consistent
                                   with the data presented by Dr. Hilton, these risks will
                                   necessarily only increase to the extent that transgender
                                   athletes begin competing in girls’ sports in Indiana.

                      8.4.2.6.1.4. A 2017 study looked at traumatic brain injuries in high
                                   school athletes between 2005 and 2016.63 The high
                                   school sports surveyed were girls’ softball, volleyball,
                                   soccer and basketball and boys’ baseball, basketball,
                                   football, wrestling and soccer.64 Over 11 years, there
                                   were some 2.7 million concussions reported in these
                                   sports, an average of 671 concussions per day.65 As
                                   noted above, it takes only a single concussion to create
                                   lifelong ramifications for a young girl. Avoiding or
                                   limiting such risks is a public health priority of the
                                   highest order.

                      8.4.2.6.1.5. While football had the highest rate of concussions on a
                                   recent nationwide survey, girls’ soccer was second,


   60 Brown, K.A., Patel, D.R., “Participation in sports in relation to adolescent growth and

   development,” Transl Pediatr 2017;6(3):150-159, p. 156, available at:
   https://tp.amegroups.com/article/view/14626/14780
   61 Cardenas, J., M.D., “Concussion in Sports – Past, Present and Future,” NFHS (Oct. 26, 2017),

   available at: https://www.nfhs.org/articles/concussion-in-sports-past-present-and-future/.
   62 “What Parents Should Know,” supra.
   63 Gill, N., “Study: State Concussion Laws Effective in Reducing Rates of Injury,” NFHS (Nov. 2,

   2017), available at: https://www.nfhs.org/articles/study-state-concussion-laws-effective-in-reducing-
   rates-of-injury/.
   64 Id.
   65 Id.



                                                     26
                                                                                                App.259
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                                   followed by boys wrestling.66 When “comparing the
                                   rates in gender comparable/available sports
                                   (basketball, soccer, baseball/softball), females had
                                   almost double the annual rate of concussions as
                                   males.”67

                      8.4.2.6.1.6. This safety information related to concussion risk is
                                   significant as the IHSAA on May 2, 2002, added girls
                                   wrestling as an emerging sport under the governance of
                                   the ISAA. Thus, going forward high schools girls will be
                                   participating in scholastic competition in the combat
                                   sport of wrestling under the auspices of the IHSAA,
                                   creating additional potential for serious injury when
                                   competing against transgender girls.68 Already, 350
                                   girls from 113 high schools competed in the most recent
                                   Indiana girls’ high school wrestling state tournament.69

                      8.4.2.6.1.7. Thus, girls competing in sport in Indiana face
                                   significant concussion risks. The severity of those risks
                                   appears likely to increase if transgender females gain
                                   eligibility in the girls category of high school sport.

                  8.4.2.6.2.    ACL injuries

                      8.4.2.6.2.1. Another type of regularly recurring and significant
                                   injury in sport impacted by the size, strength, and
                                   speed of athletes is anterior cruciate ligament (ACL)
                                   injury. According to the NFHS, “ACL injuries have
                                   reached epidemic levels in high school sports and the
                                   devastating short- and long-term effects are a serious
                                   concern for parents, athletics administrators, coaches,
                                   sports medicine professionals, and most importantly –
                                   high school athletes.”70 Knee injuries currently account
                                   for one out of every seven injuries suffered by high


   66 Id.
   67 Id (emphasis added).
   68 See “Boys Volleyball, Girls Wrestling approved as IHSAA Emerging Sports,” IHSAA News Release

   (May 2, 2022), available at: https://www.ihsaa.org/Portals/0/ihsaa/documents/news%20media/2021-
   22/050222.Board.pdf.
   69 Id.
   70 Janofsky, J., “ACL Injury Prevention: The Importance of Neuromuscular Training,” NFHS, April

   16, 2019, available at: https://www.nfhs.org/articles/acl-injury-prevention-the-importance-of-
   neuromuscular-training/.

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                                                                                           App.260
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                                    school athletes.71 “A recent survey of more than 2,000
                                    parents throughout the United States found that joint
                                    injuries were second only to concussions as the most
                                    concerning sports-related injury.”

                     8.4.2.6.2.2. ACL injuries often necessitate surgery and up to a year
                                  of rehabilitation.72 However, the long-term impact of an
                                  ACL injury is even more concerning. “Athletes with
                                  ACL injuries are four times more likely to develop
                                  painful knee arthritis within 10 years of the injury
                                  than non-injured athletes. They are seven times more
                                  likely to eventually need knee replacement surgery –
                                  and at a much younger age – than those who haven’t
                                  been injured.”73

                     8.4.2.6.2.3. Girls are at a high risk of ACL injuries. Requiring girls
                                  to compete post puberty against male body types in
                                  contact sports will put biological girls at increased risk
                                  of ACL injuries.

   9. Conclusions

       9.1. If the same standard of performance enhancement applied under the anti-
            doping rules is applied to the competitive advantage that transgender girls
            have because of being born with a male body and innate male sport
            advantages, then transgender girls should be ineligible to compete in the
            girls’ category of sport.74

       9.2. For the State of Indiana to implement a testosterone suppression monitoring
            program of sufficient quality to ensure the suppression of testosterone in
            transgender girls who wish to compete in girls sport it would need to invest
            substantial resources in an athlete whereabouts program, sample collection
            and testing rules, a no advance notice testing program, sample analysis, and
            a system of sanctions for non-compliance, none of which is currently
            administered by the State or the IHSAA.




   71 Id.
   72 Id.
   73 Id.
   74 Compare Play On: Celebrating 100 Years of High School Sports in Indiana, by Bill Beck (Foreword

   by Frank O’Bannon), Centennial Publishing, 2003 (Governor O’Bannon: “It is only when the playing
   field is truly level that every athlete will succeed, regardless of the game’s outcome.”).

                                                  28
                                                                                            App.261
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      9.3. Although the IHSAA expressly embraces the goals of competitive fairness
           and safety in protecting girls’ sport competition against “biological males or
           androgen-supplemented females,” the IHSAA’s transgender athlete
           eligibility policy, does not employ clear, consistent, effective, easy to apply, or
           repeatable means of protecting those values.

      9.4. In the event that transgender girls become eligible to compete in girls’
           scholastic sports in Indiana, I would be concerned that that participation in
           scholastic sport by biological girls may decline and that pressures on
           biological girls to use PEDs would increase, as this situation would match
           previous patterns in sport where disregard of unfair competitive advantages
           have incentivized conduct detrimental to sport.

      9.5. If transgender girls possessing male size, strength, speed and/or other
           similar indicia of male biological advantage become eligible to compete in
           girls’ scholastic sports in Indiana, it is my opinion that this would put
           biological girls at greater risk of debilitating injuries, including concussions
           and ACL injuries in middle school and high school sport in Indiana.

      9.6. Based on the factors typically considered when determining eligibility rules
           in sport, H.E.A. 1041 constitutes a reasonable, effective, and
           administratively appropriate sport eligibility rule based on objective criteria
           pertaining to performance enhancement, competitive advantage, and safety,
           all of which are factors regularly considered by sport organizations and
           legislative bodies when setting sport eligibility standards.

         This declaration is executed within the State of Indiana on the date set forth
   below. I declare under penalty of perjury that the foregoing is true and correct.

         Executed on this 17th day of June 2022.




                                                    William Bock, III




                                               29
                                                                                     App.262
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                                           Filed 05/30/24
                                                   A        Page 265 of 477 PageID 425
William Bock, III, Partial List of Contested Sports Eligibility Cases Which Progressed to a Hearing or Final Written
                                                        Decision

                                        Final
Year             Case Name            Resolution     Case Description                       Link
                                        Date
                                                     Olympic eligibility
            Rosselli et al. v. U.S.
1994                                   2.1994        arbitration for U.S.
            Bobsled & Skeleton                                               None
                                                       Bobsled team
                Federation
                                                          members
                                                   Represented track and
                                                       field athlete in
1999      Anonymous v. USA Track        1999       successful dismissal of   None
                & Field
                                                   case following positive
                                                          drug test
                                                   Represented track and
                                                       field athlete in
1999     Anonymous v. USA Rowing        1999       successful dismissal of   None
                                                   case following positive
                                                          drug test
                                                         Successful
                                                     representation in
                                                     arbitration of U.S.
                                                    Cyclist challenging
2000       Thomas v. USA Cycling       7.2000         exclusion from         None
                                                       Olympic team.
                                                    Obtained ride off to
                                                    qualify for spot on
                                                       Olympic team
                                                   Represented swimmer
2000        Anonymous v. USA           7.2000      in successful dismissal
                                                                             None
               Swimming                               of case following
                                                      positive drug test
                                                      Represented U.S.
                                                      Paralympian and
2001      Frasure v. International      2001       world champion Brian
                                                                          None
          Paralympic Committee                     Frasure in proceedings
                                                     before the Court of
                                                    Arbitration for Sport
                                                   Represented track and
                                                        field athlete in
2001      Anonymous v. USA Track        2001        obtaining successful
                                                                            None
                & Field                               dismissal of case
                                                   following AAA hearing
                                                   after positive drug test




                                                                                                   App.263
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        Case 4:24-cv-00461-O Document 17 Filed 05/30/24     Page 266 of 477 PageID 426
                                      Final
Year            Case Name           Resolution     Case Description                         Link
                                      Date
                                                                         https://www.usada.org/wp-
                                                        Boxing           content/uploads/arbitration ruling 6 28 20
            USADA v. Pastorello
                                                  19-norandrosterone     02 Pastorello.pdf
2002                                6.27.2002
                                                          and
            CAS No. 2002/A/363
                                                 19-noretiocholanolone   https://www.usada.org/wp-
                                                                         content/uploads/boxpastorelloAAA0102.pdf
2002
                                                     Table Tennis
              USADA v. Reed                                              https://www.usada.org/wp-
                                                  19-norandrosterone
                                    4.22.2002                            content/uploads/arbitration ruling 4 24 20
                                                          and
          AAA No. 33 190 00701 01                                        02 Reed.pdf
                                                 19-noretiocholanolone
2002
                                                                         https://www.usada.org/wp-
                                                                         content/uploads/arbitration ruling 2 11 20
            USADA v. Jovanovic                   Bobsled and Skeleton
                                                                         02 Jovanovic.pdf
                                                  19-norandrosterone
                                     2.7.2002
          AAA No. 30-190-000912                           and
                                                                         https://www.usada.org/wp-
           CAS No. 2002/A/360                    19-noretiocholanolone
                                                                         content/uploads/bobjovanovic9mo012602AA
                                                                         A.pdf
2003
                                                    Track and Field
             USADA v. Cherry                      19-norandrosterone     https://www.usada.org/wp-
                                    11.20.2003            and            content/uploads/arbitration ruling 11 24 2
          AAA No. 30 190 00463 03                19-noretiocholanolone   003 Cherry.pdf
                                                  Anabolic Agents - S1

                                                                         https://www.usada.org/wp-
                                                                         content/uploads/arbitration ruling 11 20 2
                                                                         003 Vencill.pdf
             USADA v. Vencill
                                                     Swimming            https://www.usada.org/wp-
2003                                11.18.2003    Norandrosterone        content/uploads/arbitration ruling 7 24 20
          AAA No. 30 190 00291 03
                                                 Anabolic Agents - S1    03 Vencill.pdf
            CAS No. 2003/A/484
                                                                         https://www.usada.org/wp-
                                                                         content/uploads/arbitration ruling 3 17 20
                                                                         04 Vencill.pdf

                                                       Boxing
             USADA v. Caruso                                             https://www.usada.org/wp-
                                                     Furosemide
2003                                 8.6.2003                            content/uploads/arbitration ruling 8 7 200
                                                 Diuretics and Other
          AAA No. 33 190 00475 03                                        3 Caruso.pdf
                                                 Masking Agents - S5




                                                                                                   App.264
       Case 1:22-cv-01075-JMS-DLP Document 36-1 Filed 06/17/22 Page 33 of 56 PageID #: 361
        Case 4:24-cv-00461-O Document 17 Filed 05/30/24     Page 267 of 477 PageID 427
                                      Final
Year            Case Name           Resolution     Case Description                           Link
                                      Date
                                                  Co-Counsel for USOC
                                                     in District Court
                                                   lawsuit brought by
                                                 track and field athlete
2004          Young v. USOC           2004            Jerome Young         None
                                                   challenging USOC’s
                                                       disclosure of
                                                   documents to IAAF
                                                         and IOC.
                                                     CAS upholds Paul
                                                   Hamm’s gymnastics
                                                    gold medal against
                                                   challenge by Korean
                                                    gymnast Yang Tae
2004          Young v. Hamm         10.21.2004       Young) (Oct. 21,      None
                                                   2004). Represented
                                                 Colombian gymnastics
                                                  judge Oscar Buitrago
                                                       Reyes in the
                                                       proceedings.
                                                                           https://www.usada.org/wp-
                                                                           content/uploads/TFedwardsfinalCAS081704.
                                                                           pdf
         USADA v. Edwards                        Track and Field
                                                                           https://www.usada.org/wp-
                                                 Nikethamide,
2004                                8.17.2004                              content/uploads/TFedwardsfinalAAA081104.
         AAA No. 30 190 00675 04                 Salbutamol
                                                                           pdf
         CAS No. OG 04/003                       Stimulants - S6
                                                                           https://www.usada.org/wp-
                                                                           content/uploads/TFedwardsinterimAAA0811
                                                                           04.pdf

            USADA v. Harrison                       Track and Field
                                                                           https://www.usada.org/wp-
2004                                 8.2.2004          Modafinil
                                                                           content/uploads/TFharrisonAAA080204.pdf
          AAA No. 30 190 00091 04                   Stimulants - S6

           Brittany Viola v. USA                 World Championship
2005                                  8.2005     Diving Team Eligibility   None
                  Diving
                                                      Arbitration
              USADA v. Wade                         Track and Field
                                                                           https://www.usada.org/wp-
2005                                11.9.2005     19-Norandrosterone
                                                                           content/uploads/aaa cas-decision-wade1.pdf
          AAA No. 30 190 01334 04                 Anabolic Agents - S1




                                                                                                     App.265
       Case 1:22-cv-01075-JMS-DLP Document 36-1 Filed 06/17/22 Page 34 of 56 PageID #: 362
        Case 4:24-cv-00461-O Document 17 Filed 05/30/24     Page 268 of 477 PageID 428
                                      Final
Year            Case Name           Resolution     Case Description                            Link
                                      Date
                                                         Judo
                                                    Non-Analytical:
            USADA v. Hartman                                                https://www.usada.org/wp-
                                                    Refusal, T/E > 4
2006                                6.10.2006                               content/uploads/AAA-CAS-Decision-George-
                                                    Indeterminate,
          AAA No. 30 190 00900 05                                           Hartman-June-2006.pdf
                                                      CIR Positive
                                                  Anabolic Agents - S1

                                                   Counsel for USADA,
                                                       federal judge
                                                     recognized that
                                                  USADA may assert an       United States v. Graham, 555 F.Supp.2d 1046
2007      United States v. Graham     2007       investigative privilege,   (N.D.Cal. 2007)
                                                         protecting
                                                    confidentiality of
                                                 information in USADA
                                                      investigations
                                                                            https://www.usada.org/wp-
                                                    Track and Field         content/uploads/JENKINS AAA CAS.pdf
             USADA v. Jenkins
                                                 Tetrahydrocannabinol
2007                                1.25.2008                               https://www.usada.org/wp-
                                                         Acid
          AAA No. 30 190 00199 07                                           content/uploads/AAA-CAS-Decision-LaTasha-
                                                   Cannabinoids - S8
                                                                            Jenkins-January-20082.pdf

                                                      Wrestling
             USADA v. Piasecki                           6a-                https://www.usada.org/wp-
2007                                9.24.2007    Hydroxyandrostenedi        content/uploads/AAA-CAS-Decision-Nathan-
          AAA No. 30 190 00358 07                oneAnabolic Agents -       Piasecki-September-2007.pdf
                                                         S1

            USADA v. Leogrande                                              https://www.usada.org/wp-
                                                        Cycling
2008                                12.1.2008                               content/uploads/AAA-Leogrande-Award-
                                                     Non-Analytical
          AAA No. 77 190 00111 08                                           Signed-111-2.pdf

                                                                            https://www.usada.org/wp-
                                                                            content/uploads/CAS-Decision Gatlin Sept-
                                                                            2008.pdf
                                                                            https://www.usada.org/wp-
              USADA v. Gatlin                                               content/uploads/Gatlin CAS Decision 6-6-
                                                    Track and Field         08.pdf
2008                                 6.6.2008        Testosterone
          AAA No. 30 190 00170 07                                           https://www.usada.org/wp-
                                                  Anabolic Agents - S1
           CAS No. 2008/A/1461                                              content/uploads/AAA-CAS-Decision-Justin-
                                                                            Gatlin-January-2008.pdf
                                                                            https://www.usada.org/wp-
                                                                            content/uploads/AAA-CAS-Decision-Dissent-
                                                                            Justin-Gatlin-January-2008.pdf




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Year            Case Name            Resolution     Case Description                         Link
                                       Date
                                                                          https://www.usada.org/wp-
                                                                          content/uploads/Hardy-Award-August-
                                                                          2008.pdf
              USADA v. Hardy
                                                                          https://www.usada.org/wp-
2008                                 5.21.2010         Swimming
          AAA No. 77 190 00288 08                                         content/uploads/AAA CAS-Decision-Hardy-
           CAS No. 2009/A/1870                                            May-2009.pdf
                                                                          https://www.usada.org/wp-
                                                                          content/uploads/hardy-cas.pdf

                                                                          https://www.usada.org/wp-
                                                                          content/uploads/CAS-Warren-Decision-July-
             USADA v. Warren                                              2008.pdf
                                                       Wrestling
2008                                 7.24.2008
                                                      Carboxy-THC         https://www.usada.org/wp-
           CAS No. 2008/A/1473
                                                                          content/uploads/AAA-CAS-Decision-Joe-
                                                                          Warren-January-20081.pdf

                                                                          https://www.usada.org/wp-
           USADA v. E. Thompson                      Track and Field      content/uploads/THOMPSON-CAS.pdf
2008                                 6.25.2008      Benzoylecgonine       https://www.usada.org/wp-
           CAS No. 2008/A/1490                       Stimulants - S6      content/uploads/AAA-CAS-Decision-Eric-
                                                                          Thompson-January-2008.pdf

              USADA v. Reed                           Table Tennis        https://www.usada.org/wp-
2008                                 12.15.2008       Carboxy-THC         content/uploads/Reed-USADA-AAA-No-30-
         AAA No. 30 190 000548 07                   Cannabinoids - S8     190-000548-07-Decision.pdf

             USADA v. Moreau                          Weightlifting       https://www.usada.org/wp-
2008                                  5.7.2008        Carboxy-THC         content/uploads/Arbitration-Ruling-Moreau-
          AAA No. 30 190 00825 07                   Cannabinoids - S8     May-2008.pdf

                                                                          https://www.usada.org/wp-
                                                     Track and Field      content/uploads/Barnwell Preliminary Awar
            USADA v. Barnwell
                                                      Testosterone        d.pdf
2009                                  3.8.2010
                                                      Prohormones
          AAA No. 77 190 00514 09                                         https://www.usada.org/wp-
                                                   Anabolic Agents - S1
                                                                          content/uploads/Barnwell1.pdf

                                                                         https://www.usada.org/wp-
                                                         Cycling         content/uploads/Clinger Preliminary Award.
             USADA v. Clinger
                                                  Adverse CIR, Modafinil pdf
2009                                 3.12.2010
                                                   Anabolic Agents - S1,
         AAA No. 77 190 E 00389 09                                       https://www.usada.org/wp-
                                                     Stimulants - S6
                                                                         content/uploads/clinger.pdf

              USADA v. Page                                               https://www.usada.org/wp-
2009                                  2.4.2009                            content/uploads/AAA-CAS-Decision-
          AAA No. 77 190 00016 09                                         Jonathan-Page-February-2009f.pdf



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        Case 4:24-cv-00461-O Document 17 Filed 05/30/24     Page 270 of 477 PageID 430
                                       Final
Year            Case Name            Resolution     Case Description                            Link
                                       Date
           USADA v. Brunemann                          Swimming             https://www.usada.org/wp-
2009                                 1.26.2009     Hydrochlorothiazide      content/uploads/Brunemann-Award-
         AAA No. 77 190 E 00447 08                  and Triamterene         2009.pdf

             USADA v. Oliveira                                              https://www.usada.org/wp-
                                                          Cycling           content/uploads/oliveiraCAS.pdf
2010                                 12.6.2010           Oxilofrine
          AAA No. 77 190 00429 09                                           https://www.usada.org/wp-
                                                      Stimulants - S6
           CAS No. 2010/A/2107                                              content/uploads/award-77-190-429-09.pdf

             USADA v. Merritt                        Track and Field
                                                                            https://www.usada.org/wp-
2010                                 10.15.2010       Adverse CIR
                                                                            content/uploads/merritt.pdf
          AAA No. 77 190 00293 10                  Anabolic Agents - S1

                                                          Cycling
                                                   Erythropoietin (EPO)
              USADA v. O’Bee
                                                    Peptide Hormones,       https://www.usada.org/wp-
2010                                 10.01.2010
                                                   Growth Factors and       content/uploads/obee.pdf
          AAA No. 77 190 00515 09
                                                   Related Substances -
                                                            S2

             USADA v. Stewart                                               https://www.usada.org/wp-
                                                     Track and Field
2010                                 6.25.2010                              content/uploads/6-25-10-Arbitrator-Award-
                                                     Non-Analytical
          AAA No. 77 190 00110 10                                           110.pdf

                                                     Track and Field
              USADA v. Cosby                      Hydrochlorothiazide &
                                                                            https://www.usada.org/wp-
2010                                  5.5.2010       Chlorothiazide
                                                                            content/uploads/cosby.pdf
          AAA No. 77 190 00543 09                  Diuretics and Other
                                                   Masking Agents - S5

              USADA v. Block
                                                     Track and Field        https://www.usada.org/wp-
2011                                 3.17.2011
                                                     Non-Analytical         content/uploads/ArbitrationAwardBlock.pdf
          AAA No. 77 190 00154 10
                                                  Represented USADA in
                                                    track coach Trevor
            Graham v. U.S. Anti-                         Graham’s           Graham v. U.S. Anti-Doping Agency, 2011 WL
2011                                   2011
              Doping Agency                        unsuccessful federal     1261321 (E.D.N.C. 2011)
                                                  court challenge to rule
                                                         violations
                                                       Lead attorney
                                                  defending USADA in a
                                                                            Armstrong v. Tygart, 886 F.Supp.2d 572 (W.D.
2012        Armstrong v. Tygart       7.2012        lawsuit brought by
                                                                            Tex. 2012)
                                                   Armstrong in federal
                                                           court
                                                         Cycling            https://www.usada.org/wp-
2012       USADA v. Armstrong        10.10.2012
                                                      Non-Analytical        content/uploads/ReasonedDecision.pdf



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                                      Final
Year            Case Name           Resolution    Case Description                          Link
                                      Date
              USADA v. Jelks                       Track and Field
                                                                        https://www.usada.org/wp-
2012                                5.23.2012      Non-Analytical:
                                                                        content/uploads/AAAJelks.pdf
          AAA No. 77 190 00074 12                  3 Whereabouts

           USADA v. L. Thompson                       Boxing
                                                                        https://www.usada.org/wp-
2012                                 5.2.2012      Non-Analytical:
                                                                        content/uploads/LenroyThompson.pdf
          AAA No. 77 190 00042 12                  3 Whereabouts

              USADA v. Arias                          Boxing
                                                                        https://www.usada.org/wp-
2012                                3.27.2012      Non-Analytical:
                                                                        content/uploads/LuisArias.pdf
          AAA No. 77 190 00043 12                  3 Whereabouts
                                                    Track and Field
                                                    Erythropoietin
            USADA v. Hellebuyck                   Peptide Hormones,     https://www.usada.org/wp-
2012                                1.30.2012    Growth Factors and     content/uploads/hellebuyckaaaruling.pdf
          AAA No. 77 190 00168 11                Related Substances -
                                                          S2

                                                       Cycling
             USADA v. Meeker                     19-norandrosterone     https://www.usada.org/wp-
2013                                11.18.2013         and 19-          content/uploads/Richard Meeker AAA decis
          AAA No. 77 190 00335 13                noretiocholanolone     ion.pdf
                                                 Anabolic Agents - S1

                                                                        https://www.usada.org/wp-
              USADA v. Trafeh                      Track and Field      content/uploads/AAA-decision-Trafeh-
                                                 Non-analytical: EPO,   December-2014.pdf
2014                                8.13.2015
          AAA No. 01-14-0000-4694                  Non-Analytical:      https://www.usada.org/wp-
            CAS No. 2014/A/3866                       Evasion           content/uploads/2015-08-14-Trafeh-
                                                                        AWARD.pdf

           USADA v. Drummond                                            https://www.usada.org/wp-
                                                   Track and Field
2014                                12.17.2014                          content/uploads/AAA-decision-Drummond-
                                                   Non-Analytical
          AAA No. 01-14-0000-6146                                       December-2014.pdf

                                                                        https://www.usada.org/wp-
            USADA v. Bruyneel                                           content/uploads/aaa42214.pdf
                                                      Cycling
2014                                10.24.2018                          https://www.usada.org/wp-
          AAA No. 77 190 00225 12                  Non-Analytical
           CAS No. 2014/A/3598                                          content/uploads/CAS-Award-Bruyneel-
                                                                        Celaya-Marti.pdf

                                                                        https://www.usada.org/wp-
              USADA v. Celaya                                           content/uploads/aaa42214.pdf
                                                      Cycling
2014                                10.24.2018                          https://www.usada.org/wp-
          AAA No. 77 190 00226 12                  Non-Analytical
           CAS No. 2014/A-3618                                          content/uploads/CAS-Award-Bruyneel-
                                                                        Celaya-Marti.pdf



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                                      Final
Year            Case Name           Resolution     Case Description                          Link
                                      Date
                                                                         https://www.usada.org/wp-
              USADA v. Marti                                             content/uploads/aaa42214.pdf
                                                       Cycling
2014                                10.24.2018                           https://www.usada.org/wp-
          AAA No. 77 190 00229 12                   Non-Analytical
           CAS No. 2014/A/3599                                           content/uploads/CAS-Award-Bruyneel-
                                                                         Celaya-Marti.pdf

              USADA v. Davis                        Track and Field
                                                                         https://www.usada.org/wp-
2014                                4.15.2014       Non-Analytical:
                                                                         content/uploads/walter-davis-april-2014.pdf
          AAA No. 77 190 00587 13                   3 Whereabouts

                                                    Track and Field
             USADA v. Beyene
                                                  Methylhexaneamine      https://www.usada.org/wp-
2014                                2.18.2014
                                                 (Dimethylpentylamine)   content/uploads/aaabeyene.pdf
          AAA No. 77 190 00389 13
                                                    Stimulants - S6

              USADA v. Asfaw                        Track and Field      https://www.usada.org/wp-
2015                                 3.9.2015          Ephedrine         content/uploads/3-10-15-Reasoned-Decision-
          AAA No. 01-14-0001-4332                   Stimulants - S6      and-Award.pdf

             USADA v. Leinders                                           https://www.usada.org/wp-
                                                       Cycling
2015                                1.16.2015                            content/uploads/AAA decision Leinders Dec
                                                    Non-Analytical
          AAA No. 77-20-1300-0604                                        ember 2014.pdf

                                                    Weightlifting
              USADA v. Rivera                           16ß-             https://www.usada.org/wp-
2016                                8.31.2016    hydroxystanozolol,      content/uploads/2016 08 31-AAA-Award-
          AAA No. 01-16-0000-6096                    Stanozolol          Rivera.pdf
                                                 Anabolic Agents - S1

             USADA v. Raquira                         Cycling            https://www.usada.org/wp-
2016                                8.17.2016       Adverse CIR          content/uploads/2016 08 17-AAA-Award-
          AAA No. 01-16-0000-7103                Anabolic Agents - S1    Raquira.pdf

              USADA v. Pizza                       Track and Field       https://www.usada.org/wp-
2016                                7.18.2016       Adverse CIR          content/uploads/AAA-Decision-Pizza-Award-
          AAA No. 01-15-0006-1251                Anabolic Agents - S1    07-18-2016-.pdf

                                                                         https://www.usada.org/wp-
                                                                         content/uploads/AAA-Decision-Tierney-
             USADA v. Tierney                         Swimming           Award-07-08-2016-.pdf
2016                                 7.8.2016      DOU: Breo Ellipta
          AAA No. 01-16-0002-4207                 Beta-2 Agonists - S3   https://www.usada.org/wp-
                                                                         content/uploads/2016-06-22-Operative-
                                                                         Award-USADA-v-Tierney-.pdf




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                                      Final
Year            Case Name           Resolution     Case Description                          Link
                                      Date
                                                                         https://www.usada.org/wp-
               USADA v. Lea                                              content/uploads/2016-05-04-CAS-Award-
                                                       Cycling           Robert-Lea.pdf
2016                                 5.4.2016       Noroxycodone
          AAA No. 01-15-0005-6647                                        https://www.usada.org/wp-
                                                    Narcotics - S7
            CAS No. 2016/A/4371                                          content/uploads/AAA-Decision-Lea-Award-
                                                                         01-05-2016.pdf

                                                        MMA              https://ufc.usada.org/jon-jones-receives-
2016          USADA v. Jones        11.7.2016
                                                 Clomiphene; Letrozole   doping-sanction/

                                                      Weightlifting
                                                     1α-methyl-5α-
                                                  androstan-3α-ol-17-
                                                   one (metabolite of
                                                   Mesterolone), 2α-
                                                 methyl-5α-androstan-
                                                      3α-ol-17-one
                                                     (metabolite of
           USADA v. Dosterschill                    Drostanolone), 4-   https://www.usada.org/wp-
2017                                5.10.2017           chloro-17-      content/uploads/AAA-CAS-Decision-Robert-
          AAA No. 01-16-0004-4862                  hydroxymethyl-17-    Dosterschill-May-2017.pdf
                                                   methyl-18-nor-5β-
                                                  androst-13-ene-3-ol
                                                     (metabolite of
                                                 Dehydrochloromethylt
                                                 estosterone), Adverse
                                                   CIR, Amphetamine
                                                  Anabolic Agents - S1,
                                                     Stimulants - S6

                                                    Track and Field
             USADA v. Roberts                                            https://www.usada.org/wp-
                                                      Probenecid
2017                                7.10.2017                            content/uploads/07 12 17-Gil-Roberts-AAA-
                                                  Diuretics and Other
          AAA No. 01-17-0003-4443                                        FinalAward.pdf
                                                  Masking Agents - S5

                                                    Weightlifting
                                                  GW1516 Sulfone,
             USADA v. Barnes                                             https://www.usada.org/wp-
                                                  GW1516 Sulfoxide
2017                                6.29.2017                            content/uploads/2017 6 30-AAA-Award-
                                                    Hormone and
          AAA No. 01-17-0001-6275                                        Benjamin-Barnes.pdf
                                                 Metabolic Modulators
                                                         - S4

                                                 Bobsled and Skeleton,
             USADA v. Johnson                                            https://www.usada.org/wp-
                                                        Cycling
2017                                6.30.2017                            content/uploads/2017 06 30-AAA-Award-
                                                       Modafinil
          AAA No. 01-16-0005-1367                                        Johnson.pdf
                                                    Stimulants - S6




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                                      Final
Year            Case Name           Resolution     Case Description                            Link
                                      Date
                                                                          https://www.usada.org/wp-
              USADA v. Bailey                    Bobsled and Skeleton,    content/uploads/Ryan-Bailey-Final-AAA-
                                                    Track and Field       Award.pdf
2017                                6.13.2018
          AAA No. 01-17-0002-7722                 Dimethylbutylamine
            CAS No. 2017/A-5320                     Stimulants - S6       https://www.usada.org/wp-
                                                                          content/uploads/Ryan-Bailey-Final-Award.pdf

            USADA v. Blazejack                        Cycling             https://www.usada.org/wp-
2017                                7.14.2017       Clenbuterol           content/uploads/Tony-Blazejack-AAA-Final-
          AAA No. 01-16-0005-1873                Anabolic Agents - S1     Award.pdf

                                                   Cycling, Triathlon
            USADA v. Blandford                    Non-Analytical: Use     https://www.usada.org/wp-
2017                                11.20.2017     and Possession of      content/uploads/Jenna-Blandford-AAA-
          AAA No. 01-17-0002-9207                 Testosterone, hGH       Award-Nov.-2017.pdf
                                                   and Oxandrolone

                                                         MMA              https://ufc.usada.org/brock-lesnar-receives-
2017          USADA v. Lesnar        1.4.2017
                                                      Clomiphene          doping-sanction/

                                                        MMA               https://ufc.usada.org/independent-
2018          USADA v. Jones        9.19.2018    Chlorine-substituted     arbitrator-imposes-15-month-sanction-for-
                                                   Anabolic Steroid       jon-jones/

                                                        MMA               https://ufc.usada.org/ruslan-magomedov-
2018        USADA v. Tukhugov       2.15.2018
                                                       Ostarine           zubaira-tukhugov-accept-doping-sanctions/

                                                        MMA               https://ufc.usada.org/ruslan-magomedov-
2018       USADA v. Magomedov       2.15.2018
                                                       Ostarine           zubaira-tukhugov-accept-doping-sanctions/

                                                         MMA              https://ufc.usada.org/francisco-rivera-
2018          USADA v. Rivera       1.19.2018
                                                      Clenbuterol         recieves-doping-sanction/

                                                 Paralympic Track and     https://www.usada.org/wp-
              USADA v. Jones                     Field, Track and Field   content/uploads/AAA-Decision-Stirley-
                                                 3-hydroxystanozolol      Jones.pdf
2019                                12.12.2019
          AAA No. 01-18-0004-6622                     (Stanozolol         https://www.usada.org/wp-
            CAS No. 2019/A/6376                      Metabolites)         content/uploads/Stirley-Jones-CAS-
                                                 Anabolic Agents - S1     Decision.pdf

                                                    Complicity, Non-
                                                       Analytical:        https://www.usada.org/wp-
                                                 Administration, Non-     content/uploads/Jeffrey-Brown-FINAL-AAA-
              USADA v. Brown
                                                       Analytical:        Award.pdf
2019                                10.7.2019         Aggravating
          AAA No. 01-17-0003-6197                                         https://www.usada.org/wp-
                                                  Circumstances, Non-
            CAS No. 2019/A/6530                                           content/uploads/CAS-Decision-Salazar-
                                                 Analytical: Tampering,
                                                     Non-Analytical:      Brown.pdf
                                                       Trafficking


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                                      Final
Year            Case Name           Resolution     Case Description                             Link
                                      Date
                                                    Complicity, Non-
                                                       Analytical:
                                                 Administration, Non-      https://www.usada.org/wp-
             USADA v. Salazar                          Analytical:         content/uploads/Salazar-AAA-Decision.pdf
                                                      Aggravating
2019                                9.30.2019                              https://www.usada.org/wp-
          AAA No. 01-17-0004-0880                 Circumstances, Non-
            CAS No. 2019/A/6531                  Analytical: Possession,   content/uploads/CAS-Decision-Salazar-
                                                     Non-Analytical:       Brown.pdf
                                                    Tampering, Non-
                                                 Analytical: Trafficking

              USADA v. Dwyer                          Swimming             https://www.usada.org/wp-
2019                                10.11.2019       Adverse CIR           content/uploads/Conor-Dwyer-Final-AAA-
          AAA No. 01-19-0000-6431                 Anabolic Agents - S1     Award.pdf

                                                      Weightlifting
                                                 17β-hydroxymethyl-
                                                    17α-methyl-18-
                                                  norandrost-1,4,13-
                                                      trien-3-one
                                                     (metabolite of
              USADA v. Akuna                                               https://www.usada.org/wp-
                                                 Methandienone), 4-
2019                                11.25.2019                             content/uploads/Kiara-Akuna-Final-AAA-
                                                  chloro-18-nor-17β-
          AAA No. 01-19-0001-4148                                          Award.pdf
                                                 hydroxymethyl, 17α-
                                                 methyl-5α-androst-
                                                      13-en-3α-ol
                                                  (metabolite of Oral
                                                       Turinabol)
                                                 Anabolic Agents - S1

                                                        MMA
                                                    Non-Analytical:        https://ufc.usada.org/paulo-costa-and-carlos-
2019         USADA v. C. Costa      4.26.2019
                                                    Possession and         costa-accept-doping-sanctions/
                                                    Administration

                                                        MMA
                                                                           https://ufc.usada.org/paulo-costa-and-carlos-
2019         USADA v. P Costa       4.26.2019       Non-Analytical:
                                                                           costa-accept-doping-sanctions/
                                                 Intravenous Infusion

                                                       MMA                 https://ufc.usada.org/ruslan-magomedov-
2019       USADA v. Magomedov        4.1.2019    Methyltestosterone;       receives-lifetime-sanction-after-additional-
                                                     Stanozolol            violations/
           Athlete re. USADA TUE
                                                                           https://www.usada.org/wp-
                   Denial
2020                                6.23.2020                              content/uploads/Redacted-TUE-Denial-
                                                                           Award-July-2020.pdf
          AAA No. 01-19-0002-7536




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                                    Final
Year           Case Name          Resolution     Case Description                          Link
                                    Date
                                                                       https://www.usada.org/wp-
                                                    Weightlifting      content/uploads/Ryan-Hudson-CAS-
             USADA v. Hudson                   Dehydrochlormethylte    Jurisdiction-Decision.pdf
2020                              10.23.2020   stosterone (“DHCMT”)
           CAS No. 2019/A/6180                     metabolite M3       https://www.usada.org/wp-
                                                Anabolic Agents - S1   content/uploads/Ryan-Hudson-Final-CAS-
                                                                       Decision.pdf

           USADA v. Starykowicz                                        https://www.usada.org/wp-
2020                               8.5.2020          Triathlon         content/uploads/Andrew-Starykowicz-CAS-
           CAS No. 2020/A/6892                                         Decision.pdf

                                                      MMA
                                                                       https://ufc.usada.org/lucas-penchel-accepts-
2020        USADA v. Penchel      3.23.2020       Non-Analytical:
                                                                       doping-sanction/
                                                    Complicity




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                                      APPENDIX B
                                     PUBLICATIONS
   -     USADA v. Lance Armstrong, Reasoned Decision on Disqualification and
         Ineligibility, Oct. 10, 2012 (editor and principal author),1

   -     “OPINION: The ‘Deflategate’ Penalty Isn’t Too Harsh,” Law360
         (June 1, 2015)

   -     “How MLB Will Decide Whether To Lift Pete Rose Ban,” Law360
         (July 20, 2015)

   -     “Focusing On Athlete Legacy To Deter Cheating,” Law360 (August 25, 2015)

   -     “International Sports Is Broken,” Law360 (October 21, 2015)

   -     “The Courage To Confront The Behemoth Of Russian Doping,” Law360
         (December 1, 2015)

   -     “Track & Field Corruption – Olympic Sport On The Precipice?” Law360
         (January 19, 2016)

   -     “Why the Handling of Kamila Valieva’s Positive Sample Constitutes Anti-
         Doping Malpractice” KGR website (February 11, 2022)

   -     “Why Kamila Valieva Should Compete on Tuesday” KGR website
         (February 13, 2022)




   1 Available at: https://www.usada.org/wp-content/uploads/ReasonedDecision.pdf




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                                  APPENDIX C
                    PARTIAL LIST OF INVITED PRESENTATIONS
   -      2019, USOPC NGB Best Practices Legal Seminar, Indianapolis, IN,
          October 24, 2019

   -      2019, “Setting the Pace in Debating Integrity,” Sport Resolutions Annual
          Conference, London, England, May 1 -2, 2019

   -      2019, “Legal Perspectives of New Collection and Testing Methods,”
          Partnership for Clean Competition, London, England, April 16 -18, 2019

   -      2017, USA Track & Field Annual Meeting, “Who Will Lead the Fight for
          Clean Sport?” Columbus, OH December 2, 2017

   -      2017, “Sports and Arbitration - Ultimate Umpires,” Annual Meeting of the
          College of Commercial Arbitrators, Minneapolis, MN, October 13, 2017

   -      2017, USADA Science Symposium, Orlando, FL, October 2, 2017

   -      2017, “Doping in Sport: How the Culture Might Change,” University of
          Pepperdine Law School, Malibu, CA, April 13, 2017

   -      2017, Tackling Doping in Sport, London, England, March 8-9, 20171

   -      2015, Address to Deutsche Bundestag Sports Committee, German Embassy,
          Washington, D.C., October 23, 2015

   -      2015, USADA Symposium on Anti-Doping Science, Landsdowne, Virginia,
          The Importance of Anti-Doping Investigations as a Complement to Testing,
          September, 20152

   -      2015, The Australian Bar Association - “The Transforming Power of the
          Truth: USADA’s Lance Armstrong Investigation,” Washington, D.C., July 4,
          2015




   1 https://www.sportsintegrityinitiative.com/tackling-doping-sport-removal-conflicts-interest-

   central/
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   program/deterrence-takes-center-stage/
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   -      2015, ABCD (Brazil Anti-Doping Agency) Anti-Doping Forum - “The Lance
          Armstrong Case and Intelligence in Anti-Doping,” Brasila, Brazil, April 14,
          2015

   -      2015, American Chemical Society National Meeting, Science &
          Investigations, Denver, CO, March, 20153

   -      2014, International Narcotics Interdiction Association Meeting, “Sports
          Doping Investigations,” Dallas, TX, June 16, 2014

   -      2014, “Conducting an Investigation from a Practical Point of View,” World
          Anti-Doping Agency, ADO Symposium, Lausanne, Switzerland, March 26,
          2014

   -      2013, “What the Armstrong Case Says About the Condition of Sport,” Play
          the Game Conference, Keynote Address, Aarhus, Denmark, October 28, 20134

   -      2013, British Sports Law Association, “What the Armstrong Case Says About
          the Condition of Sport,” London, England, October 17, 2013

   -      2013, USADA Symposium on Anti-Doping Science, Indianapolis, Indiana,
          October 7, 2013

   -      2013, National Collegiate Athletic Association Doping Task Force,
          “Fundamentals of Anti-Doping,” July 15, 2013

   -      2013, Sports Lawyers Association Annual Meeting, Panel on Sports Doping
          Issues, Atlanta, GA, May, 2013

   -      2013, McGarr Symposium on Sport and Society, “The Real Price of Winning
          at All Costs: A Discussion about Elite Cycling,” University of Texas, Austin,
          TX, April 21, 20135

   -      2013, Texas Review of Entertainment and Sports Law, University of Texas
          Law School, Austin, TX, April 21, 2013

   -      2013, Crain’s Detroit Business, Keynote Speaker, General Counsel Forum,
          Detroit, MI, April 16, 2013

   3 https://www.usada.org/spirit-of-sport/science/science-spans-generations/
   4 https://www.playthegame.org/conferences/play-the-game-2013/on-demand-streaming.html
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   -     2013, University of Michigan Law School, “Ethical Implications from the
         Lance Armstrong Case,” Ann Arbor, MI, April 16, 2013

   -     2013, French National Olympic Committee, Keynote Speaker, 13th National
         Symposium Against Doping, Paris, France, April 5, 2013

   -     2013, International Sport Integrity and Security Conference, Doha, Qatar,
         March 18, 2013

   -     2012, Dutch Sports Law Society, Amsterdam, Netherlands, November 15,
         2012

   -     2012, Anti-Doping Norway, “Cycling Investigations Strategies,”
         November 13, 2012

   -     2012, Southwestern Law School, “Ethics in Sport & Society,” Los Angeles,
         CA, November 5, 2012

   -     2012, “Perspectives on Drug Testing,” University of Michigan Law School,
         February 17, 2012

   -     2011, USOC Best Practices Seminar, Colorado Springs, CO, April 27, 2011

   -     2010, Hofstra University, “The Anti-Doping Movement: Athletes’ Health and
         Rights,” Long Island, NY, October 29, 20106

   -     2008, USOC NGB Forum, Colorado Springs, CO, September 24, 2008

   -     2008, Road Runner’s Club of America, Cincinnati, OH, Drug Testing by the
         United States Anti-Doping Agency, May, 2008

   -     2007, Chicago Bar Association, Chicago, IL, Sports Doping Panel, September,
         2007

   -     2007, William & Mary School of Law, 8th Annual Sports & Entertainment
         Law Symposium, March, 2007




   6 https://scholarlycommons.law.hofstra.edu/suaps/


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   -     2007, United States Olympic Committee, Sports Law Best Practices Seminar,
         Colorado Springs, CO, January, 2007

   -     2006, Sports Law Leadership Summit (American Conference Institute), New
         York City, September 27-28, 2006

   -     2005, “Drugs, Dingers and Denials: How Doping Has Changed Sport and
         What Is Being Done About It” Sports & Entertainment Section of the
         Indianapolis Bar Association, December, 2005

   -     2005, “Winning At All Costs - Today's Addiction,” Valparaiso University
         Sports Law Conference, Chicago, IL, February, 2005

   -     2005, DePaul University Sports Law Conference, panel on sports doping
         issues, Chicago, IL, March, 2005

   -     2005, American Bar Association Forum on the Sports and Entertainment
         Industries Annual Meeting, presentation on sports drug testing issues, New
         York, NY

   -     2004, Sports Lawyers Association Annual Meeting, Baltimore, MD,
         Participated on panel addressing current legal issues involving Olympic
         Movement athletes, May, 2004

   -     2002, Olympic Games Training for Pro Bono Legal Panel, Salt Lake City, UT
         - Invited by USOC to make presentation to panel of pro bono attorneys to
         represent athletes during 2002 Winter Olympic Games, January, 2002




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                             William Bock, III
__________________________________________________________________________________________
                                                                     7322 Lakeside Drive
                                                                   Indianapolis, IN 46278
                                                    wbock@kgrlaw.com /317-698-7332 (m)

                                       EXPERIENCE

General Counsel, U.S. Anti-Doping Agency, Colorado Springs, CO               2007 to Nov. 2020
      Hire and manage successful investigative and legal team
      Close working relationship with federal law enforcement agencies, FBI, DEA, DHS, etc.
      Handled hundreds of investigations and sports eligibility disputes
      Lead counsel before American Arbitration Association and Court of Arbitration for Sport
       in more than 50 contested hearings
      Successful prosecutions of numerous high-profile athletes and coaches including Lance
       Armstrong and personnel on U.S. Postal Service Cycling Team; Nike Oregon Project Coach
       Alberto Salazar, and sprinter Justin Gatlin
      Work described in New York Times best seller list books: Wheelmen: Lance Armstrong, the
       Tour de France, and the Greatest Sports Conspiracy Ever; Cycle of Lies: The Fall of Lance
       Armstrong and Game of Shadows: Barry Bonds, BALCO, and the Steroids Scandal that
       Rocked Professional Sports

Partner, Kroger, Gardis & Regas, LLP, Indianapolis, IN                        1992 to present
      National litigation and sports law practice
      Successfully briefed or argued cases in Indiana Supreme Court and Court of Appeals, U.S.
       Court of Appeals for Seventh Circuit and many federal district courts
      Expertise in class actions, commercial, constitutional, environmental, elections
       labor/employment, shareholder disputes and sports law
      Representative current or former clients: City of East Chicago, Porter County
       Commissioners, Marion County Clerk, Marion County Election Board, Johnson County
       Election Board, Indianapolis City-County Council, U.S. Anti-Doping Agency, U.S. Olympic
       & Paralympic Committee, International Association of Athletics Federations, Simmons
       Company, Ryder Dedicated Logistics, Inc.
Parliamentarian, Indiana House of Representatives                                    2004-2006
      Advised Speaker of the House on parliamentary procedure, ethical and legal issues
      Member of Speaker’s Leadership Team, assisted strategy development
      Managed outside legal counsel in lawsuits defending legislative prayer and photo ID law
Member, NCAA Division I Committee on Infractions                              2016 to present
      Public member of panel hearing cases involving potential violation of NCAA rules
Member, Federation Internationale De Natation Doping Panel                    2009 to 2021
      Served on 15+ international hearing panels for swimmers alleged to have violated rules

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Law Clerk, Hon. John Daniel Tinder, U.S. Dist. Court, Southern Dist. of IN 1990-1992
Associate, Litigation, Baker & Daniels, Indianapolis, IN                                          1989-1990


                                             EDUCATION

University of Michigan Law School, Ann Arbor, MI                                                  1986-1989
   Juris Doctorate, cum laude
   Law School Student Senate
   Campbell Moot Court Competition
   Michigan Journal of Law Reform

Oral Roberts University, Tulsa, OK                                                                1981-1985
   Bachelor of Arts, summa cum laude, in History
   Student Body President (1983-1984 & 1984-1985)
   National Merit Scholar
   Harry S. Truman Scholarship, National Runner-Up
   Outstanding Senior Paper, History Department

                                ADMITTED TO PRACTICE
Indiana, Colorado; U.S. Supreme Court; U.S. Courts of Appeal for Sixth and Seventh Circuits;
various U.S. District Courts

                                        HONORS AND AWARDS

      Who’s Who Legal                                                                            2019-2021
      Super Lawyer (Indiana)                                                                     2015-2022
      “Being A Difference” Award, NASBA Center for the Public Trust                              2014-2015
      Distinguished Barrister by the Indiana Lawyer                                                   2013
      Lawyer of the Year by Law Week Colorado                                                         2012

                                    COMMUNITY INVOLVEMENT

INDIANA OPPORTUNITY FUND                                                             2011– 2021
   President of not-for-profit public benefit corporation organized to promote free market
     opportunities in Indiana in the economic, educational, and governmental arenas and to
     support the efforts of Hoosier leaders who advance policies to promote free market reforms

NEIGHBORHOOD ADVOCACY CORPORATION                                               1996 – 2000
   Founding Board Member of not-for-profit corporation designed to use pro bono civil
    litigation strategies to revitalize low income neighborhoods

INDIANA PRISON FELLOWSHIP                                                                        1992 – 1998
   Former Board Member and Co-Chairman for state-wide prison ministry


------------------------ William Bock, III----RÉSUMÉ---PAGE 2 ------------------------------------------------
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                                         Appendix E
                          Additional Sources Relied Upon


   -      The World Anti-Doping Code (the “Code”), 2003, 2009, 2015, 20211 versions.

   -      The Prohibited List International Standard (the “Prohibited List”) and other
          International Standards and Guideline documents promulgated by the World
          Anti-Doping Agency (“WADA”), from 1999 to present, including:

          a.     WADA International Standard for Testing and Investigations,2

          b.     WADA International Standard for Results Management,3

          c.     WADA International Standard for Laboratories,4

          d.     WADA International Standard for the Protection of Privacy and
                 Personal Information,5

          e.     WADA International Standard for Therapeutic Use Exemptions,6

          f.     WADA International Standard for Code Compliance by Signatories,7

          g.     WADA Athlete Biological Passport Guidelines,8




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   ama.org/sites/default/files/resources/files/2021_wada_code.pdf.
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   3 Current version available at: https://www.wada-

   ama.org/sites/default/files/resources/files/international_standard_isrm_-_final_english_-
   _post_exco_20_may_2021.pdf.
   4 Current version available at: https://www.wada-

   ama.org/sites/default/files/resources/files/isl 2021.pdf.
   5 Current version available at: https://www.wada-ama.org/sites/default/files/2022-

   01/international_standard_ispppi_-_november_2021_0.pdf
   6 Current version available at: https://www.wada-

   ama.org/sites/default/files/resources/files/international standard istue - 2021.pdf.
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   ama.org/sites/default/files/resources/files/international_standard_isccs_2021.pdf.
   8 Current version available at: https://www.wada-

   ama.org/sites/default/files/resources/files/guidelines abp v8 final.pdf
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         h.     WADA Technical Document – TD2021BAR9

         i.     WADA Technical Document – TD2021EAAS10

         j.     WADA Technical Document – TD2021NA11

   -     UNESCO International Convention Against Doping in Sport12

   -     The U.S. Anti-Doping Agency (“USADA”) Protocol for Olympic and
         Paralympic Movement Testing (the “USADA Protocol”)13 and other anti-
         doping rules, policies and procedures promulgated by USADA from 2000 to
         present, most of which I participated in drafting, including:

         a.     USADA Whereabouts Policy,14

         b.     USADA Therapeutic Use Exemption Policy,15

         c.     USADA Whistleblowing Policy,16

         d.     USADA-Initiated U.S. Athlete Interview Rights and Responsibilities,17
                and

         e.     USADA-Led Non-Analytical Investigations Principles.18




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   ama.org/sites/default/files/resources/files/td2021bar final eng v2.0.pdf.
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   ama.org/sites/default/files/resources/files/td2021na final eng v2.0 m.pdf
   12 Available at: https://unesdoc.unesco.org/ark:/48223/pf0000142594.
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   content/uploads/USADA_protocol.pdf
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   content/uploads/USADA Whereabouts-Policy.pdf
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   content/uploads/USADA_TUE_Policy.pdf
   16 Current version available at: https://www.usada.org/wp-content/uploads/2021-

   Whistleblower-Policy.pdf
   17 Current version available at: https://www.usada.org/wp-content/uploads/2021-US-

   Athlete-Interview-Rights-and-Responsibilities.pdf
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   Analytical-Investigations-Principles.pdf
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   -      USOPC Bylaws, Section 8.4.1(c)(iv),20

   -      USADA 2019 Annual Report,21

   -      “Teens and Steroids: A Dangerous Combo,” U.S. Food & Drug
          Administration,22

   -      Thiblin, I., Runeson, B., Rajs, J., “Anabolic androgenic steroids and suicide,”
          Ann Clin Psychiatry. 1999 Dec;11(4):223-31. doi: 10.1023/a:1022313529794 (8
          case reports);23

   -      “Steroids are Blamed in Suicide of Young Athlete,” New York Times, by Duff
          Wilson, March 10, 2005,24

   -      Manceaux, P., Jacques, D., Zdanowicz, N., “Hormonal and developmental
          influences on adolescent suicide: a systematic review,” Psychiatr Danub. 2015
          Sep;27 Suppl 1:S300-4,25

   -      “How Marginal Gains Can Give Elite Athletes the Edge,” by Anthony King,
          The Irish Times, April 4, 2016,26

   -      “Pursuing Alberto Salazar, anti-doping agency found itself fighting Nike, by
          Jeff Manning, The Oregonian, (Oct. 6, 2019),27

   -      “A New Book on Nike Pulls No Punches,” by Martin Fritz-Huber, Outside Magazine,
          (Oct. 2, 2020),28


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   dangerous-combo
   23 Available at: https://pubmed.ncbi.nlm.nih.gov/10596737/
   24 Available at: https://www.nytimes.com/2005/03/10/sports/steroids-are-blamed-insuicide-

   of-young-athlete.html
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   athletes-the-edge-1.2736311.
   27 Available at: https://www.oregonlive.com/business/2019/10/in-pursuing-salazar-anti-

   doping-agency-found-itself-fighting-nike.html
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          Contribution by Body Composition and Haemoglobin Concentration: A Study in
          Young Indian National Hockey Players,” Jielin.Dign.Res. 2016 Nov: 10(11): CC09-
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          (Nov. 15, 2018),31

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          NFHS (Nov. 2, 2017),32

   -      Meeuwisse, D.W., MacDonald, K., Meeuwisse, W.H., Schneider, K., “Concussion
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          Vol. 51, Issue 11,33

   -      Giambalvo, F., Atchison, C., “Here Comes the Boom: The Real Facts on Concussions
          and 4 Ways to Minimize Head Injuries in Your Gym,” Junior Volleyball
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   -      Coleman, D.L., Joyner, M.J., Lopiano, D., “Re-Affirming the Value of the Sports
          Exception to Title IX’s General Non-Discrimination Rule,” Duke Journal of Genera
          Law & Policy, Vol. 27:69-134

   -      Brown, A., “About 5% of young adults in the U.S. say their gender is different from their sex
          assigned at birth,” Pew Research Center (June 7, 2022),35




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   30 available at:   https://pubmed.ncbi.nlm.nih.gov/3948861/.
   31 available at: https://www.nfhs.org/articles/state-legislatures-continue-to-update-

   concussion-laws/.
   32 available at: https://www.nfhs.org/articles/study-state-concussion-laws-effective-in-

   reducing-rates-of-injury/.
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   34 available at: https://jvavolleyball.org/here-comes-boom-real-facts-concussions/
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   in-the-u-s-say-their-gender-is-different-from-their-sex-assigned-at-birth/.
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         Regression of Population-Based Probability Samples,” AJPH Transgender Health,
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   -     “When Children Say They’re Trans,” by Jesse Singal, Atlantic (July/August 2018),37




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   37 available at: https://www.theatlantic.com/magazine/archive/2018/07/when-a-child-says-

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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                   CHARLESTON DIVISION

  B.P.J, by her next friend and mother, HEATHER
  JACKSON
                                               Plaintiff,
         v.
  WEST       VIRGINIA      STATE       BOARD       OF
  EDUCATION, HARRISON COUNTY BOARD OF                             Case No. 2:21-cv-00316
  EDUCATION, WEST VIRGINIA SECONDARY
  SCHOOL ACTIVITIES COMMISSION, W.
  CLAYTON BURCH in his official capacity as State                Hon. Joseph R. Goodwin
  Superintendent, DORA STUTLER in her official
  capacity as Harrison County Superintendent, and THE
  STATE OF WEST VIRGINIA
                                            Defendants,
         and
  LAINEY ARMISTEAD
                                  Defendant-Intervenor.


                         DECLARATION OF LAINEY ARMISTEAD


 I, Lainey Armistead, under penalty of perjury, declare as follows:

        1.      I am a twenty-two-year-old resident of Charleston, West Virginia, in Kanawha

 County, and have personal knowledge of the information below.

        2.      I am a junior and female athlete at West Virginia State University (WVSU) in

 Charleston, West Virginia, where I am a member of the women’s soccer team. Soccer is my

 passion and life-defining pursuit.

 Athletics Background

        3.      I come from a family of talented athletes. My dad was a multi-sport athlete in

 high school and an All-American soccer player in college. He later coached club soccer. My

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 mom was a high school and collegiate cheerleader. Two of my brothers went on to play soccer in

 college.

           4.   Soccer was like the air I breathed growing up. I first kicked a soccer ball at three

 years old—almost as soon as I could walk. I grew up playing pick-up soccer games with my

 brothers, being coached by my dad on technique, and cheering at soccer matches alongside my

 family.

           5.   I started playing on club soccer teams in my home state of Kentucky at age seven

 and continued competing on club teams through the end of my high school career.

           6.   I was excited to enjoy success on those club soccer teams. When I was just nine

 years old, my club soccer team won the indoor U.S. Youth Futsall National Championships—

 which is the largest and most prestigious indoor youth soccer competition in the country. It was

 an unforgettable experience.

           7.   I later went on to help my club soccer team win state championships during my

 freshman and sophomore years of high school. Those wins pushed me to try even harder.

           8.   Also during my sophomore year of high school, I had the honor of being selected

 from my club soccer team (Kentucky Fire) as one of only 20 girls in the nation to be invited to

 compete in a showcase soccer event in Las Vegas.

           9.   In addition to club soccer, I also competed on my school’s middle school and high

 school soccer teams. One of my favorite memories from that time was helping my high school

 soccer team win the state championship during my freshman year of high school.




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 Competing in Women’s Collegiate Athletics

        10.      It was my dream to play soccer in college. And I hoped my hard work would pay

 off with a college scholarship. I know, however, that athletic scholarships are limited and

 competitive.

        11.      After visiting approximately ten different colleges, I decided to visit West

 Virginia State University (WVSU), a public state university. I immediately knew this was where

 I wanted to attend college and I committed the same day.

        12.      WVSU offered me a soccer scholarship to compete on its women’s soccer team.

 That scholarship helps pay for my education and brings me one step closer to my dream of being

 a lawyer someday.

        13.      Without a scholarship, I likely would have attended a college in my hometown

 and been saddled with school loans. My athletic scholarship opened the door for me to attend the

 school of my choice.

        14.      WVSU is an NCAA Division II soccer team and competes in the NCAA

 Mountain East Conference.

        15.      There are 11 players per team (22 players total) on the soccer field at any given

 time, though teams may have two or three times that many players total. Those 11 starting

 positions are highly coveted and competitive.

        16.      Team players are grouped into four general categories:

              a. the front, or attacking positions, which are called strikers;

              b. the midfielder positions;

              c. the defender positions;

              d. and the goalie.


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         17.     I play starting left wingback on the soccer field, which is a defender position. But

 I “attack” a lot, which means I run up and down the field much of the game.

         18.     I also have the privilege of serving as team captain. This is a leadership position

 that is voted on by both players and coach, and has responsibilities that include organizing the

 team, determining what jerseys to wear, serving as liaison between the players and coaches, and

 also serving as liaison between the players and referee.

         19.     In 2020, I received the Stinger Award for “Female Teammate of the Year” in

 WVSU women’s soccer.

         20.     Due to the COVID-19 pandemic, I currently have three years of NCAA eligibility

 left.

         21.     My teammates and I train hard to win. We do running drills, weightlifting, and

 watch replay videos of our prior games to evaluate how we can improve.

         22.     But it is not always easy. I have made many sacrifices over the course of my

 athletic career to play the sport that I love. I have missed school dances and spring breaks; family

 events; and friends’ birthdays. I have given up my weekends and free time. I stay at school late

 for practice and get up early to train.

         23.     But I make these sacrifices because I want to be the best that I can be. I want to

 win—not just for myself, but also for my teammates. And it is that love of winning that helps me

 press through when the going gets tough.

         24.     I love my sport. It’s exhilarating to see all the training and hard work that we put

 in at practice pay off on the field.




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        25.     Soccer is called the “beautiful sport”—and for good reason. It is the most played

 sport in the world. Like music, soccer transcends culture. You can play a pick-up game of soccer

 with anyone regardless of language or background.

        26.     But soccer is also beautiful because it takes incredible teamwork to achieve a win.

 Soccer is a 90-minute game. It is much more difficult for women to run nonstop for a full 90-

 miuntes than it is for men. As a result, women’s soccer games are different than men’s. We have

 to be more cohesive. We pass the ball more, communicate more, and rely on our teammates

 more. But rather than a downside, I see teamwork as a thing of beauty. I love accomplishing

 things as a group. And when I step on the field with those ten other women, I know they have my

 back and I have theirs. We play hard for each other. As a result, my teammates have become

 some of my closest friends.

        27.     Soccer also taught me life skills like mental and physical toughness, perseverance,

 and good sportsmanship. It taught me that hard work and discipline pay off. It taught me the

 value of teamwork. It provided leadership opportunities that will benefit my future career. It

 opened new financial opportunities, such as benefitting from my image and likeness. It has given

 me lasting friendships with my teammates. And it has given me something to strive for. I would

 not be the person I am today without soccer.

 Safety Concerns in Soccer

        28.     Soccer is a rough contact sport, and injuries are common among female athletes.

        29.     From my own observations, concussions, knee injuries, and ankle injuries are the

 most common injuries incurred by soccer players. In the first couple games of the WVSU fall

 2021 soccer season alone, members of my team suffered all three of these injuries.




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        30.     Playing a rough contact sport with other girls is one thing. But having played

 pick-up soccer games with my brothers and street soccer with men, I have realized that playing a

 rough contact sport with men is entirely different.

        31.     Males are generally stronger, fitter, faster, and have a bigger stature than women,

 which gives them advantages of strength, speed, and size in soccer. They compete at a faster

 pace. They kick the ball harder. They have physical frames that are generally larger.

        32.     Thankfully, I can enjoy a casual pick-up game of soccer with men because they

 take it easier on me. They do not go “all-in” because they know they could hurt me. But it would

 be a different story if a male was seriously competing and making full use of his strength, speed,

 and size in a soccer match against me. Based on my long experience playing competitive team

 soccer, I would be more worried that I could be injured by a male than a female competitor in a

 game in which players are trying their hardest to win.

 Fairness in Women’s Sports

        33.     A couple years ago, I heard about female track athletes in Connecticut who lost to

 biological males competing in their races. I learned that these two males won 15 women’s state

 championship titles in girls’ high school track and field. I was appalled and heartbroken for those

 girls. It felt so unfair. But I was thankful that those athletes had the courage to stand up.

        34.     I also heard that a male who competed on the University of Montana men’s team

 track and cross-country team began competing in women’s cross-country and track events and

 displaced collegiate female athletes.

        35.     So when I heard that West Virginia’s legislature passed the Save Women’s Sports

 Act to protect the integrity of women’s sports, I enthusiastically supported it.




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        36.     I never dreamed this would be an issue in West Virginia. And I never thought this

 issue could personally impact my competition till I learned a lawsuit had been filed against the

 new West Virginia law to protect women’s sports.

        37.     Getting involved in this lawsuit was a weighty decision. I sought a lot of counsel

 and considered my options carefully before deciding to become involved in a case of this public

 importance and controversy. It’s not always easy standing up for what you believe in.

        38.     And I know from experience in friendly competitions against men that facing a

 male in a soccer game changes the entire dynamics on the field and poses not just fairness but

 safety concerns, as well.

        39.     If forced to compete against a male athlete, I would have to face the hard decision

 of competing on an unfair playing field with heightened safety risks, or not competing at all.

        40.     A single male on my team could displace me or one of my teammates from a

 starting position—or a position on the team.

        41.     Even if the male athlete was on my team—arguably giving my team an

 advantage—I would treat that individual with respect and kindness, but it would still be unfair to

 displace a female athlete from her place on the field or from that position. And it also would not

 be fair to the female players on the opposing team.

        42.     Allowing males into women’s athletics allows a person with a male body to take

 opportunities away from female athletes—whether that is a spot on the team, a starting position

 on the field, an athletic scholarship, the opportunity to benefit from her likeness, or recognition

 and awards—and is contrary to the entire purpose of women’s sports.

        43.     Women’s sports exist to give girls like me a chance to compete in sports on a

 level playing field.



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         44.     Women have worked so hard to be taken seriously on the athletic level.

         45.     I fear that too many women feel pressured to remain silent about their beliefs.

         46.     I want other little girls in the future, or my own daughters, to not have to worry

 about competing against males. I also fear that girls in the future might consider not playing at all

 if they feel they cannot win against a physically superior male. Winning is the motivation for a

 lot of us who played sports for years.

         47.     I believe that protecting fairness in women’s sports is a women’s rights issue.

 This isn’t just about fair play for me: it’s about protecting fairness and safety for female athletes

 across West Virginia. It’s about ensuring that future generations of female athletes are not

 discriminated against but have access to the same equal athletic opportunities that shaped my

 life.

         48.     Being an athlete in college has made me even more passionate about the sport that

 I play. I want fairness and equality in sports. And I want to ensure those standards are protected

 for other girls, too.

         Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

 and correct.

                                                       ____________________________________
                                                       Lainey Armistead
                                                       Dated: April 20, 2022




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                           IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                   CHARLESTON DIVISION

  B.P.J, by her next friend and mother, HEATHER
  JACKSON,
                                                Plaintiff,
         v.
  WEST       VIRGINIA      STATE       BOARD       OF              Case No. 2:21-cv-00316
  EDUCATION, HARRISON COUNTY BOARD OF
  EDUCATION, WEST VIRGINIA SECONDARY
  SCHOOL ACTIVITIES COMMISSION, W.                                Hon. Joseph R. Goodwin
  CLAYTON BURCH in his official capacity as State
  Superintendent, DORA STUTLER in her official
  capacity as Harrison County Superintendent, and THE
  STATE OF WEST VIRGINIA,
                                             Defendants
         and
  LAINEY ARMISTEAD,
                                  Defendant-Intervenor.


                          DECLARATION OF MARY MARSHALL

 I, Mary Marshall, declare as follows:

        1.      I am a twenty-one-year-old resident of Twin Falls, Idaho, and have personal

 knowledge of the information below.

        2.      I am a senior and female athlete at Idaho State University in Pocatello, Idaho,

 where I compete in cross-country and track and field.

 Athletics Background

        3.      I first started playing basketball at 7 or 8 years old, and I continued through my

 sophomore year of high school. I enjoyed the competition, the adrenaline rush, and the sheer fun

 of the game.




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        4.      In 8th grade, I started running track. My sophomore year of high school I started

 running cross country to get in shape for basketball. But to my surprise, I found out that I loved

 running more than playing basketball! So, I kept running races. And my sophomore year of high

 school, I dropped basketball altogether and started focusing on cross country and track.

        5.      I discovered that I am good at running. In two back-to-back years, my high school

 medley relay team won the State championship in our division. My junior year I won the state

 championship in the 300 intermediate hurdles. And in my senior year of high school, I won the

 State championship in the 800m for my division.

        6.      I love to run. It gives me confidence, improves my mood, and allows me to

 explore the great outdoors on foot. But being a competitive female athlete is about more than just

 running long distances. It is about community. My teammates have become my closest friends.

 We push each other to be our best, help one another through disappointments and losses, and

 cheer one another on as we celebrate victories. We travel together for sporting events and share

 overnight lodging: it’s like a sisterhood. We enjoy one another so much that we even spend our

 free time together. Through running competitively, I have made some of my closest lifelong

 friends.

 Competing in Women’s Collegiate Athletics

        7.      I chose to attend college at Idaho State University (ISU) because it is close to

 home and I really liked my track coaches. And I am grateful to be one of the lucky ones to

 benefit from a women’s track scholarship.

        8.      In college, I am primarily a mid-distance track athlete, focusing on shorter

 distances like the 800-meter and the mile. But I also compete in cross-country to stay in shape. In

 cross-country, I generally compete in the 5k.



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           9.    Training is hard work. On Tuesdays and Thursdays, I usually have a two-hour

 workout with my team. On alternate days, my teammates and I get together for a five-to-six-mile

 run. Additionally, we have an hour-long weightlifting session on Mondays and Wednesdays.

           10.   But in the fall of my sophomore year of college, I learned that I would be racing

 against a male athlete who was competing on the University of Montana women’s team because

 he identifies as female. I was appalled. I do not know how anyone could think this was fair to

 female athletes. Males are naturally fitter and faster than females.

           11.   I raced against this athlete, June Eastwood, not once, but twice. First, I competed

 against Eastwood in the Montana State Cross-Country Classic 3-mile event in the fall of 2019.

 And then I competed against Eastwood again in January 2020 at the Stacy Dragila Indoor mile

 event.

           12.   I lost both times. I was displaced and pushed down to a lower spot in the rankings

 than I would have earned had the playing field been level.

           13.   When I lose to another woman, I assume that she must train harder than I do and

 it drives me to work harder. If I lose to a man, it feels completely different. It’s deflating. I

 wonder whether he works as hard as I do, whether he was even trying, or was that an easy race

 for him. It makes me think that no matter how hard I try, my hard work and effort will not

 matter.

           14.   Members of the men’s track team sometimes do easy runs with me and my

 teammates on the women’s track team. But we women are under no illusion that we would be

 competitive in a race against these men. Even our easy runs are at different paces. For example,

 an easy run for women is usually at an 8:30 pace, while an easy pace for men is around 7:30.




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 Fairness in Women’s Sports

          15.   When I first heard about Idaho’s H.B. 500 Fairness in Women’s Sports Act, I was

 really excited. I hoped that this would be the solution we needed to keep men out of women’s

 sports. And that’s why—when the law was later challenged in court — I chose to stand up and

 intervene in the lawsuit to defend the law. I wanted to make sure that the voices of women were

 heard.

          16.   I have personally seen the negative impact on women when Eastwood was

 allowed to compete against women’s teams, and I fear that as men realize they only need to

 “identify” as women in order to compete in the women’s category, others might follow suit. In

 fact, I learned through my lawsuit that a male athlete, Lindsay Hecox, wants to compete on the

 Boise State women’s track and cross-country team—a team that I compete against. I want to stop

 this before it becomes popular.

          17.   I want to preserve the camaraderie and sisterhood that comes from competing

 with an all-female team. There is no way that I would feel comfortable sharing a hotel room with

 a male athlete, regardless of how that person identified.

          18.   And I want other young women to benefit from sports as I did. I did well in high

 school sports. But if a boy had decided to compete against me in basketball, or track, or cross-

 country, I am not sure that I would have kept on competing. Success drives endeavor. And if I

 knew that I could not win, I might have dropped out of sports altogether.

          19.   That very idea concerns me. Sports has played such an important role in my life.

 It taught me how to work in groups and as a team. It taught me how to persist through

 disappointment. It taught me that if I put in the work, I will get the results. It has taught me how

 to interact with people I do not know, and how to respond to those in authority over me. It has



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 given me the confidence to study business, marketing, management, and economics at ISU

 because I hope to be an entrepreneur and own a business someday. These are the benefits that I

 want to preserve for the next generation of women.




 Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true and

 correct.

                                                     ____________________________________
                                                     Mary Kate Marshall

                                                     Dated:




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                       Gregory A Brown, Ph.D. FACSM

        In the case of B.P.J. vs. West Virginia State Board of Education.




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                       Personal Qualifications and Disclosure

       I serve as Professor of Exercise Science in the Department of Kinesiology and
 Sport Sciences at the University of Nebraska Kearney, where I teach classes in
 Exercise Physiology among other topics. I am also the Director of the General
 Studies program. I have served as a tenured (and nontenured) professor at
 universities since 2002.

        In August 2002, I received a Doctor of Philosophy degree from Iowa State
 University, where I majored in Health and Human Performance, with an emphasis
 in the Biological Bases of Physical Activity. In May 1999, I received a Master of
 Science degree from Iowa State University, where I majored in Exercise and Sport
 Science, with an emphasis in Exercise Physiology.

       I have received many awards over the years, including the Mortar Board
 Faculty Excellence Honors Award, College of Education Outstanding Scholarship /
 Research Award, and the College of Education Award for Faculty Mentoring of
 Undergraduate Student Research. I have authored more than 40 refereed
 publications and more than 50 refereed presentations in the field of Exercise
 Science. I have authored chapters for multiple books in the field of Exercise Science.
 And I have served as a peer reviewer for over 25 professional journals, including
 The American Journal of Physiology, the International Journal of Exercise Science,
 the Journal of Strength and Conditioning Research, and The Journal of Applied
 Physiology.

        My areas of research have included the endocrine response to testosterone
 prohormone supplements in men and women, the effects of testosterone prohormone
 supplements on health and the adaptations to strength training in men, the effects
 of energy drinks on the physiological response to exercise, and assessment of
 various athletic training modes in males and females. Articles that I have published
 that are closely related to topics that I discuss in this white paper include:

        Studies of the effect of ingestion of a testosterone precursor on circulating
        testosterone levels in young men. Douglas S. King, Rick L. Sharp, Matthew
        D. Vukovich, Gregory A. Brown, et al., Effect of Oral Androstenedione on
        Serum Testosterone and Adaptations to Resistance Training in Young Men: A
        Randomized Controlled Trial, JAMA 281: 2020-2028 (1999); G. A. Brown, M.
        A. Vukovich, et al., Effects of Anabolic Precursors on Serum Testosterone
        Concentrations and Adaptations to Resistance Training in Young Men, INT J
        SPORT NUTR EXERC METAB 10: 340-359 (2000).

        A study of the effect of ingestion of that same testosterone precursor on
        circulating testosterone levels in young women. G. A. Brown, J. C. Dewey, et



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        al., Changes in Serum Testosterone and Estradiol Concentrations Following
        Acute Androstenedione Ingestion in Young Women, HORM METAB RES 36: 62-
        66 (2004.)

        A study finding (among other things) that body height, body mass, vertical
        jump height, maximal oxygen consumption, and leg press maximal strength
        were higher in a group of physically active men than comparably active
        women, while the women had higher percent body fat. G. A. Brown, Michael
        W. Ray, et al., Oxygen Consumption, Heart Rate, and Blood Lactate
        Responses to an Acute Bout of Plyometric Depth Jumps in College-Aged Men
        And Women, J. STRENGTH COND RES 24: 2475-2482 (2010).

        A study finding (among other things) that height, body mass, and maximal
        oxygen consumption were higher in a group of male NCAA Division 2
        distance runners, while women NCAA Division 2 distance runners had
        higher percent body fat. Furthermore, these male athletes had a faster mean
        competitive running speed (~3.44 min/km) than women (~3.88 min/km), even
        though the men ran 10 km while the women ran 6 km. Katherine Semin,
        Alvah C. Stahlnecker, Kate A. Heelan, G. A. Brown, et al, Discrepancy
        Between Training, Competition and Laboratory Measures of Maximum Heart
        Rate in NCAA Division 2 Distance Runners, JOURNAL OF SPORTS SCIENCE AND
        MEDICINE 7: 455-460 (2008).

        A presentation at the 2021 American Physiological Society New Trends in
        Sex and Gender Medicine Conference entitled “Transwomen Competing in
        Women’s Sports: What We Know and What We Don’t”. I have also authored
        an August 2021 entry for the American Physiological Society Physiology
        Educators Community of Practice Blog (PECOP Blog) titled “The Olympics,
        Sex, and Gender in the Physiology Classroom.”

 A list of my published scholarly work for the past 10 years appears as an Appendix.




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                             Purpose of this Declaration


         I have been asked by counsel for Defendant State of West Virginia and
 Intervenor Defendant Lainey Armistead in the matter of B.P.J. by her next friend
 and mother Heather Jackson, v. State of West Virginia State Board of Education, et
 al. to offer my opinions about the following: (a) whether males have inherent
 advantages in athletic performance over females, and if so the scale and
 physiological basis of those advantages, to the extent currently understood by
 science and (b) whether the sex-based performance advantage enjoyed by males is
 eliminated if feminizing hormones are administered to male athletes who identify
 as transgender (and in the case of prepubertal children, whether puberty blockers
 eliminate the advantage). In this declaration, when I use the terms “boy” or “male,”
 I am referring to biological males based on the individual’s reproductive biology and
 genetics as determined at birth. Similarly, when I use the terms “girl” or “female,” I
 am referring to biological females based on the individual’s reproductive biology and
 genetics as determined at birth. When I use the term transgender, I am referring to
 persons who are males or females, but who identify as a member of the opposite sex.

        I have previously provided expert information in cases similar to this one in
 the form of a written declaration and a deposition in the case of Soule vs. CIAC in
 the state of Connecticut, and in the form of a written declaration in the case of
 Hecox vs. Little in the state of Idaho. I have not previously testified as an expert in
 any trials.

        The opinions I express in this declaration are my own, and do not necessarily
 reflect the opinions of my employer, the University of Nebraska.

        I have been compensated for my time serving as an expert in this case at the
 rate of $150 per hour. My compensation does not depend on the outcome in the case.




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                                         Overview

       In this declaration, I explore three important questions relevant to current
 discussions and policy decisions concerning inclusion of transgender individuals in
 women’s athletic competitions. Based on my professional familiarity with exercise
 physiology and my review of the currently available science, including that
 contained in the many academic sources I cite in this report, I set out and explain
 three basic conclusions:

            At the level of (a) elite, (b) collegiate, (c) scholastic, and (d) recreational
            competition, men, adolescent boys, or male children, have an advantage
            over equally aged, gifted, and trained women, adolescent girls, or female
            children in almost all athletic events;

            Biological male physiology is the basis for the performance advantage that
            men, adolescent boys, or male children have over women, adolescent girls,
            or female children in almost all athletic events; and

            The administration of androgen inhibitors and cross-sex hormones to men
            or adolescent boys after the onset of male puberty does not eliminate the
            performance advantage that men and adolescent boys have over women
            and adolescent girls in almost all athletic events. Likewise, there is no
            published scientific evidence that the administration of puberty blockers
            to males before puberty eliminates the pre-existing athletic advantage
            that prepubertal males have over prepubertal females in almost all
            athletic events.

       In short summary, men, adolescent boys, and prepubertal male children
 perform better in almost all sports than women, adolescent girls, and prepubertal
 female children because of their inherent physiological advantages. In general, men,
 adolescent boys, and prepubertal male children, can run faster, output more
 muscular power, jump higher, and possess greater muscular endurance than
 women, adolescent girls, and prepubertal female children. These advantages
 become greater during and after male puberty, but they exist before puberty.

        Further, while after the onset of puberty males are on average taller and
 heavier than females, a male performance advantage over females has been
 measured in weightlifting competitions even between males and females matched
 for body mass.

        Male advantages in measurements of body composition, tests of physical
 fitness, and athletic performance have also been shown in children before puberty.
 These advantages are magnified during puberty, triggered in large part by the
 higher testosterone concentrations in men, and adolescent boys, after the onset of

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 male puberty. Under the influence of these higher testosterone levels, adolescent
 boys and young men develop even more muscle mass, greater muscle strength, less
 body fat, higher bone mineral density, greater bone strength, higher hemoglobin
 concentrations, larger hearts and larger coronary blood vessels, and larger overall
 statures than women. In addition, maximal oxygen consumption (VO2max), which
 correlates to ~30-40% of success in endurance sports, is higher in both elite and
 average men and boys than in comparable women and girls when measured in
 regard to absolute volume of oxygen consumed and when measured relative to body
 mass.

       Although androgen deprivation (that is, testosterone suppression) may
 modestly decrease some physiological advantages that men and adolescent boys
 have over women and adolescent girls, it cannot fully or even largely eliminate
 those physiological advantages once an individual has passed through male
 puberty.



                             Evidence and Conclusions

 I.   The scientific reality of biological sex

        1.     The scientific starting point for the issues addressed in this report is
 the biological fact of dimorphic sex in the human species. It is now well recognized
 that dimorphic sex is so fundamental to human development that, as stated in a
 recent position paper issued by the Endocrine Society, it “must be considered in the
 design and analysis of human and animal research. . . . Sex is dichotomous, with
 sex determination in the fertilized zygote stemming from unequal expression of sex
 chromosomal genes.” (Bhargava et al. 2021 at 220). As stated by Sax (2002 at 177),
 “More than 99.98% of humans are either male or female.” All humans who do not
 suffer from some genetic or developmental disorder are unambiguously male or
 female.

        2.     Although sex and gender are used interchangeably in common
 conversation, government documents, and in the scientific literature, the American
 Psychological Association defines sex as “physical and biological traits” that
 “distinguish between males and females” whereas gender “implies the
 psychological, behavioral, social, and cultural aspects of being male or female (i.e.,
 masculinity or femininity)” (https://dictionary.apa.org, accessed January 14, 2022).
 The concept that sex is an important biological factor determined at conception is a
 well-established scientific fact that is supported by statements from a number of
 respected organizations including, but not limited to, the Endocrine Society
 (Bhargava et al. 2021 at 220), the American Physiological Society (Shah 2014), the
 Institute of Medicine, and the National Institutes of Health (Miller 2014 at H781-
 82). Collectively, these and other organizations have stated that every cell has a sex


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 and every system in the body is influenced by sex. Indeed, “sex often influences
 gender, but gender cannot influence sex.” (Bhargava 2021 at 228.)

        3.     To further explain: “The classical biological definition of the 2 sexes is
 that females have ovaries and make larger female gametes (eggs), whereas males
 have testes and make smaller male gametes (sperm) … the definition can be
 extended to the ovaries and testes, and in this way the categories—female and
 male—can be applied also to individuals who have gonads but do not make gametes
 … sex is dichotomous because of the different roles of each sex in reproduction.”
 (Bhargava 2021 at 221.) Furthermore, “sex determination begins with the
 inheritance of XX or XY chromosomes” (Bhargava 2021 at 221.) And, “Phenotypic
 sex differences develop in XX and XY embryos as soon as transcription begins. The
 categories of X and Y genes that are unequally represented or expressed in male
 and female mammalian zygotes … cause phenotypic sex differences” (Bhargava
 2021 at 222.)

        4.     Although disorders of sexual development (DSDs) are sometimes
 confused with discussions of transgender individuals, the two are different
 phenomena. DSDs are disorders of physical development. Many DSDs are
 “associated with genetic mutations that are now well known to endocrinologists and
 geneticists.” (Bhargava 2021 at 225) By contrast, a sense of transgender identity is
 usually not associated with any physical disorder, and “a clear biological causative
 underpinning of gender identity remains to be demonstrated.” (Bhargava 2021 at
 226.)

         5.    Further demonstrating the biological importance of sex, Gershoni and
 Pietrokovski (2017) detail the results of an evaluation of “18,670 out of 19,644
 informative protein-coding genes in men versus women” and reported that “there
 are over 6500 protein-coding genes with significant S[ex]D[ifferential] E[xpression]
 in at least one tissue. Most of these genes have SDE in just one tissue, but about
 650 have SDE in two or more tissues, 31 have SDE in more than five tissues, and 22
 have SDE in nine or more tissues” (Gershoni 2017 at 2-3.) Some examples of tissues
 identified by these authors that have SDE genes include breast mammary tissue,
 skeletal muscle, skin, thyroid gland, pituitary gland, subcutaneous adipose, lung,
 and heart left ventricle. Based on these observations the authors state “As expected,
 Y-linked genes that are normally carried only by men show SDE in many tissues”
 (Gershoni 2017 at 3.) A stated by Heydari et al. (2022, at 1), “Y chromosome harbors
 male‑specific genes, which either solely or in cooperation with their X-counterpart,
 and independent or in conjunction with sex hormones have a considerable impact on
 basic physiology and disease mechanisms in most or all tissues development.”

       6.    In a review of 56 articles on the topic of sex-based differences in
 skeletal muscle, Haizlip et al., (2015) state that “More than 3,000 genes have been

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  identified as being differentially expressed between male and female skeletal
  muscle.” (Haizlip 2015 at 30.) Furthermore, the authors state that “Overall,
  evidence to date suggests that skeletal muscle fiber-type composition is dependent
  on species, anatomical location/function, and sex” (Haizlip 2015 at 30.) The
  differences in genetic expression between males and females influence the skeletal
  muscle fiber composition (i.e. fast twitch and fast twitch sub-type and slow twitch),
  the skeletal muscle fiber size, the muscle contractile rate, and other aspects of
  muscle function that influence athletic performance. As the authors review the
  differences in skeletal muscle between males and females they conclude,
  “Additionally, all of the fibers measured in men have significantly larger cross-
  sectional areas (CSA) compared with women.” (Haizlip 2015 at 31.) The authors
  also explore the effects of thyroid hormone, estrogen, and testosterone on gene
  expression and skeletal muscle function in males and females. One major conclusion
  by the authors is that “The complexity of skeletal muscle and the role of sex adding
  to that complexity cannot be overlooked.” (Haizlip 2015 at 37.) The evaluation of
  SDE in protein coding genes helps illustrate that the differences between men and
  women are intrinsically part of the chromosomal and genetic makeup of humans
  which can influence many tissues that are inherent to the athletic competitive
  advantages of men compared to women.

II.   Biological men, or adolescent boys, have large, well-documented
      performance advantages over women and adolescent girls in almost all
      athletic contests.

        7.     It should scarcely be necessary to invoke scientific experts to “prove”
  that men are on average larger, stronger, and faster than women. All of us, along
  with our siblings and our peers and perhaps our children, have passed through
  puberty, and we have watched that differentiation between the sexes occur. This is
  common human experience and knowledge.

         8.    Nevertheless, these differences have been extensively studied and
  measured. I cited many of these studies in the first paper on this topic that I
  prepared, which was submitted in litigation in January 2020. Since then, in light of
  current controversies, several authors have compiled valuable collections or reviews
  of data extensively documenting this objective fact about the human species, as
  manifest in almost all sports, each of which I have reviewed and found informative.
  These include Coleman (2020), Hilton & Lundberg (2021), World Rugby (2020),
  Harper (2021), Hamilton (2021), and a “Briefing Book” prepared by the Women’s
  Sports Policy Working Group (2021). The important paper by Handelsman et al.
  (2018) also gathers scientific evidence of the systematic and large male athletic
  advantage.

        9.    These papers and many others document that men, adolescent boys,
  and prepubertal male children, substantially outperform comparably aged women,



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 adolescent girls and prepubertal female children, in competitions involving running
 speed, swimming speed, cycling speed, jumping height, jumping distance, and
 strength (to name a few, but not all, of the performance differences). As I discuss
 later, it is now clear that these performance advantages for men, adolescent boys,
 and prepubertal male children, are inherent to the biological differences between
 the sexes.

        10.   In fact, I am not aware of any scientific evidence today that disproves
 that after puberty men possess large advantages in athletic performance over
 women–so large that they are generally insurmountable for comparably gifted and
 trained athletes at every level (i.e. (a) elite, (b) collegiate, (c) scholastic, and (d)
 recreational competition). And I am not aware of any scientific evidence today that
 disproves that these measured performance advantages are at least largely the
 result of physiological differences between men and women which have been
 measured and are reasonably well understood.

        11.    My use of the term “advantage” in this paper must not be read to imply
 any normative judgment. The adult female physique is simply different from the
 adult male physique. Obviously, it is optimized in important respects for the
 difficult task of childbearing. On average, women require far fewer calories for
 healthy survival. Evolutionary biologists can and do theorize about the survival
 value or “advantages” provided by these and other distinctive characteristics of the
 female physique, but I will leave that to the evolutionary biologists. I use
 “advantage” to refer merely to performance advantages in athletic competitions.

        12.    I find in the literature a widespread consensus that the large
 performance and physiological advantages possessed by males–rather than social
 considerations or considerations of identity–are precisely the reason that most
 athletic competitions are separated by sex, with women treated as a “protected
 class.” To cite only a few statements accepting this as the justification:

               Handelsman et al. (2018) wrote, “Virtually all elite sports are
                segregated into male and female competitions. The main justification
                is to allow women a chance to win, as women have major
                disadvantages against men who are, on average, taller, stronger, and
                faster and have greater endurance due to their larger, stronger,
                muscles and bones as well as a higher circulating hemoglobin level.”
                (803)

               Millard-Stafford et al. (2018) wrote “Current evidence suggests that
                women will not swim or run as fast as men in Olympic events, which
                speaks against eliminating sex segregation in these individual sports”
                (530) “Given the historical context (2% narrowing in swimming over 44
                y), a reasonable assumption might be that no more than 2% of the
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                current performance gap could still potentially be attributed to
                sociocultural influences.”, (533) and “Performance gaps between US
                men and women stabilized within less than a decade after federal
                legislation provided equal opportunities for female participation, but
                only modestly closed the overall gap in Olympic swimming by 2% (5%
                in running).” (533) Dr. Millard-Stafford, a full professor at Georgia
                Tech, holds a Ph.D. in Exercise Physiology and is a past President of
                the American College of Sports Medicine.

               In 2021, Hilton et al. wrote, “most sports have a female category the
                purpose of which is the protection of both fairness and, in some sports,
                safety/welfare of athletes who do not benefit from the physiological
                changes induced by male levels of testosterone from puberty onwards.”
                (204)

               In 2020 the Swiss High Court (“Tribunal Fédéral”) observed that “in
                most sports . . . women and men compete in two separate categories,
                because the latter possess natural advantages in terms of physiology.”1

               The members of the Women’s Sports Policy Working Group wrote that
                “If sports were not sex-segregated, female athletes would rarely be
                seen in finals or on victory podiums,” and that “We have separate sex
                sport and eligibility criteria based on biological sex because this is the
                only way we can assure that female athletes have the same
                opportunities as male athletes not only to participate but to win in
                competitive sport. . . . If we did not separate athletes on the basis of
                biological sex–if we used any other physical criteria–we would never
                see females in finals or on podiums.” (WSPWG Briefing Book 2021 at 5,
                20.)

               In 2020, the World Rugby organization stated that “the women's
                category exists to ensure protection, safety and equality for those who
                do not benefit from the biological advantage created by these biological
                performance attributes.” (World Rugby Transgender Women
                Guidelines 2020.)

               In 2021 Harper et al. stated “…the small decrease in strength in
                transwomen after 12–36 months of GAHT [Gender Affirming Hormone
                Therapy] suggests that transwomen likely retain a strength advantage


        1 “dans la plupart des sports . . . les femmes et les hommes concourent dans

 deux catégories séparées, ces derniers étant naturellement avantagés du point de
 vue physique.” Tribunal Fédéral decision of August 25, 2020, Case 4A_248/2019,
 4A_398/2019, at §9.8.3.3.


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                over cisgender women.” (7) and “…observations in trained transgender
                individuals are consistent with the findings of the current review in
                untrained transgender individuals, whereby 30 months of GAHT may
                be sufficient to attenuate some, but not all, influencing factors
                associated with muscular endurance and performance.” (8)

               Hamilton et al. (2021), in a consensus statement for the International
                Federation of Sports Medicine (FIMS) concluded that “Transwomen
                have the right to compete in sports. However, cisgender women have
                the right to compete in a protected category.” (1409)

       13.    While the sources I mention above gather more extensive scientific
 evidence of this uncontroversial truth, I provide here a brief summary of
 representative facts concerning the male advantage in athletic performance.

                Men are stronger.

         14.   Males exhibit greater strength throughout the body. Both Handelsman
 et al. (2018) and Hilton & Lundberg (2021) have gathered multiple literature
 references that document this fact in various muscle groups.

        15.    Men have in the neighborhood of 60%-100% greater arm strength
 than women. (Handelsman 2018 at 812.)2 One study of elbow flexion strength
 (basically, bringing the fist up towards the shoulder) in a large sample of men and
 women found that men exhibited 109% greater isometric strength, and 89% higher
 strength in a single repetition. (Hilton 2021 at 204, summarizing Hubal (2005) at
 Table 2.)

        16.    Grip strength is often used as a useful proxy for strength more
 generally. In one study, men showed on average 57% greater grip strength than
 women. (Bohannon 2019.) A wider meta-analysis of multiple grip-strength studies
 not limited to athletic populations found that 18- and 19-year-old males exhibited in




        2 Handelsman expresses this as women having 50% to 60% of the “upper

 limb” strength of men. Handelsman cites Sale, Neuromuscular function, for this
 figure and the “lower limb” strength figure. Knox et al., Transwomen in elite sport
 (2018) are probably confusing the correct way to state percentages when they state
 that “differences lead to decreased trunk and lower body strength by 64% and 72%
 respectively, in women” (397): interpreted literally, this would imply that men have
 almost 4x as much lower body strength as do women.
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 the neighborhood of 2/3 greater grip strength than females. (Handelsman 2017
 Figure 3, summarizing Silverman 2011 Table 1.)3

        17.    In an evaluation of maximal isometric handgrip strength in 1,654
 healthy men, 533 healthy women aged 20-25 years and 60 “highly trained elite
 female athletes from sports known to require high hand-grip forces (judo,
 handball),” Leyk et al. (2007) observed that, “The results of female national elite
 athletes even indicate that the strength level attainable by extremely high training
 will rarely surpass the 50th percentile of untrained or not specifically trained men.”
 (Leyk 2007 at 415.)

        18.   Men have in the neighborhood of 25%-60% greater leg strength than
 women. (Handelsman 2018 at 812.) In another measure, men exhibit 54% greater
 knee extension torque and this male leg strength advantage is consistent across the
 lifespan. (Neder 1999 at 120-121.)

       19.    When male and female Olympic weightlifters of the same body weight
 are compared, the top males lift weights between 30% and 40% greater than the
 females of the same body weight. But when top male and female performances are
 compared in powerlifting, without imposing any artificial limitations on
 bodyweight, the male record is 65% higher than the female record. (Hilton 2021 at
 203.)

        20.    In another measure that combines many muscle groups as well as
 weight and speed, moderately trained males generated 162% greater punching
 power than females even though men do not possess this large an advantage in any
 single bio-mechanical variable. (Morris 2020.) This objective reality was subjectively
 summed up by women’s mixed-martial arts fighter Tamikka Brents, who suffered
 significant facial injuries when she fought against a biological male who identified
 as female and fought under the name of Fallon Fox. Describing the experience,
 Brents said:

            “I’ve fought a lot of women and have never felt the strength
            that I felt in a fight as I did that night. I can’t answer whether
            it’s because she was born a man or not because I’m not a
            doctor. I can only say, I’ve never felt so overpowered ever in my
            life, and I am an abnormally strong female in my own right.”4




        3 Citing Silverman, The secular trend for grip strength in Canada and the

 United States, J. Ports Sci. 29:599-606 (2011).
        4 http://whoatv.com/exclusive-fallon-foxs-latest-opponent-opens-up-to-whoatv/

 (last accessed October 5, 2021).


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              Men run faster.

      21.    Many scholars have detailed the wide performance advantages enjoyed
 by men in running speed. One can come at this reality from a variety of angles.

        22.    Multiple authors report a male speed advantage in the neighborhood of
 10%-13% in a variety of events, with a variety of study populations. Handelsman et
 al. 2018 at 813 and Handelsman 2017 at 70 both report a male advantage of about
 10% by age 17. Thibault et al. 2010 at 217 similarly reported a stable 10%
 performance advantage across multiple events at the Olympic level. Tønnessen et
 al. (2015 at 1-2) surveyed the data and found a consistent male advantage of 10%-
 12% in running events after the completion of puberty. They document this for both
 short sprints and longer distances. One group of authors found that the male
 advantage increased dramatically in ultra-long-distance competition (Lepers &
 Knechtle 2013.)

        23.    A great deal of current interest has been focused on track events. It is
 worth noting that a recent analysis of publicly available sports federation and
 tournament records found that men enjoy the least advantage in running events, as
 compared to a range of other events and metrics, including jumping, pole vaulting,
 tennis serve speed, golf drives, baseball pitching speed, and weightlifting. (Hilton
 2021 at 201-202.) Nevertheless, as any serious runner will recognize, the
 approximately 10% male advantage in running is an overwhelming difference. Dr.
 Hilton calculates that “approximately 10,000 males have personal best times that
 are faster than the current Olympic 100m female champion.” (Hilton 2021 at 204.)
 Professors Doriane Coleman, Jeff Wald, Wickliffe Shreve, and Richard Clark
 dramatically illustrated this by compiling the data and creating the figure below
 (last accessed on February 10, 2022, at https://bit.ly/35yOyS4), which shows that
 the lifetime best performances of three female Olympic champions in the 400m
 event—including Team USA’s Sanya Richards-Ross and Allyson Felix—would not
 match the performances of “literally thousands of boys and men, including
 thousands who would be considered second tier in the men’s category” just in 2017
 alone: (data were drawn from the International Association of Athletics Federations
 (IAAF) website which provides complete, worldwide results for individuals and
 events, including on an annual and an all-time basis).




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        24.   Professor Coleman and her colleague Wicklyffe Shreve also created the
 table below (last accessed on February 10, 2022, at https://bit.ly/37E1s2X), which
 “compares the number of men—males over 18—competing in events reported to the
 International Association of Athletics Federation whose results in each event in
 2017 would have ranked them above the very best elite woman that year.”




       25.    The male advantage becomes insuperable well before the
 developmental changes of puberty are complete. Dr. Hilton documents that even
 “schoolboys”–defined as age 15 and under–have beaten the female world records in
 running, jumping, and throwing events. (Hilton 2021 at 204.)

       26.    Similarly, Coleman and Shreve created the table below (last accessed
 on February 10, 2022, at https://bit.ly/37E1s2X), which “compares the number of
 boys—males under the age of 18—whose results in each event in 2017 would rank
 them above the single very best elite [adult] woman that year:” data were drawn
 from the International Association of Athletics Federations (IAAF) website




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        27.    In an analysis I have performed of running events (consisting of the
 100 m, 200 m, 400 m, 800 m, 1500 m, 5000 m, and 10000 m) in the Division 1,
 Division 2, and Division 3 NCAA Outdoor track championships for the years of
 2010-2019, the average performance across all events of the 1st place man was
 14.1% faster than the 1st place woman, with the smallest difference being a 10.2%
 advantage for men in the Division 1 100 m race. The average 8th place man across
 all events (the last place to earn the title of All American) was 11.2% faster than 1st
 place woman, with the smallest difference being a 6.5% advantage for men in the
 Division 1 100 m race. (Brown et al. Unpublished observations, to be presented at
 the 2022 Annual Meeting of the American College of Sports Medicine.)

        28.    Athletic.net® is an internet-based resource providing “results, team,
 and event management tools to help coaches and athletes thrive.” Among the
 resources available on Athletic.net are event records that can be searched by
 nationally or by state age group, school grade, and state. Higerd (2021) in an
 evaluation of high school track running performance records from five states(CA,
 FL, MN, NY, WA), over three years (2017 – 2019) observed that males were 14.38%
 faster than females in the 100M (at 99), 16.17% faster in the 200M (at 100), 17.62%
 faster in the 400M (at 102), 17.96% faster in the 800M (at 103), 17.81% faster in the
 1600M (at 105), and 16.83% faster in the 3200M (at 106).

              Men jump higher and farther.

        29.   Jumping involves both leg strength and speed as positive factors, with
 body weight of course a factor working against jump height. Despite their
 substantially greater body weight, males enjoy an even greater advantage in
 jumping than in running. Handelsman 2018 at 813, looking at youth and young
 adults, and Thibault 2010 at 217, looking at Olympic performances, both found
 male advantages in the range of 15%-20%. See also Tønnessen 2015 (approximately
 19%); Handelsman 2017 (19%); Hilton 2021 at 201 (18%). Looking at the vertical
 jump called for in volleyball, research on elite volleyball players found that males
 jumped on average 50% higher during an “attack” at the net than did females.
 (Sattler 2015; see also Hilton 2021 at 203 (33% higher vertical jump).)

        30.    Higerd (2021) in an evaluation of high school high jump performance
 available through the track and field database athletic.net®, which included five
 states (CA, FL, MN, NY, WA), over three years (2017 – 2019) (at 82) observed that
 in 23,390 females and 26,843 males, females jumped an average of 1.35 m and
 males jumped an average of 1.62 m, for an 18.18% performance advantage for males
 (at 96). In an evaluation of long jump performance in 45,705 high school females
 and 54,506 high school males the females jumped an average of 4.08 m and males
 jumped an average of 5.20 m, for a 24.14% performance advantage for males (at 97).




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        31.    The combined male advantage of body height and jump height means,
 for example, that a total of seven women in the WNBA have ever dunked a
 basketball in the regulation 10 foot hoop,5 while the ability to dunk appears to be
 almost universal among NBA players: “Since the 1996–97 season (the earliest data
 is available from Basketball-Reference.com), 1,801 different [NBA] players have
 combined for 210,842 regular-season dunks, and 1,259 out of 1,367 players (or 92%)
 who have played at least 1,000 minutes have dunked at least once.”6

              Men throw, hit, and kick faster and farther.

      32.    Strength, arm-length, and speed combine to give men a large
 advantage over women in throwing. This has been measured in a number of studies.

        33.    One study of elite male and female baseball pitchers showed that men
 throw baseballs 35% faster than women—81 miles/hour for men vs. 60 miles/hour
 for women. (Chu 2009.) By age 12, “boys’ throwing velocity is already between 3.5
 and 4 standard deviation units higher than the girls’.” (Thomas 1985 at 276.) By age
 seventeen, the average male can throw a ball farther than 99% of seventeen-year-
 old females. (Lombardo 2018; Chu 2009; Thomas 1985 at 268.) Looking at publicly
 available data, Hilton & Lundberg found that in both baseball pitching and the field
 hockey “drag flick,” the record ball speeds achieved by males are more than 50%
 higher than those achieved by females. (Hilton 2021 at 202-203.)

        34.   Men achieve serve speeds in tennis more that 15% faster than women;
 and likewise in golf achieve ball speeds off the tee more than 15% faster than
 women. (Hilton 2021 at 202.)

      35.   Males are able to throw a javelin more than 30% farther than females.
 (Lombardo 2018 Table 2; Hilton 2021 at 203.)

        36.  Men serve and spike volleyballs with higher velocity than women, with
 a performance advantage in the range of 29-34%. (Hilton 2021 at 204 Fig. 1.)

        37.    Men are also able to kick balls harder and faster. A study comparing
 collegiate soccer players found that males kick the ball with an average 20% greater
 velocity than females. (Sakamoto 2014.)




        5 https://www.espn.com/wnba/story/_/id/32258450/2021-wnba-playoffs-

 brittney-griner-owns-wnba-dunking-record-coming-more.
        6 https://www.si.com/nba/2021/02/22/nba-non-dunkers-patty-mills-tj-

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                Males exhibit faster reaction times.

          38.   Interestingly, men enjoy an additional advantage over women in
   reaction time–an attribute not obviously related to strength or metabolism (e.g.
   V02max). “Reaction time in sports is crucial in both simple situations such as the
   gun shot in sprinting and complex situations when a choice is required. In many
   team sports this is the foundation for tactical advantages which may eventually
   determine the outcome of a game.” (Dogan 2009 at 92.) “Reaction times can be an
   important determinant of success in the 100m sprint, where medals are often
   decided by hundredths or even thousandths of a second.” (Tønnessen 2013 at 885.)

           39.    The existence of a sex-linked difference in reaction times is consistent
   over a wide range of ages and athletic abilities. (Dykiert 2012.) Even by the age of 4
   or 5, in a ruler-drop test, males have been shown to exhibit 4% to 6% faster reaction
   times than females. (Latorre-Roman 2018.) In high school athletes taking a common
   baseline “ImPACT” test, males showed 3% faster reaction times than females.
   (Mormile 2018.) Researchers have found a 6% male advantage in reaction times of
   both first-year medical students (Jain 2015) and world-class sprinters (Tønnessen
   2013).

          40.   Most studies of reaction times use computerized tests which ask
   participants to hit a button on a keyboard or to say something in response to a
   stimulus. One study on NCAA athletes measured “reaction time” by a criterion
   perhaps more closely related to athletic performance–that is, how fast athletes
   covered 3.3 meters after a starting signal. Males covered the 3.3 meters 10% faster
   than females in response to a visual stimulus, and 16% faster than females in
   response to an auditory stimulus. (Spierer 2010.)

         41.    Researchers have speculated that sex-linked differences in brain
   structure, as well as estrogen receptors in the brain, may be the source of the
   observed male advantage in reaction times, but at present this remains a matter of
   speculation and hypothesis. (Mormile at 19; Spierer at 962.)

III.   Men have large measured physiological differences compared to
       women which demonstrably or likely explain their performance
       advantages.

          42.   No single physiological characteristic alone accounts for all or any one
   of the measured advantages that men enjoy in athletic performance. However,
   scientists have identified and measured a number of physiological factors that
   contribute to superior male performance.




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              Men are taller and heavier than women

        43.    In some sports, such as basketball and volleyball, height itself provides
 competitive advantage. While some women are taller than some men, based on data
 from 20 countries in North America, Europe, East Asia, and Australia, the 50th
 percentile for body height for women is 164.7 cm (5 ft 5 inches) and the 50th
 percentile for body height for men is 178.4 cm (5 ft 10 inches). Helping to illustrate
 the inherent height difference between men and women, from the same data
 analysis, the 95th percentile for body height for women is 178.9 cm (5 feet 10.43
 inches), which is only 0.5 cm taller than the 50th percentile for men (178.4 cm; 5 feet
 10.24 inches), while the 95th percentile for body height for men is 193.6 cm (6 feet
 4.22 inches). (Roser 2013.)

        44.   To look at a specific athletic population, an evaluation of NCAA
 Division 1 basketball players compared 68 male guards and 59 male forwards to 105
 female guards and 91 female forwards, and found that on average the male guards
 were 187.4 ± 7.0 cm tall and weighed 85.2 ± 7.4 kg while the female guards were
 171.6 ± 5.0 cm tall and weighed 68.0 ± 7.4 kg. The male forwards were 201.7 ± 4.0
 cm tall and weighed 105.3 ± 5.9 kg while the female forwards were 183.5 ± 4.4 cm
 tall and weighed 82.2 ± 12.5 kg. (Fields 2018 at 3.)

              Males have larger and longer bones, stronger bones, and
              different bone configuration.

       45.     Obviously, males on average have longer bones. “Sex differences in
 height have been the most thoroughly investigated measure of bone size, as adult
 height is a stable, easily quantified measure in large population samples. Extensive
 twin studies show that adult height is highly heritable with predominantly additive
 genetic effects that diverge in a sex-specific manner from the age of puberty
 onwards.” (Handelsman 2018 at 818.) “Pubertal testosterone exposure leads to an
 ultimate average greater height in men of 12–15 centimeters, larger bones, greater
 muscle mass, increased strength and higher hemoglobin levels.” (Gooren 2011 at
 653.)

        46.   “Men have distinctively greater bone size, strength, and density than
 do women of the same age. As with muscle, sex differences in bone are absent prior
 to puberty but then accrue progressively from the onset of male puberty due to the
 sex difference in exposure to adult male circulating testosterone concentrations.”
 (Handelsman 2018 at 818.)

       47.   “[O]n average men are 7% to 8% taller with longer, denser, and
 stronger bones, whereas women have shorter humerus and femur cross-sectional



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 areas being 65% to 75% and 85%, respectively, those of men.” (Handelsman 2018 at
 818.)

        48.     Greater height, leg, and arm length themselves provide obvious
 advantages in several sports. But male bone geometry also provides less obvious
 advantages. “The major effects of men’s larger and stronger bones would be
 manifest via their taller stature as well as the larger fulcrum with greater leverage
 for muscular limb power exerted in jumping, throwing, or other explosive power
 activities.” (Handelsman 2018 at 818.)

       49.    Male advantage in bone size is not limited to length, as larger bones
 provide the mechanical framework for larger muscle mass. “From puberty onwards,
 men have, on average, 10% more bone providing more surface area. The larger
 surface area of bone accommodates more skeletal muscle so, for example, men have
 broader shoulders allowing more muscle to build. This translates into 44% less
 upper body strength for women, providing men an advantage for sports like boxing,
 weightlifting and skiing. In similar fashion, muscle mass differences lead to
 decreased trunk and lower body strength by 64% and 72%, respectively in women.
 These differences in body strength can have a significant impact on athletic
 performance, and largely underwrite the significant differences in world record
 times and distances set by men and women.” (Knox 2019 at 397.)

        50.    Meanwhile, distinctive aspects of the female pelvis geometry cut
 against athletic performance. “[T]he widening of the female pelvis during puberty,
 balancing the evolutionary demands of obstetrics and locomotion, retards the
 improvement in female physical performance.” (Handelsman 2018 at 818.) “[T]he
 major female hormones, oestrogens, can have effects that disadvantage female
 athletic performance. For example, women have a wider pelvis changing the hip
 structure significantly between the sexes. Pelvis shape is established during
 puberty and is driven by oestrogen. The different angles resulting from the female
 pelvis leads to decreased joint rotation and muscle recruitment ultimately making
 them slower.” (Knox 2019 at 397.)

        51.    There are even sex-based differences in foot size and shape.
 Wunderlich & Cavanaugh (2001) observed that a “foot length of 257 mm represents
 a value that is … approximately the 20th percentile men’s foot lengths and the 80th
 percentile women’s foot lengths.” (607) and “For a man and a woman, both with
 statures of 170 cm (5 feet 7 inches), the man would have a foot that was
 approximately 5 mm longer and 2 mm wider than the woman.” (608). Based on
 these, and other analyses, they conclude that “female feet and legs are not simply
 scaled-down versions of male feet but rather differ in a number of shape
 characteristics, particularly at the arch, the lateral side of the foot, the first toe, and
 the ball of the foot.” (605) Further, Fessler et al. (2005) observed that “female foot
 length is consistently smaller than male foot length” (44) and concludes that



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 “proportionate foot length is smaller in women” (51) with an overall conclusion that
 “Our analyses of genetically disparate populations reveal a clear pattern of sexual
 dimorphism, with women consistently having smaller feet proportionate to stature
 than men.” (53)

         52.    Beyond simple performance, the greater density and strength of male
 bones provide higher protection against stresses associated with extreme physical
 effort: “[S]tress fractures in athletes, mostly involving the legs, are more frequent in
 females, with the male protection attributable to their larger and thicker bones.”
 (Handelsman 2018 at 818.)

              Males have much larger muscle mass.

        53.  The fact that, on average, men have substantially larger muscles than
 women is as well known to common observation as men’s greater height. But the
 male advantage in muscle size has also been extensively measured. The differential
 is large.

        54.   “On average, women have 50% to 60% of men’s upper arm muscle
 cross-sectional area and 65% to 70% of men’s thigh muscle cross-sectional area, and
 women have 50% to 60% of men’s upper limb strength and 60% to 80% of men’s leg
 strength. Young men have on average a skeletal muscle mass of >12 kg greater
 than age-matched women at any given body weight.” (Handelsman 2018 at 812. See
 also Gooren 2011 at 653, Thibault 2010 at 214.)

       55.   “There is convincing evidence that the sex differences in muscle mass
 and strength are sufficient to account for the increased strength and aerobic
 performance of men compared with women and is in keeping with the differences in
 world records between the sexes.” (Handelsman 2018 at 816.)

        56.    Once again, looking at specific and comparable populations of athletes,
 an evaluation of NCAA Division 1 basketball players consisting of 68 male guards
 and 59 male forwards, compared to 105 female guards and 91 female forwards,
 reported that on average the male guards had 77.7 ± 6.4 kg of fat free mass and 7.4
 ± 3.1 kg fat mass while the female guards had 54.6 ± 4.4 kg fat free mass and 13.4 ±
 5.4 kg fat mass. The male forwards had 89.5 ± 5.9 kg fat free mass and 15.9 ± 5.6
 kg fat mass while the female forwards had 61.8 ± 5.9 kg fat free mass and 20.5 ± 7.7
 kg fat mass. (Fields 2018 at 3.)

              Females have a larger proportion of body fat.

       57.     While women have smaller muscles, they have proportionately more
 body fat, in general a negative for athletic performance. “Oestrogens also affect body

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 composition by influencing fat deposition. Women, on average, have higher
 percentage body fat, and this holds true even for highly trained healthy athletes
 (men 5%–10%, women 8%–15%). Fat is needed in women for normal reproduction
 and fertility, but it is not performance-enhancing. This means men with higher
 muscle mass and less body fat will normally be stronger kilogram for kilogram than
 women.” (Knox 2019 at 397.)

       58.   “[E]lite females have more (<13 vs. <5 %) body fat than males. Indeed,
 much of the difference in [maximal oxygen uptake] between males and females
 disappears when it is expressed relative to lean body mass. . . . Males possess on
 average 7–9 % less percent body fat than females.” (Lepers 2013 at 853.)

        59.   Knox et al. observe that both female pelvis shape and female body fat
 levels “disadvantage female athletes in sports in which speed, strength and recovery
 are important,” (Knox 2019 at 397), while Tønnessen et al. describe the “ratio
 between muscular power and total body mass” as “critical” for athletic performance.
 (Tønnessen 2015 at 7.)

              Males are able to metabolize and release energy to muscles at a
              higher rate due to larger heart and lung size, and higher
              hemoglobin concentrations.

        60.    While advantages in bone size, muscle size, and body fat are easily
 perceived and understood by laymen, scientists also measure and explain the male
 athletic advantage at a more abstract level through measurements of metabolism,
 or the ability to deliver energy to muscles throughout the body.

        61.    Energy release at the muscles depends centrally on the body’s ability
 to deliver oxygen to the muscles, where it is essential to the complex chain of
 biochemical reactions that make energy available to power muscle fibers. Men have
 multiple distinctive physiological attributes that together give them a large
 advantage in oxygen delivery.

       62.     Oxygen is taken into the blood in the lungs. Men have greater
 capability to take in oxygen for multiple reasons. “[L]ung capacity [is] larger in
 men because of a lower diaphragm placement due to Y-chromosome genetic
 determinants.” (Knox 2019 at 397.) Supporting larger lung capacity, men have
 “greater cross-sectional area of the trachea”; that is, they can simply move more air
 in and out of their lungs in a given time. (Hilton 2021 at 201.)

       63.   More, male lungs provide superior oxygen exchange even for a given
 volume: “The greater lung volume is complemented by testosterone-driven
 enhanced alveolar multiplication rate during the early years of life. Oxygen
 exchange takes place between the air we breathe and the bloodstream at the alveoli,



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 so more alveoli allows more oxygen to pass into the bloodstream. Therefore, the
 greater lung capacity allows more air to be inhaled with each breath. This is
 coupled with an improved uptake system allowing men to absorb more oxygen.”
 (Knox 2019 at 397.)

        64.     “Once in the blood, oxygen is carried by haemoglobin. Haemoglobin
 concentrations are directly modulated by testosterone so men have higher levels
 and can carry more oxygen than women.” (Knox 2019 at 397.) “It is well known that
 levels of circulating hemoglobin are androgen-dependent and consequently higher in
 men than in women by 12% on average…. Increasing the amount of hemoglobin in
 the blood has the biological effect of increasing oxygen transport from lungs to
 tissues, where the increased availability of oxygen enhances aerobic energy
 expenditure.” (Handelsman 2018 at 816.) (See also Lepers 2013 at 853; Handelsman
 2017 at 71.) “It may be estimated that as a result the average maximal oxygen
 transfer will be ~10% greater in men than in women, which has a direct impact on
 their respective athletic capacities.” (Handelsman 2018 at 816.)

       65.     But the male metabolic advantage is further multiplied by the fact that
 men are also able to circulate more blood per second than are women.
 “Oxygenated blood is pumped to the active skeletal muscle by the heart. The left
 ventricle chamber of the heart is the reservoir from which blood is pumped to the
 body. The larger the left ventricle, the more blood it can hold, and therefore, the
 more blood can be pumped to the body with each heartbeat, a physiological
 parameter called ‘stroke volume’.The female heart size is, on average, 85% that of a
 male resulting in the stroke volume of women being around 33% less.” (Knox 2018
 at 397.) Hilton cites different studies that make the same finding, reporting that
 men on average can pump 30% more blood through their circulatory system per
 minute (“cardiac output”) than can women. (Hilton 2021 at 202.)

        66.   Finally, at the cell where the energy release is needed, men appear to
 have yet another advantage. “Additionally, there is experimental evidence that
 testosterone increases . . . mitochondrial biogenesis, myoglobin expression, and
 IGF-1 content, which may augment energetic and power generation of skeletal
 muscular activity.” (Handelsman 2018 at 811.)

        67.  “Putting all of this together, men have a much more efficient
 cardiovascular and respiratory system.” (Knox 2019 at 397.) A widely accepted
 measurement that reflects the combined effects of all these respiratory,
 cardiovascular, and metabolic advantages is referred to as “V02max,” which refers
 to the maximum rate at which an individual can consume oxygen during aerobic




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  exercise.7 Looking at 11 separate studies, including both trained and untrained
  individuals, Pate et al. concluded that men have a 50% higher V02max than women
  on average, and a 25% higher V02max in relation to body weight. (Pate 1984 at 92.
  See also Hilton 2021 at 202.)


IV.      The role of testosterone in the development of male advantages in
         athletic performance.

         68.   The following tables of reference ranges for circulating testosterone in
  males and females are presented to help provide context for some of the subsequent
  information regarding athletic performance and physical fitness in children, youth,
  and adults, and regarding testosterone suppression in transwomen and athletic
  regulations. These data were obtained from the Mayo Clinic Laboratories (available
  at https://www.mayocliniclabs.com/test-catalog/overview/83686#Clinical-and-
  Interpretive, accessed January 14, 2022).


  Reference ranges for serum testosterone concentrations in males and females.
   Age                            Males                        Females
   0 – 5 months             2.6 – 13.9 nmol/l               0.7 – 2.8 nmol/l
   6 months – 9 years        0.2 – 0.7 nmol/l               0.2 – 0.7 nmol/l
   10 – 11 years             0.2 – 4.5 nmol/l               0.2 – 1.5 nmol/l
   12 -13 years             0.2 – 27.7 nmol/l               0.2 – 2.6 nmol/l
   14 years                 0.2 – 41.6 nmol/l               0.2 – 2.6 nmol/l
   15 – 16 years            3.5 – 41.6 nmol/l               0.2 – 2.6 nmol/l
   17 – 18 years            10.4 – 41.6 nmol/l              0.7 – 2.6 nmol/l
   19 years and older       8.3 – 32.9 nmol/l               0.3 – 2.1 nmol/l

      Please note that testosterone concentrations are sometimes expressed in units of
      ng/dl, and 1 nmol/l = 28.85 ng/dl.

         69.   Tanner Stages can be used to help evaluate the onset and progression
  of puberty and may be more helpful in evaluating normal testosterone
  concentrations than age in adolescents. “Puberty onset (transition from Tanner
  stage I to Tanner stage II) occurs for boys at a median age of 11.5 years and for girls



           7 V0 max is “based on hemoglobin concentration, total blood volume, maximal
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  stroke volume, cardiac size/mass/compliance, skeletal muscle blood flow, capillary
  density, and mitochondrial content.” International Statement, The Role of
  Testosterone in Athletic Performance (January 2019), available at
  https://law.duke.edu/sites/default/files/centers/sportslaw/Experts_T_Statement_201
  9.pdf.


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 at a median age of 10.5 years. . . . Progression through Tanner stages is variable.
 Tanner stage V (young adult) should be reached by age 18.”
 (https://www.mayocliniclabs.com/test-catalog/overview/83686#Clinical-and-
 Interpretive, accessed January 14, 2022).

 Reference Ranges for serum testosterone concentrations by Tanner stage
       Tanner Stage                    Males                    Females
       I (prepubertal)            0.2 – 0.7 nmol/l           0.7 – 0.7 nmol/l
              II                  0.3 – 2.3 nmo/l            0.2 – 1.6 nmol/l
             III                 0.9 – 27.7 nmol/l           0.6 – 2.6 nmol/l
              IV                 2.9 – 41.6 nmol/l           0.7 – 2.6 nmol/l
       V (young adult)           10.4 – 32.9 nmol/           0.4 – 2.1 nmol/l


        70.   Senefeld et al. (2020 at 99) state that “Data on testosterone levels in
 children and adolescents segregated by sex are scarce and based on convenience
 samples or assays with limited sensitivity and accuracy.” They therefore “analyzed
 the timing of the onset and magnitude of the divergence in testosterone in youths
 aged 6 to 20 years by sex using a highly accurate assay” (isotope dilution liquid
 chromatography tandem mass spectrometry). Senefeld observed a significant
 difference beginning at age 11, which is to say about fifth grade.

 Serum testosterone concentrations (nmol/L) in youths aged 6 to 20 years measured
 using isotope dilution liquid chromatography tandem mass spectrometry (Senefeld
 et al. ,2020, at 99)
                                     Boys           Girls
                       Age (y) 5th 50th 95th 5th 50th 95th
                           6     0.0  0.1  0.2 0.0   0.1   0.2
                           7     0.0  0.1  0.2 0.0   0.1   0.3
                           8     0.0  0.1  0.3 0.0   0.1   0.3
                           9     0.0  0.1  0.3 0.1   0.2   0.6
                          10     0.1  0.2  2.6 0.1   0.3   0.9
                          11     0.1  0.5 11.3 0.2   0.5   1.3
                          12     0.3  3.6 17.2 0.2   0.7   1.4
                          13     0.6  9.2 21.5 0.3   0.8   1.5
                          14     2.2 11.9 24.2 0.3   0.8   1.6
                          15     4.9 13.2 25.8 0.4   0.8   1.8
                          16     5.2 14.9 24.1 0.4   0.9   2.0
                          17     7.6 15.4 27.0 0.5   1.0   2.0
                          18     9.2 16.3 25.5 0.4   0.9   2.1
                          19     8.1 17.2 27.9 0.4   0.9   2.3
                          20     6.5 17.9 29.9 0.4   1.0   3.4

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              Boys exhibit advantages in athletic performance even before
              puberty.

        71.     It is often said or assumed that boys enjoy no significant athletic
 advantage over girls before puberty. However, this is not true. Writing in their
 seminal work on the physiology of elite young female athletes, McManus and
 Armstrong (2011) reviewed the differences between boys and girls regarding bone
 density, body composition, cardiovascular function, metabolic function, and other
 physiologic factors that can influence athletic performance. They stated, “At birth,
 boys tend to have a greater lean mass than girls. This difference remains small but
 detectable throughout childhood with about a 10% greater lean mass in boys than
 girls prior to puberty.” (28) “Sexual dimorphism underlies much of the physiologic
 response to exercise,” and most importantly these authors concluded that, “Young
 girl athletes are not simply smaller, less muscular boys.” (23)

       72.    Certainly, boys’ physiological and performance advantages increase
 rapidly from the beginning of puberty until around age 17-19. But much data and
 multiple studies show that significant physiological differences, and significant
 male athletic performance advantages in certain areas, exist before significant
 developmental changes associated with male puberty have occurred.

         73.   Starting at birth, girls have more body fat and less fat-free mass than
 boys. Davis et al. (2019) in an evaluation of 602 infants reported that at birth and
 age 5 months, infant boys have larger total body mass, body length, and fat-free
 mass while having lower percent body fat than infant girls. In an evaluation of 20
 boys and 20 girls ages 3-8 years old, matched for age, height, and body weight
 Taylor et al. (Taylor 1997) reported that the “boys had significantly less fat, a lower
 % body fat and a higher bone-free lean tissue mass than the girls” when “expressed
 as a percentage of the average fat mass of the boys”, the girls’ fat mass was 52%
 higher than the boys “…while the bone-free lean tissue mass was 9% lower” (at
 1083.) In an evaluation of 376 prepubertal [Tanner Stage 1] boys and girls, Taylor
 et al. (2010) observed that the boys had 21.6% more lean mass, and 13% less body
 fat (when expressed as percent of total body mass) than did the girls. In a review of
 22 peer reviewed publications on the topic, Staiano and Katzmarzyk (2012) conclude
 that “… girls have more T[otal]B[ody]F[at] than boys throughout childhood and
 adolescence. (at 4.)

        74.    In the seminal textbook, Growth, Maturation, and Physical Activity,
 Malina et al. (2004) present a summary of data from Gauthier et al. (1983) which
 present data from “a national sample of Canadian children and youth”
 demonstrating that from ages 7 to17, boys have a higher aerobic power output than
 do girls of the same ages when exercise intensity is measured using heart rate



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 (Malina at 242.) That is to say, that at a heart rate of 130 beats per minute, or 150,
 or 170, a 7 to 17 year old boy should be able to run, bike, or swim faster than a
 similarly aged girl.

       75.     Considerable data from school-based fitness testing exists showing
 that prepubertal boys outperform comparably aged girls in tests of muscular
 strength, muscular endurance, and running speed. These sex-based differences in
 physical fitness are relevant to the current issue of sex-based sports categories
 because, as stated by Lesinski et al. (2020), in an evaluation “of 703 male and
 female elite young athletes aged 8–18” (1) “fitness development precedes sports
 specialization” (2) and further observed that “males outperformed females in
 C[ounter]M[ovement]J[ump], D[rop]J[ump], C[hange]o[f]D[irection speed]
 performances and hand grip strength.” (5).

        76.    Tambalis et al. (2016) states that “based on a large data set comprising
 424,328 test performances” (736) using standing long jump to measure lower body
 explosive power, sit and reach to measure flexibility, timed 30 second sit ups to
 measure abdominal and hip flexor muscle endurance, 10 x 5 meter shuttle run to
 evaluate speed and agility, and multi-stage 20 meter shuttle run test to estimate
 aerobic performance (738). “For each of the fitness tests, performance was better in
 boys compared with girls (p < 0.001), except for the S[it and] R[each] test (p <
 0.001).” (739) In order to illustrate that the findings of Tambalis (2016) are not
 unique to children in Greece, the authors state “Our findings are in accordance with
 recent studies from Latvia [ ] Portugal [ ] and Australia [Catley & Tomkinson
 (2013)].”(744).

        77.    The 20-m multistage fitness test is a commonly used maximal running
 aerobic fitness test used in the Eurofit Physical Fitness Test Battery and the
 FitnessGram Physical Fitness test. It is also known as the 20-meter shuttle run
 test, PACER test, or beep test (among other names; this is not the same test as the
 shuttle run in the Presidential Fitness Test). This test involves continuous running
 between two lines 20 meters apart in time to recorded beeps. The participants stand
 behind one of the lines facing the second line and begin running when instructed by
 the recording. The speed at the start is quite slow. The subject continues running
 between the two lines, turning when signaled by the recorded beeps. After about
 one minute, a sound indicates an increase in speed, and the beeps will be closer
 together. This continues each minute (level). If the line is reached before the beep
 sounds, the subject must wait until the beep sounds before continuing. If the line is
 not reached before the beep sounds, the subject is given a warning and must
 continue to run to the line, then turn and try to catch up with the pace within two
 more 'beeps'. The subject is given a warning the first time they fail to reach the line
 (within 2 meters) and eliminated after the second warning.


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        78.   To illustrate the sex-based performance differences observed by
 Tambalis, I have prepared the following table showing the number of laps
 completed in the 20 m shuttle run for children ages 6-18 years for the low, middle,
 and top decile (Tambalis 2016 at 740 & 742), and have calculated the percent
 difference between the boys and girls using the same equation as Millard-Stafford
 (2018).

                  Performance difference between boys and girls             Girls performance

  Number of laps completed in the 20m shuttle run for children ages 6-18 years
                    Male                             Female                  Male-Female % Difference
        10th        50th        90th      10th         50th       90th       10th     50th       90th
  Age   %ile        %ile        %ile      %ile        %ile       %ile        %ile     %ile       %ile
    6      4         14          31        4.0         12.0       26.0         0.0%    16.7%     19.2%
    7      8         18          38        8.0         15.0       29.0         0.0%    20.0%     31.0%
    8      9         23          47        9.0         18.0       34.0         0.0%    27.8%     38.2%
    9     11         28          53       10.0         20.0       40.0        10.0%    40.0%     32.5%
   10     12         31          58       11.0         23.0       43.0         9.1%    34.8%     34.9%
   11     15         36          64       12.0         26.0       48.0        25.0%    38.5%     33.3%
   12     15         39          69       12.0         26.0       49.0        25.0%    50.0%     40.8%
   13       16       44         76        12.0       26.0      50.0         33.3%      69.2%       52.0%
   14       19       50         85        12.0       26.0      50.0         58.3%      92.3%       70.0%
   15       20       53         90        12.0       25.0      47.0         66.7%     112.0%       91.5%
   16       20       54         90        11.0       24.0      45.0         81.8%     125.0%     100.0%
   17       18       50         86        10.0       23.0      50.0         80.0%     117.4%       72.0%
   18       13       48         87        8.0        23.0      39.5         62.5%     108.7%     120.3%



        79.     The Presidential Fitness Test was widely used in schools in the United
 States from the late 1950s until 2013 (when it was phased out in favor of the
 Presidential Youth Fitness Program and FitnessGram, both of which focus on
 health-related physical fitness and do not present data in percentiles). Students
 participating in the Presidential Fitness Test could receive “The National Physical
 Fitness Award” for performance equal to the 50th percentile in five areas of the
 fitness test, “while performance equal to the 85th percentile could receive the
 Presidential Physical Fitness Award.” Tables presenting the 50th and 85th
 percentiles for the Presidential Fitness Test for males and females ages 6 – 17, and
 differences in performance between males and females, for curl-ups, shuttle run, 1
 mile run, push-ups, and pull-ups appear in the Appendix.

        80.    For both the 50th percentile (The National Physical Fitness Award) and
 the 85th percentile (Presidential Physical Fitness Award), with the exception of curl-
 ups in 6-year-old children, boys outperform girls. The difference in pull-ups for the
 85th percentile for ages 7 through 17 are particularly informative with boys




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 outperforming girls by 100% – 1200%, highlighting the advantages in upper body
 strength in males.

        81.    A very recent literature review commissioned by the five United
 Kingdom governmental Sport Councils concluded that while “[i]t is often assumed
 that children have similar physical capacity regardless of their sex, . . . large-scale
 data reports on children from the age of six show that young males have significant
 advantage in cardiovascular endurance, muscular strength, muscular endurance,
 speed/agility and power tests,” although they “score lower on flexibility tests.” (UK
 Sports Councils’ Literature Review 2021 at 3.)

        82.    Hilton et al., also writing in 2021, reached the same conclusion: “An
 extensive review of fitness data from over 85,000 Australian children aged 9–17
 years old showed that, compared with 9-year-old females, 9-year-old males were
 faster over short sprints (9.8%) and 1 mile (16.6%), could jump 9.5% further from a
 standing start (a test of explosive power), could complete 33% more push-ups in 30
 [seconds] and had 13.8% stronger grip.” (Hilton 2021 at 201, summarizing the
 findings of Catley & Tomkinson 2013.)

        83.   The following data are taken from Catley & Tomkinson (2013 at 101)
 showing the low, middle, and top decile for 1.6 km run (1.0 mile) run time for 11,423
 girls and boys ages 9-17.


  1.6 km run (1.0 mile) run time for 11,423 girls and boys ages 9-17
                           Male                              Female                Male-Female % Difference
               10th        50th        90th        10th       50th     90th        10th     50th       90th
  Age          %ile        %ile        %ile        %ile       %ile     %ile        %ile     %ile       %ile
         9      684         522         423        769.0      609.0    499.0        11.1%    14.3%      15.2%
        10      666         511         420        759.0      600.0    494.0        12.3%    14.8%      15.0%
        11      646         500         416        741.0      586.0    483.0        12.8%    14.7%      13.9%
        12      621         485         408        726.0      575.0    474.0        14.5%    15.7%      13.9%
        13      587         465         395        716.0      569.0    469.0        18.0%    18.3%      15.8%
        14      556         446         382        711.0      567.0    468.0        21.8%    21.3%      18.4%
        15      531         432         373        710.0      570.0    469.0        25.2%    24.2%      20.5%
        16      514         423         366        710.0      573.0    471.0        27.6%    26.2%      22.3%
        17      500         417         362        708.0      575.0    471.0        29.4%    27.5%      23.1%



         84.    Tomkinson et al. (2018) performed a similarly extensive analysis of
 literally millions of measurements of a variety of strength and agility metrics from
 the “Eurofit” test battery on children from 30 European countries. They provide
 detailed results for each metric, broken out by decile. Sampling the low, middle, and
 top decile, 9-year-old boys performed better than 9-year-old girls by between 6.5%


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 and 9.7% in the standing broad jump; from 11.4% to 16.1% better in handgrip; and
 from 45.5% to 49.7% better in the “bent-arm hang.” (Tomkinson 2018.)

        85.    The Bent Arm Hang test is a measure of upper body muscular strength
 and endurance used in the Eurofit Physical Fitness Test Battery. To perform the
 Bent Arm Hang, the child is assisted into position with the body lifted to a height so
 that the chin is level with the horizontal bar (like a pull up bar). The bar is grasped
 with the palms facing away from body and the hands shoulder width apart. The
 timing starts when the child is released. The child then attempts to hold this
 position for as long as possible. Timing stops when the child's chin falls below the
 level of the bar, or the head is tilted backward to enable the chin to stay level with
 the bar.

        86.   Using data from Tomkinson (2018; table 7 at 1452), the following table
 sampling the low, middle, and top decile for bent arm hang for 9- to 17-year-old
 children can be constructed:



  Bent Arm Hang time (in seconds) for children ages 9 - 17 years
                    Male                                  Female              Male-Female % Difference
          10th      50th         90th         10th         50th    90th      10th      50th       90th
  Age    %ile       %ile         %ile         %ile         %ile    %ile      %ile      %ile       %ile
    9     2.13       7.48       25.36         1.43         5.14    16.94     48.95%   45.53%      49.70%
   10     2.25       7.92       26.62         1.42         5.15    17.06     58.45%   53.79%      56.04%
   11     2.35       8.32       27.73         1.42         5.16    17.18     65.49%   61.24%      61.41%
   12     2.48       8.79       28.99         1.41         5.17    17.22     75.89%   70.02%      68.35%
   13     2.77       9.81       31.57         1.41         5.18    17.33     96.45%   89.38%      82.17%
   14     3.67      12.70       38.39         1.40         5.23    17.83    162.14% 142.83% 115.31%
   15     5.40      17.43       47.44         1.38         5.35    18.80    291.30% 225.79% 152.34%
   16       7.39      21.75       53.13       1.38        5.63     20.57    435.51%     286.32%    158.29%
   17       9.03      24.46       54.66       1.43        6.16     23.61    531.47%     297.08%    131.51%



        87.    Evaluating these data, a 9-year-old boy in the 50th percentile (that is
 to say a 9-year-old boy of average upper body muscular strength and endurance)
 will perform better in the bent arm hang test than 9 through 17-year-old girls in the
 50th percentile. Similarly, a 9-year-old boy in the 90th percentile will perform
 better in the bent arm hang test than 9 through 17-year-old girls in the 90th
 percentile.

        88.  Using data from Tomkinson et al. (2017; table 1 at 1549), the following
 table sampling the low, middle, and top decile for running speed in the last stage of
 the 20 m shuttle run for 9- to 17-year-old children can be constructed.




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  20 m shuttle Running speed (km/h at the last completed stage)
                     Male                               Female               Male-Female % Difference
          10th       50th        90th         10th        50th    90th      10th      50th        90th
  Age     %ile       %ile        %ile         %ile       %ile     %ile      %ile      %ile       %ile
     9    8.94       10.03      11.13         8.82        9.72    10.61      1.36%     3.19%       4.90%
   10     8.95       10.13      11.31         8.76        9.75    10.74      2.17%     3.90%       5.31%
   11     8.97       10.25      11.53         8.72        9.78    10.85      2.87%     4.81%       6.27%
   12     9.05       10.47      11.89         8.69        9.83    10.95      4.14%     6.51%       8.58%
   13     9.18       10.73      12.29         8.69        9.86    11.03      5.64%     8.82%     11.42%
   14     9.32       10.96      12.61         8.70        9.89    11.07      7.13%    10.82%     13.91%
   15     9.42       11.13      12.84         8.70        9.91    11.11      8.28%    12.31%     15.57%
   16     9.51       11.27      13.03         8.71        9.93    11.14      9.18%    13.49%     16.97%
   17     9.60       11.41      13.23         8.72        9.96    11.09     10.09%    14.56%     19.30%



        89.    Evaluating these data, a 9-year-old boy in the 50th percentile (that is
 to say a 9-year-old boy of average running speed) will run faster in the final stage of
 the 20 m shuttle run than 9 through 17-year-old girls in the 50th percentile.
 Similarly, a 9-year-old boy in the 90th percentile will run faster in the final stage of
 the 20-m shuttle run than 9 through 15, and 17-year-old girls in the 90th percentile
 and will be 0.01 km/h (0.01%) slower than 16-year-old girls in the 90th percentile.

        90.    Just using these two examples for bent arm hang and 20-m shuttle
 running speed (Tomkinson 2107, Tomkinson 2018) based on large sample sizes
 (thus having tremendous statistical power) it becomes apparent that a 9-year-old
 boy will be very likely to outperform similarly trained girls of his own age and older
 in athletic events involving upper body muscle strength and/or running speed.

        91.     Another report published in 2014 analyzed physical fitness
 measurements of 10,302 children aged 6 -10.9 years of age, from the European
 countries of Sweden, Germany, Hungary, Italy, Cyprus, Spain, Belgium, and
 Estonia. (De Miguel-Etayo et al. 2014.) The authors observed “… that boys
 performed better than girls in speed, lower- and upper-limb strength and
 cardiorespiratory fitness.” (57) The data showed that for children of comparable
 fitness (i.e. 99th percentile boys vs. 99th percentile girls, 50th percentile boys vs.
 50th percentile girls, etc.) the boys outperform the girls at every age in
 measurements of handgrip strength, standing long jump, 20-m shuttle run, and
 predicted VO2max (pages 63 and 64, respectively). For clarification, VO2max is the
 maximal oxygen consumption, which correlates to 30-40% of success in endurance
 sports.

        92.   The standing long jump, also called the Broad Jump, is a common and
 easy to administer test of explosive leg power used in the Eurofit Physical Fitness
 Test Battery and in the NFL Combine. In the standing long jump, the participant
 stands behind a line marked on the ground with feet slightly apart. A two-foot take-

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 off and landing is used, with swinging of the arms and bending of the knees to
 provide forward drive. The participant attempts to jump as far as possible, landing
 on both feet without falling backwards. The measurement is taken from takeoff line
 to the nearest point of contact on the landing (back of the heels) with the best of
 three attempts being scored.

        93.    Using data from De Miguel-Etayo et al. (2014, table 3 at 61), which
 analyzed physical fitness measurements of 10,302 children aged 6 -10.9 years of
 age, from the European countries of Sweden, Germany, Hungary, Italy, Cyprus,
 Spain, Belgium, and Estonia, the following table sampling the low, middle, and top
 decile for standing long jump for 6- to 9-year-old children can be constructed:

  Standing Broad Jump (cm) for children ages 6-9 years
                 Male                                Female               Male-Female % Difference
            10th    50th        90th       10th        50th   90th        10th     50th       90th
  Age       %ile    %ile       %ile       %ile         %ile   %ile        %ile     %ile       %ile
  6-<6.5    77.3    103.0      125.3       69.1        93.8   116.7      11.9%     9.8%       7.4%
  6.5-<7    82.1    108.0      130.7       73.6        98.7   121.9      11.5%     9.4%       7.2%
  7-<7.5    86.8    113.1      136.2       78.2       103.5   127.0      11.0%     9.3%       7.2%
  7.5-<8    91.7    118.2      141.6       82.8       108.3   132.1      10.7%     9.1%       7.2%
  8-<8.5    96.5    123.3      146.9       87.5       113.1   137.1      10.3%     9.0%       7.1%
  8.5-<9   101.5    128.3      152.2       92.3       118.0   142.1      10.0%     8.7%       7.1%



        94.  Another study of Eurofit results for over 400,000 Greek children
 reported similar results. “[C]ompared with 6-year-old females, 6-year-old males
 completed 16.6% more shuttle runs in a given time and could jump 9.7% further
 from a standing position.” (Hilton 2021 at 201, summarizing findings of Tambalis et
 al. 2016.)

        95.   Silverman (2011) gathered hand grip data, broken out by age and sex,
 from a number of studies. Looking only at the nine direct comparisons within
 individual studies tabulated by Silverman for children aged 7 or younger, in eight of
 these the boys had strength advantages of between 13 and 28 percent, with the
 remaining outlier recording only a 4% advantage for 7-year-old boys. (Silverman
 2011 Table 1.)

        96.    To help illustrate the importance of one specific measure of physical
 fitness in athletic performance, Pocek (2021) stated that to be successful, volleyball
 “players should distinguish themselves, besides in skill level, in terms of above-
 average body height, upper and lower muscular power, speed, and agility. Vertical
 jump is a fundamental part of the spike, block, and serve.” (8377) Pocek further
 stated that “relative vertical jumping ability is of great importance in volleyball
 regardless of the players’ position, while absolute vertical jump values can
 differentiate players not only in terms of player position and performance level but
 in their career trajectories.” (8382)



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        97.    Using data from Ramírez-Vélez (2017; table 2 at 994) which analyzed
 vertical jump measurements of 7,614 healthy Colombian schoolchildren aged 9 -17.9
 years of age the following table sampling the low, middle, and top decile for vertical
 jump can be constructed:

  Vertical Jump Height (cm) for children ages 9 - 17 years
                      Male                              Female                 Male-Female % Difference
            10th      50th      90th        10th         50th    90th          10th     50th       90th
  Age       %ile      %ile      %ile        %ile         %ile    %ile          %ile     %ile       %ile
    9       18.0      24.0      29.5        16.0         22.3    29.0         12.5%     7.6%       1.7%
   10       19.5      25.0      32.0        18.0         24.0    29.5          8.3%     4.2%       8.5%
   11       21.0      27.0      32.5        19.5         25.0    31.0          7.7%     8.0%       4.8%
   12       22.0      27.5      34.5        20.0         25.5    31.5         10.0%     7.8%       9.5%
   13       23.0      30.5      39.0        19.0         25.5    32.0         21.1%    19.6%      21.9%
   14       23.5      32.0      41.5        20.0         25.5    32.5         17.5%    25.5%      27.7%
   15       26.0      35.5      43.0        20.2         26.0    32.5         28.7%    36.5%      32.3%
   16       28.0      36.5      45.1        20.5         26.5    33.0         36.6%    37.7%      36.7%
   17       28.0      38.0      47.0        21.5         27.0    35.0         30.2%    40.7%      34.3%



        98.   Similarly, using data from Taylor (2010; table 2, at 869) which
 analyzed vertical jump measurements of 1,845 children aged 10 -15 years in
 primary and secondary schools in the East of England, the following table sampling
 the low, middle, and top decile for vertical jump can be constructed:

  Vertical Jump Height (cm) for children 10 -15 years
                    Male                                Female                Male-Female % Difference
            10th      50th      90th        10th         50th    90th         10th     50th       90th
  Age       %ile      %ile      %ile        %ile         %ile    %ile         %ile     %ile       %ile
   10       16.00     21.00     29.00      15.00        22.00    27.00        6.7%       -4.5%       7.4%
   11       20.00     27.00     34.00      19.00        25.00    32.00        5.3%        8.0%       6.3%
   12       23.00     30.00     37.00      21.00        27.00    33.00        9.5%       11.1%      12.1%
   13       23.00     32.00     40.00      21.00        26.00    34.00        9.5%       23.1%      17.6%
   14       26.00     36.00     44.00      21.00        28.00    34.00        23.8%      28.6%      29.4%
   15       29.00     37.00     44.00      21.00        28.00    39.00        38.1%      32.1%      12.8%



        99.    As can be seen from the data from Ramírez-Vélez (2017) and Taylor
 (2010), males consistently outperform females of the same age and percentile in
 vertical jump height. Both sets of data show that an 11-year-old boy in the 90th
 percentile for vertical jump height will outperform girls in the 90th percentile at
 ages 11 and 12, and will be equal to girls at ages 13, 14, and possibly 15. These data
 indicate that an 11-year-old would be likely to have an advantage over girls of the
 same age and older in sports such as volleyball where “absolute vertical jump


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 values can differentiate players not only in terms of player position and
 performance level but in their career trajectories.” (Pocek 2021 at 8382.)

        100. Boys also enjoy an advantage in throwing well before puberty. “Boys
 exceed girls in throwing velocity by 1.5 standard deviation units as early as 4 to 7
 years of age. . . The boys exceed the girls [in throwing distance] by 1.5 standard
 deviation units as early as 2 to 4 years of age.” (Thomas 1985 at 266.) This means
 that the average 4- to 7-year-old boy can out-throw approximately 87% of all girls of
 his age.

         101. Record data from USA Track & Field indicate that boys outperform
 girls in track events even in the youngest age group for whom records are kept (age
 8 and under).8

            American Youth Outdoor Track & Field Record times in
                  age groups 8 and under (time in seconds)

  Event                Boys                  Girls                  Difference
  100M                 13.65                 13.78                  0.95%
  200M                 27.32                 28.21                  3.26%
  400M                 62.48                 66.10                  5.79%
  800M                 148.59                158.11                 6.41%
  1500M                308.52                314.72                 2.01%
  Mean                                                              3.68%


        102. Looking at the best times within a single year shows a similar pattern
 of consistent advantage for even young boys. I consider the 2018 USATF Region 8
 Junior Olympic Championships for the youngest age group (8 and under).9

  2018 USATF Region 8 Junior Olympic Championships for the 8 and under
  age group
  Event           Boys              Girls            Difference
  100M            15.11             15.64            3.51%
  200M            30.79             33.58            9.06%
  400M            71.12             77.32            8.72%
  800M            174.28            180.48           3.56%
  1500M           351.43            382.47           8.83%
  Mean                                               6.74%


        8http://legacy.usatf.org/statistics/records/view.asp?division=american&locatio

 n=outdoor%20track%20%26%20field&age=youth&sport=TF
      9 https://www.athletic.net/TrackAndField/meet/384619/results/m/1/100m
      9 https://www.athletic.net/CrossCountry/Division/List.aspx?DivID=62211




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        103. Using Athletic.net9, for 2021 Cross Country and Track & Field data for
 boys and girls in the 7-8, 9-10, and 11-12 year old age group club reports, and for
 5th, 6th, and 7th grade for the whole United States I have compiled the tables for
 3000 m events, and for the 100-m, 200-m, 400-m, 800-m, 1600-m, 3000-m, long
 jump, and high jump Track and Field data to illustrate the differences in individual
 athletic performance between boys and girls, all of which appear in the Appendix.
 The pattern of males outperforming females was consistent across events, with rare
 anomalies, only varying in the magnitude of difference between males and females.

         104. Similarly, using Athletic.net, for 2021 Track & Field data for boys and
 girls in the 6th grade for the state of West Virginia, I have compiled tables, which
 appear in the appendix, comparing the performance of boys and girls for the 100-m,
 200-m, 400-m, 800-m, 1600-m, and 3200-m running events in which the 1st place
 boy was consistently faster than the 1st place girl, and the average performance of
 the top 10 boys was consistently faster than the average performance for the top 10
 girls. Based on the finishing times for the 1st place boy and girl in the 6th grade in
 West Virginia 1600-m race, and extrapolating the running time to a running pace,
 the 1st place boy would be expected to finish 273 m in front of the 1st place girl,
 which is 2/3 of a lap on a standard 400-m track, or almost the length of 3 football
 fields. In comparison, the 1st place boy would finish 66 m in front of the 2nd place
 boy, and the 1st place girl would finish 20 m in front of the 2nd place girl.




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  Top 10 West Virginia boys and girls 6th grade outdoor track for 2021 (time in seconds)
         100 m                         200 m                         400 m
      Boys Girls                   Boys Girls                    Boys Girls
   1 13.18 14.00 Difference 26.97 29.28 Difference 60.04 65.50 Difference
   2 13.94 14.19 between #1 29.38 30.05 between #1 60.48 67.51 between #1
   3 14.07 14.47 boy and # 1 30.09 30.34 boy and # 1 66.26 68.60 boy and # 1
   4 14.44 14.86         girl      30.10 30.73         girl      67.12 70.43         girl
   5   14.46   14.92      5.9%       30.24   31.00       7.9%       68.28    71.09       8.3%
   6   14.53   15.04                 30.38   31.04                  68.36    71.38
   7   14.75   15.04    Average      30.54   31.10     Average      69.65    73.61     Average
   8   14.78   15.20   difference    30.69   31.10    difference    69.70    73.87    difference
                        boys vs                        boys vs                         boys vs
   9   14.84   15.25      girls      30.74   31.35       girls      69.76    74.07       girls
  10   14.94   15.28      2.9%       30.99   31.64       2.4%       70.63    74.21       5.6%

          800 m                         1600 m                         3200 m
       Boys Girls                    Boys Girls                     Boys Girls
   1   147.2 164.5     Difference    305.5 357.8      Difference    678.4 776.6       Difference
   2   147.9 166.1     between #1    318.1 361.6      between #1    750.0 809.8       between #1
   3   152.1 167.2     boy and # 1   322.0 379.8      boy and # 1   763.3 811.0       boy and # 1
   4   153.2 170.2         girl      336.0 385.2          girl      766.3 843.0           girl
   5   155.3 171.0       10.6%       342.2 390.2        14.6%       771.7 850.6         12.7%
   6   159.5 171.5                   348.0 392.0                    782.8 852.1
   7   159.9 174.8      Average      356.6 393.3       Average      794.1 858.0        Average
   8   167.8 174.9     difference    357.5 395.7      difference    803.0 862.8       difference
                        boys vs                        boys vs                         boys vs
   9   169.2   175.9      girls      362.4   398.1       girls      812.1    869.9       girls
  10   172.6   177.6      7.5%       366.0   403.2      11.5%       814.3    883.3       8.1%



        105. As serious runners will recognize, differences of 3%, 5%, or 8% are not
 easily overcome. During track competition the difference between first and second
 place, or second and third place, or third and fourth place (and so on) is often 0.5 -
 0.7%, with some contests being determined by as little as 0.01%.

        106. I performed an analysis of running events (consisting of the 100-m,
 200-m, 400-m, 800-m, 1500-m, 5000-m, and 10,000-m) in the Division 1, Division 2,
 and Division 3 NCAA Outdoor championships for the years of 2010-2019: the mean
 difference between 1st and 2nd place was 0.48% for men and 0.86% for women. The
 mean difference between 2nd and 3rd place was 0.46% for men and 0.57% for women.
 The mean difference between 3rd place and 4th place was 0.31% for men and 0.44%
 for women. The mean difference between 1st place and 8th place (the last place to
 earn the title of All American) was 2.65% for men and 3.77% for women. (Brown et
 al. Unpublished observations, to be presented at the 2022 Annual Meeting of the
 American College of Sports Medicine.)

       107. A common response to empirical data showing pre-pubertal
 performance advantages in boys is the argument that the performance of boys may



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 represent a social–cultural bias for boys to be more physically active, rather than
 representing inherent sex-based differences in pre-pubertal physical fitness.
 However, the younger the age at which such differences are observed, and the more
 egalitarian the culture within which they are observed, the less plausible this
 hypothesis becomes. Eiberg et al. (2005) measured body composition, VO2max, and
 physical activity in 366 Danish boys and 332 Danish girls between the ages of 6 and
 7 years old. Their observations indicated that VO2max was 11% higher in boys than
 girls. When expressed relative to body mass the boys’ VO2max was still 8% higher
 than the girls. The authors stated that “…no differences in haemoglobin or sex
 hormones10 have been reported in this age group,” yet “… when children with the
 same VO2max were compared, boys were still more active, and in boys and girls
 with the same P[hysical] A[ctivity] level, boys were fitter.” (728). These data
 indicate that in pre-pubertal children, in a very egalitarian culture regarding
 gender roles and gender norms, boys still have a measurable advantage in regards
 to aerobic fitness when known physiological and physical activity differences are
 accounted for.

        108. And, as I have mentioned above, even by the age of 4 or 5, in a ruler-
 drop test, boys exhibit 4% to 6% faster reaction times than girls. (Latorre-Roman
 2018.)

       109. When looking at the data on testosterone concentrations previously
 presented, along with the data on physical fitness and athletic performance
 presented, boys have advantages in athletic performance and physical fitness before
 there are marked differences in testosterone concentrations between boys and girls.

        110. For the most part, the data I review above relate to pre-pubertal
 children. Today, we also face the question of inclusion in female athletics of males
 who have undergone “puberty suppression.” The UK Sport Councils Literature
 Review notes that, “In the UK, so-called ‘puberty blockers’ are generally not used
 until Tanner maturation stage 2-3 (i.e. after puberty has progressed into early
 sexual maturation).” (9.) While it is outside my expertise, my understanding is that
 current practice with regard to administration of puberty blockers is similar in the
 Unites States. Tanner stages 2 and 3 generally encompass an age range from 10 to
 14 years old, with significant differences between individuals. Like the authors of
 the UK Sports Council Literature Review, I am “not aware of research” directly
 addressing the implications for athletic capability of the use of puberty blockers.
 (UK Sport Councils Literature Review at 9.) As Handelsman documents, the male
 advantage begins to increase rapidly–along with testosterone levels–at about age
 11, or “very closely aligned to the timing of the onset of male puberty.” (Handelsman
 2017.) It seems likely that males who have undergone puberty suppression will


        10 This term would include testosterone and estrogens.


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 have physiological and performance advantages over females somewhere between
 those possessed by pre-pubertal boys, and those who have gone through full male
 puberty, with the degree of advantage in individual cases depending on that
 individual’s development and the timing of the start of puberty blockade.

        111. Tack et al. (2018) observed that in 21 transgender-identifying
 biological males, administration of antiandrogens for 5-31 months (commencing at
 16.3 ± 1.21 years of age), resulted in nearly, but not completely, halting of normal
 age-related increases in muscle strength. Importantly, muscle strength did not
 decrease after administration of antiandrogens. Rather, despite antiandrogens,
 these individuals retained higher muscle mass, lower percent body fat, higher body
 mass, higher body height, and higher grip strength than comparable girls of the
 same age. (Supplemental tables).

        112. Klaver et al. (2018 at 256) demonstrated that the use of puberty
 blockers did not eliminate the differences in lean body mass between biological male
 and female teenagers. Subsequent use of puberty blockers combined with cross-sex
 hormone use (in the same subjects) still did not eliminate the differences in lean
 body mass between biological male and female teenagers. Furthermore, by 22 years
 of age, the use of puberty blockers, and then puberty blockers combined with cross
 sex hormones, and then cross hormone therapy alone for over 8 total years of
 treatment still had not eliminated the difference in lean body mass between
 biological males and females.

        113. The effects of puberty blockers on growth and development, including
 muscle mass, fat mass, or other factors that influence athletic performance, have
 been minimally researched. Indeed, Klaver et al. (2018) is the only published
 research that I am aware of that has evaluated the use of puberty blockers on body
 composition. As stated by Roberts and Carswell (2021), “No published studies have
 fully characterized the impact of [puberty blockers on] final adult height or current
 height in an actively growing TGD youth.” (1680). Likewise, “[n]o published
 literature provides guidance on how to best predict the final adult height for
 TGD youth receiving GnRHa and gender- affirming hormonal treatment.” (1681).
 Thus, the effect of prescribing puberty blockers to a male child before the onset of
 puberty on the physical components of athletic performance is largely unknown.
 There is not any scientific evidence that such treatment eliminates the pre-existing
 performance advantages that prepubertal males have over prepubertal females.

              The rapid increase in testosterone across male puberty drives
              characteristic male physiological changes and the increasing
              performance advantages.

         114. While boys exhibit some performance advantage even before puberty,
 it is both true and well known to common experience that the male advantage



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 increases rapidly, and becomes much larger, as boys undergo puberty and become
 men. Empirically, this can be seen by contrasting the modest advantages reviewed
 immediately above against the large performance advantages enjoyed by men that I
 have detailed in Section II.

        115. Multiple studies (along with common observation) document that the
 male performance advantage begins to increase during the early years of puberty,
 and then increases rapidly across the middle years of puberty (about ages 12-16).
 (Tønnessen 2015; Handelsman 2018 at 812-813.) Since it is well known that
 testosterone levels increase by more than an order of magnitude in boys across
 puberty, it is unsurprising that Handelsman finds that these increases in male
 performance advantage correlate to increasing testosterone levels, as presented in
 his chart reproduced below. (Handelsman 2018 at 812-13.)




        116. Handelsman further finds that certain characteristic male changes
 including boys’ increase in muscle mass do not begin at all until “circulating
 testosterone concentrations rise into the range of males at mid-puberty, which are
 higher than in women at any age.” (Handelsman 2018 at 810.)

        117. Knox et al. (2019) agree that “[i]t is well recognised that testosterone
 contributes to physiological factors including body composition, skeletal structure,
 and the cardiovascular and respiratory systems across the life span, with significant
 influence during the pubertal period. These physiological factors underpin strength,
 speed, and recovery with all three elements required to be competitive in almost all
 sports.” (Knox 2019 at 397.) “High testosterone levels and prior male physiology
 provide an all-purpose benefit, and a substantial advantage. As the IAAF says, ‘To
 the best of our knowledge, there is no other genetic or biological trait encountered in
 female athletics that confers such a huge performance advantage.’” (Knox 2019 at
 399.)

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        118. However, the undisputed fact that high (that is, normal male) levels of
 testosterone drive the characteristically male physiological changes that occur
 across male puberty does not at all imply that artificially depressing testosterone
 levels after those changes occur will reverse all or most of those changes so as to
 eliminate the male athletic advantage. This is an empirical question. As it turns
 out, the answer is that while some normal male characteristics can be changed by
 means of testosterone suppression, others cannot be, and all the reliable evidence
 indicates that males retain large athletic advantages even after long-term
 testosterone suppression.

V.   The available evidence shows that suppression of testosterone in a
     male after puberty has occurred does not substantially eliminate the
     male athletic advantage.

        119. The 2011 “NCAA Policy on Transgender Student-Athlete
 Participation” requires only that males who identify as transgender be on
 unspecified and unquantified “testosterone suppression treatment” for “one
 calendar year” prior to competing in women’s events. In supposed justification of
 this policy, the NCAA’s Office of Inclusion asserts that, “It is also important to know
 that any strength and endurance advantages a transgender woman arguably may
 have as a result of her prior testosterone levels dissipate after about one year of
 estrogen or testosterone-suppression therapy.” (NCAA 2011 at 8.)

        120. Similarly, writing in 2018, Handelsman et al. could speculate that
 even though some male advantages established during puberty are “fixed and
 irreversible (bone size),” “[t]he limited available prospective evidence . . . suggests
 that the advantageous increases in muscle and hemoglobin due to male circulating
 testosterone concentrations are induced or reversed during the first 12 months.”
 (Handelsman 2018 at 824.)

       121. But these assertions or hypotheses of the NCAA and Handelsman are
 now strongly contradicted by the available science. In this section, I examine what
 is known about whether suppression of testosterone in males can eliminate the
 male physiological and performance advantages over females.

              Empirical studies find that males retain a strong performance
              advantage even after lengthy testosterone suppression.

        122. As my review in Section II indicates, a very large body of literature
 documents the large performance advantage enjoyed by males across a wide range
 of athletics. To date, only a limited number of studies have directly measured the
 effect of testosterone suppression and the administration of female hormones on the
 athletic performance of males. These studies report that testosterone suppression
 for a full year (and in some cases much longer) does not come close to eliminating



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 male advantage in strength (hand grip, leg strength, and arm strength) or running
 speed.

        Hand Grip Strength

       123. As I have noted, hand grip strength is a well-accepted proxy for
 general strength. Multiple separate studies, from separate groups, report that
 males retain a large advantage in hand strength even after testosterone
 suppression to female levels.

        124. In a longitudinal study, Van Caenegem et al. reported that males who
 underwent standard testosterone suppression protocols lost only 7% hand strength
 after 12 months of treatment, and only a cumulative 9% after two years. (Van
 Caenegem 2015 at 42.) As I note above, on average men exhibit in the neighborhood
 of 60% greater hand grip strength than women, so these small decreases do not
 remotely eliminate that advantage. Van Caenegem et al. document that their
 sample of males who elected testosterone suppression began with less strength than
 a control male population. Nevertheless, after one year of suppression, their study
 population still had hand grip only 21% less than the control male population, and
 thus still far higher than a female population. (Van Caenegem 2015 at 42.)

        125. Scharff et al. (2019) measured grip strength in a large cohort of male-
 to-female subjects from before the start of hormone therapy through one year of
 hormone therapy. The hormone therapy included suppression of testosterone to less
 than 2 nml/L “in the majority of the transwomen,” (1024), as well as administration
 of estradiol (1021). These researchers observed a small decrease in grip strength in
 these subjects over that time (Fig. 2), but mean grip strength of this group remained
 far higher than mean grip strength of females—specifically, “After 12 months, the
 median grip strength of transwomen [male-to-female subjects] still falls in the 95th
 percentile for age-matched females.” (1026).

        126. Still a third longitudinal study, looking at teen males undergoing
 testosterone suppression, “noted no change in grip strength after hormonal
 treatment (average duration 11 months) of 21 transgender girls.” (Hilton 2021 at
 207, summarizing Tack 2018.)

        127. In a fourth study, Lapauw et al. (2008) looked at the extreme case of
 testosterone suppression by studying a population of 23 biologically male
 individuals who had undergone at least two years of testosterone suppression,
 followed by sex reassignment surgery that included “orchidectomy” (that is, surgical
 castration), and then at least an additional three years before the study date.
 Comparing this group against a control of age- and height-matched healthy males,
 the researchers found that the individuals who had gone through testosterone
 suppression and then surgical castration had an average hand grip (41 kg) that was

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 24% weaker than the control group of healthy males. But this remains at least 25%
 higher than the average hand-grip strength of biological females as measured by
 Bohannon et al. (2019).

       128. Summarizing these and a few other studies measuring strength loss
 (in most cases based on hand grip) following testosterone suppression, Harper et al.
 (2021) conclude that “strength loss with 12 months of [testosterone suppression] . . .
 ranged from non-significant to 7%. . . . [T]he small decrease in strength in
 transwomen after 12-36 months of [testosterone suppression] suggests that
 transwomen likely retain a strength advantage over cisgender women.” (Hilton
 2021 at 870.)

        Arm Strength

        129. Lapauw et al. (2008) found that 3 years after surgical castration,
 preceded by at least two years of testosterone suppression, biologically male
 subjects had 33% less bicep strength than healthy male controls. (Lapauw (2008) at
 1018.) Given that healthy men exhibit between 89% and 109% greater arm strength
 than healthy women, this leaves a very large residual arm strength advantage over
 biological women.

        130. Roberts et al. have recently published an interesting longitudinal
 study, one arm of which considered biological males who began testosterone
 suppression and cross-sex hormones while serving in the United States Air Force.
 (Roberts 2020.) One measured performance criterion was pushups per minute,
 which, while not exclusively, primarily tests arm strength under repetition. Before
 treatment, the biological male study subjects who underwent testosterone
 suppression could do 45% more pushups per minute than the average for all Air
 Force women under the age of 30 (47.3 vs. 32.5). After between one and two years of
 testosterone suppression, this group could still do 33% more pushups per minute.
 (Table 4.) Further, the body weight of the study group did not decline at all after
 one to two years of testosterone suppression (in fact rose slightly) (Table 3), and was
 approximately 24 pounds (11.0 kg) higher than the average for Air Force women
 under the age of 30. (Roberts 2020 at 3.) This means that the individuals who had
 undergone at least one year of testosterone suppression were not only doing 1/3
 more pushups per minute, but were lifting significantly more weight with each
 pushup.

        131. After two years of testosterone suppression, the study sample in
 Roberts et al. was only able to do 6% more pushups per minute than the Air Force
 female average. But their weight remained unchanged from their pre-treatment
 starting point, and thus about 24 pounds higher than the Air Force female average.
 As Roberts et al. explain, “as a group, transwomen weigh more than CW [cis-
 women]. Thus, transwomen will have a higher power output than CW when



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 performing an equivalent number of push-ups. Therefore, our study may
 underestimate the advantage in strength that transwomen have over CW.” (Roberts
 2020 at 4.)

        Leg Strength

        132. Wiik et al. (2020), in a longitudinal study that tracked 11 males from
 the start of testosterone suppression through 12 months after treatment initiation,
 found that isometric strength levels measured at the knee “were maintained over
 the [study period].”11 (808) “At T12 [the conclusion of the one-year study], the
 absolute levels of strength and muscle volume were greater in [male-to-female
 subjects] than in . . . CW [women who had not undergone any hormonal therapy].”
 (Wiik 2020 at 808.) In fact, Wiik et al. reported that “muscle strength after 12
 months of testosterone suppression was comparable to baseline strength. As a
 result, transgender women remained about 50% stronger than . . . a reference
 group of females.” (Hilton 2021 at 207, summarizing Wiik 2020.)

        133. Lapauw et al. (2008) found that 3 years after surgical castration,
 preceded by at least two years of testosterone suppression, subjects had peak knee
 torque only 25% lower than healthy male controls. (Lapauw 2008 at 1018.) Again,
 given that healthy males exhibit 54% greater maximum knee torque than healthy
 females, this leaves these individuals with a large average strength advantage over
 females even years after sex reassignment surgery.

        Running speed

       134. The most striking finding of the recent Roberts et al. study concerned
 running speed over a 1.5 mile distance–a distance that tests midrange endurance.
 Before suppression, the MtF study group ran 21% faster than the Air Force female
 average. After at least 2 year of testosterone suppression, these subjects still ran
 12% faster than the Air Force female average. (Roberts 2020 Table 4.)

        135. The specific experience of the well-known case of NCAA athlete Cece
 Telfer is consistent with the more statistically meaningful results of Roberts et al.,
 further illustrating that male-to-female transgender treatment does not negate the
 inherent athletic performance advantages of a post-pubertal male. In 2016 and 2017
 Cece Telfer competed as Craig Telfer on the Franklin Pierce University men’s track
 team, being ranked 200th and 390th (respectively) against other NCAA Division 2
 men. “Craig” Telfer did not qualify for the National Championships in any events.
 Telfer did not compete in the 2018 season while undergoing testosterone


        11 Isometric strength measures muscular force production for a given amount

 of time at a specific joint angle but with no joint movement.
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       137. Similarly, University of Pennsylvania swimmer Lia Thomas began
 competing in the women’s division in the fall of 2021, after previously competing for
 U. Penn. in the men’s division. Thomas has promptly set school, pool, and/or league
 women’s records in 200 yard freestyle, 500 yard freestyle, and 1650 yard freestyle
 competitions, beating the nearest female in the 1650 yard by an unheard-of 38
 seconds.

         138. In a pre-peer review article, Senefeld, Coleman, Hunter, and Joyner
 (doi: https://doi.org/10.1101/2021.12.28.21268483, accessed January 12, 2022)
 “compared the gender-related differences in performance of a transgender swimmer
 who competed in both the male and female NCAA (collegiate) categories to the sex-
 related differences in performance of world and national class swimmers” and
 observed that this athlete [presumably Lia Thomas based on performance times and
 the timing of this article] was unranked in 2018-2019 in the 100-yard, ranked 551st
 in the 200-yard, 65th in the 500-yard 32nd in the 1650-yards men’s freestyle. After
 following the NCAA protocol for testosterone suppression and competing as a
 woman in 2021-2022, this swimmer was ranked 94th in the 100-yard, 1st in the 200-
 yard, 1st in the 500-yard, and 6th in the 1650-yard women’s freestyle. The
 performance times swimming as a female, when compared to swimming as a male,
 were 4.6% slower in the 100-yard, 2.6% slower in the 200-yard, 5.6% slower in the
 500-yard, and 6.8% slower in the 1650-yard events than when swimming as a male.
 It is important to note that these are mid-season race times and do not represent
 season best performance times or in a championship event where athletes often set
 their personal record times. The authors concluded “…that for middle distance
 events (100, 200 and 400m or their imperial equivalents) lasting between about one
 and five minutes, the decrements in performance of the transgender woman
 swimmer are less than expected on the basis of a comparison of a large cohort of
 world and national class performances by female and male swimmers” and “it is
 possible that the relative improvements in this swimmer’s rankings in the women’s
 category relative to the men’s category are due to legacy effects of testosterone on a
 number of physiological factors that can influence athletic performance.”

        139. Harper (2015) has often been cited as “proving” that testosterone
 suppression eliminates male advantage. And indeed, hedged with many
 disclaimers, the author in that article does more or less make that claim with
 respect to “distance races,” while emphasizing that “the author makes no claims as
 to the equality of performances, pre and post gender transition, in any other sport.”
 (Harper 2015 at 8.) However, Harper (2015) is in effect a collection of unverified
 anecdotes, not science. It is built around self-reported race times from just eight
 self-selected transgender runners, recruited “mostly” online. How and on what
 websites the subjects were recruited is not disclosed, nor is anything said about how
 those not recruited online were recruited. Thus, there is no information to tell us
 whether these eight runners could in any way be representative, and the

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 recruitment pools and methodology, which could bear on ideological bias in their
 self-reports, is not disclosed.

        140. Further, the self-reported race times relied on by Harper (2015) span
 29 years. It is well known that self-reported data, particularly concerning
 emotionally or ideologically fraught topics, is unreliable, and likewise that memory
 of distant events is unreliable. Whether the subjects were responding from memory
 or from written records, and if so what records, is not disclosed, and does not appear
 to be known to the author. For six of the subjects, the author claims to have been
 able to verify “approximately half” of the self-reported times. Which scores these are
 is not disclosed. The other two subjects responded only anonymously, so nothing
 about their claims could be or was verified. In short, neither the author nor the
 reader knows whether the supposed “facts” on which the paper’s analysis is based
 are true.

        141. Even if we could accept them at face value, the data are largely
 meaningless. Only two of the eight study subjects reported (undefined) “stable
 training patterns,” and even with consistent training, athletic performance
 generally declines with age. As a result, when the few data points span 29 years, it
 is not possible to attribute declines in performance to asserted testosterone
 suppression. Further, distance running is usually not on a track, and race times
 vary significantly depending on the course and the weather. Only one reporting
 subject who claimed a “stable training pattern” reported “before and after” times on
 the same course within three years’ time,” which the author acknowledges would
 “represent the best comparison points.”

        142. Harper (2015) to some extent acknowledges its profound
 methodological flaws, but seeks to excuse them by the difficulty of breaking new
 ground. The author states that, “The first problem is how to formulate a study to
 create a meaningful measurement of athletic performance, both before and after
 testosterone suppression. No methodology has been previously devised to make
 meaningful measurements.” (2) This statement was not accurate at the time of
 publication, as there are innumerable publications with validated methodology for
 comparing physical fitness and/or athletic performance between people of different
 ages, sexes, and before and after medical treatment, any of which could easily have
 been used with minimal or no adaptation for the purposes of this study. Indeed, well
 before the publication of Harper (2015), several authors that I have cited in this
 review had performed and published disciplined and methodologically reliable
 studies of physical performance and physiological attributes “before and after”
 testosterone suppression.

       143. More recently, and to her credit, Harper has acknowledged the finding
 of Roberts (2020) regarding the durable male advantage in running speed in the 1.5
 mile distance, even after two years of testosterone suppression. She joins with co-



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 authors in acknowledging that this study of individuals who (due to Air Force
 physical fitness requirements) “could at least be considered exercise trained,” agrees
 that Roberts’ data shows that “transwomen ran significantly faster during the 1.5
 mile fitness test than ciswomen,” and declares that this result is “consistent with
 the findings of the current review in untrained transgender individuals” that even
 30 months of testosterone suppression does not eliminate all male advantages
 “associated with muscle endurance and performance.” (Harper 2021 at 8.) The
 Harper (2021) authors conclude overall “that strength may be well preserved in
 transwomen during the first 3 years of hormone therapy,” and that [w]hether
 transgender and cisgender women can engage in meaningful sport [in competition
 with each other], even after [testosterone suppression], is a highly debated
 question.” (Harper 2021 at 1, 8.)

        144. Higerd (2021) “[a]ssess[ed] the probability of a girls’ champion being
 biologically male” by evaluating 920,11 American high school track and field
 performances available through the track and field database Athletic.net in five
 states (CA, FL, MN, NY, WA), over three years (2017 – 2019),in eight events; high
 jump, long jump, 100M, 200M, 400M, 800M, 1600M, and 3200M and estimated that
 “there is a simulated 81%-98% probability of transgender dominance occurring in
 the female track and field event” and further concluded that “in the majority of
 cases, the entire podium (top of the state) would be MTF [transgender athletes]” (at
 xii).

              Testosterone suppression does not reverse important male
              physiological advantages.

        145. We see that, once a male has gone through male puberty, later
 testosterone suppression (or even castration) leaves large strength and performance
 advantages over females in place. It is not surprising that this is so. What is now a
 fairly extensive body of literature has documented that many of the specific male
 physiological advantages that I reviewed in Section II are not reversed by
 testosterone suppression after puberty, or are reduced only modestly, leaving a
 large advantage over female norms still in place.

        146. Handelsman has well documented that the large increases in
 physiological and performance advantages characteristic of men develop in tandem
 with, and are likely driven by, the rapid and large increases in circulating
 testosterone levels that males experience across puberty, or generally between the
 ages of about 12 through 18. (Handelsman 2018.) Some have misinterpreted
 Handelsman as suggesting that all of those advantages are and remain entirely
 dependent–on an ongoing basis–on current circulating testosterone levels. This is a
 misreading of Handelsman, who makes no such claim. As the studies reviewed
 above demonstrate, it is also empirically false with respect to multiple measures of

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 performance. Indeed, Handelsman himself, referring to the Roberts et al. (2020)
 study which I describe below, has recently written that “transwomen treated with
 estrogens after completing male puberty experienced only minimal declines in
 physical performance over 12 months, substantially surpassing average female
 performance for up to 8 years.” (Handelsman 2020.)

        147. As to individual physiological advantages, the more accurate and more
 complicated reality is reflected in a statement titled “The Role of Testosterone in
 Athletic Performance,” published in 2019 by several dozen sports medicine experts
 and physicians from many top medical schools and hospitals in the U.S. and around
 the world. (Levine et al. 2019.) This expert group concurs with Handelsman
 regarding the importance of testosterone to the male advantage, but recognizes that
 those advantages depend not only on current circulating testosterone levels in the
 individual, but on the “exposure in biological males to much higher levels of
 testosterone during growth, development, and throughout the athletic career.”
 (Emphasis added.) In other words, both past and current circulating testosterone
 levels affect physiology and athletic capability.

        148. Available research enables us to sort out, in some detail, which specific
 physiological advantages are immutable once they occur, which can be reversed
 only in part, and which appear to be highly responsive to later hormonal
 manipulation. The bottom line is that very few of the male physiological advantages
 I have reviewed in Section II above are largely reversible by testosterone
 suppression once an individual has passed through male puberty.

        Skeletal Configuration

        149. It is obvious that some of the physiological changes that occur during
 “growth and development” across puberty cannot be reversed. Some of these
 irreversible physiological changes are quite evident in photographs that have
 recently appeared in the news of transgender competitors in female events. These
 include skeletal configuration advantages including:

               Longer and larger bones that give height, weight, and leverage
                advantages to men;

               More advantageous hip shape and configuration as compared to
                women.

        Cardiovascular Advantages

       150. Developmental changes for which there is no apparent means of
 reversal, and no literature suggesting reversibility, also include multiple




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 contributors to the male cardiovascular advantage, including diaphragm placement,
 lung and trachea size, and heart size and therefore pumping capacity.12

        151. On the other hand, the evidence is mixed as to hemoglobin
 concentration, which as discussed above is a contributing factor to V02 max. Harper
 (2021) surveyed the literature and found that “Nine studies reported the levels of
 Hgb [hemoglobin] or HCT [red blood cell count] in transwomen before and after
 [testosterone suppression], from a minimum of three to a maximum of 36 months
 post hormone therapy. Eight of these studies. . . found that hormone therapy led to
 a significant (4.6%–14.0%) decrease in Hgb/HCT (p<0.01), while one study found no
 significant difference after 6 months,” but only one of those eight studies returned
 results at the generally accepted 95% confidence level. (Harper 2021 at 5-6 and
 Table 5.)

       152. I have not found any study of the effect of testosterone suppression on
 the male advantage in mitochondrial biogenesis.

        Muscle mass

        153. Multiple studies have found that muscle mass decreases modestly or
 not at all in response to testosterone suppression. Knox et al. report that “healthy
 young men did not lose significant muscle mass (or power) when their circulating
 testosterone levels were reduced to 8.8 nmol/L (lower than the 2015 IOC guideline
 of 10 nmol/L) for 20 weeks.” (Knox 2019 at 398.) Gooren found that “[i]n spite of
 muscle surface area reduction induced by androgen deprivation, after 1 year the
 mean muscle surface area in male-to- female transsexuals remained significantly
 greater than in untreated female-to-male transsexuals.” (Gooren 2011 at 653.) An
 earlier study by Gooren found that after one year of testosterone suppression,
 muscle mass at the thigh was reduced by only about 10%, exhibited “no further
 reduction after 3 years of hormones,” and “remained significantly greater” than in
 his sample of untreated women. (Gooren 2004 at 426-427.) Van Caenegem et al.
 found that muscle cross section in the calf and forearm decreased only trivially (4%
 and 1% respectively) after two years of testosterone suppression. (Van Caenegem
 2015 Table 4.)

        154. Taking measurements one month after start of testosterone
 suppression in male-to-female (non-athlete) subjects, and again 3 and 11 months
 after start of feminizing hormone replacement therapy in these subjects, Wiik et al.


        12 “[H]ormone therapy will not alter … lung volume or heart size of the

 transwoman athlete, especially if [that athlete] transitions postpuberty, so natural
 advantages including joint articulation, stroke volume and maximal oxygen uptake
 will be maintained.” (Knox 2019 at 398.)
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 found that total lean tissue (i.e. primarily muscle) did not decrease significantly
 across the entire period. Indeed, “some of the [subjects] did not lose any muscle
 mass at all.” (Wiik 2020 at 812.) And even though they observed a small decrease in
 thigh muscle mass, they found that isometric strength levels measured at the knee
 “were maintained over the [study period].” (808) “At T12 [the conclusion of the one-
 year study], the absolute levels of strength and muscle volume were greater in
 [male-to-female subjects] than in [female-to-male subjects] and CW [women who
 had not undergone any hormonal therapy].” (808)

        155.   Hilton & Lundberg summarize an extensive survey of the literature as
 follows:

            “12 longitudinal studies have examined the effects of
            testosterone suppression on lean body mass or muscle size in
            transgender women. The collective evidence from these studies
            suggests that 12 months, which is the most commonly
            examined intervention period, of testosterone suppression to
            female typical reference levels results in a modest
            (approximately− 5%) loss of lean body mass or muscle size. . . .

            “Thus, given the large baseline differences in muscle mass
            between males and females (Table 1; approximately 40%), the
            reduction achieved by 12 months of testosterone suppression
            can reasonably be assessed as small relative to the initial
            superior mass. We, therefore, conclude that the muscle mass
            advantage males possess over females, and the performance
            implications thereof, are not removed by the currently studied
            durations (4 months, 1, 2 and 3 years) of testosterone
            suppression in transgender women. (Hilton 2021 at 205-207.)

        156. When we recall that “women have 50% to 60% of men’s upper arm
 muscle cross-sectional area and 65% to 70% of men’s thigh muscle cross-sectional
 area” (Handelsman 2018 at 812), it is clear that Hilton’s conclusion is correct. In
 other words, biologically male subjects possess substantially larger muscles than
 biologically female subjects after undergoing a year or even three years of
 testosterone suppression.

        157. I note that outside the context of transgender athletes, the
 testosterone-driven increase in muscle mass and strength enjoyed by these male-to-
 female subjects would constitute a disqualifying doping violation under all league
 anti-doping rules with which I am familiar.




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              Responsible voices internationally are increasingly
              recognizing that suppression of testosterone in a male after
              puberty has occurred does not substantially reverse the male
              athletic advantage.

        158. The previous very permissive NCAA policy governing transgender
 participation in women’s collegiate athletics was adopted in 2011, and the previous
 IOC guidelines were adopted in 2015. At those dates, much of the scientific analysis
 of the actual impact of testosterone suppression had not yet been performed, much
 less any wider synthesis of that science. In fact, a series of important peer-reviewed
 studies and literature reviews have been published only very recently, since I
 prepared my first paper on this topic, in early 2020.

       159. These new scientific publications reflect a remarkably consistent
 consensus: once an individual has gone through male puberty, testosterone
 suppression does not substantially eliminate the physiological and performance
 advantages that that individual enjoys over female competitors.

        160. Importantly, I have found no peer-reviewed scientific paper, nor any
 respected scientific voice, that is now asserting the contrary–that is, that
 testosterone suppression can eliminate or even largely eliminate the male biological
 advantage once puberty has occurred.

       161. I excerpt the key conclusions from important recent peer-reviewed
 papers below.

        162. Roberts 2020: “In this study, we confirmed that . . . the pretreatment
 differences between transgender and cis gender women persist beyond the
 12-month time requirement currently being proposed for athletic competition by the
 World Athletics and the IOC.” (6)

        163. Wiik 2020: The muscular and strength changes in males undergoing
 testosterone suppression “were modest. The question of when it is fair to permit a
 transgender woman to compete in sport in line with her experienced gender identity
 is challenging.” (812)

       164. Harper 2021: “[V]alues for strength, LBM [lean body mass], and
 muscle area in transwomen remain above those of cisgender women, even after 36
 months of hormone therapy.” (1)

        165. Hilton & Lundberg 2021: “evidence for loss of the male performance
 advantage, established by testosterone at puberty and translating in elite athletes
 to a 10–50% performance advantage, is lacking. . . . These data significantly


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 undermine the delivery of fairness and safety presumed by the criteria set out in
 transgender inclusion policies . . .” (211)

         166. Hamilton et al. 2020, “Response to the United Nations Human Rights
 Council’s Report on Race and Gender Discrimination in Sport: An Expression of
 Concern and a Call to Prioritize Research”: “There is growing support for the idea
 that development influenced by high testosterone levels may result in retained
 anatomical and physiological advantages . . . . If a biologically male athlete self-
 identifies as a female, legitimately with a diagnosis of gender dysphoria or
 illegitimately to win medals, the athlete already possesses a physiological
 advantage that undermines fairness and safety. This is not equitable, nor consistent
 with the fundamental principles of the Olympic Charter.”

        167. Hamilton et al. 2021, “Consensus Statement of the Fédération
 Internationale de Médecine du Sport” (International Federation of Sports Medicine,
 or FIMS), signed by more than 60 sports medicine experts from prestigious
 institutions around the world: The available studies “make it difficult to suggest
 that the athletic capabilities of transwomen individuals undergoing HRT or GAS
 are comparable to those of cisgender women.” The findings of Roberts et al.
 “question the required testosterone suppression time of 12 months for transwomen
 to be eligible to compete in women’s sport, as most advantages over ciswomen were
 not negated after 12 months of HRT.”

       168. Outside the forum of peer-reviewed journals, respected voices in sport
 are reaching the same conclusion.

        169. The Women’s Sports Policy Working Group identifies among its
 members and “supporters” many women Olympic medalists, former women’s tennis
 champion and LGBTQ activist Martina Navratilova, Professor Doriane Coleman, a
 former All-American women’s track competitor, transgender athletes Joanna
 Harper and Dr. Renee Richards, and many other leaders in women’s sports and civil
 rights. I have referenced other published work of Joanna Harper and Professor
 Coleman. In early 2021 the Women’s Sports Policy Working Group published a
 “Briefing Book” on the issue of transgender participation in women’s sports,13 in
 which they reviewed largely the same body of literature I have reviewed above, and
 analyzed the implications of that science for fairness and safety in women’s sports.

       170.   Among other things, the Women’s Sports Policy Working Group
 concluded:




        13 https://womenssportspolicy.org/wp-content/uploads/2021/02/Congressional-

 Briefing-WSPWG-Transgender-Women-Sports-2.27.21.pdf


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               “[T]he evidence is increasingly clear that hormones do not eliminate
                the legacy advantages associated with male physical development” (8)
                due to “the considerable size and strength advantages that remain
                even after hormone treatments or surgical procedures.” (17)

                “[T]here is convincing evidence that, depending on the task, skill,
                sport, or event, trans women maintain male sex-linked (legacy)
                advantages even after a year on standard gender-affirming hormone
                treatment.” (26, citing Roberts 2020.)

               “[S]everal peer-reviewed studies, including one based on data from the
                U.S. military, have confirmed that trans women retain their male sex-
                linked advantages even after a year on gender affirming hormones. . . .
                Because of these retained advantages, USA Powerlifting and World
                Rugby have recently concluded that it isn't possible fairly and safely to
                include trans women in women's competition.” (32)

        171. As has been widely reported, in 2020, after an extensive scientific
 consultation process, the World Rugby organization issued its Transgender
 Guidelines, finding that it would not be consistent with fairness or safety to permit
 biological males to compete in World Rugby women’s matches, no matter what
 hormonal or surgical procedures they might have undergone. Based on their review
 of the science, World Rugby concluded:

               “Current policies regulating the inclusion of transgender women in
                sport are based on the premise that reducing testosterone to levels
                found in biological females is sufficient to remove many of the
                biologically-based performance advantages described above. However,
                peer-reviewed evidence suggests that this is not the case.”

               “Longitudinal research studies on the effect of reducing testosterone to
                female levels for periods of 12 months or more do not support the
                contention that variables such as mass, lean mass and strength are
                altered meaningfully in comparison to the original male-female
                differences in these variables. The lowering of testosterone removes
                only a small proportion of the documented biological differences, with
                large, retained advantages in these physiological attributes, with the
                safety and performance implications described previously.”

               “. . . given the size of the biological differences prior to testosterone
                suppression, this comparatively small effect of testosterone reduction
                allows substantial and meaningful differences to remain. This has
                significant implications for the risk of injury . . . .”


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               “ . . . bone mass is typically maintained in transgender women over the
                course of at least 24 months of testosterone suppression, . . . . Height
                and other skeletal measurements such as bone length and hip width
                have also not been shown to change with testosterone suppression, and
                nor is there any plausible biological mechanism by which this might
                occur, and so sporting advantages due to skeletal differences between
                males and females appear unlikely to change with testosterone
                reduction.

        172. In September 2021 the government-commissioned Sports Councils of
 the United Kingdom and its subsidiary parts (the five Sports Councils responsible
 for supporting and investing in sport across England, Wales, Scotland and Northern
 Ireland) issued a formal “Guidance for Transgender Inclusion in Domestic Sport”
 (UK Sport Councils 2021), following an extensive consultation process, and a
 commissioned “International Research Literature Review” prepared by the Carbmill
 Consulting group (UK Sport Literature Review 2021). The UK Sport Literature
 Review identified largely the same relevant literature that I review in this paper,
 characterizes that literature consistently with my own reading and description, and
 based on that science reaches conclusions similar to mine.

        173.    The UK Sport Literature Review 2021 concluded:

               “Sexual dimorphism in relation to sport is significant and the most
                important determinant of sporting capacity. The challenge to sporting
                bodies is most evident in the inclusion of transgender people in female
                sport.” “[The] evidence suggests that parity in physical performance in
                relation to gender-affected sport cannot be achieved for transgender
                people in female sport through testosterone suppression. Theoretical
                estimation in contact and collision sport indicate injury risk is likely to
                be increased for female competitors.” (10)

               “From the synthesis of current research, the understanding is that
                testosterone suppression for the mandated one year before competition
                will result in little or no change to the anatomical differences between
                the sexes, and a more complete reversal of some acute phase metabolic
                pathways such as haemoglobin levels although the impact on running
                performance appears limited, and a modest change in muscle mass and
                strength: The average of around 5% loss of muscle mass and strength
                will not reverse the average 40-50% difference in strength that
                typically exists between the two sexes.” (7)

               “These findings are at odds with the accepted intention of current
                policy in sport, in which twelve months of testosterone suppression is




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                expected to create equivalence between transgender women and
                females.” (7)

       174. Taking into account the science detailed in the UK Sport Literature
 Review 2021, the UK Sports Councils have concluded:

               “[T]he latest research, evidence and studies made clear that there are
                retained differences in strength, stamina and physique between the
                average woman compared with the average transgender woman or
                non-binary person registered male at birth, with or without
                testosterone suppression.” (3)

               “Competitive fairness cannot be reconciled with self-identification into
                the female category in gender-affected sport.” (7)

               “As a result of what the review found, the Guidance concludes that the
                inclusion of transgender people into female sport cannot be balanced
                regarding transgender inclusion, fairness and safety in gender-affected
                sport where there is meaningful competition. This is due to retained
                differences in strength, stamina and physique between the average
                woman compared with the average transgender woman or non-binary
                person assigned male at birth, with or without testosterone
                suppression.” (6)

               “Based upon current evidence, testosterone suppression is unlikely to
                guarantee fairness between transgender women and natal females in
                gender-affected sports. . . . Transgender women are on average likely
                to retain physical advantage in terms of physique, stamina, and
                strength. Such physical differences will also impact safety parameters
                in sports which are combat, collision or contact in nature.” (7)

        175. On January 15, 2022 the American Swimming Coaches Association
 (ASCA) issued a statement stating, “The American Swimming Coaches Association
 urges the NCAA and all governing bodies to work quickly to update their policies
 and rules to maintain fair competition in the women’s category of swimming. ASCA
 supports following all available science and evidenced-based research in setting the
 new policies, and we strongly advocate for more research to be conducted” and
 further stated “The current NCAA policy regarding when transgender females can
 compete in the women’s category can be unfair to cisgender females and needs to be
 reviewed and changed in a transparent manner.” (https://swimswam.com/asca-
 issues-statement-calling-for-ncaa-to-review-transgender-rules/; Accessed January
 16, 2022.)



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        176. On January 19, 2022, the NCAA Board of Governors approved a
 change to the policy on transgender inclusion in sport and stated that “…the
 updated NCAA policy calls for transgender participation for each sport to be
 determined by the policy for the national governing body of that sport, subject to
 ongoing review and recommendation by the NCAA Committee on Competitive
 Safeguards and Medical Aspects of Sports to the Board of Governors. If there is no
 N[ational]G[overning]B[ody] policy for a sport, that sport's international federation
 policy would be followed. If there is no international federation policy, previously
 established IOC policy criteria would be followed”
 (https://www.ncaa.org/news/2022/1/19/media-center-board-of-governors-updates-
 transgender-participation-policy.aspx; Accessed January 20, 2022.)

        177. On February 1, 2022, because “…a competitive difference in the male
 and female categories and the disadvantages this presents in elite head-to-head
 competition … supported by statistical data that shows that the top-ranked female
 in 2021, on average, would be ranked 536th across all short course yards (25 yards)
 male events in the country and 326th across all long course meters (50 meters) male
 events in the country, among USA Swimming members,” USA Swimming released
 its Athlete Inclusion, Competitive Equity and Eligibility Policy. The policy is
 intended to “provide a level-playing field for elite cisgender women, and to mitigate
 the advantages associated with male puberty and physiology.” (USA Swimming
 Releases Athlete Inclusion, Competitive Equity and Eligibility Policy, available at
 https://www.usaswimming.org/news/2022/02/01/usa-swimming-releases-athlete-
 inclusion-competitive-equity-and-eligibility-policy.) The policy states:

               For biologically male athletes seeking to compete in the female
                category in certain “elite” level events, the athlete has the burden of
                demonstrating to a panel of independent medical experts that:

                   o “From a medical perspective, the prior physical development of
                     the athlete as Male, as mitigated by any medical intervention,
                     does not give the athlete a competitive advantage over the
                     athlete’s cisgender Female competitors” and

                   o There is a presumption that the athlete is not eligible unless the
                     athlete “demonstrates that the concentration of testosterone in
                     the athlete’s serum has been less than 5 nmol/L . . . continuously
                     for a period of at least thirty-six (36) months before the date of
                     the Application.” This presumption may be rebutted “if the
                     Panel finds, in the unique circumstances of the case, that [the
                     athlete’s prior physical development does not give the athlete a
                     competitive advantage] notwithstanding the athlete’s serum
                     testosterone results (e.g., the athlete has a medical condition




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                      which limits bioavailability of the athlete’s free testosterone).”
                      (USA Swimming Athlete Inclusion Procedures at 43.)

                                        Conclusions

        The research and actual observed data show the following:

            At the level of (a) elite, (b) collegiate, (c) scholastic, and (d) recreational
            competition, men, adolescent boys, or male children, have an advantage
            over equally gifted, aged and trained women, adolescent girls, or female
            children in almost all athletic events;

            Biological male physiology is the basis for the performance advantage that
            men, adolescent boys, or male children have over women, adolescent girls,
            or female children in almost all athletic events; and

            The administration of androgen inhibitors and cross-sex hormones to men
            or adolescent boys after the onset of male puberty does not eliminate the
            performance advantage that men and adolescent boys have over women
            and adolescent girls in almost all athletic events. Likewise, there is no
            published scientific evidence that the administration of puberty blockers
            to males before puberty eliminates the pre-existing athletic advantage
            that prepubertal males have over prepubertal females in almost all
            athletic events.

        For over a decade sports governing bodies (such as the IOC and NCAA) have
 wrestled with the question of transgender inclusion in female sports. The previous
 polices implemented by these sporting bodies had an underlying “premise that
 reducing testosterone to levels found in biological females is sufficient to remove
 many of the biologically-based performance advantages.” (World Rugby 2020 at 13.)
 Disagreements centered around what the appropriate threshold for testosterone
 levels must be–whether the 10nmol/liter value adopted by the IOC in 2015, or the
 5nmol/liter value adopted by the IAAF.

        But the science that has become available within just the last few years
 contradicts that premise. Instead, as the UK Sports Councils, World Rugby, the
 FIMS Consensus Statement, and the Women’s Sports Policy Working Group have
 all recognized the science is now sharply “at odds with the accepted intention of
 current policy in sport, in which twelve months of testosterone suppression is
 expected to create equivalence between transgender women and females” (UK
 Sports Literature Review 2021 at 7), and it is now “difficult to suggest that the
 athletic capabilities of transwomen individuals undergoing HRT or GAS are
 comparable to those of cisgender women.” (Hamilton, FIMS Consensus Statement
 2021.) It is important to note that while the 2021 “IOC Framework on Fairness,

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 Inclusion, and Non-Discrimination on the Basis of Gender Identity and Sex
 Variations” calls for an “evidence-based approach,” that Framework does not
 actually reference any of the now extensive scientific evidence relating to the
 physiological differences between the sexes, and the inefficacy of hormonal
 intervention to eliminate male advantages relevant to most sports. Instead, the IOC
 calls on other sporting bodies to define criteria for transgender inclusion, while
 demanding that such criteria simultaneously ensure fairness, safety, and inclusion
 for all. The recently updated NCAA policy on transgender participation also relies
 on other sporting bodies to establish criteria for transgender inclusion while calling
 for fair competition and safety.

        But what we currently know tells us that these policy goals—fairness, safety,
 and full transgender inclusion—are irreconcilable for many or most sports. Long
 human experience is now joined by large numbers of research papers that document
 that males outperform females in muscle strength, muscular endurance, aerobic
 and anaerobic power output, VO2max, running speed, swimming speed, vertical
 jump height, reaction time, and most other measures of physical fitness and
 physical performance that are essential for athletic success. The male advantages
 have been observed in fitness testing in children as young as 3 years old, with the
 male advantages increasing immensely during puberty. To ignore what we know to
 be true about males’ athletic advantages over females, based on mere hope or
 speculation that cross sex hormone therapy (puberty blockers, androgen inhibitors,
 or cross-sex hormones) might neutralize that advantage, when the currently
 available evidence says it does not, is not science and is not “evidence-based” policy-
 making.

        Because of the recent research and analysis in the general field of
 transgender athletics, many sports organizations have revised their policies or are
 in the process of doing so. As a result, there is not any universally recognized policy
 among sports organizations, and transgender inclusion policies are in a state of flux,
 likely because of the increasing awareness that the goals of fairness, safety, and full
 transgender inclusion are irreconcilable.

       Sports have been separated by sex for the purposes of safety and fairness for
 a considerable number of years. The values of safety and fairness are endorsed by
 numerous sports bodies, including the NCAA and IOC. The existing evidence of
 durable physiological and performance differences based on biological sex provides a
 strong evidence-based rationale for keeping rules and policies for such sex-based
 separation in place (or implementing them as the case may be).

        As set forth in detail in this report, there are physiological differences
 between males and females that result in males having a significant performance
 advantage over similarly gifted, aged, and trained females in nearly all athletic
 events before, during, and after puberty. There is not scientific evidence that any



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 amount or duration of cross sex hormone therapy (puberty blockers, androgen
 inhibitors, or cross-sex hormones) eliminates all physiological advantages that
 result in males performing better than females in nearly all athletic events. Males
 who have received such therapy retain sufficient male physiological traits that
 enhance athletic performance vis-à-vis similarly aged females and are thus, from a
 physiological perspective, more accurately categorized as male and not female.




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                                Appendix 1 – Data Tables

 Presidential Physical Fitness Results14

  Curl-Ups (# in 1 minute)
                                                         Male-Female %
              Male                  Female                 Difference
            50th     85th       50th      85th             50th        85th
  Age       %ile     %ile       %ile      %ile       Age   %ile        %ile
   6         22       33         23        32         6   -4.3%        3.1%
   7         28       36         25        34         7   12.0%       5.9%
   8         31       40         29        38         8    6.9%       5.3%
   9         32       41         30        39         9    6.7%       5.1%
  10         35       45         30        40        10   16.7%       12.5%
  11         37       47         32        42        11   15.6%       11.9%
  12         40       50         35        45        12   14.3%       11.1%
  13         42       53         37        46        13   13.5%       15.2%
  14         45       56         37        47        14   21.6%       19.1%
  15         45       57         36        48        15   25.0%       18.8%
  16         45       56         35        45        16   28.6%       24.4%
  17         44       55         34        44        17   29.4%       25.0%




        14 This data is available from a variety of sources. including:

 https://gilmore.gvsd.us/documents/Info/Forms/Teacher%20Forms/Presidentialchalle
 ngetest.pdf
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  Shuttle Run (seconds)
                                                        Male-Female %
               Male                Female                 Difference
            50th      85th     50th      85th             50th        85th
  Age       %ile      %ile     %ile      %ile       Age   %ile        %ile
   6        13.3      12.1     13.8      12.4        6    3.6%       2.4%
   7        12.8      11.5     13.2      12.1        7    3.0%       5.0%
   8        12.2      11.1     12.9      11.8        8    5.4%       5.9%
   9        11.9      10.9     12.5      11.1        9    4.8%       1.8%
  10        11.5      10.3     12.1      10.8       10    5.0%       4.6%
  11        11.1       10      11.5      10.5       11    3.5%       4.8%
  12        10.6       9.8     11.3      10.4       12    6.2%       5.8%
  13        10.2       9.5     11.1      10.2       13    8.1%       6.9%
  14         9.9       9.1     11.2      10.1       14   11.6%       9.9%
  15         9.7       9.0     11.0      10.0       15   11.8%       10.0%
  16         9.4       8.7     10.9      10.1       16   13.8%       13.9%
  17         9.4       8.7     11.0      10.0       17   14.5%       13.0%


  1 mile run (seconds)
                                                        Male-Female %
              Male                 Female                 Difference
            50th      85th     50th      85th             50th        85th
  Age       %ile      %ile     %ile      %ile       Age   %ile        %ile
   6        756       615      792        680        6    4.5%        9.6%
   7        700       562      776        636        7    9.8%       11.6%
   8        665       528      750        602        8   11.3%       12.3%
   9        630       511      712        570        9   11.5%       10.4%
  10        588       477      682        559       10   13.8%       14.7%
  11        560       452      677        542       11   17.3%       16.6%
  12        520       431      665        503       12   21.8%       14.3%
  13        486       410      623        493       13   22.0%       16.8%
  14        464       386      606        479       14   23.4%       19.4%
  15        450       380      598        488       15   24.7%       22.1%
  16        430       368      631        503       16   31.9%       26.8%
  17        424       366      622        495       17   31.8%       26.1%




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  Pull Ups (# completed)
                                                                     Male-Female %
              Male                         Female                      Difference
            50th          85th         50th      85th                  50th       85th
  Age       %ile          %ile         %ile      %ile            Age   %ile       %ile
   6         1             2            1         2               6    0.0%       0.0%
   7         1             4            1         2               7    0.0%      100.0%
   8         1             5            1         2               8    0.0%      150.0%
   9         2             5            1         2               9   100.0%     150.0%
  10         2              6           1         3              10   100.0%     100.0%
  11         2              6           1         3              11   100.0%     100.0%
  12         2              7           1         2              12   100.0%     250.0%
  13         3              7           1         2              13   200.0%     250.0%
  14         5             10           1         2              14   400.0%     400.0%
  15         6             11           1         2              15   500.0%     450.0%
  16         7             11           1         1              16   600.0%    1000.0%
  17         8             13           1         1              17   700.0%    1200.0%


 Data Compiled from Athletic.Net
  2021 National 3000 m cross country race time in seconds
                     7-8 years old                      9-10 years old                   11-12 year old
   Rank      Boys     Girls                     Boys      Girls                  Boys     Girls
     1      691.8     728.4      Difference     607.7     659.8    Difference    608.1    632.6     Difference
     2      722.5     739.0     #1 boy vs #     619.6     674.0    #1 boy vs #   608.7    639.8    #1 boy vs #
     3      740.5     783.0         1 girl      620.1     674.7        1 girl    611.3    664.1        1 girl
     4      759.3     783.5         5.0%        643.2     683.7        7.9%      618.6    664.4        3.9%
     5      759.6     792.8                     646.8     685.0                  619.7    671.6
     6      760.0     824.1                     648.0     686.4                  631.2    672.1
     7      772.0     825.7       Average       648.8     687.0      Average     631.7    672.3      Average
     8      773.0     832.3      difference     658.0     691.0     difference   634.9    678.4     difference
     9      780.7     834.3 boys vs girls 659.5           692.2 boys vs girls    635.0    679.3 boys vs girls
    10      735.1     844.4         6.2%        663.9     663.3        5.6%      635.1    679.4        6.3%




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  2021 National 3000 m cross country race time in seconds
                       5th grade                           6th grade                         7th grade
   Rank     Boys      Girls                      Boys     Girls                   Boys      Girls
    1       625.5     667.0       Difference    545.3     582.0      Difference   534.0     560.7     Difference
    2       648.8     685.0      #1 boy vs #    553.2     584.3     #1 boy vs #   541.0     567.0    #1 boy vs #
    3       653.5     712.9          1 girl     562.3     585.1         1 girl    542.6     581.8         1 girl
    4       658.4     719.2          6.2%       562.9     599.8         6.3%      544.6     583.0         4.8%
    5       675.3     725.2                     571.5     612.9                   546.0     595.0
    6       677.4     727.7                     588.0     622.0                   556.0     599.0
    7       677.6     734.0        Average      591.3     624.9       Average     556.0     604.3       Average
    8       679.1     739.4       difference    593.0     626.0      difference   556.0     606.0      difference
    9       686.4     739.4      boys vs girls  593.8     628.0 boys vs girls     558.6     606.8 boys vs girls
    10      686.4     746.4          7.3%       594.1     645.6         5.8%      563.2     617.0         7.1%

 2021 National 100 m Track race time in seconds
                    7-8 years old                      9-10 years old                     11-12 year old
  Rank      Boys      Girls                    Boys      Girls                    Boys     Girls
    1       13.06     14.24 Difference #1 10.87         12.10 Difference #1       11.37    12.08 Difference #1
    2       13.54     14.41      boy vs # 1    10.91    12.24      boy vs # 1     11.61    12.43      boy vs # 1
    3       13.73     14.44          girl      11.09    12.63          girl       11.73    12.51          girl
    4       14.10     14.48        8.3%        11.25    12.70        10.2%        11.84    12.55        5.9%
    5       14.19     14.49                    11.27    12.75                     11.89    12.57
    6       14.31     14.58                    11.33    12.80                     11.91    12.62
    7       14.34     14.69      Average       11.42    12.83       Average       11.94    12.65      Average
    8       14.35     14.72      difference    11.43    12.84      difference     11.97    12.71      difference
    9       14.41     14.77    boys vs girls 11.44      12.88     boys vs girls   12.08    12.71    boys vs girls
    10      14.43     14.86        3.6%        11.51    12.91        11.1%        12.12    12.75        5.7%

 2021 National 200 m Track race time in seconds
                    7-8 years old                      9-10 years old                     11-12 year old
  Rank      Boys      Girls                    Boys      Girls                    Boys     Girls
    1       24.02     28.72 Difference #1 21.77         25.36 Difference #1       20.66    25.03 Difference #1
    2       24.03     28.87      boy vs # 1    22.25    25.50      boy vs # 1     22.91    25.18      boy vs # 1
    3       28.07     29.92          girl      22.48    25.55          girl       23.14    25.22          girl
    4       28.44     29.95       16.4%        22.57    25.70        14.2%        23.69    25.49       17.5%
    5       28.97     30.04                    22.65    26.08                     23.84    25.78
    6       29.26     30.09                    22.77    26.22                     24.23    25.89
    7       29.34     30.27      Average       23.11    26.79       Average       24.35    26.03      Average
    8       29.38     30.34      difference    23.16    26.84      difference     24.58    26.07      difference
    9       29.65     30.41    boys vs girls 23.28      26.91     boys vs girls   24.59    26.10    boys vs girls
    10      29.78     30.54        6.1%        23.47    26.85        13.1%        24.61    26.13        7.9%




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 2021 National 400 m Track race time in seconds
                    7-8 years old                      9-10 years old                     11-12 year old
  Rank      Boys      Girls                    Boys      Girls                    Boys     Girls
    1       66.30     67.12 Difference #1 49.29         56.80 Difference #1       51.96    55.70 Difference #1
    2       66.88     67.67      boy vs # 1    50.47    58.57      boy vs # 1     55.52    57.08      boy vs # 1
    3       67.59     67.74          girl      52.28    60.65          girl       55.58    57.60          girl
    4       68.16     68.26        1.2%        52.44    61.45        13.2%        55.59    57.79        6.7%
    5       68.51     68.37                    53.31    61.81                     55.72    58.02
    6       69.13     71.02                    53.65    62.03                     55.84    58.25
    7       69.75     72.73      Average       53.78    62.32       Average       55.92    59.25      Average
    8       69.80     73.25      difference    54.51    62.33      difference     57.12    59.27      difference
    9       69.81     73.31    boys vs girls 55.84      62.34     boys vs girls   57.18    59.40    boys vs girls
    10      70.32     73.48        2.4%        55.90    62.40        13.0%        57.22    59.49        4.2%


 2021 National 800 m Track race time in seconds
                    7-8 years old                      9-10 years old                     11-12 year old
  Rank      Boys      Girls                    Boys      Girls                    Boys     Girls
    1       152.2     157.9 Difference #1 120.8         141.4 Difference #1       127.8    138.5 Difference #1
    2       155.2     164.6      boy vs # 1    124.0    142.2      boy vs # 1     129.7    143.1      boy vs # 1
    3       161.0     164.9          girl      125.1    148.8          girl       130.5    144.2          girl
    4       161.1     165.9        3.6%        125.6    151.3        14.5%        133.2    144.2        7.7%
    5       161.2     168.5                    126.5    151.6                     136.2    144.9
    6       161.6     169.9                    136.5    152.5                     136.5    145.0
    7       161.8     171.5      Average       137.1    153.1       Average       136.7    145.2      Average
    8       162.2     173.1      difference    138.5    153.7      difference     136.7    145.6      difference
    9       165.3     173.4    boys vs girls 139.5      153.8     boys vs girls   137.0    145.6    boys vs girls
    10      166.9     174.7        4.5%        140.2    154.2        12.6%        137.9    145.8        6.9%

 2021 National 1600 m Track race time in seconds
                     7-8 years old                     9-10 years old                     11-12 year old
  Rank      Boys       Girls                   Boys      Girls                    Boys     Girls
    1       372.4     397.6 Difference #1 307.4         319.3 Difference #1       297.3    313.8 Difference #1
    2       378.3     400.9      boy vs # 1    313.7    322.2      boy vs # 1     298.4    317.1      boy vs # 1
    3       378.4     405.6           girl     315.0    322.6          girl       307.0    319.9          girl
    4       402.0     435.2         6.3%       318.2    337.5         3.7%        313.9    323.3        5.2%
    5       406.4     445.0                    318.4    345.2                     319.2    325.3
    6       413.4     457.0                    320.5    345.7                     320.4    326.2
    7       457.4     466.0       Average      327.0    345.9       Average       321.1    327.0      Average
    8       473.3     466.8       difference   330.3    347.1      difference     321.9    330.0      difference
    9       498.3     492.3     boys vs girls 333.4     347.5     boys vs girls   325.5    331.1    boys vs girls
    10      505.0     495.0         4.0%       347.0    355.6         4.7%        327.1    332.5        2.9%




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 2021 National 3000 m Track race time in seconds
                    7-8 years old                      9-10 years old                     11-12 year old
  Rank      Boys      Girls                    Boys      Girls                    Boys     Girls
    1       794.2     859.9 Difference #1 602.3         679.2 Difference #1       556.6    623.7 Difference #1
    2       856.3               boy vs # 1     644.9    709.7      boy vs # 1     591.6    649.5      boy vs # 1
    3                                girl      646.6    714.2          girl       600.8    651.6          girl
    4                              7.6%        648.2    741.9        11.3%        607.1    654.9       10.8%
    5                  No                      648.4    742.7                     609.1    662.9
             No
    6                Further                   652.8    756.6                     611.5    664.1
            further
    7                  Data      Average       658.9    760.2       Average       615.7    666.3      Average
             data
    8                            difference    660.1    762.5      difference     617.3    666.8      difference
    9                          boys vs girls 662.7      780.2     boys vs girls   618.4    673.2    boys vs girls
    10                             NA%         671.6    792.3        12.7%        620.6    674.4        8.2%


 2021 National Long Jump Distance (in inches)
                     7-8 years old                     9-10 years old                     11-12 year old
  Rank      Boys      Girls                   Boys       Girls                    Boys     Girls
    1       156.0     176.0 Difference #1 256.8         213.8 Difference #1       224.0    201.3 Difference #1
    2       156.0     163.8      boy vs # 1   247.0     212.0      boy vs # 1     222.5    197.3      boy vs # 1
    3       155.0     153.0          girl     241.0     210.8          girl       220.5    195.8          girl
    4       154.3     152.0        -11.4%     236.3     208.8        20.1%        210.3    193.5       11.3%
    5       154.0     149.5                   231.5     207.0                     210.0    193.3
    6       152.8     146.0                   225.0     204.8                     206.8    192.5
    7       151.5     144.5       Average     224.0     194.5       Average       206.0    192.3      Average
    8       150.8     137.5      difference   224.0     192.5      difference     205.5    192.0      difference
    9       150.5     137.0     boys vs girls 221.8     192.3     boys vs girls   205.0    191.3    boys vs girls
    10                 No           1.4%                             13.2%                              9.1%
                      Further
            150.5      Data                   219.0     187.5                     204.5    189.0


 2021 National High Jump Distance (in inches)
                     7-8 years old                     9-10 years old                     11-12 year old
  Rank      Boys      Girls                   Boys       Girls                    Boys     Girls
    1       38.0       37.5    Difference #1 72.0        58.0 Difference #1       63.0      56.0 Difference #1
    2       38.0       34.0       boy vs # 1  70.0       58.0      boy vs # 1     61.0      56.0      boy vs # 1
    3       36.0       32.0           girl    65.8       57.0          girl       60.0      57.0          girl
    4       36.0       32.0          1.3      62.0       56.0        24.1%        59.0      56.0       12.5%
    5       35.8       32.0                   62.0       56.0                     59.0      56.0
    6       35.5                              62.0       55.0                     59.0      55.0
    7       34.0                  Average     61.0       54.0       Average       59.0      54.0      Average
                        No
    8       32.0                  difference  60.0       54.0      difference     58.0      54.0      difference
                      further
    9       59.0                boys vs girls 59.0     No         boys vs girls   57.8      56.0    boys vs girls
                       Data
    10                             21.6%                Further      12.5%                              6.9%
            56.0                              56.0      Data                      57.8      56.0




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 G. Brown                                               Expert Report, B.P.J. v. WV BOE et al.



               Appendix 2 – Scholarly Publications in Past 10 Years

 Refereed Publications
 1. Brown GA, Shaw BS, Shaw I. How much water is in a mouthful, and how many
    mouthfuls should I drink? A laboratory exercise to help students understand
    developing a hydration plan. Adv Physiol Educ 45: 589–593, 2021.
 2. Schneider KM and Brown GA (as Faculty Mentor). What's at Stake: Is it a
    Vampire or a Virus? International Journal of Undergraduate Research and
    Creative Activities. 11, Article 4. 2019.
 3. Christner C and Brown GA (as Faculty Mentor). Explaining the Vampire
    Legend through Disease. UNK Undergraduate Research Journal. 23(1), 2019.
    (*This is an on-campus publication.)
 4. Schneekloth B and Brown GA. Comparison of Physical Activity during Zumba
    with a Human or Video Game Instructor. 11(4):1019-1030. International
    Journal of Exercise Science, 2018.
 5. Bice MR, Hollman A, Bickford S, Bickford N, Ball JW, Wiedenman EM, Brown
    GA, Dinkel D, and Adkins M. Kinesiology in 360 Degrees. International
    Journal of Kinesiology in Higher Education, 1: 9-17, 2017
 6. Shaw I, Shaw BS, Brown GA, and Shariat A. Review of the Role of Resistance
    Training and Musculoskeletal Injury Prevention and Rehabilitation. Gavin
    Journal of Orthopedic Research and Therapy. 1: 5-9, 2016
 7. Kahle A, Brown GA, Shaw I, & Shaw BS. Mechanical and Physiological Analysis
    of Minimalist versus Traditionally Shod Running. J Sports Med Phys Fitness.
    56(9):974-9, 2016
 8. Bice MR, Carey J, Brown GA, Adkins M, and Ball JW. The Use of Mobile
    Applications to Enhance Learning of the Skeletal System in Introductory
    Anatomy & Physiology Students. Int J Kines Higher Educ 27(1) 16-22, 2016
 9. Shaw BS, Shaw I, & Brown GA. Resistance Exercise is Medicine. Int J Ther
    Rehab. 22: 233-237, 2015.
 10. Brown GA, Bice MR, Shaw BS, & Shaw I. Online Quizzes Promote Inconsistent
     Improvements on In-Class Test Performance in Introductory Anatomy &
     Physiology. Adv. Physiol. Educ. 39: 63-6, 2015
 11. Brown GA, Heiserman K, Shaw BS, & Shaw I. Rectus abdominis and rectus
     femoris muscle activity while performing conventional unweighted and weighted
     seated abdominal trunk curls. Medicina dello Sport. 68: 9-18. 2015
 12. Botha DM, Shaw BS, Shaw I & Brown GA. Role of hyperbaric oxygen therapy in
     the promotion of cardiopulmonary health and rehabilitation. African Journal for

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 G. Brown                                                 Expert Report, B.P.J. v. WV BOE et al.


      Physical, Health Education, Recreation and Dance (AJPHERD). Supplement 2
      (September), 20: 62-73, 2014
 13. Abbey BA, Heelan KA, Brown, GA, & Bartee RT. Validity of HydraTrend™
     Reagent Strips for the Assessment of Hydration Status. J Strength Cond Res.
     28: 2634-9. 2014
 14. Scheer KC, Siebrandt SM, Brown GA, Shaw BS, & Shaw I. Wii, Kinect, & Move.
     Heart Rate, Oxygen Consumption, Energy Expenditure, and Ventilation due to
     Different Physically Active Video Game Systems in College Students.
     International Journal of Exercise Science: 7: 22-32, 2014
 15. Shaw BS, Shaw I, & Brown GA. Effect of concurrent aerobic and resistive
     breathing training on respiratory muscle length and spirometry in asthmatics.
     African Journal for Physical, Health Education, Recreation and Dance
     (AJPHERD). Supplement 1 (November), 170-183, 2013
 16. Adkins M, Brown GA, Heelan K, Ansorge C, Shaw BS & Shaw I. Can dance
     exergaming contribute to improving physical activity levels in elementary school
     children? African Journal for Physical, Health Education, Recreation and Dance
     (AJPHERD). 19: 576-585, 2013
 17. Jarvi MB, Brown GA, Shaw BS & Shaw I. Measurements of Heart Rate and
     Accelerometry to Determine the Physical Activity Level in Boys Playing
     Paintball. International Journal of Exercise Science: 6: 199-207, 2013
 18. Brown GA, Krueger RD, Cook CM, Heelan KA, Shaw BS & Shaw I. A prediction
     equation for the estimation of cardiorespiratory fitness using an elliptical motion
     trainer. West Indian Medical Journal. 61: 114-117, 2013.
 19. Shaw BS, Shaw I, & Brown GA. Body composition variation following
     diaphragmatic breathing. African Journal for Physical, Health Education,
     Recreation and Dance (AJPHERD). 18: 787-794, 2012.

 Refereed Presentations
 1.    Brown GA. Transwomen competing in women’s sports: What we know, and
       what we don’t. American Physiological Society New Trends in Sex and Gender
       Medicine conference. Held virtually due to Covid-19 pandemic. October 19 -
       22, 2021, 2021.
 2.    Shaw BS, Boshoff VE, Coetzee S, Brown GA, Shaw I. A Home-based
       Resistance Training Intervention Strategy To Decrease Cardiovascular Disease
       Risk In Overweight Children Med Sci Sport Exerc. 53(5), 742. 68th Annual
       Meeting of the American College of Sports Medicine. Held virtually due to
       Covid-19 pandemic. June 1-5, 2021.
 3.    Shaw I, Cronje M, Brown GA, Shaw BS. Exercise Effects On Cognitive
       Function And Quality Of Life In Alzheimer’s Patients In Long-term Care. Med



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 G. Brown                                                Expert Report, B.P.J. v. WV BOE et al.



      Sci Sport Exerc. 53(5), 743. 68th Annual Meeting of the American College of
      Sports Medicine. Held virtually due to Covid-19 pandemic. June 1-5, 2021.
 4.   Brown GA, Escalera M, Oleena A, Turek T, Shaw I, Shaw BS. Relationships
      between Body Composition, Abdominal Muscle Strength, and Well Defined
      Abdominal Muscles. Med Sci Sport Exerc. 53(5), 197. 68th Annual Meeting of
      the American College of Sports Medicine. Held virtually due to Covid-19
      pandemic. June 1-5, 2021.
 5.   Brown GA, Jackson B, Szekely B, Schramm T, Shaw BS, Shaw I. A Pre-
      Workout Supplement Does Not Improve 400 M Sprint Running or Bicycle
      Wingate Test Performance in Recreationally Trained Individuals. Med Sci
      Sport Exerc. 50(5), 2932. 65th Annual Meeting of the American College of
      Sports Medicine. Minneapolis, MN. June 2018.
 6.   Paulsen SM, Brown GA. Neither Coffee Nor A Stimulant Containing “Pre-
      workout” Drink Alter Cardiovascular Drift During Walking In Young Men.
      Med Sci Sport Exerc. 50(5), 2409. 65th Annual Meeting of the American
      College of Sports Medicine. Minneapolis, MN. June 2018.
 7.   Adkins M, Bice M, Bickford N, Brown GA. Farm to Fresh! A Multidisciplinary
      Approach to Teaching Health and Physical Activity. 2018 spring SHAPE
      America central district conference. Sioux Falls, SD. January 2018.
 8.   Shaw I, Kinsey JE, Richards R, Shaw BS, and Brown GA. Effect Of Resistance
      Training During Nebulization In Adults With Cystic Fibrosis. International
      Journal of Arts & Sciences’ (IJAS). International Conference for Physical, Life
      and Health Sciences which will be held at FHWien University of Applied
      Sciences of WKW, at Währinger Gürtel 97, Vienna, Austria, from 25-29 June
      2017.
 9.   Bongers M, Abbey BM, Heelan K, Steele JE, Brown GA. Nutrition Education
      Improves Nutrition Knowledge, Not Dietary Habits In Female Collegiate
      Distance Runners. Med Sci Sport Exerc. 49(5), 389. 64th Annual Meeting of
      the American College of Sports Medicine. Denver, CO. May 2017.
 10. Brown GA, Steele JE, Shaw I, Shaw BS. Using Elisa to Enhance the
     Biochemistry Laboratory Experience for Exercise Science Students. Med Sci
     Sport Exerc. 49(5), 1108. 64th Annual Meeting of the American College of
     Sports Medicine. Denver, CO. May 2017.
 11. Brown GA, Shaw BS, and Shaw I. Effects of a 6 Week Conditioning Program
     on Jumping, Sprinting, and Agility Performance In Youth. Med Sci Sport
     Exerc. 48(5), 3730. 63rd Annual Meeting of the American College of Sports
     Medicine. Boston, MA. June 2016.
 12. Shaw I, Shaw BS, Boshoff VE, Coetzee S, and Brown GA. Kinanthropometric
     Responses To Callisthenic Strength Training In Children. Med Sci Sport Exerc.

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     48(5), 3221. 63rd Annual Meeting of the American College of Sports Medicine.
     Boston, MA. June 2016.
 13. Shaw BS, Shaw I, Gouveia M, McIntyre S, and Brown GA. Kinanthropometric
     Responses To Moderate-intensity Resistance Training In Postmenopausal
     Women. Med Sci Sport Exerc. 48(5), 2127. 63rd Annual Meeting of the
     American College of Sports Medicine. Boston, MA. June 2016.
 14. Bice MR, Cary JD, Brown GA, Adkins M, and Ball JW. The use of mobile
     applications to enhance introductory anatomy & physiology student
     performance on topic specific in-class tests. National Association for
     Kinesiology in Higher Education National Conference. January 8, 2016.
 15. Shaw I, Shaw BS, Lawrence KE, Brown GA, and Shariat A. Concurrent
     Resistance and Aerobic Exercise Training Improves Hemodynamics in
     Normotensive Overweight and Obese Individuals. Med Sci Sport Exerc. 47(5),
     559. 62nd Annual Meeting of the American College of Sports Medicine. San
     Diego, CA. May 2015.
 16. Shaw BS, Shaw I, McCrorie C, Turner S., Schnetler A, and Brown GA.
     Concurrent Resistance and Aerobic Training in the Prevention of Overweight
     and Obesity in Young Adults. Med Sci Sport Exerc. 47(5), 223. 62nd Annual
     Meeting of the American College of Sports Medicine. San Diego, CA. May 2015.
 17. Schneekloth B, Shaw I, Shaw BS, and Brown GA. Physical Activity Levels
     Using Kinect™ Zumba Fitness versus Zumba Fitness with a Human Instructor.
     Med Sci Sport Exerc. 46(5), 326. 61st Annual Meeting of the American College
     of Sports Medicine. Orlando, FL. June 2014.
 18. Shaw I, Lawrence KE, Shaw BS, and Brown GA. Callisthenic Exercise-related
     Changes in Body Composition in Overweight and Obese Adults. Med Sci Sport
     Exerc. 46(5), 394. 61st Annual Meeting of the American College of Sports
     Medicine. Orlando, FL June 2014.
 19. Shaw BS, Shaw I, Fourie M, Gildenhuys M, and Brown GA. Variances In The
     Body Composition Of Elderly Woman Following Progressive Mat Pilates. Med
     Sci Sport Exerc. 46(5), 558. 61st Annual Meeting of the American College of
     Sports Medicine. Orlando, FL June 2014.
 20. Brown GA, Shaw I, Shaw BS, and Bice M. Online Quizzes Enhance
     Introductory Anatomy & Physiology Performance on Subsequent Tests, But Not
     Examinations. Med Sci Sport Exerc. 46(5), 1655. 61st Annual Meeting of the
     American College of Sports Medicine. Orlando, FL June 2014.
 21. Kahle, A. and Brown, G.A. Electromyography in the Gastrocnemius and
     Tibialis Anterior, and Oxygen Consumption, Ventilation, and Heart Rate
     During Minimalist versus Traditionally Shod Running. 27th National
     Conference on Undergraduate Research (NCUR). La Crosse, Wisconsin USA.
     April 11-13, 2013



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 22. Shaw, I., Shaw, B.S., and Brown, G.A. Resistive Breathing Effects on
     Pulmonary Function, Aerobic Capacity and Medication Usage in Adult
     Asthmatics Med Sci Sports Exerc 45 (5). S1602 2013. 60th Annual Meeting of
     the American College of Sports Medicine, Indianapolis, IN USA, May 26-30
     3013
 23. Shaw, B.S. Gildenhuys, G.A., Fourie, M. Shaw I, and Brown, G.A. Function
     Changes In The Aged Following Pilates Exercise Training. Med Sci Sports
     Exerc 45 (5). S1566 60th Annual Meeting of the American College of Sports
     Medicine, Indianapolis, IN USA, May 26-30 2013
 24. Brown, G.A., Abbey, B.M., Ray, M.W., Shaw B.S., & Shaw, I. Changes in
     Plasma Free Testosterone and Cortisol Concentrations During Plyometric
     Depth Jumps. Med Sci Sports Exerc 44 (5). S598, 2012. 59th Annual Meeting of
     the American College of Sports Medicine. May 29 - June 2, 2012; San
     Francisco, California
 25. Shaw, I., Fourie, M., Gildenhuys, G.M., Shaw B.S., & Brown, G.A. Group
     Pilates Program and Muscular Strength and Endurance Among Elderly
     Woman. Med Sci Sports Exerc 44 (5). S1426. 59th Annual Meeting of the
     American College of Sports Medicine. May 29 - June 2, 2012; San Francisco,
     California
 26. Shaw B.S., Shaw, I., & Brown, G.A. Concurrent Inspiratory-Expiratory and
     Aerobic Training Effects On Respiratory Muscle Strength In Asthmatics. Med
     Sci Sports Exerc 44 (5). S2163. 59th Annual Meeting of the American College of
     Sports Medicine. May 29 - June 2, 2012; San Francisco, California
 27. Scheer, K., Siebrandt, S., Brown, G.A, Shaw B.S., & Shaw, I. Heart Rate,
     Oxygen Consumption, and Ventilation due to Different Physically Active Video
     Game Systems. Med Sci Sports Exerc 44 (5). S1763. 59th Annual Meeting of
     the American College of Sports Medicine. May 29 - June 2, 2012; San
     Francisco, California
 28. Jarvi M.B., Shaw B.S., Shaw, I., & Brown, G.A. (2012) Paintball Is A Blast, But
     Is It Exercise? Heart Rate and Accelerometry In Boys Playing Paintball. Med
     Sci Sports Exerc 44 (5). S3503. 59th Annual Meeting of the American College of
     Sports Medicine. May 29 - June 2, 2012; San Francisco, California

 Book Chapters
 1. Shaw BS, Shaw I, Brown G.A. Importance of resistance training in the
    management of cardiovascular disease risk. In Cardiovascular Risk Factors.
    IntechOpen, 2021.




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 G. Brown                                               Expert Report, B.P.J. v. WV BOE et al.


 2. Brown, G.A. Chapters on Androstenedione and DHEA. In: Nutritional
    Supplements in Sport, Exercise and Health an A-Z Guide. edited by Linda M.
    Castell, Samantha J. Stear, Louise M. Burke. Routledge 2015.

 Refereed Web Content
 1. Brown GA. Looking back and moving forward. The importance of reflective
    assessment in physiology education. (January 13, 2022)
    https://blog.lifescitrc.org/pecop/2022/01/13/looking-back-and-moving-forward-the-
    importance-of-reflective-assessment-in-physiology-education/
 2. Brown GA. The Olympics, sex, and gender in the physiology classroom.
    Physiology Educators Community of Practice, managed by the Education group
    of the American Physiological Society (August 18, 2021)
    https://blog.lifescitrc.org/pecop/2021/08/18/the-olympics-sex-and-gender-in-the-
    physiology-classroom/


 A complete CV is available at
 https://www.unk.edu/academics/hperls/bio_pages/current-vita-gab.pdf




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               EXHIBIT 15




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                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                               CHARLESTON DIVISION

 B.P.J., by her next friend and mother, HEATHER
 JACKSON,

                               Plaintiff,

                vs.

 WEST       VIRGINIA      STATE     BOARD        OF
 EDUCATION; HARRISON COUNTY BOARD OF                             Case No. 2:21-cv-00316
 EDUCATION; WEST VIRGINIA SECONDARY
 SCHOOLS ACTIVITIES COMMISSION; W.                              Hon. Joseph R. Goodwin
 CLAYTON BURCH, in his official capacity as State
 Superintendent, DORA STUTLER, in her official
 capacity as the Harrison County Superintendent, and
 the STATE OF WEST VIRGINIA,

                               Defendants,

                and

 LAINEY ARMISTEAD,

                               Defendant-Intervenor.


              DECLARATION OF DR. CHAD T. CARLSON, M.D., FACSM

       I, Dr. Chad T. Carlson, pursuant to 28 U.S. Code § 1746, declare under penalty of

perjury under the laws of the United States of America that the facts contained in my Expert

Report of Dr. Chad T. Carlson, M.D., FACM prepared for B.P.J. v. West Virginia, attached

hereto, are true and correct to the best of my knowledge and belief, and that the opinions

expressed therein represent my own expert opinions.

       Executed on February 23, 2022.


                                                            Chad T. Carlson, MD




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           Expert Report of Dr. Chad Thomas Carlson, M.D., FACM
                    prepared for B.P.J. v. West Virginia
                             February 23, 2022




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                                         INTRODUCTION

            Up to the present, the great majority of news, debate, and even

    scholarship about transgender participation in female athletics has focused on

    track and field events and athletes, and the debate has largely concerned

    questions of fairness and inclusion. However, the transgender eligibility policies

    of many high school athletic associations in the United States apply with equal

    force to all sports, including sports in which players frequently collide with each

    other, or can be forcefully struck by balls or equipment such as hockey or

    lacrosse sticks. And in fact, biologically male transgender athletes have

    competed in a wide range of high school, collegiate, and professional girls’ or

    women’s sports, including, at least, basketball, 1 soccer, 2 volleyball, 3 softball, 4

    lacrosse,5 and even women’s tackle football.6



    1https://www.espn.com/espnw/athletes-life/story/_/id/10170842/espnw-gabrielle-ludwig-52-

    year-old-transgender-women-college-basketball-player-enjoying-best-year-life (accessed
    2/17/22)
    2https://www.unionleader.com/news/education/nh-bill-limits-women-s-sports-to-girls-born-

    female/article d1998ea1-a1b9-5ba4-a48d-51a2aa01b910.html;
    https://www.outsports.com/2020/1/17/21069390/womens-soccer-mara-gomez-transgender-
    player-argentina-primera-division-villa-san-marcos (accessed 6/20/21)
    3https://news.ucsc.edu/2016/09/challenging-assumptions.html (accessed 6/20/21);

    https://www.outsports.com/2017/3/20/14987924/trans-athlete-volleyball-tia-thompson (accessed
    6/20/21)
    4https://www.foxnews.com/us/californias-transgender-law-allows-male-high-schooler-to-make-

    girls-softball-team (accessed 6/20/21)
    5https://savewomenssports.com/f/emilys-story?blogcategory=Our+Stories (accessed 6/20/21)


    6https://www.outsports.com/2017/12/13/16748322/britney-stinson-trans-football-baseball

    (accessed 6/20/21); https://www.mprnews.org/story/2018/12/22/transgender-football-player-
    prevails-in-lawsuit (accessed 6/20/21)


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          The science of sex-specific differences in physiology, intersecting with the

    physics of sports injury, leaves little doubt that participation by biological males

    in these types of girls’ or women’s sports, based on gender identity, creates

    significant additional risk of injury for the biologically female participants

    competing alongside these transgender athletes.

          In 2020, after an extensive review of the scientific literature, consultation

    with experts, and modeling of expected injuries, World Rugby published revised

    rules governing transgender participation, along with a detailed explanation of

    how the new policy was supported by current evidence. World Rugby concluded

    that “there is currently no basis with which safety and fairness can be assured

    to biologically female rugby players should they encounter contact situations

    with players whose biological male advantages persist to a large degree,” and

    that after puberty, “the lowering of testosterone removes only a small proportion

    of the documented biological differences.” Hence, World Rugby concluded that

    biological men should not compete in women’s rugby. (World Rugby

    Transgender Women Guidelines 2020.) World Rugby has been criticized by some

    for its new guidelines, but those criticisms have often avoided discussions of

    medical science entirely, or have asserted that modeling scenarios can overstate

    true risk. What cannot be denied, however, is that World Rugby’s approach is

    evidence-based, and rooted in concern for athlete safety. As a medical doctor

    who has spent my career in sports medicine, it is my opinion that World Rugby’s

    assessment of the evidence is scientifically sound, and that injury modeling


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    meaningfully predicts that biologically male transgender athletes do constitute

    a safety risk for the biologically female athlete in women’s sports.

          In a similar vein, in 2021, the UK Sports Councils’ Equality Group

    released new guidance for transgender inclusion in organized sports. This

    guidance was formulated after extensive conversations with stakeholders, a

    review of scientific findings related to transgender athletes in sport through

    early 2021, and an assessment of the use by some sport national governing

    bodies of case-by-case assessment to determine eligibility. Noteworthy within

    these stakeholder consultations was a lack of consensus on any workable

    solution, as well as concerns related to athlete safety and “adherence to rules

    which give sport validity.” The Literature Review accompanying the guidance

    document further noted that “[t]here are significant differences between the

    sexes which render direct competition between males and females . . . unsafe in

    sports which allow physical contact and collisions.” (UK Sports Councils’

    Equality Group Literature Review 2021 at 1.) Their review of the science “made

    clear that there are retained differences in strength, stamina and physique

    between the average woman compared with the average transgender

    woman….with or without testosterone suppression.” (UK Sports Councils’

    Equality Group Guidance at 3.) This was also reflected in their ten guiding

    principles, stating that physical differences between the sexes will “impact

    safety parameters in sports which are combat, collision or contact in nature.”

    (UK Sports Councils’ Equality Group Guidance 2021 at 7.) Ultimately, UK Sport


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    concluded that the full inclusion of transgender athletes in women’s sports

    “cannot be reconciled within the current structure of sport,” stating that “the

    inclusion of transgender people into female sport cannot be balanced regarding

    transgender inclusion, fairness and safety in gender-affected sport where there

    is meaningful competition . . . . due to retained differences in strength, stamina

    and physique between the average woman compared with the average

    transgender woman…, with or without testosterone suppression.” (UK Sports

    Councils’ Equality Group Guidance 2021 at 6.) Finally, UK Sport affirmed the

    use of sex categorization in sport, along with age and disability, as important

    for the maintenance of safety and fairness. (UK Sports Councils’ Equality Group

    Guidance 2021 at 7-8.)

          Unfortunately, apart from World Rugby’s careful review and the recent

    release of UK Sports Councils’ guidance, the public discourse is lacking any

    careful consideration of the question of safety. As a physician who has spent my

    career caring for athletes, I find this silence about safety both surprising and

    concerning. It is my hope through this white paper to equip and motivate sports

    leagues and policy makers to give adequate attention to the issue of safety for

    female athletes when transgender policies are being considered. I first explain

    the nature and causes of common sports injuries. I then review physiological

    differences between male and female bodies that affect the risk and severity of

    injuries to females when biological males compete in the female category, and




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    explain why testosterone suppression does not eliminate these heightened risks

    to females. Finally, I explain certain conclusions about those risks.


                                    CREDENTIALS

            1.   I am a medical doctor practicing Sports Medicine, maintaining an

    active clinical practice at Stadia Sports Medicine in West Des Moines, Iowa. I

    received my M.D. from the University of Nebraska College of Medicine in 1994

    and completed a residency in family medicine at the University of Michigan in

    1997.

            2.   Following my time in Ann Arbor, I matched to a fellowship in

    Sports Medicine at Ball Memorial Hospital in Muncie, Indiana, training from

    1997 to 1999, with clinical time split between Central Indiana Orthopedics, the

    Ball State Human Performance Laboratory, and the Ball State University

    training room. I received my board certification in Sports Medicine in 1999,

    which I continue to hold. Since residency training, my practice has focused on

    Sports Medicine–the treatment and prevention of injuries related to sport and

    physical activity.

            3.   Since 1997, I have served in several clinical practices and settings

    as a treating physician, including time as team physician for both the University

    of Illinois and Ball State University, where I provided care to athletes in several

    sports, including football, ice hockey, basketball, field hockey, softball,

    gymnastics, soccer, and volleyball. In the course of my career, I have provided

    coverage for NCAA Power Five Conference championships and NCAA National

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    Championship events in basketball, field hockey and gymnastics, among other

    sports, as well as provided coverage for national championship events for U.S.A.

    gymnastics, and U.S. Swimming and Diving. I have also covered professional

    soccer in Des Moines.

          4.     Since 2006, I have been the physician owner of Stadia Sports

    Medicine in West Des Moines, Iowa. My practice focuses on treatment of sports

    and activity-related injury, including concussive injury, as well as problems

    related to the physiology of sport.

          5.     I have served in and provided leadership for several professional

    organizations over the course of my career. In 2004, I was designated a Fellow

    of the American College of Sports Medicine (ACSM). I have served on ACSM’s

    Health and Science Policy Committee since 2010, and for a time chaired their

    Clinical Medicine Subcommittee. From 2009 to 2013, I served two elected terms

    on the Board of Directors of the American Medical Society for Sports Medicine

    (AMSSM), and during that time served as Chair of that body’s Practice and

    Policy Committee. I was subsequently elected to a four-year term on AMSSM’s

    executive committee in 2017, and from 2019-20, I served as AMSSM’s President.

    AMSSM is the largest organization of sports medicine physicians in the world.

    I gained fellowship status through AMSSM in 2020–my first year of eligibility.

    My work for ACSM and AMSSM has brought with it extensive experience in

    public policy as relates to Sports Medicine.




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          6.     In 2020, I was named as AMSSM’s first board delegate to the

    newly-constituted Physical Activity Alliance. I am a named member of an NCAA

    advisory group on COVID-19, through which I provided input regarding the

    cancellation of the basketball tournament in 2020. I also serve as a member of

    the Iowa Medical Society’s Sports Medicine Subcommittee and have been asked

    to serve on the Iowa High School Athletic Association’s newly-forming Sports

    Medicine Advisory Committee.

          7.     I have served as a manuscript reviewer for organizational policy

    pronouncements, and for several professional publications, most recently a

    sports medicine board review book just published in 2021. I have published

    several articles on topics related to musculoskeletal injuries in sports and

    rehabilitation, which have been published in peer-reviewed journals such as

    Clinical Journal of Sports Medicine, British Journal of Sports Medicine, Current

    Reviews in Musculoskeletal Medicine, Athletic Therapy Today, and the Journal

    of Athletic Training. In conjunction with my work in policy advocacy, I have

    helped write several pieces of legislation, including the initial draft of what

    became the Sports Medicine Licensure Clarity Act, signed into law by President

    Trump in 2018, which eases the restrictions on certain practitioners to provide

    health services to athletes and athletic teams outside of the practitioner’s home

    state. A list of my publications over the past ten (10) years is included as an

    appendix to this report.




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           8.      In the past four years, I have not testified as an expert witness in

    a deposition or at trial.

           9.      I am being compensated for my services as an expert witness in

    this case at the rates of $650 per hour for consultation, $800 per hour for

    deposition testimony, and $3,500 per half-day of trial testimony.


    I.     OVERVIEW

           10.     In this statement, I offer information and my own professional

    opinion on the potential for increased injury risk to females in sports when they

    compete against biologically male transgender athletes.7 At many points in this

    statement, I provide citations to published, peer-reviewed articles that provide

    relevant and supporting information to the points I make.

           11.     The principal conclusions that I set out in this white paper are as

    follows:

                   a. Government and sporting organizations have historically
                   considered the preservation of athlete safety as one component of
                   competitive equity.

                   b. Injury in sport is somewhat predictable based on modeling
                   assumptions that take into account relevant internal and external
                   risk factors.



    7 In the body of this paper, I use the terms “male” and “female” according to their ordinary

    medical meaning–that is to say, to refer to the two biological sexes. I also use the word “man”
    to refer to a biologically male human, and “woman” to refer to a biologically female human. In
    the context of this opinion, I include in these categories non-syndromic, biologically-normal
    males and females who identify as a member of the opposite sex, including those who use
    endogenous hormone suppression to alter their body habitus. In contexts that are not focused
    on questions of biology and physiology, terms of gender are sometimes used to refer to
    subjective identities rather than to biological categories – something I avoid for purposes of a
    paper focused on sports science


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                    c. Males exhibit large average advantages in size, weight, and
                    physical capacity over females—often falling far outside female
                    ranges. Even before puberty, males have a performance advantage
                    over females in most athletic events. Failure to preserve protected
                    female-only categories in contact sports (broadly defined) will
                    ultimately increase both the frequency and severity of injury
                    suffered by female athletes who share playing space with these
                    males.

                    d. Current research supports the conclusion that suppression of
                    testosterone levels by males who have already begun puberty will
                    not fully reverse the effects of testosterone on skeletal size,
                    strength, or muscle hypertrophy, leading to persistence of sex-
                    based differences in power, speed, and force-generating capacity.

            12.     In this white paper, I use the term “contact sports” to refer broadly

    to all sports in which collisions between players, or collisions between equipment

    such as a stick or ball and the body of a player, occur with some frequency

    (whether or not permitted by the rules of the game), and are well recognized in

    the field of sports medicine as causes of sport-related injuries.8 The 1975 Title

    IX implementing regulations (34 CFR § 106.41) say that “for purposes of this

    [regulation] contact sports include boxing, wrestling, rugby, ice hockey, football,

    basketball, and other sports the purpose or major activity of which involves

    bodily contact.” Certainly, all of the sports specifically named in the regulation

    fall within my definition of “contact sport.” Mixed martial arts, field hockey

    (Barboza 2018), soccer (Kuczinski 2018), rugby (Viviers 2018), lacrosse




    8 It is common to see, within the medical literature, reference to distinctions between “contact”

    and “collision” sports. For purposes of clarity, I have combined these terms, since in the
    context of injury risk modeling, there is no practical distinction between them.


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    (Pierpoint 2019), volleyball,9 baseball, and softball also involve collisions that

    can and do result in injuries, and so also fall within my definition.


    II.    A BRIEF HISTORY OF THE RATIONALE FOR SEPARATION OF
           SPORT BY SEX

           13.     World Rugby is correct when it notes that “the women’s category

    exists to ensure protection, safety, and equality” for women. (World Rugby

    Transgender Women Guidelines 2020.) To some extent, those in charge of sport

    governing bodies in the modern era have always recognized the importance of

    grouping athletes together based on physical attributes, in order to ensure both

    safety and competitive balance. Weight classifications have existed in wrestling

    since it reappeared as an Olympic event in 1904. Women and men have

    participated in separate categories since the advent of intercollegiate sporting

    clubs early in the 20th century. When Title IX went into effect in 1975, there

    were just under 300,000 female high school athletes, and fewer than 10,000

    female collegiate athletes. With the changes that resulted from Title IX, it was

    assumed that newly-available funds for women in sport would ensure the

    maintenance of existing, or creation of new, sex-segregated athletic teams that

    would foster greater participation by women. This has been borne out

    subsequently; by the first half of the 1980’s these numbers had risen to 1.9

    million and nearly 100,000 respectively. (Hult 1989.)


    9 See https://www.latimes.com/sports/story/2020-12-08/stanford-volleyball-hayley-hodson-

    concussions-cte-lawsuit, and https://volleyballmag.com/corinneatchison/ (both accessed
    6/20/21).


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           14.    The rationale for ongoing “separate but equal” status when it came

    to sex-segregated sports was made clear within the language of the original

    implementing regulations of Title IX , which, acknowledging real, biologically-

    driven differences between the sexes, created carve-out exceptions authorizing

    sex-separation of sport for reasons rooted in the maintenance of competitive

    equity. Importantly, the effect of these innate sex-based differences on the

    health and safety of the athlete were acknowledged by the express authorization

    of sex-separated teams for sports with higher perceived injury risk—i.e.,

    “contact sports.” (Coleman 2020.)

           15.    In the almost half century since those regulations were adopted,

    the persistent reality of sex-determined differences in athletic performance and

    safety has been recognized by the ongoing and nearly universal segregation of

    men’s and women’s teams–even those that are not classically defined as being

    part of a contact or collision sport.

           16.    Now, however, many schools and sports leagues in this country are

    permitting males to compete in female athletics—including in contact sports—

    based on gender identity. In my view, these policies have been adopted without

    careful analysis of safety implications. Other researchers and clinicians have

    addressed questions of the negative impact of such policies on fairness, or

    equality of athletic experiences for girls and women, in published articles, and

    in court submissions. One recent review of track and field performances,

    including sprints, distance races and field events, noted that men surpass the


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    top female performance in each category between 1000 and 10,000 times each

    year, with hundreds or thousands of men beating the top women in each event.

    (Coleman & Shreve.) Although this was not their primary focus, World Rugby

    well-summarized the point when it observed that in a ranking list of the top

    thousand performances in most sports, every year, every one will have been

    achieved by a biological male. (World Rugby Transgender Women Guidelines

    2020.) Although most easily documented in athletes who have gone through

    puberty, these differences are not exclusively limited to post-pubescent athletes

    either.

          17.    I have reviewed the expert declaration of Gregory A. Brown, Ph.D.,

    FACM of February 23, 2022, provided in this case, which includes evidence from

    a wide variety of sources, including population-based mass testing data, as well

    as age-stratified competition results, all of which support the idea that

    prepubertal males run faster, jump higher and farther, exhibit higher aerobic

    power output, and have greater upper body strength (evidenced by stronger hand

    grip and better performance with chin-ups or bent arm hang) than comparably

    aged females. This performance gap is well-documented in population-based

    physiologic testing data that exists in databases such as the Presidential Fitness

    Test, the Eurofit Fitness test, and additional mass testing data from the UK and

    Australia. Collectively, this data reveals that pre-pubertal males outperform

    comparably aged females in a wide array of athletic tests including but not

    limited to the countermovement jump test, drop jump test, change of direction


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    test, long jump, timed sit-up test, the 10 X 5 meter shuttle run test, the 20 meter

    shuttle run test, curl-ups, pull-ups, push-ups, one mile run, standing broad jump,

    and bent arm hang test. Dr. Brown further references studies showing a

    significant difference in the body composition of males and females before

    puberty. In sum, a large and unbridgeable performance gap between the sexes is

    well-studied and equally well-documented, beginning in many cases before

    puberty. In this white paper, I focus on some of these differences as they touch

    on the question of athlete safety.


    III.   UNDERSTANDING THE CAUSES OF SPORTS INJURIES

           18.    The causes for injury in sport are multifactorial. In recent decades,

    medical researchers have provided us an evolving understanding of how sports

    injuries occur, as well as the factors that make them more or less probable, and

    more or less severe. Broadly speaking, there are two ways of modeling injury:

    the epidemiological model, and the biomechanical model. These models are not

    mutually exclusive, but provide complementary conceptual frameworks to help

    us stratify risk in sport.

           A.     The epidemiological model of injury

           19.    From a practical standpoint, sports medicine researchers and

    clinicians often use the “epidemiological model” to explain, prevent and manage

    sports injuries. Broadly speaking, this model views an injury in sport as the

    product of internal and external risk factors, triggered by an inciting event. In

    other words, a given injury is “caused” by a number of different factors that are


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    unique to a given situation. (Meeuwise 1994.) When the interplay of these

    factors exceeds the injury threshold, injury occurs. One example of how this

    interplay might work would be a female distance runner in track who develops

    a tibial stress fracture, with identified risks of low estrogen state from

    amenorrhea (suppression of menses), an aggressive winter training program on

    an indoor tile surface, and shoes that have been used for too many miles, and

    are no longer providing proper shock absorption. Most risk factors ebb and flow,

    with the overall injury risk at any given time fluctuating as well. Proper

    attention to risk factor reduction before the start of the sports season (including

    appropriate rule-making) is the best way to reduce actual injury rates during

    the season.

          20.     As alluded to, the risk factors associated with injury can be broadly

    categorized as internal or external. Internal risk factors are internal to the

    athlete. These include relatively fixed variables, such as the athlete’s age,

    biological sex, bone mineral density (which affects bone strength) and joint

    laxity, as well as more mutable variables such as body weight, fitness level,

    hydration state, current illness, prior injury, or psychosocial factors such as

    aggression.

          21.     External risk factors are, as the name suggests, external to the

    athlete. These include non-human risks such as the condition of the playing

    surface or equipment, athletic shoe wear, or environmental conditions. Other

    external risk factors come from opposing competitors, and include such


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    variables as player size, speed, aggressiveness, and overall adherence to the

    rules of the game. As already mentioned, these risks can be minimized through

    the proper creation and enforcement of rules, as well as the appropriate

    grouping of athletes together for purposes of competition. To the latter point,

    children don’t play contact sports with adults and, in the great majority of cases,

    men and women compete in categories specific to their own biological sex.

    Certainly these categorical separations are motivated in part by average

    performance differences and considerations of fairness and opportunity. But

    they are also motivated by safety concerns. When properly applied, these

    divisions enhance safety because, when it comes to physical traits such as body

    size, weight, speed, muscle girth, and bone strength, although a certain amount

    of variability exists within each group, the averages and medians differ widely

    between the separated groups.10

            22.     Thus, each of these commonly utilized groupings of athletes

    represents      a    pool     of   individuals       with     predictable      commonalities.

    Epidemiological risk assessment is somewhat predictable and translatable as

    long as these pools remain intact. But the introduction of outside individuals



    10 In some cases, safety requires even further division or exclusion. A welterweight boxer

    would not compete against a heavyweight, nor a heavyweight wrestle against a smaller
    athlete. In the case of youth sports, when children are at an age where growth rates can vary
    widely, leagues will accommodate for naturally-occurring large discrepancies in body size by
    limiting larger athletes from playing positions where their size and strength is likely to result
    in injury to smaller players. Thus, in youth football, players exceeding a certain weight
    threshold may be temporarily restricted to playing on the line and disallowed from carrying
    the ball, or playing in the defensive secondary, where they could impose high-velocity hits on
    smaller players.


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    into a given pool (e.g. an adult onto a youth football team, or males into most

    women’s sports) would change the balance of risk inside that pool. Simply put,

    when you introduce larger, faster, and stronger athletes from one pool into a

    second pool of athletes who are categorically smaller (whether as a result of age

    or sex), you have altered the characteristics of the second pool, and, based on

    known injury modeling, have statistically increased the injury risk for the

    original athletes in that pool. This, in a nutshell, is the basis for World Rugby’s

    recommendations.

          23.    Most clinical studies of the epidemiology of sports injuries use a

    multivariate approach, identifying multiple independent risk factors and

    examining how these factors might interact, in order to determine their relative

    contribution to injury risk, and make educated inferences about causation.

    (Meeuwise 1994.)

          24.    In applying the multivariate approach, the goal is to keep as many

    variables as possible the same so as to isolate the potential effect of a single

    variable (such as age or biological sex) on injury risk, as well as to determine

    how the isolated variable interacts with the other analyzed variables to affect

    injury risk. Failure to consider relevant independent variables can lead to error.

    Researchers focusing on differences between male and female athletes, for

    example, would not compare concussion rates of a high school girls’ soccer team

    to concussion rates of a professional men’s soccer team, because differences in

    the concussion rate might be due to a number of factors besides sex, such as age,


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    body mass, relative differences in skill, speed, or power, as well as differences in

    training volume and intensity.

          25.    As indicated earlier, an injury event is usually the end product of

    a number of different risk factors coming together. (Bahr 2005.) A collision

    between two soccer players who both attempt to head the ball, for example,

    might be the inciting event that causes a concussion. Although the linear and

    angular forces that occur through sudden deceleration would be the proximate

    cause of this injury, the epidemiological model of injury would also factor in

    “upstream” risks, predicting the possibility of an injury outcome for each athlete

    differently depending on the sum of these risks. If the collision injury described

    above occurs between two disparately-sized players, the smaller athlete will

    tend to decelerate more abruptly than the larger athlete, increasing the smaller

    athlete’s risk for injury. Additional discrepancies in factors such as neck

    strength, running speeds, and muscle force generation capacity all result in

    differing risks and thus, the potential for differing injury outcomes from the

    same collision. As I discuss later in this white paper, there are significant

    statistical differences between the sexes when it comes to each of these

    variables, meaning that in a collision sport where skeletally mature males and

    females are playing against one another, there is a higher statistical likelihood

    that injury will result when collisions occur, and in particular there is a higher

    likelihood that a female will suffer injury. This again is the basis for the recent

    decision by World Rugby to disallow the crossover of men into women’s rugby,


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    regardless of gender identity. (World Rugby Transgender Women Guidelines

    2020.) The decision-making represented by this policy change is rational and

    rooted in objective facts and objective risks of harm, because it takes real,

    acknowledged, and documented physical differences between the sexes (in many

    cases before adolescence), and models expected injury risk on the basis of the

    known differences that persist even after hormone manipulation.

          B.     The biomechanical model of injury

          26.    Sports medicine researchers and clinicians also consider a

    biomechanical approach when it comes to understanding sports injuries. In the

    biomechanical model of injury, injury is considered to be analogous to the failure

    of a machine or other structure. Every bone, muscle, or connective tissue

    structure in an athlete’s body has a certain load tolerance. Conceptually, when

    an external “load” exceeds the load tolerance of a given structure in the human

    body, an injury occurs. (Fung 1993 at 1.) Thus, researchers focus on the

    mechanical load—the force exerted on a bone, ligament, joint or other body

    part—and the load tolerance of that impacted or stressed body part, to

    understand what the typical threshold for injury is, and how predictable this

    might be. (McIntosh 2005 at 2-3.) Biomechanical models of injury usually

    consider forces in isolation. The more consistent the movement pattern of an

    individual, and the fewer the contributions of unexpected outside forces to the

    athlete, the more accurate biomechanical predictions of injury will be.




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          27.    Biomechanical modeling can be highly predictive in relatively

    simple settings. For example, in blunt trauma injury from falls, mortality

    predictably rises the greater the fall. About 50% of people who fall four stories

    will survive, while only 10% will survive a fall of seven stories. (Buckman 1991.)

    As complexity increases, predictability in turn decreases. In sport, the pitching

    motion is highly reproducible, and strain injury to the ulnar collateral ligament

    (UCL) of the elbow can be modeled. The load tolerance of the UCL of a pitcher’s

    elbow is about 32 Newton-meters, but the failure threshold of a ligament like

    this in isolation is not the only determinant of whether injury will occur. During

    the pitching motion, the valgus force imparted to the elbow (gapping stress

    across the inner elbow that stretches the UCL) routinely reaches 64 Newtons,

    which is obviously greater than the failure threshold of the ligament. Since not

    all pitchers tear their UCLs, other variables innate to an athlete must mitigate

    force transmission to the ligament and reduce risk. The load tolerance of any

    particular part of an athlete’s body is thus determined by other internal factors

    such as joint stiffness, total ligament support, muscle strength across the joint,

    or bone mineral density. Injury load can be self-generated, as in the case of a

    pitcher’s elbow, or externally-generated, as in the case of a linebacker hitting a

    wide receiver. While load tolerance will vary by individual, as described above,

    and is often reliant on characteristics innate to a given athlete, external load is

    determined by outside factors such as the nature of the playing surface or




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    equipment used, in combination with the weight and speed of other players or

    objects (such as a batted ball) with which the player collides. (Bahr 2005.)

           28.    As this suggests, the two “models” of sports injuries described

    above are not in any sense inconsistent or in tension with each other. Instead,

    they are complementary ways of thinking about injuries that can provide

    different insights. But the important point to make regarding these models is

    that in either model, injury risk (or the threshold for injury) rises and falls

    depending on the size of an externally-applied force, and the ability of a given

    athlete to absorb or mitigate that force.


    IV.    THE PHYSICS OF SPORTS INJURY

           29.    Sports injuries often result from collisions between players, or

    between a player and a rapidly moving object (e.g. a ball or hockey puck, a

    lacrosse or hockey stick). In soccer, for example, most head injuries result from

    collisions with another player’s head or body, collision with the goal or ground,

    or from an unanticipated blow from a kicked ball. (Boden 1998; Mooney 2020.)

    In basketball, players often collide with each other during screens, while diving

    for a loose ball, or while driving to the basket. In lacrosse or field hockey, player-

    to-player, or player-to-stick contact is common.

           30.    But what are the results of those collisions on the human body?

    Basic principles of physics can cast light on this question from more than one

    angle. A general understanding of these principles can help us identify factors




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    that will predictably increase the relative risk, frequency, and severity of sports

    injuries, given certain assumptions.

               31.       First, we can consider energy. Every collision involves an object or

    objects that possess energy. The energy embodied in a moving object (whether a

    human body, a ball, or anything else) is called kinetic energy.

               32.       Importantly, the kinetic energy of a moving object is expressed as:

           𝟏
    𝑬𝒌         𝒎𝒗𝟐 . That is, kinetic energy is a function of the mass of the object
           𝟐


    multiplied by the square of its velocity. (Dashnaw 2012.) To illustrate with a

    simple but extreme example: if athletes A and B are moving at the same speed,

    but athlete A is twice as heavy, athlete A carries twice as much kinetic energy

    as athlete B. If the two athletes weigh the same amount, but athlete A is going

    twice as fast, athlete A carries four times as much kinetic energy as athlete B.

    But as I have noted, the kinetic energy of a moving object is a function of the

    mass of the object multiplied by the square of its velocity. Thus, if athlete A is

    twice as heavy, and moving twice as fast, athlete A will carry eight times the

    kinetic energy of athlete B into a collision.11

               33.       The implication of this equation means that what appear to be

    relatively minor discrepancies in size and speed can result in major differences

    in energy imparted in a collision, to the point that more frequent and more

    severe injuries can occur. To use figures that correspond more closely to average



    11 2   2         8


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    differences between men and women, if Player M weighs only 20% more than

    Player F, and runs only 15% faster, Player M will bring 58% more kinetic energy

    into a collision than Player F.12

             34.    The law of conservation of energy tells us that energy is never

    destroyed or “used up.” If kinetic energy is “lost” by one body in a collision, it is

    inevitably transferred to another body, or into a different form. In the case of

    collision between players, or between (e.g.) a ball and a player’s head, some of

    the energy “lost” by one player, or by the ball, may be transformed into

    (harmless) sound; some may result in an increase in the kinetic energy of the

    player who is struck (through acceleration, which I discuss below); but some of

    it may result in deformation of the player’s body—which, depending on its

    severity, may result in injury. Thus, the greater the kinetic energy brought into

    a collision, the greater the potential for injury, all other things being equal.

             35.    Alternately, we can consider force and acceleration, which is

    particularly relevant to concussion injuries.

             36.    Newton’s third law of motion tells us that when two players collide,

    their bodies experience equal and opposite forces at the point of impact.

             37.    Acceleration refers to the rate of change in speed (or velocity).

    When two athletes collide, their bodies necessarily accelerate (or decelerate)

    rapidly: stopping abruptly, bouncing back, or being deflected in a different




    12 1.2   1.15    1.587


                                              22

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    direction. Newton’s second law of motion tells us that: 𝑭                𝒎𝒂 (that is, force

    equals mass multiplied by acceleration). From this equation we see that when a

    larger and a smaller body collide, and (necessarily) experience equal and

    opposite forces, the smaller body (or smaller player, in sport) will experience

    more rapid acceleration. We observe this physical principle in action when we

    watch a bowling ball strike bowling pins: the heavy bowling ball only slightly

    changes its course and speed; the lighter pins go flying.

           38.     This same equation also tells us that if a given player’s body or

    head is hit with a larger force (e.g., from a ball that has been thrown or hit

    faster), it will experience greater acceleration, everything else being equal.

           39.     Of course, sport is by definition somewhat chaotic, and forces are

    often not purely linear. Many collisions also involve angular velocities, with the

    production of rotational force, or torque. Torque can be thought of as force that

    causes rotation around a central point. A different but similar equation of

    Newtonian physics governs the principles involved. 13 Torque is relevant to

    injury in several ways. When torque is applied through joints in directions those

    joints are not able to accommodate, injury can occur. In addition, rotational force

    can cause different parts of the body to accelerate at different rates—in some

    cases, very rapid rates, also leading to injury. For example, a collision where the




    13 In this equation, 𝝉  𝑰𝜶, torque equals moment of inertia multiplied by angular acceleration,
    where “moment of inertia” is defined as 𝑰 𝒎𝒓𝟐 , that is, mass multiplied by the square of the
    distance to the rotational axis.


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    body is impacted at the waist can result in high torque and acceleration on the

    neck and head.

          40.    Sport-related concussion—a common sports injury and one with

    potentially significant effects—is attributable to linear, angular, or rotational

    acceleration and deceleration forces that result from impact to the head, or from

    an impact to the body that results in a whiplash “snap” of the head. (Rowson

    2016.) In the case of a concussive head injury, it is the brain that accelerates or

    decelerates on impact, colliding with the inner surface of the skull. (Barth 2001

    at 255.)

          41.    None of this is mysterious: each of us, if we had to choose between

    being hit either by a large, heavy athlete running at full speed, or by a small,

    lighter athlete, would intuitively choose collision with the small, light athlete as

    the lesser of the two evils. And we would be right. One author referred to the

    “increase in kinetic energy, and therefore imparted forces” resulting from

    collision with larger, faster players as “profound.” (Dashnaw 2012.)


    V.    GENDER DIFFERENCES RELEVANT TO INJURY

          42.    It is important to state up front that it is self-evident to most people

    familiar with sport and sport injuries that if men and women were to

    consistently participate together in competitive contact sports, there would be

    higher rates of injury in women. This is one reason that rule modifications often




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    exist in leagues where co-ed participation occurs.14 Understanding the physics

    of sports injuries helps provide a theoretical framework for why this is true, but

    so does common sense and experience. All of us are familiar with basic objective

    physiological differences between the sexes, some of which exist in childhood,

    and some of which become apparent after the onset of puberty, and persist

    throughout adulthood. And as a result of personal experience, all of us also have

    some intuitive sense of what types of collisions are likely to cause pain or injury.

    Not surprisingly, our “common sense” on these basic facts about the human

    condition is also consistent with the observations of medical science. Below, I

    provide quantifications of some of these well-known differences between the

    sexes that are relevant to injury risk, as well as some categorical differences

    that may be less well known.

            A.      Height and weight

            43.     It is an inescapable fact of the human species that males as a group

    are statistically larger and heavier than females. On average, men are 7% to 8%

    taller than women. (Handelsman 2018 at 818.) According to the most recently

    available Centers for Disease Control and Prevention (CDC) statistics, the

    weight of the average U.S. adult male is 16% greater than that of the average

    U.S. adult female. (CDC 2018.) This disparity persists into the athletic cohort.



    14 For example, see https://www.athleticbusiness.com/college/intramural-coed-basketball-

    playing-rules-vary-greatly.html (detailing variety of rule modifications applied in co-ed
    basketball). Similarly, coed soccer leagues often prohibit so-called “slide tackles,” which are not
    prohibited in either men’s or women’s soccer. See, e.g..,
    http://www.premiercoedsports.com/pages/rulesandpolicies/soccer.


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    Researchers find that while athletes tend on average to be lighter than non-

    athletes, the weight difference between the average adult male and female

    athlete remains within the same range—between 14% and 23%, depending on

    the sport analyzed. (Santos 2014; Fields 2018.) Indeed, World Rugby estimates

    that the typical male rugby player weighs 20% to 40% more than the typical

    female rugby player. (World Rugby Transgender Women Guidelines 2020.) This

    size advantage by itself allows men to bring more force to bear in a collision.

          B.     Bone and connective tissue strength

          44.    Men have bones in their arms, legs, feet, and hands that are both

    larger and stronger per unit volume than those of women, due to greater cross-

    sectional area, greater bone mineral content, and greater bone density. The

    advantage in bone size (cross-sectional area) holds true in both upper and lower

    extremities, even when adjusted for lean body mass. (Handelsman 2018 at 818;

    Nieves 2005 at 530.) Greater bone size in men is also correlated with stronger

    tendons that are more adaptable to training (Magnusson 2007), and an

    increased ability to withstand the forces produced by larger muscles (Morris

    2020 at 5). Male bones are not merely larger, they are stronger per unit of

    volume. Studies of differences in arm and leg bone mineral density – one

    component of bone strength – find that male bones are denser, with measured

    advantages of between 5% and 14%. (Gilsanz 2011; Nieves 2005.)




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           45.    Men also have larger ligaments than women (Lin 2019 at 5), and

    stiffer connective tissue (Hilton 2021 at Table 1), providing greater protection

    against joint injury.

           C.     Speed

           46.    When it comes to acceleration from a static position to a sprint,

    men are consistently faster than women. World record sprint performance gaps

    between the sexes remain significant at between 7% and 10.5%, with world

    record times in women now exhibiting a plateau (no longer rapidly improving

    with time) similar to the historical trends seen in men. (Cheuvront 2005.) This

    performance gap has to do with, among other factors, increased skeletal

    stiffness, greater cross-sectional muscle area, denser muscle fiber composition

    and greater limb length. (Handelsman 2018.) Collectively, males, on average,

    run about 10% faster than females. (Lombardo 2018 at 93.) This becomes

    important as it pertains to injury risk, because males involved in sport will often

    be travelling at faster speeds than their female counterparts in comparable

    settings, with resultant faster speed at impact, and thus greater impact force,

    in a given collision.

           D.     Strength/Power

           47.    In 2014, a male mixed-martial art fighter identifying as female and

    fighting under the name Fallon Fox fought a woman named Tamikka Brents,

    and caused significant facial injuries in the course of their bout. Speaking about

    their fight later, Brents said:



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                   “I’ve fought a lot of women and have never felt the
                   strength that I felt in a fight as I did that night. I can’t
                   answer whether it’s because she was born a man or
                   not because I’m not a doctor. I can only say, I’ve never
                   felt so overpowered ever in my life, and I am an
                   abnormally strong female in my own right.”15

           48.     So far as I am aware, mixed martial arts is not a collegiate or high

    school interscholastic sport. Nevertheless, what Brent experienced in an

    extreme setting is true and relevant to safety in all sports that involve contact.

    In absolute terms, males as a group are substantially stronger than women.

           49.     Compared to women, men have “larger and denser muscle mass,

    and stiffer connective tissue, with associated capacity to exert greater muscular

    force more rapidly and efficiently.” (Hilton 2021 at 201.) Research shows that on

    average, during the prime athletic years (ages 18-29) men have, on average, 54%

    greater total muscle mass than women (33.7 kg vs. 21.8 kg) including 64%

    greater muscle mass in the upper body, and 47% greater in the lower body.

    (Janssen 2000 at Table 1.) The cross-sectional area of muscle in women is only

    50% to 60% that of men in the upper arm, and 65% to 70% of that of men in the

    thigh. This translates to women having only 50% to 60% of men's upper limb

    strength and 60% to 80% of men's lower limb strength. (Handelsman 2018 at

    812.) Male weightlifters have been shown to be approximately 30% stronger

    than female weightlifters of equivalent stature and mass. (Hilton 2021 at 203.)

    But in competitive athletics, since the stature and mass of the average male


    15 https://bjj-world.com/transgender-mma-fighter-fallon-fox-breaks-skull-of-her-female-

    opponent/


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    exceeds that of the average female, actual differences in strength between

    average body types will, on average, exceed this. The longer limb lengths of

    males augment strength as well. Statistically, in comparison with women, men

    also have lower total body fat, differently distributed, and greater lean muscle

    mass, which increases their power-to-weight ratios and upper-to-lower limb

    strength ratios as a group. Looking at another common metric of strength, males

    average 57% greater grip strength (Bohannon 2019) and 54% greater knee

    extension torque (Neder 1999). Research shows that sex-based discrepancies in

    lean muscle mass begin to be established from infancy, and persist through

    childhood to adolescence. (Davis 2019; Kirchengast 2001; Taylor 1997; Taylor

    2010; McManus 2011.)

          50.    Using their legs and torso for power generation, men can apply

    substantially larger forces with their arms and upper body, enabling them to

    generate more ball velocity through overhead motions, as well as to generate

    more pushing or punching power. In other words, isolated sex-specific

    differences in muscle strength in one region (even differences that in isolation

    seem small) can, and do combine to generate even greater sex-specific

    differences in more complex sport-specific functions. One study looking at

    moderately-trained individuals found that males can generate 162% more

    punching power than females. (Morris 2020.) Thus, multiple small advantages

    aggregate into larger ones.




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          E.     Throwing and kicking speed

          51.    One result of the combined effects of these sex-determined

    differences in skeletal structure is that men are, on average, able to throw

    objects faster than women. (Lombardo 2018; Chu 2009; Thomas 1985.) By age

    seventeen, the average male can throw a ball farther than 99% of seventeen-

    year-old females—which necessarily means at a faster initial speed assuming a

    similar angle of release— despite the fact that factors such as arm length,

    muscle mass, and joint stiffness individually don’t come close to exhibiting this

    degree of sex-defined advantage. One study of elite male and female baseball

    pitchers showed that men throw baseballs 35% faster than women—81

    miles/hour for men vs. 60 miles/hour for women. The authors of this study

    attribute this to a sex-specific difference in the ability to generate muscle torque

    and power. (Chu 2009.) A study showing greater throwing velocity in male

    versus female handball players attributed it to differences in body size,

    including height, muscle mass, and arm length. (Van Den Tillaar 2012.)

    Interestingly, significant sex-related difference in throwing ability has been

    shown to manifest even before puberty, but the difference increases rapidly

    during and after puberty. (Thomas 1985 at 266.) These sex-determined

    differences in throwing speed are not limited to sports where a ball is thrown.

    Males have repeatedly been shown to throw a javelin more than 30% farther

    than females. (Lombardo 2018 Table 2; Hilton 2021 at 203.) Even in

    preadolescent children, differences exist. International youth records for 5- to


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    12-year-olds in the javelin show 34-55% greater distance in males vs. females

    using a 400g javelin.16

           52.     Men also serve and spike volleyballs with higher velocity than

    women, with a performance advantage in the range of 29-34%. (Hilton 2021.)

    Analysis of first and second tier Belgian national elite male volleyball players

    shows ball spike speeds of 63 mph and 56 mph respectively. (Forthomme 2005.)

    NCAA Division I female volleyball players—roughly comparable to the second-

    tier male elite group referenced above—average a ball spike velocity of

    approximately 40 mph (18.1 m/s). (Ferris 1995 at Table 2.) Notably, based on

    the measurements of these studies, male spiking speed in lower elite divisions

    is almost 40% greater than that of NCAA Division I female collegiate players.

    Separate analyses of serving speed between elite men and women Spanish

    volleyball players showed that the average power serving speed in men was 54.6

    mph (range 45.3–64.6 mph), with maximal speed of 76.4 mph. In women,

    average power serving speed was 49 mph (range 41–55.3 mph) with maximal

    speed of 59 mph. This translates to an almost 30% advantage in maximal serve

    velocity in men. (Palao 2014.)

           53.     Recall that kinetic energy is dependent on mass and the square of

    velocity. A volleyball (with fixed mass) struck by a male, and traveling an




    16 http://age-records.125mb.com/.




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    average 35% faster than one struck by a female, will deliver 82% more energy

    to a head upon impact.

          54.    The greater leg strength and jumping ability of men confer a

    further large advantage in volleyball that is relevant to injury risk. In volleyball,

    an “attack jump” is a jump to position a player to spike the ball downward over

    the net against the opposing team. Research on elite national volleyball players

    found that on average, males exhibited a 50% greater vertical jump height

    during an “attack” than did females. (Sattler 2015.) Similar data looking at

    countermovement jumps (to block a shot) in national basketball players reveals

    a 35% male advantage in jump height. (Kellis 1999.) In volleyball, this dramatic

    difference in jump height means that male players who are competing in female

    divisions will more often be able to successfully perform a spike, and this will be

    all the more true considering that the women’s net height is seven inches lower

    than that used in men’s volleyball. Confirming this inference, research also

    shows that the successful attack percentage (that is, the frequency with which

    the ball is successfully hit over the net into the opponent’s court in an attempt

    to score) is so much higher with men than women that someone analyzing game

    statistics can consistently identify games played by men as opposed to women

    on the basis of this statistic alone. These enhanced and more consistently

    successful attacks by men directly correlate to their greater jumping ability and

    attack velocity at the net. (Kountouris 2015.)




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          55.    The combination of the innate male-female differences cited above,

    along with the lower net height in women’s volleyball, means that if a

    reasonably athletic male is permitted to compete against women, the

    participating female players will likely be exposed to higher ball velocities that

    are outside the range of what is typically seen in women’s volleyball. When we

    recall that ball-to-head impact is a common cause of concussion among women

    volleyball players, this fact makes it clear that participation in girls’ or women’s

    volleyball by biologically male individuals will increase concussion injury risk

    for participating girls or women.

          56.    Male sex-based advantages in leg strength also lead to greater kick

    velocity. In comparison with women, men kick balls harder and faster. A study

    comparing kicking velocity between university-level male and female soccer

    players found that males kick the ball with an average 20% greater velocity than

    females. (Sakamoto 2014.) Applying the same principles of physics we have just

    used above, we see that a soccer ball kicked by a male, travelling an average

    20% faster than a ball kicked by a female, will deliver 44% more energy on head

    impact. Greater force-generating capacity will thus increase the risk of an

    impact injury such as concussion.


    VI.   ENHANCED FEMALE VULNERABILITY TO CERTAIN
          INJURIES

          57.    Above, I have reviewed physiological differences that result in the

    male body bringing greater weight, speed, and force to the athletic field or court,



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    and how these differences can result in a greater risk of injury to females when

    males compete against them. It is also true that the female body is more

    vulnerable than the male body to certain types of injury even when subject to

    comparable forces. This risk appears to extend to the younger age cohorts as

    well. An analysis of Finnish student athletes from 1987-1991, analyzing over

    600,000 person-years of activity exposures, found, in students under fifteen

    years of age, higher rates of injury in girls than boys in soccer, volleyball, judo

    and karate. (Kujala 1995.) Another epidemiological study looking specifically at

    injury rates in over 14,000 middle schoolers over a 20 year period showed that

    “in sex-matched sports, middle school girls were more likely to sustain any

    injury (RR = 1.15, 95% CI = 1.1, 1.2) or a time-loss injury (RR = 1.09, 95% CI =

    1.0, 1.2) than middle school boys.” In analyzed both-sex sports (i.e., sex-

    separated sports that both girls and boys play, like soccer), girls sustained

    higher injury rates, and greater rates of time-loss injury. (Beachy 2014.)

    Another study of over 2000 middle school students at nine schools showed that

    the injury rate was higher for girls’ basketball than for football (39.4 v 30.7/1000

    AEs), and injury rates for girls’ soccer were nearly double that of boys’ soccer

    (26.3 v. 14.7/1000 AEs). (Caswell 2017.) In this regard, I will focus on two areas

    of heightened female vulnerability to collision-related injury which have been

    extensively studied: concussions, and anterior cruciate ligament injuries.




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            A.      Concussions

            58.     Females are more likely than males to suffer concussions in

    comparable sports, and on average suffer more severe and longer lasting

    disability once a concussion does occur. (Harmon 2013 at 4; Berz 2015;

    Blumenfeld 2016; Covassin 2003; Rowson 2016.) Females also seem to be at

    higher risk for post-concussion syndrome than males. (Berz 2015; Blumenfeld

    2016; Broshek 2005; Colvin 2009; Covassin 2012; Dick 2009; Marar 2012; Preiss-

    Farzanegan 2009.)

            59.     The most widely-accepted definition of sport-related concussion

    comes from the Consensus Statement on Concussion in Sport (see below). 17

    (McCrory 2018.) To summarize, concussion is “a traumatically induced transient




    17 “Sport related concussion is a traumatic brain injury induced by biomechanical forces.

    Several common features that may be utilised in clinically defining the nature of a concussive
    head injury include:

    SRC may be caused either by a direct blow to the head, face, neck or elsewhere on the body
    with an impulsive force transmitted to the head.

    SRC typically results in the rapid onset of short-lived impairment of neurological function that
    resolves spontaneously. However, in some cases, signs and symptoms evolve over a number of
    minutes to hours.

    SRC may result in neuropathological changes, but the acute clinical signs and symptoms
    largely reflect a functional disturbance rather than a structural injury and, as such, no
    abnormality is seen on standard structural neuroimaging studies.

    SRC results in a range of clinical signs and symptoms that may or may not involve loss of
    consciousness. Resolution of the clinical and cognitive features typically follows a sequential
    course. However, in some cases symptoms may be prolonged.

    The clinical signs and symptoms cannot be explained by drug, alcohol, or medication use, other
    injuries (such as cervical injuries, peripheral vestibular dysfunction, etc) or other comorbidities
    (e.g., psychological factors or coexisting medical conditions).”


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    disturbance of brain function and involves a complex pathophysiological

    process” that can manifest in a variety of ways. (Harmon 2013 at 1.)

          60.    Sport-related concussions have undergone a significant increase in

    societal awareness and concurrent injury reporting since the initial passage of

    the Zachery Lystedt Concussion Law in Washington State in 2009 (Bompadre

    2014), and the subsequent passage of similar legislation governing return-to-

    play criteria for concussed athletes in most other states in the United States.

    (Nat’l Cnf. of State Leg’s 2018). Concussion is now widely recognized as a

    common sport-related injury, occurring in both male and female athletes. (CDC

    2007.) Sport-related concussions can result from player-surface contact or

    player-equipment contact in virtually any sport. However, sudden impact via a

    player-to-player collision, with rapid deceleration and the transmission of linear

    or rotational forces through the brain, is also a common cause of concussion

    injury. (Covassin 2012; Marar 2012; Barth 2001; Blumenfeld 2016; Boden 1998;

    Harmon 2013 at 4.)

          61.    A large retrospective study of U.S. high school athletes showed a

    higher rate of female concussions in soccer (79% higher), volleyball (0.6

    concussions/10,000 exposures, with 485,000 reported exposures, vs. no

    concussions in the male cohort), basketball (31% higher), and softball/baseball

    (320% higher). (Marar 2012.) A similarly-sized, similarly-designed study

    comparing concussion rates between NCAA male and female collegiate athletes

    showed, overall, a concussion rate among females 40% higher than that of


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    males. Higher rates of injury were seen across individual sports as well,

    including ice hockey (10% higher); soccer (54% higher); basketball (40% higher);

    and softball/baseball (95% higher). (Covassin 2016.) The observations of these

    authors, my own observations from clinical practice, and the acknowledgment

    of our own Society’s Position Statement (Harmon 2013), all validate the higher

    frequency and severity of sport-related concussions in women and girls.

          62.    Most epidemiological studies to date looking at sport-related

    concussion in middle schoolers show that more boys than girls are concussed.

    There are fewer studies estimating concussion rate. This is, in part, because

    measuring injury rate is more time and labor-intensive. Researchers at a

    childrens’ hospital, for example, could analyze the number of children

    presenting to the emergency department with sport-related concussion and

    publish findings of absolute number. However, to study concussion incidence,

    athlete exposures also have to be recorded. Generally speaking, an athlete

    exposure is a single practice or game where an athlete is exposed to playing

    conditions that could reasonably supply the necessary conditions for an injury

    to occur. Rates of athletic injury, concussion among them, are then, by

    convention, expressed in terms of injury rate per 1000 athletic exposures. More

    recently, some studies have been published that analyze the rates of concussion

    in the middle school population. Looking at the evidence, the conclusion can be

    made that females experience increased susceptibility to concussive injuries

    before puberty. For example, Ewing-Cobbs, et al. (2018) found elevated post-


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    concussion symptoms in girls across all age ranges studied, including children

    between the ages of 4 and 8. Kerr’s 2017 study of middle school students showed

    over three times the rate of female vs male concussion in students participating

    in sex-comparable sports [0.18 v. 0.66/1000 A.E.’s]. (Kerr 2017.) This is the first

    study I am aware of that mimics the trends seen in adolescent injury

    epidemiology showing a higher rate of concussion in girls than boys in

    comparable sports.

           63.     More recent research looking at the incidence of sport-related

    concussions in U.S. middle schoolers between 2015 and 2020, found that the rate

    of concussion was higher in middle school athletes than those in high school. In

    this study, girls had more than twice the rate of concussion injury (0.49/1000

    athletic exposures vs 0.23/1000 AE) in analyzed sports (baseball/softball,

    basketball, soccer and track), as well as statistically greater time loss. (Hacherl

    2021 (Journal of Athletic Training); Hacherl 2021 (Archives of Clinical

    Neuropsychology).) The authors hypothesized that the increasing incidence of

    concussion in middle school may relate to “other distinct differences associated

    with the middle school sport setting itself, such as, the large variations in player

    size and skill.”18

           64.     In addition, females on average suffer materially greater cognitive

    impairment than males when they do suffer a concussion. Group differences in



    18 https://www.nata.org/press-release/062421/middle-school-sports-have-overall-higher-rate-

    concussion-reported-high-school.


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    cognitive impairment between females and males who have suffered concussion

    have been extensively studied. A study of 2340 high school and collegiate

    athletes who suffered concussions determined that females had a 170% higher

    frequency of cognitive impairment following concussions, and that in

    comparison with males, female athletes had significantly greater declines in

    simple and complex reaction times relative to their preseason baseline levels.

    Moreover, the females experienced greater objective and subjective adverse

    effects from concussion even after adjusting for potentially protective effect of

    helmets used by some groups of male athletes. (Broshek 2005 at 856, 861; Colvin

    2009; Covassin 2012.)

          65.    This large discrepancy in frequency and severity of concussion

    injury is consistent with my own observations across many years of clinical

    practice. The large majority of student athletes who have presented at my

    practice with severe and long-lasting cognitive disturbance have been

    adolescent girls. I have seen girls remain symptomatic for over a year, and lose

    ground academically and become isolated from their peer groups due to these

    ongoing symptoms. For patients who experience these severe effects, post-

    concussion syndrome can be life-altering.

          66.    Some of the anatomical and physiological differences that we have

    considered between males and females help to explain the documented

    differences in concussion rates and in symptoms between males and females.

    (Covassin 2016; La Fountaine 2019; Lin 2019; Tierney 2005; Wunderle 2014.)


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    Anatomically, there are significant sex-based differences in head and neck

    anatomy, with females exhibiting in the range of 30% to 40% less head-neck

    segment mass and neck girth, and 49% lower neck isometric strength. This

    means that when a female athlete’s head is subjected to the same load as an

    analogous male, there will be a greater tendency for head acceleration, and

    resultant injury. (Tierney 2005 at 276-277.)

          67.    When modeling the effect of the introduction of male mass, speed,

    and strength into women’s rugby, World Rugby gave particular attention to the

    resulting increases in forces and acceleration (and injury risk) experienced in

    the head and neck of female players. Their analysis found that “the magnitude

    of the known risk factors for head injury are . . . predicted by the size of the

    disparity in mass between players. The addition of [male] speed as a

    biomechanical variable further increases these disparities,” and their model

    showed an increase of up to 50% in neck and head acceleration that would be

    experienced in a typical tackle scenario in women’s rugby. As a result, “a number

    of tackles that currently lie beneath the threshold for injury would now exceed

    it, causing head injury.” (World Rugby Transgender Women Guidelines 2020.)

    While rugby is notoriously contact-intensive, similar increases to risk of head

    and neck injury to women are predictable in any sport context in which males

    and females collide at significant speed, as happens from time to time in sports

    including soccer, softball, and basketball.




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          68.    In addition, even when the heads of female and male athletes are

    subjected to identical accelerative forces, there are sex-based differences in

    neural anatomy and physiology, cerebrovascular organization, and cellular

    response to concussive stimuli that make the female more likely to suffer

    concussive injury, or more severe concussive injury. For instance, hypothalamic-

    pituitary disruption is thought to play a role in post-concussion symptomatology

    that differentially impacts women. (McGroarty 2020; Broshek 2005 at 861.)

    Another study found that elevated progesterone levels during one portion of the

    menstrual    cycle   were   associated    with   more    severe   post-concussion

    symptomatology that differentially impacted women. (Wunderle 2014.)

          69.    As it stands, when females compete against each other, they

    already have higher rates of concussive injury than males, across most sports.

    The addition of biologically male athletes into women’s contact sports will

    inevitably increase the risk of concussive injury to girls and women, for the

    multiple reasons I have explained above, including, but not limited to, the innate

    male advantage in speed and lean muscle mass. Because the effects of

    concussion can be severe and long-lasting, particularly for biological females, we

    can predict with some confidence that if participation by biological males in

    women’s contact sports based on gender identity becomes more common, more

    biological females will suffer substantial concussive injury and the potential for

    long-term harm as a result.




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           B.       Anterior Cruciate Ligament injuries

           70.      The Anterior Cruciate Ligament (“ACL”) is a key knee stabilizer

    that prevents anterior translation of the tibia relative to the femur and also

    provides rotatory and valgus knee stability.19 (Lin 2019 at 4.) Girls and women

    are far more vulnerable to ACL injuries than are boys and men. The physics of

    injury that we have reviewed above makes it inevitable that the introduction of

    biologically male athletes into the female category will increase still further the

    occurrence of ACL injuries among girls or women who encounter these players

    on the field.

           71.      Sports-related injury to the ACL is so common that it is easy to

    overlook the significance of it. But it is by no means a trivial injury, as it can

    end sports careers, require surgery, and usually results in early-onset, post-

    traumatic osteoarthritis, triggering long-term pain and mobility problems later

    in life. (Wang 2020.)

           72.      Even in the historic context in which girls and women limit

    competition to (and so only collide with) other girls and women, the rate of ACL

    injury is substantially higher among female than male athletes. (Flaxman 2014;

    Lin 2019; Agel 2005.) One meta-analysis of 58 studies reports that female

    athletes have a 150% relative risk for ACL injury compared with male athletes,

    with other estimates suggesting as much as a 300% increased risk. (Montalvo

    2019; Sutton 2013.) Particularly in those sports designated as contact sports, or


    19 Valgus force at the knee is a side-applied force that gaps the medial knee open.




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    sports with frequent cutting and sharp directional changes (basketball, field

    hockey, lacrosse, soccer), females are at greater risk of ACL injury. In basketball

    and soccer, this risk extends across all skill levels, with female athletes between

    two and eight times more likely to sustain an ACL injury than their male

    counterparts. (Lin 2019 at 5.) These observations are widely validated, and

    consistent with the relative frequencies of ACL injuries that I see in my own

    practice.

          73.    When the reasons underlying the difference in the incidence of

    ACL injury between males and females were first studied in the early 1990s,

    researchers speculated that the difference might be attributable to females’

    relative inexperience in contact sports, or to their lack of appropriate training.

    However, a follow-up 2005 study looking at ACL tear disparities reported that,

    “Despite vast attention to the discrepancy between anterior cruciate ligament

    injury rates between men and women, these differences continue to exist.” (Agel

    2005 at 524.) Inexperience and lack of training do not explain the differences.

    Sex seems to be an independent predictor of ACL tear risk.

          74.    In fact, as researchers have continued to study this discrepancy,

    they have determined that multiple identifiable anatomical and physiological

    differences between males and females play significant roles in making females

    more vulnerable to ACL injuries than males. (Flaxman 2014; Lin 2019; Wolf

    2015.) Summarizing the findings of a number of separate studies, one researcher

    recently cited as anatomical risk factors for ACL injury smaller ligament size,


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    decreased femoral notch width, increased posterior-inferior slope of the lateral

    tibia plateau, increased knee and generalized laxity, and increased body mass

    index (BMI). With the exception of increased BMI, each of these factors is more

    likely to occur in female than male athletes. (Lin 2019 at 5.) In addition, female

    athletes often stand in more knee valgus (that is, in a “knock-kneed” posture)

    due to wider hips and a medially-oriented femur. Often, this is also associated

    with a worsening of knee valgus during jump landings. The body types and

    movement patterns associated with these valgus knee postures are more

    common in females and increase the risk for ACL tear. (Hewett 2005.)

          75.    As with concussion, the cyclic fluctuation of sex-specific hormones

    in women is also thought to be a possible risk factor for ACL injury. Estrogen

    acts on ligaments to make them more lax, and it is thought that during the

    ovulatory phase of menses (when estrogen levels peak), the risk of ACL tear is

    higher. (Chidi-Ogbolu 2019 at 1; Herzberg 2017.)

          76.    Whatever the factors that increase the injury risk for ACL tears in

    women, the fact that a sex-specific difference in the rate of ACL injury exists is

    well established and widely accepted.

          77.    Although non-contact mechanisms are the most common reason for

    ACL tears in females, tears related to contact are also common, with ranges

    reported across multiple studies of from 20%-36% of all ACL injuries in women.

    (Kobayashi 2010 at 672.) For example, when a soccer player who is kicking a

    ball is struck by another player in the lateral knee of the stance leg, medial and


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    rotational forces can tear the medial collateral ligament (MCL), the ACL, and

    the meniscus. Thus, as participation in the female category based on identity

    rather than biology becomes more common (entailing the introduction of

    athletes with characteristics such as greater speed and lean muscle mass), and

    as collision forces suffered by girls and women across the knee increase

    accordingly, the risk for orthopedic injury and in particular ACL tears among

    impacted girls and women will inevitably rise.

          78.    Of course there exists variation in all these factors within a given

    group of males or females. However, it is also true that within sex-specific pools,

    size differential is somewhat predictable and bounded, even considering

    outliers. When males are permitted to enter into the pool of female athletes

    based on gender identity rather than biological sex, there is an increased

    possibility that a statistical outlier in terms of size, weight, speed, and

    strength—and potentially an extreme outlier—is now entering the female pool.

    Although injury is not guaranteed, risks to female participants will increase.

    And as I discuss later, the available evidence together suggests that this will be

    true even with respect to males who have been on testosterone suppression for

    a year or more. World Rugby relied heavily upon this when they were

    determining their own policy, and I think it is important to reiterate that this

    policy, rooted in concern for athlete safety, is justifiable based upon current

    evidence from medical research and what we know about biology.




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    VII.   TESTOSTERONE SUPPRESSION WILL NOT PREVENT THE
           HARM TO FEMALE SAFETY IN ATHLETICS

           79.     A recent editorial in the New England Journal of Medicine opined

    that policies governing transgender participation in female athletics “must

    safeguard the rights of all women—whether cisgender or transgender.” (Dolgin

    2020.) Unfortunately, the physics and medical science reviewed above tell us

    that this is not practically possible. If biological males are given a “right” to

    participate in the female category based on gender identity, then biological

    women will be denied the right to reasonable expectations of safety and injury

    risk that have historically been guaranteed by ensuring that females compete

    (and collide) only with other females.

           80.     Advocates of unquestioning inclusion based on gender identity

    often contend that hormonal manipulation of a male athlete can feminize the

    athlete enough that he is comparable with females for purposes of competition.

    The NCAA’s Office of Inclusion asserts (still accessible on the NCAA website as

    of this writing) that “It is also important to know that any strength and

    endurance advantages a transgender woman arguably may have as a result of

    her prior testosterone levels dissipate after about one year of estrogen or

    testosterone suppression therapy.”20 (NCAA 2011 at 8.) Whether or not this is

    true is a critically important question.




    20 https://www.ncaa.org/sports/2016/3/2/lesbian-gay-bisexual-transgender-and-questioning-

    lgbtq.aspx


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          81.    At the outset, we should note that while advocates sometimes claim

    that testosterone suppression can eliminate physiological advantages in a

    biological male, none of the relevant transgender eligibility policies that I am

    aware of prior to 2021 requires any demonstration that it has actually achieved

    that effect in a particular male who seeks admission into the female category.

    The Connecticut policy that is currently at issue in ongoing litigation permits

    admission to the female category at the high school level without requiring any

    testosterone suppression at all. Prior to their new policy, just announced in

    January 2022, the NCAA’s policy required no demonstration of any reduction of

    performance capability, change in weight, or regression of any other physical

    attribute of the biological male toward female levels. It did not require

    achievement of any particular testosterone level, and did not provide for any

    monitoring of athletes for compliance. Moving forward, through a phasing

    process, the NCAA will ultimately require athletes in each sport to meet

    requirements of their sport’s national governing body (NGB). If no policy exists,

    the policy of that sport’s international governing body applies, or, finally, if no

    policy exists there, the 2015 policy of the International Olympic Committee

    (IOC) will apply. The 2015 IOC policy requires no showing of any diminution of

    any performance capability or physical attribute of the biological male, and

    requires achievement and compliance monitoring only of a testosterone level

    below 10nmol/liter—a level far above levels occurring in normal biological




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    females (0.06 to 1.68 nmol/L).21 Indeed, female athletes with polycystic ovarian

    disorder—a condition that results in elevated testosterone levels—rarely exceed

    4.8 nmol/L, which is the basis for setting the testing threshold to detect

    testosterone doping in females at 5.0 nmol/L. Thus, males who qualify under

    the 2015 IOC policy to compete as transgender women may have testosterone

    levels—even after hormone suppression—double the level that would disqualify

    a biological female for doping with testosterone.22

            82.     As Dr. Emma Hilton has observed, the fact that there are over 3000

    sex-specific differences in skeletal muscle alone makes the hypothesis that sex-

    linked performance advantages are attributable solely to current circulating

    testosterone levels improbable at best. (Hilton 2021 at 200-01.)

            83.     In fact, the available evidence strongly indicates that no amount of

    testosterone suppression can eliminate male physiological advantages relevant

    to performance and safety. Several authors have recently reviewed the science

    and statistics from numerous studies that demonstrate that one year (or more)

    of testosterone suppression does not substantially eliminate male performance

    advantages. (Hilton 2021; De Varona 2021; Harper 2021.) As a medical doctor,

    I will focus on those specific sex-based characteristics of males who have


    21 Normal testosterone range in a healthy male averages between 7.7 and 29.4 nmol/L.


    22 In November 2021, the IOC released new guidelines, deferring decision-making about a

    given sport’s gender-affectedness to its governing body. The current NCAA policy, however,
    still utilizes the 2015 IOC policy to determine an athlete’s eligibility in event that the sport’s
    national and international governing bodies lack policies to determine eligibility.




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    undergone normal sex-determined pubertal skeletal growth and maturation

    that are relevant to the safety of female athletes. Here, too, the available science

    tells us that testosterone suppression does not eliminate the increased risk to

    females or solve the safety problem.

          84.     The World Rugby organization reached this same determination

    based on the currently available science, concluding that male physiological

    advantages that “create risks [to female players] appear to be only minimally

    affected” by testosterone suppression. (World Rugby Transgender Women

    Guidelines 2020.)

          85.     Surprisingly, so far as public information reveals, the NCAA’s

    Committee on Competitive Safeguards is not monitoring and documenting

    instances of transgender participation on women’s teams for purposes of injury

    reporting. In practice, the NCAA is conducting an experiment which in theory

    predicts an increased frequency and severity of injuries to women in contact

    sports, while at the same time failing to collect the relevant data from its

    experiment.

          86.     In their recent guidelines, UK Sport determined that, “based upon

    current evidence, testosterone suppression is unlikely to guarantee fairness

    between transgender women and natal females in gender-affected sports.” (UK

    Sports Councils’ Equality Group Guidance 2021 at 7.) They also warned that

    migration to a scenario by NGBs where eligibility is determined through case-

    by-case assessment “is unlikely to be practical nor verifiable for entry into


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    gender-affected sports,” in part because “many tests related to sports

    performance are volitional,” and incentives on the part of those tested would

    align with intentional poor performance. (UK Sports Councils’ Equality Group

    Guidance 2021 at 8.)

           87.    Despite these concerns, this appears to be exactly the route that

    the IOC is taking, as reflected in their Framework on Fairness, Inclusion and

    Non-Discrimination on the Basis of Gender Identity, released in November of

    2021. 23 In it, the IOC lists two disparate goals. First, that “where sports

    organizations elect to issue eligibility criteria for men’s and women’s categories

    for a given competition, they should do so with a view to . . . [p]roviding

    confidence that no athlete within a category has an unfair and disproportionate

    competitive advantage . . . [and] preventing a risk to the physical safety of other

    athletes.” (IOC Framework 2021 § 4.1.) At the same time, governing bodies are

    not to preclude any athlete from competing until evidence exists based upon

    “robust and peer-reviewed research that . . . demonstrates a consistent, unfair,

    disproportionate      competitive     advantage      in    performance      and/or     an

    unpreventable risk to the physical safety of other athletes” – research moreover

    that “is largely based on data collected from a demographic group that is

    consistent in gender and athletic engagement with the group that the eligibility


    23 The IOC Framework on Fairness, Inclusion and Non-Discrimination on the Basis of Gender

    Identity and Sex Variations is available at
    https://stillmed.olympics.com/media/Documents/News/2021/11/IOC-Framework-Fairness-
    Inclusion-Non-discrimination-2021.pdf?_ga=2.72651665.34591192.1645554375-
    759350959.1644946978


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    criteria aim to regulate.” (IOC Framework 2021 § 6.1) Finally, affected athletes

    may appeal any evidence-based decision-making process through a further

    “appropriate internal mediation mechanism, such as a Court of Arbitration for

    Sport.” (IOC Framework 2021 § 6.1.) Rather than cite any of the growing

    evidence that testosterone suppression cannot mitigate sex-based performance

    differences, the IOC’s new policy remains aspirational and opaque. And yet the

    research relating to hormonal suppression in transgender athletes, as confirmed

    by World Rugby and UK Sport, already speaks very clearly to the fact that males

    retain a competitive advantage over women that cannot be eliminated through

    testosterone suppression alone. What follows is a brief summary of some of these

    retained differences as they relate to sport safety.

          A.     Size and weight

          88.    Males are, on average, larger and heavier. As we have seen, these

    facts alone mean that males bring more kinetic energy into collisions, and that

    lighter females will suffer more abrupt deceleration in collisions with larger

    bodies, creating heightened injury risk for impacted females.

          89.    I start with what is obvious and so far as I am aware undisputed—

    that after the male pubertal growth spurt, suppression of testosterone does not

    materially shrink bones so as to eliminate height, leverage, performance, and

    weight differences that follow from simply having longer, larger bones, and

    being subsequently taller.




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          90.    In addition, multiple studies have found that testosterone

    suppression may modestly reduce, but does not come close to eliminating the

    male advantage in muscle mass and lean body mass, which together contribute

    to the greater average male weight. Researchers looking at transitioning

    adolescents found that the weight of biological male subjects increased rather

    than decreased after treatment with an antiandrogen testosterone suppressor.

    (Tack 2018.) In one recent meta-analysis, researchers looking at the

    musculoskeletal effects of hormonal transition found that even after males had

    undergone 36 months of therapy, their lean body mass and muscle area

    remained above those of females. (Harper 2021.) Another group in 2004 studied

    the effects of testosterone suppression to less than 1 nmol/L in men after one or

    more years, but still found only a 12% total loss of muscle area by the end of

    thirty-six months. (Gooren 2004.)

          B.     Bone density

          91.    Bone mass (which includes both size and density) is maintained

    over at least two years of testosterone suppression (Singh-Ospina 2017; Fighera

    2019), and one study found it to be preserved even over a median of 12.5 years

    of suppression (Hilton 2021; Ruetsche 2005).

          C.     Strength

          92.    A large number of studies have now observed minimal or no

    reduction in strength in male subjects following testosterone suppression. In one

    recent meta-analysis, strength loss after twelve months of hormone therapy


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    ranged from negligible to 7%. (Harper 2021.) Given the baseline male strength

    advantage in various muscle groups of from approximately 25% to 100% above

    female levels that I have noted in Section V.D above, even a 7% reduction leaves

    a large retained advantage in strength. Another study looking at handgrip

    strength—which is a proxy for general strength—showed a 9% loss of strength

    after two years of hormonal treatment in males who were transitioning, leaving

    a 23% retained advantage over the female baseline. (Hilton 2021.) Yet another

    study which found a 17% retained grip strength advantage noted that this

    placed the median of the group treated with hormone therapy in the 95th

    percentile for grip strength among age-matched females. (Scharff 2019.)

    Researchers looking at transitioning adolescents showed no loss of grip strength

    after hormone treatment. (Tack 2018.)

          93.    One recent study on male Air Force service members undergoing

    transition showed that they retained more than two thirds of pretreatment

    performance advantage over females in sit-ups and push-ups after between one

    and two years of testosterone-reducing hormonal treatment. (Roberts 2020.)

    Another recently-published observational cohort study looked at thigh strength

    and thigh muscle cross-sectional area in men undergoing hormonal transition

    to transgender females. After one year of hormonal suppression, this group saw

    only a 4% decrease in thigh muscle cross-sectional area, and a negligible

    decrease in thigh muscle strength. (Wiik 2020.) Wiik and colleagues looked at

    isokinetic strength measurements in individuals who had undergone at least 12


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    months of hormonal transition and found that muscle strength was comparable

    to baseline, leaving transitioned males with a 50% strength advantage over

    reference females. (Wiik 2020.) Finally, one cross-sectional study that compared

    men who had undergone transition at least three years prior to analysis, to age-

    matched, healthy males found that the transgender individuals had retained

    enough strength that they were still outside normative values for women. This

    imbalance continued to hold even after eight years of hormone suppression. The

    authors also noted that since males who identify as women often have lower

    baseline (i.e., before hormone treatment) muscle mass than the general

    population of males, and since baseline measures for this study were

    unavailable, the post-transition comparison may actually represent an

    overestimate of muscle mass regression in transgender females. (Lapauw 2008;

    Hilton 2021.)

          94.    World Rugby came to the same conclusion based on its own review

    of the literature, reporting that testosterone suppression “does not reverse

    muscle size to female levels,” and in fact that “studies assessing [reductions in]

    mass, muscle mass, and/or strength suggest that reduction in these variables

    range between 5% and 10%. Given that the typical male vs female advantages

    range from 30% to 100%, these reductions are small.” (World Rugby

    Transgender Women Guidelines 2020.)

          95.    It is true that most studies of change in physical characteristics or

    capabilities over time after testosterone suppression involve untrained subjects


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    rather than athletes, or subjects with low to moderate training. It may be

    assumed that all of the Air Force members who were subjects in the study I

    mention above were physically fit and engaged in regular physical training. But

    neither that study nor those studies looking at athletes quantify the volume or

    type of strength training athletes are undergoing. The important point to make

    is that the only effect strength training could have on these athletes is to

    counteract and reduce the limited loss of muscle mass and strength that does

    otherwise occur to some extent over time with testosterone blockade. There has

    been at least one study that illustrates this, although only over a short period,

    measuring strength during a twelve-week period where testosterone was

    suppressed to levels of 2 nmol/L. During that time, subjects actually increased

    leg lean mass by 4%, and total lean mass by 2%, and subject performance on the

    10 rep-max leg press improved by 32%, while their bench press performance

    improved by 17%. (Kvorning 2006.)

          96.    The point for safety is that superior strength enables a biological

    male to apply greater force against an opponent’s body during body contact, or

    to throw, hit, or kick a ball at speeds outside the ranges normally encountered

    in female-only play, with the attendant increased risks of injury that I have

    already explained.

          D.     Speed

          97.    As to speed, the study of transitioning Air Force members found

    that these males retained a 9% running speed advantage over the female control


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    group after one year of testosterone suppression, and their average speed had

    not declined significantly farther by the end of the 2.5 year study period.

    (Roberts 2020.) Again, I have already explained the implications of greater male

    speed on safety for females on the field and court, particularly in combination

    with the greater male body weight.


                                    CONCLUSION

          Since the average male athlete is larger and exerts greater power than

    the average female athlete in similar sports, male–female collisions will produce

    greater energy at impact, and impart greater risk of injury to a female, than

    would occur in most female-female collisions. Because of the well-documented

    physiological testing and elite performance differences in speed and strength, as

    well as differences in lean muscle mass that exist across all age ranges, the

    conclusions of this paper can apply to a certain extent before, as well as during,

    and after puberty. We have seen that males who have undergone hormone

    therapy in transition toward a female body type nevertheless retain

    musculoskeletal “legacy” advantages in muscle girth, strength, and size. We

    have also seen that the additive effects of these individual advantages create

    multiplied advantages in terms of power, force generation and momentum on

    the field of play. In contact or collision sports, sports involving projectiles, or

    sports where a stick is used to strike something, the physics and physiology

    reviewed above tell us that permitting male-bodied athletes to compete against,

    or on the same team as females—even when undergoing testosterone

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    suppression—must be expected to create predictable, identifiable, substantially

    increased, and unequal risks of injuries to the participating women.

          Based on its independent and extensive analysis of the literature coupled

    with injury modeling, World Rugby recognized the inadequacy of the

    International Olympic Committee’s policy to preserve safety for female athletes

    in their contact sport (the NCAA policy is even more lax in its admission of

    biological males into the female category). Among the explicit findings of the

    World Rugby working group were the following:

                Forces and inertia faced by a smaller and slower player during
                 collisions are significantly greater when in contact with a larger,
                 faster player.

                Discrepancies in mass and speed (such as between two opponents
                 in a tackle) are significant determinants of various head and
                 other musculoskeletal injury risks.

                The risk of injury to females is increased by biological males’
                 greater ability to exert force (strength and power), and also by
                 females’ reduced ability to receive or tolerate that force.

                Testosterone suppression results in only “small” reductions in the
                 male physiological advantages. As a result, heightened injury risks
                 remain for females who share the same field or court with
                 biological males.

                These findings together predict a significant increase in injury
                 rates for females in rugby if males are permitted to participate
                 based on gender identity, with or without testosterone
                 suppression, since the magnitude of forces and energy transfer
                 during collisions will increase substantially, directly correlated to
                 the differences in physical attributes that exist between the
                 biological sexes.

          Summarizing their work, the authors of the World Rugby Guidelines said

    that, “World Rugby’s number one stated priority is to make the game as safe as


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    possible, and so World Rugby cannot allow the risk to players to be increased to

    such an extent by allowing people who have the force and power advantages

    conferred by testosterone to play with and against those who do not.” (World

    Rugby Transgender Guidelines 2020.) As my own analysis above makes clear, I

    agree with the concerns of UK Sport and the conclusions of World Rugby

    regarding risk to female athletes. Importantly, I also agree that it must be a

    high priority for sports governing bodies (and other regulatory or governmental

    bodies governing sports) to make each sport as safe as reasonably possible. And

    in my view, medical practitioners with expertise in this area have an obligation

    to advocate for science-based policies that promote safety.

           The performance advantages retained by males who participate in

    women’s sports based on gender identity are readily recognized by the public.

    When an NCAA hurdler who ranked 200th while running in the collegiate male

    division transitions and immediately leaps to a number one ranking in the

    women’s division;24 when a high school male sprinter who ranked 181st in the

    state running in the boys’ division transitions and likewise takes first place in

    the girls’ division (De Varona 2021), the problem of fairness and equal

    opportunities for girls and women is immediately apparent, and indeed this

    problem is being widely discussed today in the media.




    24 https://en.wikipedia.org/wiki/Cece_Telfer (accessed 6/20/21)




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          The causes of sports injuries, however, are multivariate and not always

    as immediately apparent. While, as I have noted, some biological males have

    indeed competed in a variety of girls’ and women’s contact sports, the numbers

    up till now have been small. But recent studies have reported very large

    increases in the number of children and young people identifying as transgender

    compared to historical experience. For example, an extensive survey of 9th and

    11th graders in Minnesota found that 2.7% identified as transgender or gender-

    nonconforming— well over 100 times historical rates (Rider 2018), and many

    other sources likewise report this trend.25

          Faced with this rapid social change, it is my view as a medical doctor that

    policymakers have an important and pressing duty not to wait while avoidable

    injuries are inflicted on girls and women, but instead to proactively establish

    policies governing participation of biological males in female athletics that give

    proper and scientifically-based priority to safety in sport for these girls and

    women. Separating participants in contact sports based on biological sex

    preserves competitive equity, but also promotes the safety of female athletes by

    protecting them from predictable and preventable injury. Otherwise, the hard

    science that I have reviewed in this white paper leaves little doubt that

    eligibility policies based on ideology or gender identity rather than science, will,



    25 https://www.nytimes.com/2016/07/01/health/transgender-

    population.html?.?mc=aud_dev&ad-
    keywords=auddevgate&gclid=Cj0KCQjwkZiFBhD9ARIsAGxFX8BV5pozB9LI5Ut57OQzuMhu
    rWThv BMisV9NyN9YTXIzWl7OAnGT6VkaAu0jEALw_wcB&gclsrc=aw.ds (accessed 6/20/21)


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    over time, result in increased, and more serious, injuries to girls and women

    who are forced to compete against biologically male transgender athletes. When

    basic science and physiology both predict increased injury, then leagues, policy-

    makers, and legislators have a responsibility to act to protect girls and women

    before they get hurt.


                                            Chad Carlson, M.D.,
                                            FACSM Stadia Sports
                                            Medicine West Des
                                            Moines, Iowa Past-
                                            President, AMSSM




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                       APPENDIX – LIST OF PUBLICATIONS


    Publications of Dr. Chad Thomas Carlson, M.D., FACSM


    Sports Medicine CAQ Study Guide, Healthy Learning, 2021 [editor].

    SEXUAL VIOLENCE IN SPORT: AMERICAN MEDICAL SOCIETY FOR
        SPORTS MEDICINE POSITION STATEMENT. Published in Curr
        Sports Med Reports June 2020;19(6):232-4; Clin J Sports Med June 8
        2020; Br J Sports Med 2020;0:1-3.

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         TRAVELING TEAM PHYSICIAN PRACTICE IN YOUR STATE? 2013.
         Jan (47)1:60-62.

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         APPROACH TO REHABILITATION. Curr Rev Musculoskel Med. 2009
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    THE NATURAL HISTORY AND MANAGEMENT OF HAMSTRING
         INJURIES. Curr Rev Musculoskel Med 2008 (1):120-128.

    SPONDYLOLYSIS AND THE ATHLETE. Athletic Ther Today. 2007 (12)4:37-
        39.

    “ACUTE SUBDURAL HEMATOMA IN A HIGH SCHOOL FOOTBALL
         PLAYER,” J Athl Training, 38;2(63), 2003.

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         IN HIGH SCHOOL WRESTLERS – A PILOT STUDY; presented at the
         AMSSM national meeting, San Diego, CA, 2000; Clinical Journal of
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                          CURRICULUM VITAE (ABBREVIATED)



 Chad Thomas Carlson, MD

        Work Address: Stadia Sports Medicine
                      6000 University Ave.
                      Suite 250
                      West Des Moines, IA, 50266
                      Phone (515) 221-1102

        Active professional licenses: IA, NE, CA, TX, TN, NC, AZ, FL (telemed)

        Board certified family medicine, ABMS 1998; recertified 2005, 2012

        Board certified sports medicine, ABMS 1999; recertified 2009, 2019




 EDUCATION:

       Fellowship: Sports Medicine -- Ball Memorial Hospital/Central Indiana Orthopedics, 1997-1999; Completed
        4/99
       Residency: University of Michigan Department of Family Medicine,1994-97
       University of Nebraska College of Medicine
        M.D. obtained May 1994
       University of Nebraska at Lincoln
        B.S. with majors in history (emphasis American) and biology obtained May 1990

 EMPLOYMENT HISTORY:

       Physician Owner, Stadia Sports Medicine, West Des Moines, IA, 2006 - present
       Staff Physician, University of Illinois, 9/04-6/06
       Director, Carle Sports Medicine, Carle Foundation Hospital, Urbana, IL, 2001-2004; Team physician,
        University of Illinois.
       Private practice, Ionia County Hospital, Ionia, MI, 1999-2001.

 HOSPITAL AFFILIATIONS:

       Iowa Methodist Hospital, Des Moines
       Mercy Medical Center, Des Moines

 PROFESSIONAL HONORS/AWARDS:

       Appointed to Board of Directors, Physical Activity Alliance, 2020
       Appointed to joint AMSSM/NCAA COVID-19 Working Group, March 2020-present
             o Medical advisory panel, 2021 Women’s Division I NCAA Basketball Tournament
       AMSSM Founders Award 2019, awarded once annually for the Sports Medicine Physician nationally who
        best exemplifies the practice of Sports Medicine
       Fellow designation, American Medical Society for Sports Medicine, 2019
       Elected to Executive Committee, American Medical Society for Sports Medicine, 2017-21
             o President of AMSSM, 2019-2020


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       Practice/Policy Committee, AMSSM, 2007-2016 (Former Chair)
             o Author of US HR 921, the Sports Medicine Licensure Clarity Act, which passed the US House of
                 Representatives and Senate in January 2017, and was signed into law by President Trump, 2017
       Appointed member of physician liaison group to the NCAA to discuss return to sport strategies in the COVID-
        19 pandemic, 2020
       Appointed to Board of Directors, Running the Race, 2018-present
       Sports Ultrasound Committee, Policy Co-Chair, AMSSM, 2015-2017
       Elected to Board of Directors, American Medical Society for Sports Medicine, 2009-2013.
       Member, Health and Science Policy Committee, ACSM, 2010-present
             o Chair, Clinical Medicine Subcommittee, HSPC, ACSM, 2012-2015
       Iowa Medical Society Leadership Development Committee, 2022
       Member of Sports Medicine Subcommittee for the Iowa State Medical Society, 2007-present
             o Iowa designate to National Youth Sports Safety Summit
                         New York City – 2015
                         Indianapolis – 2016
                         Kansas City – 2017
       AMSSM designate for the American Academy of Orthopaedic Surgeons’ Knee Osteoarthritis Quality
        Measure review committee, 2014-2016
       Associate Editor, Current Reviews in Musculoskeletal Medicine, 2006-2010.
       Fellow, American College of Sports Medicine: Designated in 2004



 SPECIAL QUALIFICATIONS:

       Prior legal consulting work in cases with both local and national reach
       Extensive training in office musculoskeletal injury
       Oversight of treadmill stress testing/metabolic stress testing
       Independent consultation regarding establishment of individual exercise programs consistent with revised
        ACSM guidelines
       Proficient at evaluation/management of bone mineral density problems at all ages

       Qualified procedurally for:
                        Ultrasound diagnostic testing and guided injections
                        Joint injection/aspiration
                        Percutaneous tenotomy (TENEX)
                        Rotator cuff barbotage
                        Lactate/Anaerobic threshold, VO2 MAX/ exercise testing
                        Laryngoscopy for vocal cord assessment
                        Compartment pressure assessment
                        Ultrasound-guided nerve blocks
       Extensive experience speaking to large national groups on issues pertaining to sports medicine, including,
        but not limited to:
             o Overuse Injury
             o Head and Neck Injuries on the Field
             o Exercise-Induced Asthma
             o The Shoulder Exam
             o Principles of Exercise Prescription
             o Traumatic Brain Injury in Sport
             o The Knee Exam
             o The Ankle Exam
             o The Hip Exam
             o The Pre-Participation Exam
             o Cardiopulmonary Exercise Testing for Determination of Training Zone Estimates and to Identify
                  Causes of Exercise-Related Dyspnea
             o Athletic Amenorrhea
             o Advocacy in Sports Medicine
             o Medical Practice Economics




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 PUBLICATIONS/RESEARCH:


       Sports Medicine CAQ Study Guide, Healthy Learning, Monterey, CA. 2021.[editor].
       AXIAL BACK PAIN IN THE ATHLETE: PATHOPHYSIOLOGY AND APPROACH TO REHABILITATION.
        Curr Rev Musculoskel Med. 2009 (2):88-93
       SPONDYLOLYSIS AND THE ATHLETE. Athletic Ther Today. 2007 (12)4:37-39.
       THE NATURAL HISTORY AND MANAGEMENT OF HAMSTRING INJURIES. Curr Rev Musculoskel Med
        2008 (1):120-128.
       A SURVEY OF STATE MEDICAL LICENSING BOARDS: CAN THE TRAVELING TEAM PHYSICIAN
        PRACTICE IN YOUR STATE? BJSM. 2013. Jan (47)1:60-62.
       SEXUAL VIOLENCE IN SPORT: AMERICAN MEDICAL SOCIETY FOR SPORTS MEDICINE POSITION
        STATEMENT
              o Curr Sports Med Reports June 2020;19(6):232-4.
              o Clin J Sports Med June 8 2020;
              o Br J Sports Med 2020;0:1-3
       “ACUTE SUBDURAL HEMATOMA IN A HIGH SCHOOL FOOTBALL PLAYER,”
        J Athl Training, 38;2(63), 2003
       Traveling with Medication. NCAA Sports Science Institute Bulletin, 2015 http://www.ncaa.org/sport-science-
        institute/traveling-medication
       THE RELATIONSHIP OF EXCESSIVE WEIGHT LOSS TO PERFORMANCE IN HIGH SCHOOL
        WRESTLERS – A PILOT STUDY; presented at the AMSSM national meeting, San Diego, CA, 2000
         Clinical Journal of Sport Medicine 10(4):310, October, 2000




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